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                                           UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


IN RE: STERICYCLE, INC., STERI-SAFE                                   No. l:13-cv-05795
CONTRACT LITIGATION                                                   MDL No. 2455

                                                                      Judge Robert W. Gettleman




                                                    FINAL JUDGMENT
               Having entered orders (1) granting final approval to the settlement of this action;

(2) granting the motion for fees, costs, and service awards; and (3) overruling all objections, the

Court now hereby directs entry ofjudgment, which shall constitute a final adjudication of this

case on the merits                in accordance with the terms of the Settlement Agreement ("Agreement").

For good cause appearing, it is:

               ORDERED, ADJUDGED, AND DECREED THAT:

               1.            The definitions of terms set forth in the Agreement are incorporated hereby as

though fully set forth in this judgment;

               2.            The Court has jurisdiction over the subject matter of the Action and over all

parties to the Agreement, including all Class Members.

               3.            The persons or entities listed on the final exclusion list, Exhibit A to this

judgment, are excluded from the Class, are not entitled to recovery of any settlement proceeds,

and are not bound by this final judgment. The persons or entities listed on Exhibit B to this

judgment submitted requests for exclusion, but were not matched to Class data, and therefore are

not members of the Class. The persons or entities listed on Exhibit C to this judgment submitted

requests for exclusion through counsel, but in accordance with this Court's rulings, the requests




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were found deficient and were not cured within the time permitted. Those persons or entities

therefore remain members of the Class, are entitled to their proportionate recovery of Settlement

Proceeds, and are bound by this final judgment.

          4.         This Court hereby dismisses on the merits and with prejudice the Action, with

each party to bear their own costs and attorneys' fees except as otherwise described in the

Agreement and Final Approval Order.

          5.         All   persons and entities who are Releasors pursuant to Section   VIII of the

Settlement Agreement are hereby barred and enjoined from commencing, prosecuting, or

continuing, either directly or indirectly, against the Released Parties, in this or any other

jurisdiction, any and all claims, causes of action or lawsuits, which they had, have, or in the

future may have, arising out of or related to the subject matter of the Actions, as described in

Section   VIII of the Agreement.

          6.         The Releasees are hereby and forever released and discharged with respect to any

and all claims or causes of action which the Releasors had or have arising out of or related to any

of the Released Claims as defined in the Agreement.

          7.         Without affecting the finality of this Judgment in any way, this Court hereby

retains continuing and exclusive jurisdiction over: (a) interpretation, administration,

enforcement, and implementation of this settlement and distribution to Class Members;

(b) disposition of the Settlement Fund; (c) hearing and ruling on any matters relating to

applications by Class Counsel for attorneys' fees, costs, and service awards; (d) the Action until

the final judgment contemplated hereby has become effective and each and every act agreed to

be performed by the parties all have been performed pursuant to the Agreement; (e) hearing and

ruling on any matters relating to the plan of allocation of settlement proceeds; and (f) all parties




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to the Action and Releasors, for the purpose of enforcing and administering the Agreement and

the mutual releases and other documents contemplated by, or executed in connection with the

Agreement.

       8.         The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

Procedure, that this Final Judgment should be entered and further finds that there is no just

reason for delay in the entry of this Judgment, as a Final Judgment, as to the parties to the

Agreement. Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

       IT IS SO ORDERED.



DArED:       N?{r^"t{
                                              HONORABLE ROBERT W. GETTLEMAN
                                              UNITED STATES DISTRICT COURT JUDGE




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                        E,XHIBIT A
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                                                                                                        EXCLUSION LIST

                                                                                        Timely, Affirmatively Matched to Class Member Record

sCG No.    Name/Address                              \,lame/Address                                                  Address                    City                itate :irm flf Providedl
1000024 AZ TRAINING PROGRAM-COOLIDGE                  8OO N HIGHWAY      87                                                                     COOLIDGE            \7
1000663 WINFIELD FAMILY DENTISTRY                    )S2OO   WINFIELD RD                                                                        WINFIELD           IL      r'leyers & Flowers
r.000904 ARTHUR SHAPIRO. DMD                          2035 S D|XIE HWY                                                                          MIAMI              FL      y'levers & Flowers
1000973 WEST END ANIMAL CLINIC                       14   PLAZA DR.                                                                             BEAUMONT            tx
L007241 BAHU, RAMY, DR                               }45 N MICHIGAN AVE STE 948W                                                                CHICAGO                    vleyers & Flowers
100125r BALLWEG AND LUNSFORD FUNRL HIVlE             1612 S SALTNA ST                                                                           SYRACUSE            !Y    leck Redden
100141r /I5ION ONE LASER & SURGERY CTR               140  ]OHN ROBERT THOMAS       DR                                                           EXTON               rA    Meyers & Flowers
roo\441 TURNER        FUNERAL HOME                   ]9],3 WEBB RD                                                                              :HATTANOOGA         TN    Vleyers & Flowers
100158! \LLIED VET CREMATION                         719 LAWN ROAD                                                                              PALMYRA             ,A    Beck Redden
100182 TRACY HENSON-MCBEE. DDS                       8705 MILWAUKEE AVE                                                                         LUBBOCK             TX    Vleyers & Flowers
100186! IHE FORD CLINIC                              P. O. BOX 381727                                                                           DUNCANVILLE         rx    Vleyers & Flowers
LOO220!    ]AGNAsCO-CALCATERRA FUNERAI-              BAGNASCO AND CALCATERRA FUNERAL HOME)                   25800 HARPER AVE                    T CLR SHORES       i4l   Vlevers & Flowers
too222i    \LLENBROOKE NURSING HOME                  3933 ALLENBROOKE COVE                                                                      VIEMPHIS            IN    laker Donelson
1002911    TUSCALOOSA SURGICAL SPECIALIST            1031. FAIRFAX PARK                                                                         TUSCALOOSA          \L    lurr Forman
100336/    TEAGUE, R JOE    MD   PC                  1 INDEPENDENCE PLAZA                                    sTE 315                            IOMEWOOD            \L    lurr Forman
100374     ;TANFILL FUNERAL HOME                     ].0545 S DIXIE HWY                                                                         VIIAMI              :L    Mevers & Flowers
1.00375t   ;TEVEN HEWETT, DD5, PA                    155 zND ST SW                                                                              /VINTER HAVEN       .L    Vleyers & Flowers
1003781     HE CLINIC PC                             16240 HIGHWAY 17                                                                           TOXEY              AL     -aw Offices of David M. Cowan
100390:    VIORTONS MORTUARY                         15 MARGARET E MORTON LN                                                                    lRIDG FPORT        cr     v'levers & Flowers
LOO4727    ,UTNAM FUNERAL HOME                       ].1 E. CHICAGO STREET                                                                      :OLDWATER          MI     leck Redden
100480( ;OWELL DENTAL ASSOCIATES                     ],122 N CLARK STREET                                                                       ]HICAGO            Ir     vleyers & Flowers
r004857 ;HADYSIDE SURGI CTR.                           727 CENTRE AVE                                                                           ,ITTSBURGH         PA     Vlevers & Flowers
1004893    ;EASIDE CEMETERY INC                      SEASIDE FUNERAL HOME)                                    SEASIDE MEMORIAL PARK}            :ORPUS CHRISTI     TX     i4evers & Flowers
100s321 ;CI - WILSON FINANCIAL GROUP                 ,o Box 1170                                                                                .I   BERTYVILLE    il.    leck Redden
1006218 ,RIMARY CARE PHYSICIANS                      I1OOO NE 28TH AVE                                       ;UITE 1OO                          WENTURA            FL     y'levers & Flowers
1006881 r'ICHENRY DENTAL SPECIALISTS   LLC           54OO   W ELM   ST                                       ;TE   210                          VICHENRY           IL     Mevers & Flowers
100713i {OVA DENTAL LLC                              1241 S BROAD ST                                                                            A/ALLINGFORD       :T     Meyers & Flowers
I00732t ,INE    REST MEMORIAL                       PO BOX    328                                                                               :OLEY              \L     Burr Forman
1007345     IP SAUNDERS,    MD                      3 GROGANS PARK DRIVE                                     ;UITE 103                          ;PRING             il     Beck Redden
700742C    .JGUYEN, TIEN,   MD                      17271 BROOKHURST ST                                                                         :OUNTAIN VALLEY    :A     Meyers & Flowers
L00748e VIOUNT JR. DR ROBERT                        110 EAST PARK AVENUE                                                                        :HIEFLAN D           L    Meyers & Flowers
1007s1 NEPTUNE SOCIETY INC                          2419 GROVE WAY                                                                              :ASTRO VALLEY      ]A     Beck Redden
1007529 MONIANA STATE PRISON                        4OO CONLEY LAKE ROAD                                     A/AREHOUSE                         DEER LODGE         VIT
1007881    V]ELLOVITZ, KEITH, DR.                   1893 SHERIDAN RD                                         iTE   318                          HIGHLAND PARK             Vleyers & Flowers
1009054    !ORDON, LEONARD, DDS                     2205 E PALMDALE BLVD                                                                        PALMDALE           :A     Vleyers & Flowers
100911:    (UEHL.NICOLAY FUNER. & CREM.             1703 SPRING ST                                                                              PASO ROBLES               leck   Redden
100914     VIILNER& ORR FUNERAL HOME                120 MEMORIAL DRIVE                                                                          PADUCAH             :Y    leck   Redden
 00938(    (LINGNER-COPE FAMILY FUNERAL             ;234 W STATE HIGHWAY      EE                                                                ;PRINGFIELD        vlO    leck   Redden
 00981t    ,ARY R. MENNIE, MD                       14610 KOLBS CORNER                                                                          ]EAUMONT           IX     leck   Redden
 01016t    .AGRONE-BLACKEURN.SHAW FUNERAL           ]310 S COULTER STREET                                                                       \MARILLO           'x         ers & Flowers
 010252 AY R TRABIN                                 ;60 VILLAGE BLVD # 3OO                                                                      A/EsT PALM BEACH   :L     Vleyers & Flowers
101058i (INGSTON SPRINGS ANIMAL HOSP                170 LUYBEN HILLS RD                                                                         (INGSTON SPRINGS     N       y'ers & Flowers
ro11,25t JRANITE NURSING & REHAB                    35OO CENTURY DR                                                                             ;RANITE CITY              laker Donelson
LO1221     JANESH, BRIAN, DR                         ABILENE INTERNAL MEDICINE ASSOC.)                              REGIONAL PLAZA              \BILENE            tx     Vlevers & Flowers
70722st IAWN,        KIRK. DDS                       ,o   Box 319                                            '2OO
                                                                                                                                                .OVETTSVILLE              Vlevers & Flowers
101255I  DALE GUNTER FUNERAL HOME                    PCFL-PET PASSAGES BY ANDERSON-MCQUtEN)                  2201 DR MARTIN LUTHER KING    JR   ;AINT PETERSBURG          leck Redden
to12a47 DR. MICHAEL SPATARO                          I20 CHURCH STREET                                                                          VIONTROSE          )A     Vlevers & Flowers
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iCG No. lName/Address                                !ame/Address                    !ame/Address            :itv              itate   :irm (lf Providedl
 1013034 RIC HIRSCHFELD, DD5                          l   WASHINGTON ST              P O BOX    1040         :ONWAY            {H      vleyers & Flowers
101430( :ATAUDELLA FUNERAL HOME                      126 PLEASANT VALLEY ST                                  VIETHUEN                  Vlevers & Flowers
1014s04 . JAMES REESE FUNERAL HOME PA                i767 SEMINOLE BLVD          N                           ;EMINOLE          iL      l€ck Redden
1014537 :ANO, FRANCISCO, MD PC                       ;9 WEST MAIN SI                                         SREENVILLE        )A      vleyers & Flowers
to74974 )R DWYER                                     1621 W 1O3RD STREET                                     )AK LAWN                  vlevers & Flowers
1015132     :OMBS & PARSON FUNERAL HOM               ,o Box 569                                              IICHMOND          (Y      ]eck Redden
to1,522!    :OTTEN FUNERAL HOME                      I2O1 NEUDE BLVD                                         \]EW BERN         ,tc     leck Redden
1015264     :HADWICK NURSING & REHAB                 1.900 CHADWICK DRIVE                                    ACKSON            vt5     laker Donelson
1015394      READWAY AND WIGGER FUNERAL HOME         :HAPEL OF THE CHIMES            2383 NAPA VALLEJO HWY   \]APA             :A      vlevers & Flowers
tot627      ]AY AREA, MORTUARY SUPPORT GRP            175 STONE AVE.                 iTE 5                   ;AN JOSE                  leck Redden
101534r ]ESHEAR FUNERAL HOME                         ,o Box    245                                           )AWSON SPRINGS    iY      Vleyers & Flowers
10r.6352    ]ILLDORA SENIOR CARE                     314 ENOCHS ST.                                          ryLERTOWN         {5      ]eck Redden
101698( IOBIAS FUNERAL HOME                               WATERVLIET AVE                                     )AYTON            )H      leck Redden
ror726t IICHARD L. FOX DO PA                         '48 N. UNIVERSITY DR. STE 203
                                                     7171                                                    IAMARAC                   vleyers & Flowers
LO17641 VIARINA DENTAL                               3611.W 5TH ST STE A                                     )XNARD            :A      Vlevers & Flowers
1,018L6t    :ADLE JR, DONALD IDMD                    ;823 MAIN ST                                            {EW PORT RICHEY   :L      r4evers & Flowers
10185 1!    iHAW WELLNESS CLINIC                     I17 FERGUSON ROAD                                       :LINTON                   Vleyers & Flowers
r.01883( yIOUNT JR, ROBERT E, DDS                    ,o Box 1416                                             :HIEFLAND         :L      Vlevers & Flowers
1019473 V1ARTENS & 5ON5 AMB                          igOO LAKE ABRAMS DR                                     :LEVELAN D        ]H      Vlevers & Flowers
1019s03 }RANTLEY.PHILLIPS FUNERAL HOME               1470 HWY 51                                             {ERNANDO          \4S     ]eck Redden
101981( )ALE FUNERAL HOME INC                        ;72 NEBRASKA AVE                                        :OLEDO            3H      leck Redden
1019843 )ENTAL STL'DIO                               IOO5 W HEBRON PKWY                                      :ARROLLTON        rx      vlevers & Flowers
r.020041 }UCKHEAD DENTAL                             3490 PIEDMONT RD NE             ;TE 110                 \TLANTA           3A      r4eyers & Flowers
1020323     ]AROLD C. DAVIS FUNERAL HOME             )75 PHILLIPS AVE                                        lIGH POINT        NC      ]eck Redden
to20438     .F. BRITTENUM   & sON FUNERAL            125 MEMPHIS ST                                          IOLLY SPRINGS     MS      ]eck Redden
r.020956 }URRIS, DDS BRIDGET                          748 TRIVIZ DRIVE                                       .AS CRUCES        NM      Vlevers & Flowers
102143( {IERS CHIEFLAND FUNERAL HOME                 )o Box 2047                                             CCALA             FL      leck Redden
102r.s11 INTERNAL MEDICINE ASSOC OF MG               ;940 WINTON BLOUNT BLVD                                 MONTGOMERY        \L      ,urr Forman
1021665 SALHOUN NURSING & REHAB CTR                  1 MYRTLE LANE                   )o Box 340              HARDIN            IL      ]aker Donelson
102191( DOCTORS CENTER                               ;536 SARATOGA                                           CORPUS CHRISTI    TX      y'leyers & Flowers
1022003 DENTAL CARE OF FLORA                         )FRANKLIN, BRAD DMD)            ,o Box 1 26             FLORA             tvts    leck Redden
t0221.68 BRAD SCHOONOVER DDS                         IO4 N I   35 SERVICE   RD       ;TE D                   RED OAK           rx      r'levers & Flowers
L022646 WILMINGTON MORTUARY SERVICL                  )o Box 4415                                             WILMINGTON        NC      )eck Redden
to23724 iMI.ABO ASSETS, LLC DBA DFFS                 socoRRo cHAPEL S21s)            309 GARFIELD ST         S0coRRo           NM      leck Redden
7023267     THOMAS, DR. RICHARD                      IO2 ALABAMA AVENUE STE. A                               CRESTVIEW         FL      r'levers & Flowers
1023s33     OLSON BURKE/SULLIVAN FUNRL/CRM            7859 BRETZ DR                                          HOMEWOOD          IL      leck Redden
1024085     COTTEN FUNERAL HOME                       201 NEUSE BLVD                                         NEW BERN          NC      leck Redden
I024539     HERITAGE FUNERAL HOME                    ;28 N MAIN ST                                           HUTCHINSON        KS      leck Redden
1024924     DIVINE CHILDRENS CLINIC                  IO1 N MAIN                      TEB                     DONNA             TX      leck Redden
to2493s DODD AND      REED FUNERAL HOME              t55 MCGRAW AVENUE                                       WEBSTER SPRINGS           l/levers & Flowers
1025050 BENT TREE FAMILY PHYSICIANS.FR               17110 DALLAS PARKWAY- S 1OO                             DALLAS            TX      r'leyers & Flowers
r.02s14! NORTH EAST WYOMING SURGERY CTR               307 W 3RD ST                                           GILLETTE                  r'levers & Flowers
to2522( HICKS, PEARLMAN, MD                           360 LONG BEACH BLVD                                    LONG BEACH        :A      r'levers & Flowers
LO25a4      MATTHEW FUNERAL HOME/CREMATION           1508 VICTORY BLVD                                       STATEN ISLAND             y'leyers & Flowers
LO2709      STEVEN ZEIG,   MD                        ;01 N FLAMINGO RD STE 104                               PEMBROKE PINES     L      r'leyers & Flowers
LO2747',.   ;CHIMUNEK Ft]NERAL HOME                  )705 BELAIR RD                                          BALTIMORE         VID     ,eck Redden
102747t iCHMAKEt, LAWRENCE P, DDS                     343 N HOLLAND- SYLVANIA ROAD                           TOLEDO            ]H      /evers & Flowers
L02758i BREWER AND LEE FUNERAL HOME                  IO3 E UTE ST                                            FARMINGTON        {M      leck Redden
to2773 POLITZ DALE DDS & ASSOCIATES                  7707 OLD HAMMOND HWY            TE, B                   BATON ROUGE               Vleyers & Flowers
102823 NM MORTUARY/RIVERSIDE FUNERAL                 225 SAN MATEO NE                                        \LBUOU EROUE      !M      leck Redden
102840! r'r'ALDMAN, DR                                    SMITHFIELD ST              tTE 1530                PITTSBU   RG H            Meyers & Flowers
102894t LANE COULTOR CHAPEL                         '50 ASHLAND TERRACE
                                                    601                                                      :HATTANOOGA       rN      Mevers & Flowers
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7029477 ;T PETERS BONE AND JOINT                          112 PIPER HILL DR.                            ;UITE 9                              ;AINT PETERS        vto    Ylevers & Flowers
LO29623 \DVANCED IMAGING OF GADSDEN                       }20 SOUTH 4TH STREEI                                                               JADSD EN            \L     lurr Forman
102965(    \LLERGY   &   PEDIATRIC IMMUNOLOGY             >o Box 2247                                   3O4O BELMONT AVE                     TOUNGSTOWN          )H     vleyers & Flowers
to2967t \NDERSON MCOUEEN          F.H.                    I2O1 NINTH 5T NO                                                                   ;AINT PETERSBURG    :L     leck Redden
L030062    ]ARDEN OF MEMORIES                             IHARP-SONTHEIMER-THARP        FUNERAL HOME)   JACOB SCHOEN   & SON FUNERAT HOME)   VIETAIRIE            A     vlevers & Flowers
103012t    ,ORTER FUNERAL HOME                            ],835 MINNESOTA AVE                                                                :ANSAS CITY         (s     ]eck Redden
                                                                                                                                                                 -x
1o30472    IEGINA LEWIS, DDS                              I.1455 FALLBROOK DR                           iTE 202                              IOUSTON                    Vlevers & Flowers
                                                                                                                                                                 .X
103065t    VIALCOLM RUDE. MD                              I8O9 EARL RUDDER FWY      S                   ;TE 101                              :OLLEGE STA                leck Redden
1030882 \4ESA FAMILY PRACTICE                             I13O FARMINGTON AVE                                                                 ARMINGTON          JM     vleyers & Flowers
1031571 )R LEE SHELDON                                    I223 SARNO ROAD                                                                    UELBOU RN       E
                                                                                                                                                                 :L     Vlevers & Flowers
1031943    \RBOR HOUSE ASSISTED LIVING                    }OO AUTUMN RIDGE                                                                   J.RANBURY           rx     leck Redden
LO32298 }AY AREA CREMATORY                                ;862 ULMERTON RD                                                                   ]LEARWATER          .L     leck Redden
10325 1(   {ORTH AREA FUNERAL HOME                        t784 GAYNOR AVE                                                                    \]ORTH CHARLESTON   ;c     r4evers & Flowers
103269( ]ESARZ,CHARAPATA&ZINNECKER           FH           I37 N MORELAND BLVD                                                                A/AUKESHA                  ieck Redden
1032881    :LAIBORNE FUNERAL HOME                          106 HWY 33 SOUTH                                                                  \]EW TAZEWELL       TN     ]eck Redden
LO336M VIITCHELL FUNERAL HOME                             }O8O NW 22ND AVE                                                                   MIAMI               FL     vlevers & Flowers
1034058 ;MITH, RONALD C L FUNERAL HOME                    }25 NORTH HIGH STREET                                                              DUNCANNON           PA     leck Redden
LO34234 SOUTHLAKE PLASTIC SURGERY                         )OO E. SOUTHLAKE BLVD. flOO                                                        SOUTHLAKE           TX     vlevers & Flowers
1034393 SUNSET FUNERAL HOME                               I5O N CAROLINA DR                                                                   L PASO             TX     ]eck Redden
L034545 JAMES SCHMIDT                                     I8O9 WATSON RD                                                                             LOUIS       MO     Vlevers & Flowers
LO34709 WACHUSETT ANIMAL HOSPITAL                         19   THEODORE DRIVE                                                                'AINT
                                                                                                                                             WESTMINSTER         MA     vleyers & Flowers
1035567 PULMONARY MEDICINE ASSOC,                         PULMINARY & SLEEP MEDICINE ASSOCIATES)        ,572 RIVER PARK DR                   RIVERDALE           3A     r'levers & Flowers
1036567 ARBOR HOUSE ASSISTED LIVING                       IO27 W VIRGINIA DR                                                                 DALLAS              TX     ]eck Redden
1036825 T E COOKE.OVERION FUNERAL HOME                    tO5 JOHNSON AVE.                                                                   iU FFOLK                   vleyers & Flowers
to36972 VETERANS FUNERAL        CARE                       5381 ROOSEVELT BLVD.                                                              :LEARWATER          FL     vleyers & Flowers
1037186 ORTHOPAEDIC SURGERY CENTER-CLW                    tO2 JEFFORDS STREET                                                                CLEARWATER          FL     vlevers & Flowers
L037473 QUINCE NURSING & REHAB CENTER                            OUINCE ROAD                                                                 MEMPHIS             t'N    ]aker Donelson
to377s6 OLDER & SLONIM. M,D.'S                            '733
                                                            . JUSTIN OWNER EYELID INSTITUTE)            1444 E FLETCHER AVE S D              TAMPA               FL     r'leyers & Flowers
1.038052 LAKE CITY FAMILY DENTISTRY                       )o Box 719                                                                         LAKE CITY           MI     r'leyers & Flowers
1038055 LAKELAND NURS & REHAB 824                         1680 LAKELAND LANE                                                                 JACKSON             lvlS   iaker Donelson
1038251 BAILEY FUNERAL HOME                               18 BROAD ST                                   ,o Box 158                           PLAINVILLE          :T     r'levers & Flowers
1038280 MCGUINNESS FUNERAL HOME                           14 HUNTER ST                                                                       WOODEURY            NJ     leck Redden
1038433 BRASCO FUNERAL HOME                               773 MOODY ST                                                                       WALTHAM                    r'levers & Flowers
1038468 JOHNSON-GLOSCHAT FUNERAL HOME                     ,o Box 966                                                                         KALISPELT           MT     r'levers & Flowers
1038628 qLABAMA ALLERGY & ASTHMA                          }284 LOMAC      ST                                                                 MONTGOMERY          \L     r'leyers & Flowers
1039439 DR WOMACK                                         )52 LUPIN AVE                                 iutTE 110                            cHlco               :A     r'leyers & Flowers
1040308 RUDDELL, DEBORAH DDS                              19 BARKLEY CIRCLE                                                                  FORT MYERS          FL     r'levers & Flowers
1040556 HARTENSTEIN JJ MORTUARY INC                       4 SECOND ST                                                                        NEW FREEDOM         PA     Ieck Redden
to40a2L    SCOTTSBORO FUNERAL HOME                        t5O2 COUNTY PARK RD                                                                SCOTTSBORO          \L     lurr Forman
1041094 ROBERT BISHOP DDS                                 i959 W LOOP SOUTH STE 620                                                          BELLAIRE            TX     r'levers & Flowers
LO41484 ADAMS BROWN FUNERAL HOME                          )o Box 488                                                                         ALBERTVI LLE        \L     iurr Forman
LO4t672 ARIZONA DEPT. OF CORRECTIONS                      1601 W JEFFERSON ST                                                                PHOENIX             \z
104199 DR DAVID S BEHM                                    ;600 N SHERIDAN      RD                       rE5                                  CHICAGO                    r'leyers & Flowers
104202     DR ROBERT R THOUSAND III PA                    t5 SAINT JOHNS MEDICAL PARK DR                                                     SAINT AUGUSTINE     :L     y'levers & Flowers
t0421,61 NATCHEZ ONCOLOGY CLINIC                          tO6 JEFFERSON DAVIS BLVD                                                           NATCHEZ             MS     r'levers & Flowers
L04235     MCGUINNESS FUNERAL HOME                        ;73 EGG HARBOR       RD                                                            SEWELT              !J     ]eck Redden
7042611 HOOPER MEMORIAL HOME                              1532 WALNUT ST                                                                     HARRISBURG                 y'levers & Flowers
L04294! 3RANT MEMORIAL CHAPEL                             )o Box    484                                                                      GRANT               \t     Iurr Forman
104348: DANIEL J POTICNY DD5                              1630 S CARRIER PKWY                           ;TE   B                              GRAND PRAIRIE       rx     Mevers & Flowers
1043981    r'/OLFE VON GEIS FI.]NERAL HOME               5701 LINCOLN AVE                                                                    EXPORT              ,A     Vleyers & Flowers
704434 HOWARD STEINBERG, DDS                             2385 N FERGUSON AVE STE 111                                                         TUCSON                     Vlevers & Flowers
104485r EMERALD COAST SMILES BY DESIGN                   3927 CREIGHTON ROAD                                                                 PENSACOLA            L     Meyers & Flowers
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iCG No-    {ame/Address                                    Name/Address                                        Address                        :itY                 ;tate Firm {lf Providedl
104553{ BAYVIEW DENTAL ASSOCIATES PA                       2826 E OAKLAND PARK BLVD                    ;TE 3OO                                FORT LAUDERDALE      :L    Meyers & Flowers
104609 MORRIS-BATES FUNERAL HOME                           17OO EVANS AVE                                                                     FORT WORTH           TX    Beck Redden
1046r.1t NATCHITOCHES NURSING & REHAB                      750    KEYSER       AVE                                                            NATCHITOCHES               laker Donelson
1046501    30RDON, LEONARD, DDS                            SOUTHWEST DENTAL CENTERS INC. Di B/A HI D   1745 W AVENUE     K STE C              LANCASTER            :A    \4eyers & Flowers
!04672     MANDELLS CLINICAL PHARMACY                      7 CEDAR GROVE LN                            #24                                    ;OMERSET             {J        /ers & Flowers
r.04681(   MOUNT ROYAL TOWERS                              3OO ROYATTOWER DR                                                                  BIRMINGHAM           \L    lurr Forman
to46a7l    VIID CITY DENTAL SERVICES                        BYRON DUVALL DD5 LLC)                      2211 oLrVE ST                          iAINT LOUIS          vto   Mevers & Flowers
104779t    VIOBILE NURSING      &   REHAB CENTER           7O2O BURNS DRIVE                                                                   MOBILE               \L    laker Donelson
to4753',   lERITAGE MEMORIAL SERVICES                      17712 BEACH BLVD                                                                   ]UNTINGTON BEACH     :A           s & Flowers
 o4789t OHN      E DAY FUNERAL HOME                         ]5   RIVERSIDE AVE                                                                IED BANK                   Mevers & Flowers
                                                                                                                                                                   'lJ
 04836      OSH WHITFORD DDS                                )01   w FozwooD           DR                                                      lAYMORE              MO    vleyers & Flowers
 04857! IARRIGAN      PARKSIDE FUNERAL HOME                 i28 N WATER         ST                                                            VlANITOWOC                 vlevers & Flowers
 o4876(    /VILLIAMS FH                                     ]21 N MAIN         ST                                                             ;UMTER               sc    vlevers & Flowers
LO4922(    {ICKERSON BOURNE FUNERAL HOME                    IO MACARTHUR BLVD                                                                 ]OURNE                     leck Redden
L049234 {ORTH SHORE DENTAL CARE                             I25 WAUKEGAN             RD                                                       .AKE BLUFF           It    vleyers & Flowers
L04941 ONESBORO ASSISTED LIVING                             1620 HIGHWAY 138              E                                                    ONESBORO            3A    laker Donelson
104950( (EYSTONE KNOX BROTHERS F.H                                EAST 2ND STREET                                                             VIAYSVILLE           KY    leck Redden
LO49521 ;AN BENITO FUNERAL HOME                            '25 W HIGHWAY 77
                                                           14OO                                                                               ;AN BENITO           TX    Vleyers & Flowers
105012t A/OODLAND ANIMAL CLINIC                              MIDDLEBORO RD                                                                    :AST FREETOWN              ilevers & Flowers
10s09s( 'IEPTUNE SOCIETY - SAN iosE                        ' SOUTH 2ND STREET
                                                           798                                                                                ;AN JOSE             CA    vlevers & Flowers
1051187 ,/IEDICAL DECISION ASSOCIATES                       }345 BURNS ROAD                            ;UITE 101                              ,ALM BEACH GARDENS   FL    vleyers & Flowers
1.051461 AMBETH TROXLER FUNERAL HOME                        }OO W WENDOVER AVE                                                                ;REENSBORO           NC    Beck Redden
1051554 \MERICAN G. F. M.                                  12OO       CAVALIER BLVD                                                           ]H ESAPEAKE
1051663     LEVY FUNERAL HOME                              2128 BROADWAY                                                                      ;ALVESTON            rx    Beck Redden
LOs1942    r'IANOLI5, T K, DR                              48 E 31ST ST                                                                       A GRANGE      PARK   IL    Vleyers & Flowers
ro5232L MILHELM      FUNERAL HOME                          6705 SE 14TH ST                                                                    ,ORTLAND             ]R    Beck Redden
1052738 EMPER. LEONA DDS                                   P.O. BOX 217                                                                       }UITMAN              \R
705274") (EYSTONE DICKERSON FUNERAL HOM                    110 W SECOND ST.                                                                   r'ANCEBU RG          (Y    Beck Redden
1052803 SOLOMON,JEFFEREY            DR                     27 PARK RD STE 9OO                                                                 PLEASANT GROVE       \t    Vlevers & Flowers
1,O5282    iOUTHWEST SURGERY CTR                           19110 DARVIN DR                             ;TE A                                  MOKENA                     Vlevers & Flowers
1053116    TEMPLE MEDICAL CLINIC                           420 2OTH ST N                               iTE3400                                BIRMINGHAM           \L    Burr Forman
7053621 :ENTER OF ENDODONTICS                              ]15 W. EXCHANGE PKWY                        tzao                                   \LLEN                tx    Vlevers & Flowers
105441,8 MORGAN FUNERAL CHAPEL                                    GILBERT FERRY RD S.E                                                        \TTALLA              \L    leck Redden
10s4441 iAN JOSE FUNERAL HOME                              '25
                                                           ;01    S   VIRGINIA ST                                                             EL PASO              tx    Vleyers & Flowers
105466! )INKERTON, ORION C, FUNERAL             H          1014 CALIFORNIA AVE                                                                PITTSBURGH           )A    leck Redden
L05511     )UKE, DR. RAY M                                 i26    EAST FORSYTH ST                                                             \MERICUS             JA          's & Flowers
105561     IIGGS FAMILY AND COSMETIC DENTISTRY             2755 PRINCE 5T                                                                     :ONWAY               \R           s & Flowers
1055842    (EYSTONE SHOWATTER BLACKWELL                    312 W UNTON ST                                                                     .IBERTY              N     leck Redden
105654!     RYE FUNERAL HOME INC                           I27 W MAIN STREET                                                                  VIONONGAHELA         )A    Vlevers & Flowers
1056734    ;AMUEL GERBER, MD PC                             NORTH CHELMSFORD)                          NASHUA & LOWELL ORTHOPEDIC SURGICAL)   {ORTH CHELMSFORD           vlevers & Flowers
105706t    (IRK & NICE SUBURBAN CHAPEL                     )o Box 11508                                                                       ,H ILADELPH IA             leck Redden
lo5745i    ;ARY SENK- DDS PA                               14020 SW 72ND AVE                                                                  )ALMETTO BAY               vleyers & Flowers
105760(    iENESIS CANCER CENTER                           133 HARMONY PARK CIRCLE                                                            JOT SPRINGS          \R    Vlevers & Flowers
105775C    ;REENCASTLE DENTAL                               95 GREENCASTLE RD                                                                 IYRONE                     vlevers & Flowers
1057833 )RS FELDMAN                                        t245 WINEOURNE AVE                                                                 ]ATON ROUGE          'A    vleyers & Flowers
1057882 :RESPO FUNERAT HOME                                2515 NAVIGATION                                                                    {OUSTON              fx    leck Redden
1058329 DR DUVALL, BYRON                                   I600 CHOUTEAU AVE                                                                  SAINT LOUIS          MO    Ylevers & Flowers
105841s    CARLSON   AND KIRBY-MORRIS      FH              IOO S STAR ST                                                                      EL DORADO            KS    vlevers & Flowers
1058416    CARMAN FUNERAL HOME                             )o Box 895                                                                         FLATWOODs            KY    r'leyers & Flowers
1058558    COLUMBIA MORTUARY                               ,o Box       2592                                                                  COLUMBIA FALLS       MT    vleyers & Flowers
10s9005    BONAVENTURE FUNERAL HOME                        ;OO    COUNTY ROAD 520                                                             MARLBORO             NJ    ,eck Redden
LO5947': /VINNFIELD NURSING & REHAB CTR                    )1.5 FTRST ST                                                                      WINNFIELD            LA    ]aker Donelson
                                                   Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 9 of 80 PageID #:8248



   No. {ame/Address
r-CG                                                       Name/Address                              {ame/Address                    :itv               itate Firm Ilf Providedl
1059833 ]ARVEST HILLS FUNERAL HOME                         PO BOX     250                                                            ltco              IX       Vlevers & Flowers
 L0s999E     iELECTIVE FINANACES SERVICE CO                ATKINSON FUNERAL HOME)                    , o Box 1258                    lOT SPRINGS        \R      Mevers & Flowers
r.06013c     {IXSON BROTHERS INC                           PO BOX 1272                                                               \LEXANDRIA         -A      Beck Redden
1060656      3RECO. MICHAEL. DDS.                          1].1 FREESTATE BOULEVARD                  ;UITE 108                       ;HREVEPORT         .A      Mevers & Flowers
to6t441      ROLLING HILLS CASINO                          2655 EVERETT FREEMAN WAY                                                  :ORNING            :A
1061s18 :ALDERONE & CITRINITI DDS                          475 MAIN STREET SUITE 1E                                                  FARMINGDALE        \lY     Vleyers & Flowers
106244 \NIMAL CANCER AND IMAGING CTR                       8560 CANTON CENTER RD                                                     :ANTON             vll     Vleyers & Flowers
106306C MOODT. JAMES W, DDS                                24700 CENTER RIDGE    RD                  ;TE 19                          WESTLAKE           )H      Vlevers & Flowers
r.063348 JONESBORO NRSNG & REHAB CNTR                      2650 HWY 138 SE                                                           JONESBORO          ;A      laker Donelson
106400!      IIPPS, DR, DANIEL                             HAMILTON PLACE DENTAL CENTER               27 ENON SPRINGS RD,            ;MYRNA                 N   Meyers & Flowers
to6479       \FFORDABLE BURIAL & CREMATION                 13009 DESSAU     RD                       iUITE M                         \USTIN             tx      leck Redden
106459;      )R. BRIAN 6ANESH                              ,2OO REGIONAL PLAZA #L45O                                                 \BILEN    E        tx      Mevers & Flowers
106491       ;AMFORD UNIVERSITY                            ]OO LAKESHORE DRIVE                       IO1 SAMFORD HALI.               }IRMINGHAM         \L      lurr Forman
106538:      /VILSON KRATZER MORTUARY                      CHAPEL OF THE MISSION BELLS)               HOSSELKUS CHAPEL)              TICHMOND           :A      Meyers & Flowers
1"06541      ;IEWART WHITLEY GARNER ROSE       H           3640 ROSE AVE.                                                            )OUGLASVILLE       JA      ieck Redden
106620t      ).1. FRY FUNERAL HOME                         ,o Box 2566                                                               \4ANTECA                   Meyers & Flowers
t   06698(   /ANCE MEMORIAL CHAPEL                         )o Box 1429                                                               )HENIX CITY        \L
106701.:     ;ELECTED FINANCIAL sERVICEs                   BILLINGSLEY FUNERAL HOME)                 PO BOX      1268                IOT SPRINGS        \R      Vlevers & Flowers
106711t      ]LINIC.LASER & COSMETIC SURG.                 V]ASRI CLINIC                             13530 MICHIGAN AVE.             )EARBORN           r'll    !4evers & Flowers
LO67207 :OPE MEMORIAL CHAPEI.                              IO4 W ARRINGTON                                                            ARMINGTON                 leck Redden
                                                                                                                                                        'lM
1067235 }ARBARA STUBEE, MD                                 I77O AERO DRIVE                           ;UITE 3                         ,ORT ARTHUR        x       leck Redden
1067364 IEARNS NURSING AND REHAB CTR,                      39OO STEARNS     AVENUE                                                   JRANITE CITY               ]aker Donelson
to67464 ,/IONTLAWN FUNERAL HOME                            291.1 S   WILMINGTON ST                                                   IALEIGH           !C       ]eck Redden
1067642 RAUL GARCIA DMD                                    )301 SW 55TH     ST                       ;TE A                           VIIAMI            FL       Ylevers & Flowers
L067839 LAKELAND FUNERAL HOME                               125 BARTOW HWY.                                                          LAKELAND          FL       v4evers   & Flowers
1057915 LEXINGTON MANOR                                    ;6 ROCKPORT RD.                                                           LEXINGTON         MS       leck Redden
7068727      PAROCHIAL MEDICAL CENTER                      1065 WEST MAIN STREET                                                     NEW HOLLAND       PA
1068821      PLASTIC SURGERY ASSOCIATES                     3OO   CHAIN BRIDGE RD                    ;TE 2OO                         MC LEAN                    r'levers & Flowers
1069322      HINSDALE ORTHOPEDICS                          ;50 W OGDEN AVE                                                           H   INSDALE                r'leyers & Flowers
1069459      LONG-FISHER   FUNERAL HOME                    i837 SISSONVILLE DR                                                       SISSONVILLE                ]eck Redden
1069s0c MEDINA, VIVIAN DDS PA                              1630   MADACA LN                                                          TAMPA             :L       y'levers & Flowers
106983 HANKINS & WHITTINGTON FUNERAI                        111 EAST BLVD                                                            :HARLOTTE         !C       Beck Redden
106993( HODGES BOULEVARD FOOT & ANKLE                      .HODGES DOOT AND ANKTE DR JASON MANUEL)   13400 SUTTON PARK DRIVE SOUTH   ,ACKSONVI LLE          L   Vlevers & Flowers
107030: 3OVANs DENTAL CENTER                               1805 YORK RD                                                              BALTIMORE         VID      Vlevers & Flowers
1071,31,     HENDRICK MEDICAL CENTER                      1242 NORTH 19TH                                                            \BILENE           tx       JVG LaW
107133; !RIFFIN LE6GETT FUNERAL HOME                      1751 DAVE WARD DRIVE                                                       :ONWAY            \R       leck Redden
to7162  )RAL & MAXILLIFACIAL SURG                         425 ROXBURY RD                                                             ROCKFORD                      y'ers & Flowers
107155! /VNJ- VAN ALYSTENE SPECIALTY                      5OO N. HIGHLAND                                                            ;HERMAN           IX       leck Redden
107185t      iVILLIAMS FUNERAL HOME                       2517 TROTWOOD AVE                                                          :OLUMBIA               N   leck Redden
1072051      /ANCE.BROOKS FUNERAL HOME                     ,o Box 8066                                                               :OLUMBUS          ;A
107272i      /VATSON   - KING                             )o Box 399                                                                 IOCKINGHAM                 Mevers & Flowers
                                                                                                                                                       'lC
LO73672 ]ROWN FORWARD FUNERAL HOME                        17022 CHAGRIN BLVD                                                         ;HAKER HEIGHTS    ]H       Vlevers & Flowers
t07475t iUNSET FUNERAL HOMES                              )521 N LOOP DR                                                              L PASO           rx       leck Redden
LOl443t      IUSSELTjONES DDS                              i39O RUNNYMEADE DR                        ;TE A                           ,LACERVILLE       CA       Vleyers & Flowers
107460(      iATTERWHITE, JON T, DMD                      15OO N     BOWMAN AVENUE ROAD                                              )ANVILLE          [.       Vlevers & Flowers
LO7463S      RAVIS NOE FUNERAL HOME                        ,o Box 306                                                                (IRKSVI LLE       MO       vlevers & Flowers
L07 466t ;OBHI A BATNUI DDS                               ]0231 GOLDEN      LANTERN                  ;TE D                           AGUNA NIGUEL      CA       vleyers & Flowers
ro75082 iKYVIEW MEM LAWN/FAIRFIELD                         FAIRFIELD FUNERAL HOME)                   2OO   ROLLINGWOOD DRIVE         /ALLEJO           CA       vleyers & Flowers
1075578 ,INE HILLS YOUTH CORRECTIONAL                      I N HAYNES AVE                                                            i4lLES CITY       MT
L07576t IICHARD P ANDERSON. DDS.       INC                 804 BUENA VISTA ST                                                        ;AN ANTONIO       TX       Ylevers & Flowers
to76717 AND J DENTAL                                      UJ DENTAL COSMETIC DENTISTRY}              }O NE 3RD ST                    :ORT LAUDERDALE   FL       vleyers & Flowers
1075908 \BORTION & CONTRACEPTIVE           CLINC          IBELLEVUE HEALTH CLINIC'I                  1002    w   MtsstoN             }ELLEVU       E   NE       Mleyers & Flowers
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SCG No.   Name/Address                           {ame/Address                                              Address             City                itate rirm (lf Provided)
LO77277 FAIRFIELD DENTAL CLINIC                  ;1 W ADAMS AVE                                  iTE   1                       FAIRFIELD           IA     r'levers & Flowers
1077678 BAUMGARTNER FUNERAL HOME                 ,o Box 249                                                                    PAGELAND            ic     y'leyers & Flowers
1078884 SILVERTON MD, JOHN                       1133   W MARCH LN STE 1O4O                                                    STOCKTON            :A     ilevers & Flowers
1079737 OVERLAND PARK CARE CENTER                i2O1 METCALF AVENUE                                                           OVERLAND PARK       KS     Ieck Redden
107923L OVERLAND PARK CHAPEL                     I2O1 METCALF AVE                                                              OVERLAND PARK       (s     ]eck Redden
108000, MOUNTS FUNERAL HOME                      ,o Box 1s57                                                                   GILEERT                    r'levers & Flowers
108023t FLORENCE NURSING & REHAB CENTER           107 CLOYD BLVD                                                               FLORENCE            \L    3aker Donelson
108026; MERRILL-GRINNELL FUNERAL HOME            12 INGERSOLL STREET                                                           \LBION              !Y    Beck Redden
108029: FORASTIERE FUNERAL HOME                  IFORASTIERE FAMILY FUNERAL       & CREMATION)    20 NORTH MAIN ST             EAST LONGMEADOW           Vlevers & Flowers
108053( \MIGONE FUNERAL HOME                     2600 SHERIDAN DR                                                              TONAWANDA           \iY   Vlevers & Flowers
108075r :ARTER SLEDGE FAMILY DENTISTRY           772IAKE HARBOR           DRIVE                  SUITE 2                       RIDGELAND           vl5   iVG Law
1.08189( LINCOLN FUNERAL HM                      81OO FIRESIDE DR                                                              DALLAS              x     leck Redden
108380r VIOORE DENTAI.                           113 KENNEDY DR                                  STE   A                       MARTIN              l'N   Vlevers & Flowers
108396   REEDMAN, BRUCE M. MD                     PLASTIC SURGERY ASSOCIATES)                    8180 GREENSBORO DR            MC LEAN                   Vleyers & Flowers
108407: ]RACELAND MORTUARY                       PO BOX r.4966                                                                 3REENVILLE          ;c    leck Redden
108428( \POLLO                                   1O8O   HORTON 5T                                                              :M ERYVI LLE              leck Redden
L08512: (IRK & NICE SUB CHAPEL 383].1            )o Box 11508                                                                  ,HILADELP H IA            leck Redden
108558i OHN L. WALDMAN. D.M.D.                   ;608 WILKINS AVENUE                             sutTE 101                     )ITTSBURGH          >A    vleyers & Flowers
L08s8s1 VIADARAS, JOHN S., DDS                   13 RTE   46                                                                   IACKETTSTOWN              Vlevers & Flowers
                                                                                                                                                   'JJ
108633( NURELLAND FUNERAL HOME                   ,OOO   SOUTH R. L. THORNTON FRWY                                              )ALLAS              x     leck Redden
1087041   IILLIER FUNERAL HOME                   I3O], EAST 29TH STREET                                                                            -t(
                                                                                                                               ]RYAN                     Meyers & Flowers
108755( ADONE FAMILY DENTAL                      2OO9 WARRENVILLE RD                                                           .ISLE               L     Vlevers & Flowers
toala7,   A/EsT AL   FAM PRACTICE                1OO RICEMINE ROAD LOOP                          ;UIIE 205                     tUSCALOOSA          AL    lurr Forman
108800i   IERITAGE FUNERAL HOME                  ;28 N MAIN ST                                                                 IUTCHINSON          K5    leck Redden
108807t A/ESTLAKE DERMATOLOGY                    }825 BEE CAVE    RD                                                           \USTIN              TX    leck Redden
108839! VERLY-COLONIAL FUNERAL HOME              i161   LEESBURG PIKE                                                              ALLS CHURCH           vlevers & Flowers
7088472 OHNSON, JUDY ANN, DR                     1O3O STERLING AVE                                                             ;LOSSMOOR           IL    Vleyers & Flowers
1088s14 ,, MCGOWAN SONS                          133 BROADWAY                                                                  ]AVERSTRAW          NY    leck Redden
ro8872i   IEARD FUNERAL HOME INC                  12 GRANT AVE                                                                 ,ITTSBURGH          PA    ]eck Redden
108925!   ;REEN BRIAR DENTAL CARE, PC             841 GREEN BRIAR PKWY $306                                                    \TLANTA             3A    Vlevers & Flowers
1089372 IICHARD WARNOCK, MD                      IOO   SUTTON ST STE 120                                                       {ORTH ANDOVER       MA     vleyers & Flowers
1089382   IIVER RD VETERINARY                     7OO RIVER RD                                                                  EFFERSON           LA     r4evers & Flowers
to89441    BAY DERMATOLOGY MED GROUP             WASHINGTON PROFESSIONAL CENTER                  I557 MOWRY AVE                :REIV]ONT           :A    Mevers & Flowers
108992r. ,ACIFIC DENTAL CARE                     4430 WILLOW     RD                              ;TF H                         ,LEASANTON          :A    \4eyers & Flowers
108992i ,AIN MANAGMENT CENTER                    108 AIRWAY DR                                                                 !4ARlON             It    Meyers & Flowers
1090084   ;REEN FUNERAL HOME                     57 MAIN ST                                                                    )ANBURY             :T    Beck Redden
1090221 IORTHRIDGE WOODHAVEN FUNERAL             6755 US HWY 51       N                                                        r'IILLINGTON        TN    Beck Redden
109120! :OREST LAWN FUNERAL HOME                 125 ORRS CAMP RD                                                              {   ENDERSONVILLE   NC    Beck Redden
1091349 EVANS FUNERAL SERVICE                    1O70 TAYLORSVILLE         RD                                                      ENOIR           !c    Beck Redden
109r.488 IAMES R. PEOPLE- III. DDS               10497 TOWN & COUNTRY BLVD                       iutTE 410                     IOUSTON             TX    Beck Redden
1097624 FRANK MAZZAFERRO DD5                     ,10 NORTH     GEORGE ST                                                       ROME                      Meyers & Flowers
1091873 DR LAWRENCE ZAGER                        25 E WASHINGTON ST                              ;UITE 825                     :HICAGO                   Vleyers & Flowers
1092006   DEROSE FAMILY DENTISTRY PC             131 NORTH AVE                                                                 BATTLE CREEK              Vlevers & Flowers
1092294 BHATIA. S.K.. DR.                        7451 WOODWARD AVENUE                            ;UITE 102                     /UOODRI DGE               Vlevers & Flowers
to924st   sARDNER, JEROME I. DDS                 2960 HARDMAN COURT                                                            \TLANTA             JA    Vleyers & Flowers
109250;   LMONT FUNERAL HOME                     1529 HEMPSTEAD TURNPIKE                                                       ELMONT              \iY         s   & Flowers
109302:   )R DICKENS                             JAMES DICKENS/CASCADE MEDICAL WELLNEss}         IO1 HOWE AVE STE HsO BLDG H   ;ACRAMENTO          :A    Vlevers & Flowers
109305!   ]RITLINGER FUNERAT HOME                2827 N OAKLAND AVE                                                            )ECATUR                   leck Redden
109405t   :UTsHALL FUNERAL HOME                  302 N PEARL ST                                                                UKA                 vlS   leck Redden
1094171   :AROLINA VEIN CENTER                   ,309 HIGHGATE DR                                                              )URHAM              ic    Iaytoun Law Firm
109495:   ]IRMINGHAM NURSIN6 & REHAB CTR         733 MARY VANN LANE                                                            ]IRMINGHAM          \t    Jaker Donelson
109499:   ]UCK ASHCRAFT FUNERAL HOME             7],0 N ED CAREY DR                                                            IARLINGEN           -x          s   & Flowers
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iCG No     Iame/Address                               {ame/Address                              \lame/Address                 :ity               itate   :irm (lf Providedl
 109514!   ;ERSHENBAUM DR. SAM                        I5O S   MIAMI AVE                         iUITE C                       vltAMt             :L      Vlevers & Flowers
L09527a    VIALCOLM PEDIATRIC DENTISTRY               163 CADILLAC CT                           ;TE 3                         ]ELVI   D ERE              Vlevers & Flowers
t09s47a    ]OUGHTON LEASURE FUNERAL                   IOO E WEST ST                                                           JEORGETOWN                 Vleyers & Flowers
109558;    }EAMS FUNERAL HOME                         )o Box 5                                                                :REMONT             N      leck Redden
109575t    )ALLA VALLE F.S.I                          ,.o. Box L79                                                            ]VERETT                    vlevers & Flowers
1095933 IIVERSIDE NURSING AND                         IEHABILITATION CENTER, LLC                17OO    NW CLIFF VIEW DRIVE   IIVERSID   E       !4O     laker Donelson
1096371    ,IERCE ]EFFERSON FUNERAL SVC                13   W MOUNTAIN ST                                                     (ERNERSVILLE       ,tc     leck Redden
tog6447 AY CHAPEL, INC.                               1121 ROBERTS AVE                                                        \4ADERA            ]A      vlevers & Flowers
109644r EFF EBERHART FUNERAL HOME                     )o Box 676                                                              )ALLAS             iA      leck Redden
1096764 .ODI FUNERAL HOME                             /25 5 FAIRMONT AVE                                                      .oDt                       ]eck Redden
1096904    \RAB HERITAGE MEMORIAL CHAPET              ,o Box 827                                                              \RAB               \L      lurr Forman
to97707     HERAPEUTIC CONCEPTS PA                     ,OSEPH C, GATHE JR.    MD)               T9OO    FANNIN 5T             lOUSTON            rx      vlevers & Flowers
L097338 }EKAVAC FUNERAL HOME                          ;55 FIFTH ST                                                            ]LAIRTON           PA      ]eck Redden
10978st NGRAM FUNERAL HOME                            I4l WEST MAIN                                                           \LBION             It      ]eck Redden
1098358 DR BRENT MOELLEKEN                            120 S SPALDING DR                         ;TE 110                       }EVERLY HILLS      :A      vlevers & Flowers
1098459 DRS. ALBERS & FRANCIS                         ADVANCED PERIODONICS & IMPLANT SPECIAL)   IO35 MORSAY DR                IOCKFORD           IL      vleyers & Flowers
L098469 ARBOR HOUSE                                   ARBOR HOUSE OF MUSTAN6)                   I4O1 TEE CIRCLE S1O3          NORMAN             ]K      ]eck Redden
1098533 ADVANCE DENTAL CARE PC                        ,o Box 90539                                                            BURTON             MI      y'levers & Flowers
109864s AESTHETIC PLASTIC SURGERY                     3315 CANIRELL AVE                         ;UITE 120                     LITTLE ROCK        \R      vleyers & Flowers
1099253 DIETERIE MEMORIAL HOME                        1120 S BROADWAY RD                                                      MONTGOMERY         It      r'levers & Flowers
1099386 ARTHRITIS & OSTEOPOROSIS CLIN(                 212 CLINIC   DR                                                        TYLER              TX      vlevers & Flowers
1099941 LAMBETH TROXLER FH 4321                       IOO   WEST WENDOVER BLVD                                                GREENSBORO         NC      ]eck Redden
1r.00089   TODD W. REEVES, DMD                        120 UNION STREET                                                        MARLBOROUGH        MA      vlevers & Flowers
L100141    r'ALHALLA FUNERAL HOME                     ;3T7 BESSEMER SUPER HWY                                                 BIRMINGHAM         \L      ieck Redden
1100584    MT WOMEN'S PRISON                          IO1 SOUTH 27TH STREET                                                   BILLINGS           MT
1100816    STONEMORE PARTNER, L.P.                    :/O WEBER FUNERAL HOME                    ;02 RIDGE AVENUE              qLLENTOWN          PA      )eck Redden
11.00961 PRIMARY CARE PHYS OF HOLLYWOOD                488 N. UNIVERSITY DRIVE                                                HOLLYWOOD          FL      !4evers & Flowers
110111     ABOVE AND BEYOND DENTISTRY                 I64 FINANCIAL CT                           TEA                          ROCKFORD                   y'levers & Flowers
t70122     MOUNDRIDGE IVIANOR                          10 N CHRISTIAN                                                         MOUNDRIDGE         (5
ttoLSTt    HERITAGE DILDAY MEMORIAL SRVC              17911 BEACH BLVD                                                        HUNTINGTON BEACH   :A      Vlevers & Flowers
t70226     TED DICKEY FUNERAL HOME                    2128 18TH STREET                                                        PLANO              rx      3eck Redden
110265     :OMPREHENSIVE OUTPATIENT sURG              250 N ROEERTSON BLVD                      iTE 104                       BEVERLY HILLS      :A      Silverman & Millisan
110299 :ALALLEN MINOR EMERGENCY                       11559 LEOPARD SI                                                        :ORPUS CHRISTI     iX      Vlevers & Flowers
110339 RINGGOLD NURSE AND REHAB CENTER                2501 KENNETH STREET                                                     RINGGOLD                   Baker Donelson
110392( r'/OODTICK MEMORIAL                           420 WOODTICK       RD                                                   WOLCOTT            :T      Meyers & Flowers
tto427t    RIVERSIDE ALTMEYER F.H                     ALTMEYER FUNERAL HOME - NEWPORT NEW VA    5792 GREENWICH      RD        r'IRGINIA BEACH            Beck Redden
110455( BERGIN FUNERAL HOME                           290 E MAIN ST                                                           r'i/ATERBU RY      :T      Vleyers & Flowers
t10457     ]ITTLES & HURT                             PO BOX 882                                                              SREENCASTLE        N       leck Redden
1704621    ]UCKTROUT OF WILLIAMSBURG                  ALTMEYER FUNERAL HOME WILLIAMSBERG VA)    5792 GRENWICH RD              /IRGINIA BEACH             leck Redden
t7052t1    UNK FUNERAL HOME                           35 BELLEVUE AVE                                                         BRISTOL            :T         yers & Flowers
110545t    IUGH MARCHMONT-ROBINSON                    3302 GROVE AVE                                                          BERWYN                     Vlevers & Flowers
110660( TIFFANY FUNERAL HOME                          3232 WEST SAGINAW HGWY                                                  LANSING            v1l     leck Redden
110661r TOBIAS FUNERAL HOME BEAVERCREE                i48 WATERVLIET AVENUE                                                   )AYTON             ]H      leck Redden
110595S    }URT FORGASON, MD                          14441 MEMORIAL                            SUITE 6                       IOUSTON            tx      Vleyers & Flowers
170732 ONES,KRISTA M                                  2000 sE 15TH                              BLDG 2OO                       DMOND             )K      Vlevers & Flowers
110789( REEMAN HARRIS FUNERAL HOME                    ,o Box 32                                                               IOCKMART           JA      leck Redden
110477( IUCKERS MORTUARY                              12460 VAN NUYS BLVD,                                                    )ACOIMA            -A          /ers & Flowers
1L0834( iANSONE FUNERAL HOME                          192 WOOD ST                                                             lRtSTOt            lt      Mevers & Flowers
110837S )OWNTOWN DENTAL SERVICES                      1955 HARRISON ST                          sTE 103                       ]EAUMONT           -x      leck Redden
11086s! VIETAIRIE INSTITUTE                            ]1   ST ANNE DR                          STE 2                         VlANDEVI LLE        A      \4eyers & Flowers
110912(    LITE SURGICAL    & AESTHETIC CEN           2665 EXECUTIVE PARK DR                    ;TE 1                         /VESTON            :L      Vlevers & Flowers
1109191     CHRIs GOWAN, DDS, P.A.                    POST OAK DENTAL (TX))                     77OO SAN FELIPE ST            {OUSTON            rx      leck Redden
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3CG   No.   Name/Address                             {ame/Address                                                       Address   City               State   :irm (lf Providedl
1109338 DR. DAVID SCHWARTZ                           )933 LAWLER AVE STE 340                                                      SKOKIE             IL      vlevers & Flowers
1709423 CENTRAL COAST ORAL SURGERY                   1428 OAK ST                                                                  PASO ROBLES        :A      r4eyers & Flowers
1109718 FAKLARIS, MARIA, DDS                         IOO   HIGGINS RD                                                             PARK RIDGE         IL      vlevers & Flowers
1110416 r'NA COMMUNITY SERVICES                      1421 HIGHLAND AVE                                                            ABINGTON           PA      r'levers & Flowers
L7t04s7     CARTHAGE AMBULANCE SERVICES              tOT W WATER ST                                                               CARTHAGE           MS      vleyers & Flowers
1110899 MODERN LAB                                    793 BLOOMINGDALE           RD                       ;TE   1                 GLENDALE HEIGHTS   IL      r'leyers & Flowers
1111360 BASCTANO & AS50C                             VIARCIA BASCIANO, DDS                                 932 FINLEY RD          DOWNERS GROVE      IL      y'levers & Flowers
L1],1742 SOUTH DENTAL DADELAND                       :FREN MORALES                                        16705 SW 95TH ST        MIAMI              FL      r'levers & Flowers
111198; ;TERLING.WHITE CHAPEL FUNERAL                ) o Box 325                                                                  THE HIGHTANDS      il      r'leyers & Flowers
t1,12781 WHITE, DR. CALVIN                            101 GEORGE WASHINGTON MEM HWY                                               YORKTOWN                   r'levers & Flowers
t773s4      MANHATTAN NUSING & REHAB 825             }540 MANHATTAN RD                                                            JACKSON            vts     iaker Donelson
111356      \4ARSHALL. DONLEY & COMBS                IO1 25TH AVE                                                                 NASHVILLE          rN      leck Redden
777347      HEALTH SERVICE5                          }O5O MOBILE HWY                                                              MONTGOMERY         \L      Burr Forman
LLr427l :ARE      PLUS MEDICAL CENTER                3201 UNIVERSITY DR      E                             135                    BRYAN              rx      Beck Redden
7tl437t     :LARK FUNERAL HOME                       351 COMMERCE 5T                                                              HAWKINSVILLE       JA      Beck Redden
1Lt447      BAYLOR  ANIMAL CLINIC                    826 GRAND AVENUE                                                             BACLI FF           rx      Beck Redden
1,1,1,470t JAY   HEIM, DDS                            COREY I. JOHNSON DDS PCI                            2425 GRAND AVESTE 109   3LENWOOD SPRINGS           Vlevers & Flowers
L1.1,471! :ITTON, RUSSEL, DR                         320 S NORTHWEST HWY                                                          BARRINGTON                 Vleyers & Flowers
711444      SENTLE FAMILY DENTISTY                   2OO4 E RIVERSIDE BLVD                                                        LOVES PARK                 Vlevers & Flowers
LL1493      IAIRSTON FUNERAL HOME                    PO BOX 801                                                                   MARTINSVILLE               Vlevers & Flowers
1 11575t    JAIRD-CAsE BROWARD MEMORIAL FH            BAIRD-CAsE JORDAN-FANNIN FUNERAL HOME)              4701 N STATE RD 7       FORT LAUDERDALE    :I         yers & Flowers
111596:     ]OWERS. KURT DDS                         ) HEARTLAND      DR STE A                                                    BLOOMINGTON                Mevers & Flowers
111551(     JECKER RITTER FUNERAL HOME               14075 W NORTH AVE                                                            ]ROOKFI ELD                Mevers & Flowers
7777421     VERLY FUNERAL HOMES, INC                 10565 MAtN ST                                                                :AIRFAX                    leck Redden
Ltt743!     :AITH & FAMILY FUNERAL SERVICE           ,o Box 220                                                                   ]ATSON             x       Vleyers & Flowers
71t769( )RTHOPEDIC        SURG, ASSOC.               222 MERRIMACK ST.                                    ROOM 300                .OWELL             vlA     Vlevers & Flowers
77179't     .EWIS FUNERAL HOME                       )o Box 189                                                                   VIILTON            :L      Mevers & Flowers
111800:     JERRETS, DR. THOMAS     f                ;99 A STEED RD.                                                              TIDGELAND          14S     leck Redden
1118801     JREER FAMILY MORTUARY                    2694 BLANDING AVE                                                            \LAMEDA            :A             s & Flowers
111904t     VIANUEL ROGERS & SONS                    1521 N MAIN STREET                                                            ALL RIVER                 leck Redden
1.11905t VIARTENS & SONS AMBULANCE                   10830 BROOKPARK RD                                                           :LEVELAND          OH      Vleyers & Flowers
111915i VIELROSE ABBEY MEMORIAL                      2303 S MANCHESTER AVE                                                        \NAHEIM            CA      leck Redden
71,7941t :OURI, CHRISTOPHER J DDS                    1101 N NORTH 5T                                                              ,EORIA             IL      Mevers & Flowers
1120301 :OLE, RONALD N.. DMD PC                      1727 N OAKLAND AVE                                   ;TE 103                 ]EARSDALE          It      Vleyers & Flowers
11205 1: .ATHAM FUNERAL HOME                         ,.o Box 176                                                                  :LKTON             KY      vleyers & Flowers
L127783     IECHAR EAILEY FUNERAL HOME               ,o Box 337                                                                   JREENVILLE         OH      ]eck Redden
77218Lt     )R IKERD   AND HASTE                     HASTE    &   IKERD PODIATRY)                         1501      E   20TH ST   OPLIN              MO      vleyers & Flowers
Lr2r974     }HC ARLINGTON                            r30 4TH ST. SW                                                               ]IRMINGHAM         AL      lurr Forman
LL22721 :ARTER CO RESCUE SQUAD                       CARTER COUNTY EMERGENCY          &   RESCUE SQUAD)   ).o.Box 776              LIZABETHTON       TN      vleyers & Flowers
1122763 ,lENDRICK MEDICAL CENTER                      242 N 19TH SIREET                                                           \BILENE            TX      VG Law
t1,23244 }YRON KEENAN FUNERAL HOME                   1858 ALLEN ST                                                                ;PRI NGFIELD               vlevers & Flowers
L72376e EFFERSON CITY NURSING & REHAB CENTER         1221 SOUTHGATE LANE                                                          EFFERSON CITY      MO      Baker Donelson
7723645 ;TANLY FUNERAL HOME                          PO BOX   207                                                                 \LBEMARLE          NC      Beck Redden
1,124662            FUNERAL HOME                     135 EAST FRONT ST                                                            ;TATESVILLE        NC      Mevers & Flowers
        'IICHOLSON
1124908 r'IADDUX, FUQUA & HINTON F,H.                7OO   COUNTRY CLUB LANE                                                      {OPKI NSVILLE      KY      Vlevers & Flowers
Lt25Ll,     ;TRUsS, ED DR                            153 BURT ROAD sTE 3                                                          .EXINGTON          KY      Vleyers & Flowers
7725173 PAIN MANAGEMENT CENTER                       2831 LONE OAK RD                                                             ,ADUCAH            KY      Vleyers & Flowers
1725261 THE DOCTORS CENTER                           4637 S PADRE ISLAND DR.                                                      :ORPUS CHRISTI     il      Mevers & Flowers
L1.25532 KANDASAMI SENTHILKUMAR, MD                  PO BOX 12685                                                                 3EAUMONT           rx      Beck Redden
Lt25s3a KANSAS CITY SKIN & CANCER CTR                9301 W 74TH ST                                       ;TE   230               SHAWNEE MISSION
7726247 PRIMARY CARE PHYSICIANS                      2488 N UNIVERSITY DRIVE                                                      HOLLYWOOD          :L      Mevers & Flowers
1726968 MYONES, WILLIAM DMD PA                       1 SW 129TH AVE                                       iTE 301                 PEMBROKE PINES     :L      Meyers & Flowers
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 L12705( HERITAGE F,H. CHATTANOOGA                      7454 E, BRAINERD RD.                                                        :HATTANOOGA        N    vlevers & Flowers
7tz734t    PARKCREST PLASTIC SURGERY INC                845 N NEW BALLAS CT STE 3OO               NEW BALLAS CT STE 3OO             :REVE COEUR       vlo   Vlevers & Flowers
112764!    ;HORELINE MEDICAL ASSC                       1353 BOSTON POST RD                       STE 1                             MADISON           ]T    Vleyers & Flowers
tt2765t    ;IMPLE TRADITIONS FAMILY HEALT               327 MAGNOLIA BLVD                         STE 6                             MAGNOLIA          tx
112787     (ENTUCKY MORTUARY SERVICE                    104 DENNIS DRIVE                                                            LEXINGTON         (Y      leck Redden
1727961    flOODFIN MEMORIAL CHAPEL                     PO BOX 636                                                                  MU RFREESBORO         N   leck Redden
772AO4i    )RAIRIE MISSION RETIREMENT                   242 CARROLL                                                                 ;AINT PAUL            s   lines and Jones
Lr2832t /VIEGAND    BROTHERS FUNERAL HOME               7454 S TAMIAMI TRL                                                          iARASOTA          :L      leck Redden
t72A31(    iVILLIAMSON FUNERAL HOME                     ]852 DAYTON PIKE                                                            ;ODDY DAISY           N   Meyers &    lowers
112850     \4ACE, DR JAYME DMD FAMILY DENT              323 S CASCADE sT                                                             ERGUS FALLS      vtN     Meyers &    lowers
112910( ;TONE & JOHNSON                                 33OO EDINBOROUGH WAY                                                         DINA             vtN     Mevers &    lowers
ttzg467 THOMAS A. FALBO                                 :ALBO DENTAL OFFICE                       27OO EAST DUPONT AVE              ]ELLE                     Vleyers &   lowers
  129527 ]REA DENTAL GROUP                              ;03 E IMPERIAL HWY                                                          ]REA              I            rs& lowers
 L29A7(    IEPUBLIC SERVICES                            GILL FUNERAL SERVICE)                     PO BOX 2998                       )HOENIX                   leck Redden
 13001 IUSSO, JOHN J. DDS                               iUSSO DENTAL CARE, A DENTAL CORPORATION   1101    EL   CAMINO REAI          ;AN BRUNO                 Vleyers & Flowers
113006( ;EAWINDS FUNERAL HOME                           735 FLEMING          ST                   \CCOUNTS PAYABLE                  ;EBASTIAN        FL       leck Redden
 1301L4    SRAND RAPIDS DENTAL CARE                     V]ICHAEL HAGLEY DDS,                      220 S.E. 21ST STREET              IRAND RAPIDS     MN       vlevers & Flowers
 1,30264 IOMANO FUNERAL HOME                            i27 UNION      AVE                                                          ,ROVIDENCE       RI       leck Redden
  30732 \LTMEYER FUNERAL HOME                                     GREENWICH RD                                                      /IRGINIA BEACH            leck Redden
 13108( TEDLAND ANIMAL HOSPITAL                         '792 SW 177TH AVE
                                                        14840                                                                       lOMESTEAD        FL       vlevers & Flowers
 L32L4a ]REMATION SOCIETY OF MN                         I343 NICOLLET AVE.                                                          VIIN NEAPOLIS    MN       leck Redden
  32391, v]OUNTAIN VIEW MORTUARY                         4OO FAIR OAKS AVE                                                          \LTADENA         CA       leck Redden
 13249a ,/lT OLIVET CEMETARY FUNERAT                    110], LEBANON PIKE                                                          {ASHVILLE        TN       )eck Redden
 t32574 )R KENNETH SINGLETON        B                   ]501 LA SALLE ROAD                        ;TE   310                          OWSON           MD       vlevers & Flowers
  33544 )LTHOF FUNERAL HOME, INC,                       IOSO PENNA AVENUE                                                           :LMIRA           NY       Beck Redden
 13367t UIS C MENENDEZ DDS                              t0-29 76TH      ST                                                          !LMHURST         NY       Meyers & Flowers
 134033 F FLOYD MORTUARY                                :FLOYD'S PACOLET CHAPEL)                  FLOYD'S BOILING SPRINGs CHAPEL)   ;PARTANBURG      ;c       Beck Redden
 134188 LINGNER.COPE FAMILY FUNERAL                     45OO S LONE PINE RD                                                         ;PRINGFI ELD     MO       Beck Redden
 134267 JILLERAN. PATRICIA DDS                          25   E   WASHINGTON ST                    ;TE 1101                          :HICAGO          IL       Vleyers & Flowers
 134634 iITARDY Ft]NERAL HOME                           1.008 MADISON AVE                                                           :ORT ATKINSON             Beck Redden
 135039    \NGEL VALLEY FUNERAL HOME                    P.O. BOX 3s23                                                               :ARMINGTON       {M       Beck Redden
 13534     BERNICE NURSING   &   REHAB CENTER           101 REEVES STREET                                                           SERNICE                   Baker Donelson
  3s484 BRIAN J. CHIFFER, DMD                           875 MAIN 5T                               , o Box 356                       S GLASTONBURY    :T       Vlevers & Flowers
  3s61C INTERNAL MEDICINE ASSOCIATES                    1OO RICE MINE RD N                        iUITE B                           TUSCALOOSA       \L       Burr Forman
  36t2C IHOMAS, RICHIE, DDS PA                          102 ALABAMA ST STE A                                                        :RESTVIEW                 Meyers & Flowers
  36L4 TORRES, MARIA. DRA                               PARQUE VILLA CAPARRA      f24             ]ALLE SUANIA                      SUAYNABO         ,R
LL3624: Ir'ALKER, WILLIAM G. DMD                        GEORGE       WILLIAM WAIKER. DMD)          10 NORTH WASHINGTON ST           BUTLER                    Vlevers & Flowers
  37761 IHOMAE-GARZA FUNERAL DIRECTORS                  DYLAN CORP                                ,O BOX 92 395 S SAM HOUSTON       SAN BENITO       tx       Mevers & Flowers
  3732! ;ALINA HEALTH EDUC. FOUND.       INC            ,51      E. PRESCOTT                                                        ;ALINA           (s       Vleyers & Flowers
 13783S    )RATTVILLE MEMORIAL CHAPEL                   ]41. FAIRVIEW AVE                                                           )RATTVI   LLE    \L       3urr Forman
  3789( ]EERs & STORY FUNERAL HOME                      1475 NORTH MAIN ST                                                          )ALMER                    leck Redden
  3838 ,EDIATRIC FIRST                                  ],049 N HOUSTON RD                                                          IVARNER ROBINS   JA       Vlevers & Flowers
  3908: ]EGGS FUNERAL MADISON                           235 N.W ORANGE AVENUE                                                       \4ADISON                      /ers & Flowers
  39251    \DVANCED CARDIOVASCU LAR                     755 NORTH 1lTH ST                         sutTE P-2200                      ]EAUMONT         -x
                                                                                                                                                              leck Redden
  3963!    VANS BROWN MORTUARY                          27010 ENCANTO DR                                                            ;UN CITY         :A       Vlevers & Flowers
 14036i    ]RANDON NURS & REHAB CTR                     355 CROSSGATE BLVD                                                          ]RANDON          vls      laker Donelson
 14063:    [4CCOMB NURSING & REHAB CTR                   15 MARION AVENUE                                                           VIC   COMB       ,/lS     laker Donelson
 ].40735   VIICHAEL SHARP                               1914 S BURDICK ST                                                           GTAMAZOO         dt       vlevers & Flowers
7740771  ,ROOMS FUNERAL HOME                            ].071 HWY l SOUTH                                                           :HERAW           ;c       vlevers & Flowers
114108( IREENLAWN MEM PARK & FH                          }45 LEESBURG RD                                                            ]OLUMBIA         ;c       ]eck Redden
11,41755 :RESPO & JIRRELS FUNERAL HOME                   i123 GARTH RD.                           \CCOUNTS PAYABLE                  ]AYTOWN          -x
                                                                                                                                                              vleyers & Flowers
1141933 )AKMONT MORTUARY STONEMOR f842                  IO99 RELIEZ VALLEY RD                                                       .AFAYETTE        :A       leck Redden
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1,L421,51    JARKSDALE DENTAL ASSOC., PA                  ,25   BARKSDALE ROAD                  sutTE 117                  NEWARK               )E      Meyers & Flowers
tl.421,61    ]ARRINGTON ORTHOPEDIC SPECIALI               ]29 W HIGGINS ROAD                                               iCHAUMBURG                   Mevers & Flowers
L742201      ]ETZ & STEWART FAMILY FUNERAL                171 GUY PARK AVE                                                 \MSTERDAM            {Y      leck Redden
t7422Lt VIENOMONEE           FALLS ORAL SURGERY           \]96W1822]. COUNTY LINE      RD                                  VIENOMONEE FALLS                y'ers & Flowers
Ll4228!      ]RAUN. THOMAS                                    312 PLAINFIELD RD                                            ,OLIET                       Mevers & Flowers
71,4259i .AWTON-RITTER-GRAY . LAWTON                      i32 SW    C AVE                                                  -AWTON               )K      Mevers & Flowers
1,1,4265     \RROYO SECO ANIMAL HOSPITAL                  ;   BAR D FOUR ROAD                                               SPANOLA             {M      Meyers & Flowers
It4272a l.OM LONGWILL                                     305 WEST TILDEN                                                  TOSWELL              iM      vlevers & Flowers
1,14295)                      FUNERAL HME/CRMTY                                                                                                 -N
             VlORRIS-BAKER                                2OO1 E OAKLAND AVE                                                OHNSON CITY                 leck Redden
  L4322t )NE       CROSS HEALTH CLINIC                    101 WINSTON WAY                       STE   E                    :AMPBELLSVI LLE      U       Vlevers & Flowers
  14333: (EYSTONE GARDNER BROCKMAN           FH           iO5 MAIN STREET                                                  /INCEN NES           N       leck Redden
  14339t (OOTENAI URGENT CARE                             7OO   W IRONWOOD DR sTE 22OE                                     :OEUR D ALENE        ID      {awlev. Troxell. Ennis & Hawlev
  74449t IIDOUTS BROWN SERVICE                            711 MEMORIAL DRIVE SW                                            )ECATUR              CL      leck Redden
 14509       iHEPHERDS CLINIC                             28OO KIRK AVENUE                                                 ]ALTIMORE            MD      iordon Feinblatt
 r4520(      ]EHM FUNERAL HOME INC                        )o Box 440                                                        EFFERSON            PA      leck Redden
114s6sI      )R CULBERSON                                 , o Box 536                                                      3REENSBU RG          LA      Vlevers & Flowers
Lt45757 :FA VEIN       CARE OF MONTANA                    1417 gTH ST S STE 201                                            !REAT FALLS          MT      vleyers & Flowers
1L4589       .INCOLN FUNERAL HOME                         ]1OO FIRE5IDE DR                                                 )ALLAS               TX      leck Redden
Lt4595t       HE EYE CLINIC OF   IX                       I3O2 AVENUE       P                                              JALVESTON            TX      leck Redden
114600i      VIARYLAND ORTHOPEDICS                        PREMIER ORTHOPEDICS, PA)              3570 5T JOHNS LANE          LLICOTT CITY        MD      Vleyers & Flowers
t146702      VIICHAEL JONES   MD                          1121 BRIARCREST                       ;TE 303                    ]RYAN                TX      ]eck Redden
t1,46364 iVHITE COLUMNS CHAPEL                            ].115 CLAY ROAD                                                  VIABLETON            3A      leck Redden
L146484 V]UELLER. WILLIAM K.. DDS                         )101 DYER ST STE 201                                              L PASO              TX      vleyers & Flowers
11,46521 lICKS FUNERAL HOME                               ,o Box 633                                                        LBERTON             3A      ]eck Redden
LL4765(      ;HEPHERDS CLINIC                             I8OO KIRK AVE                                                    }ALTIMORE            MD      iordon Feinblatt
tL47764 VICDONALD FUNERAL HOME                            }01 WEST CANAL                                                   >ICAYUNE             MS      leck Redden
Lt4807E IICHARDSON 5TAFFORD FUN.HOME                      5TAFFORD FUNERAL HOMEI                780 WINSTED STREET NORTH   ;PRING GREEN                 Vleyers & Flowers
1148826 iIMPLICITY LOW CNTRY CREMATION                    I475 PEPPERMILL PARKWAY               iTE   E                    iORTH CHARLESTON     tc      Beck Redden
L74972t      URNER FUNERAL HOMES. INC,                    14360 SPRING HILL DR                                             ;PRING HILL          FL      Beck Redden
11,49A22 MOODARD FUNERAL                                  P.O. BOX   797                                                   TVESTMORETAND        TN      Vleyers & Flowers
115049t      A/ILSON CHAPEL OF THE ROSES                  STONE MORE OR SUBSIDIARY              )65 W HARVARD AVE          IOSEBU RG            )R      Beck Redden
1150583      /ERNON WOODS ANIMAL, PC                      270 VERNON WOODS DR 5        E                                   \TLANTA              5A      Vevers & Flowers
1150913             ORAL & MAXILLOFACIAL                  4185 TECHNOLOGY         FOREST BLVD   iTE 120                     HE WOODLANDS        TX      Meyers & Flowers
        'IORTHWEST
1150981 ;EASIDE FUNERAL HOME                              1915 ORD GROVE AVE                                               ;AND CITY            :A      Beck Redden
             .SE
t1.5I475   BONITO                                         PO BOX 1321                                                      ]ALLUP               NM      Beck Redden
Lt52191 ]MEGA FUNERAL & CREMATION           SVCS          223 SE 122ND AVE                                                 ,ORTLAND             )R      Beck Redden
tL52298 SUNSET FUNERAL HOMES                              4631 HONDO PASS DR                                               :L PASO              rx      Beck Redden
115254! ;TEINDLER ORTHOPEDIC CLINIC                       2751 NORTHGATE DR                     ;TE   1                    owActry              A       \4evers & Flowers
115315 SCOTT FUNERAT HOME                                 504 W INTERLAKE BLVD                                              AKE PLACID          :I      Beck Redden
1153194 MC ELROY, WILLIAM J DDS                           231 S GARY AVE STE 105                                           ]LOOMINGDALE                 Vlevers & Flowers
1153198 MCCAULEY MICHAEL MD                               THE SKIN CLINIC                       410 N COMMERCE ST          \RDMORE              x       Beck Redden
L7s3631 iCHNEIDER, DR. J.        R.                       120 S LOCUST ST                                                  FLORENCE              t      Vlevers & Flowers
1153641 sCI GEORGE SMITH & SONS FH                        PO BOX 10457                                                     ,ACKSON              rN      Beck Redden
7753A22 LEWIN FUNERAL HOME                                PO BOX 393                                                       FREMONT                      Meyers & Flowers
11s3854 ,OTZ FUNERAL HOME                                 ].001 FRANKLIN RD SW                                             ROANOKE                      Vleyers & Flowers
11s5401 SLAND FUNERAL HOME                                4 CARDINAL ROAD                                                  HILTON HEAD ISLAND   ;c      leck Redden
1155591      ,RIMARY CARE PHYS OF HOLLYWOOD               2488 N UNIVERSITY     DR                                         PEMBROKE PINES       :l      \4evers & Flowers
115700       !ARDOLILLO FUNERAL HOME                      1278 PARK AVE                                                    :RANSTON             il      Vleyers & Flowers
t757461      VICMILTON, RAY, DR                           148 CHENOWETH LN                                                 LOUISVILLE           (Y      Meyers & Flowers
115764       )ARIS HENRY CO, CLINIC                       305 TYSON AVENUE                                                 ,ARIS                 N      Mevers & Flowers
1,1,5795'1   :ORAL RIDGE ANIMAL HOSPITAL                  I8O1 E COMMERCIAL BLVD                                           FORT LAUDERDALE      :t      Meyers & Flowers
115808t      \4CLAUGHLIN MORTUARY                         17 CHESTNUT AVE., S.E                                            :ORT WALTON BEACH    ;I      Vleyers & Flowers
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 1 15823(   :EBALLOS-DIAZ FUNERAL HOME                  }22       KUHN                                                                                -x
                                                              E                                                                    DINBURG                    Vlevers & Flowers
 115830;    ;LICKMAN, STEVEN DDS                        71 FRANKLIN TURNPIKE                       SUITE 1-1                      /VALDWICK           iJ      Vlevers & Flowers
 115830!    SLOBAL MORTUARY AFFAIRS                     I24 5 BRYAN BELT LINE       RD                                            V]ESQUITE           x       leck Redden
115864:      UNGBLUT, ROBIN, DD5                        I93 DUANE STREET                           ;UITE 103                      ;LEN ELLYN                  Vlevers & Flowers
115906:     vllsstoN FtRsr                              ,o Box 250                                                                ACKSON              vts     leck Redden
1159384      LM COURT DENTAL ASSOCIATES                 1 ELM COURT                                                               VIETUCHEN           {l      vleyers & Flowers
1159654     )R JEFFERY LOWE                              IFETIME DENTAL CARE                       2701 STERNBERG DR              lAYS                (s      ]eck Redden
1L59791     \RBOR HOUSE ASSISTED LIVING                 1257 LOWES DR                                                             TEMPLE              'x      leck Redden
1160681     ;REAT LAKES HEART & VASCULAR                I95O HOLLYWOOD RD                          iTE 110                        ;AINT JOSEPH        vlt     vleyers & Flowers
1t60744 )ARLING.FISHER        CHAPEL OF HILLS                 N 5ANTA CRUZ AVE                                                    .os GATOS           :A      vlevers & Flowers
L767326 FARLEY FUNERAL HOME                             '15 S NOKOMIS AVE
                                                        165                                                                       /ENICE              :L      Vlevers & Flowers
L76La47 DYER FAMILY DENTAL                              14509 HORIZON BLVD                         ;TE B                          IORIZON CITY       rx       Vleyers & Flowers
1152150 FAMILY MEDICINE OF GEORGETOWN                   iOOS      DAWN DR                          ;TE 201                        ;EORGETOWN         rx
L162843 CUTBIRTH & SANDERSON                            ).   o. Box   199                                                         MAGNOLIA           TX       leck Redden
L162943 SOLDBERG, ROBERT DR. DDS                        1401 MCHENRY RD. S 121                                                    BUFFALO GROVE      [.       vieyers & Flowers
1163106 DEVANNY-CONDRON FUNERAL HOME                    }O MAPLEWOOD AVE                                                          PITTSFIELD                  vlevers & Flowers
1163200 FRANKLIN & DOWNS FUNERAL HOMES                  tO5O MCHENRY AVE                                                          MODESTO            :A       r'levers & Flowers
1163852 ARBOR HOUSE ASSISTED LIVING                     IO2O RIDGE RD        # 33                                                 ROCKWALL           TX       Ieck Redden
fi63976     KEYSTONE REYNOLDS FUNERAL HOME              ;18 WEST MAIN ST                                                          WAYNESBORO                  ]eck Redden
116453! ENEA FUNERAL HOMES                               309 ACME RD                                                              ILION              NY       r'levers & Flowers
116455r EVERLY WHEATLEY FUNERAL HOME                    15OO   W BRADDOCK RD                                                      ALEXANDRIA                  r'leyers & Flowers
116501r :HIPPEWA VALLEY ORTHOPEDIC                       2OO OAKLEAF        WAY                    ;TE A                          qLTOONA                     y'leyers & Flowers
116514 DR. C, DAVID WEST, DDs                           IFAMILY AND COSMETIC DENTISTRY/FAIRBURN)   }65 SOUTH PEAR ORCHARD RD,     RIDGELAND          M5       leck Redden
116537r :AsTRO, FABIO MD                                19495 BISCAYNE BLVD                         fE 204                        MIAMI              :L       Meyers & Flowers
1,16562     ;AMFORD UNIVERSITY                          ]OO LAKESHORE DRIVE                                    HALL RM 301        BIRMINGHAM         \L       Burr Forman
1.16621( JAMIE INMAN DO                                 4305 S. HULEN                              'AMFORD                        FORT WORTH         tx       Vleyers & Flowers
115639:     )RRICO, ANTHONY J, DMD                      198 VAN VORST ST                           STE C                          ,ERSEY CITY        {J
LL6643t TVATSON-MATTHEWS FU NERAL HOME                  PO BOX     283                                                            MONTEZUMA          JA       leck Redden
LL6667t ]ATES WALLACE & HEATH                           PO BOX r.5s                                PO BOX 155                     MIDDLEPORT         {Y       leck Redden
 16708t VIICHAEL I BARR DDS                                   W BOYNTON BEACH BLVD                 STE 1                          BOYNTON BEACH               Mevers & Flowers
 1673t )IANNE         S. MORSE FAMILY DENTIST           '50 A1A 5
                                                        2199                                                                      iAINT AUGUSTINE    :t       Meyers & Flowers
 L6770( :OLUMBUS FOOT CLINIC                            2724 13TH STREET                                                          :OLUMBUS           {E       Vleyers & Flowers
 16810: \LEMAN. PEDRO DR.                               )96 N PARK DR., STE C                                                     TIDGELAND          vl5      ]eck Redden
 15848  i.A.A                                           Y2K PEDIATRICS)                            )93 UNIVERSIry DRIVE           :ORAL SPRINGS               Mevers & Flowers
 16913(     (ERSEY FUNERAL HOME                         108   E LAKE STELLA DR                                                                       .L
                                                                                                                                  \U BU RNDALE                ieck Redden
 L6967i \5THMA &        ALLERGY CENTER                  3O4O BELMONT AVE                           STE   A                        TOUNGSTOWN         ]H       Vlevers & Flowers
L16987) }URTON ADVANCED DENTAL                          i492   LAPEER RD                                                          ]URTON             MI       Vlevers & Flowers
117010! ]ERNARD SUESS FUNERAL HOME INC                  ,06 ARCH 5T                                                               )ERKASIE           PA       leck Redden
Lt7068)      .J.   MANDZIUK FUNERAL HOME                i801 18 MrLE        RD                                                    ;TERLING HEIGHTS   MI       leck Redden
Lr7092a :RESTWOOD FUNERAL HOME                          I2O9 EAST BROAD STREET                                                    JADSDEN            AL       leck Redden
117135( ;UNTERSVILLE MEMORIAL CHAPEL                    )o Box 36                                                                 ;UNTERSVILLE       AL       lurr Forman
117150t \LLERGY & PEDIATRIC IMMUNOLOGY                  }O4O BELMONT AVE                                                          .OUNGSTOWN         OH       vleyers & Flowers
L172425 ]YPRESS LAKE DENTAL ASSOC                       ,AUL G, GRUMBACH, DDS, P.A.                )4],1 CYPRESS LAKE DR          :ORT MYERS         FL       vlevers & Flowers
117308: }EARD MORTUARY                                  ]OO1 THIRD AVENUE                                                         lUNTINGTON                  Ylevers & Flowers
1173237     }REWER/LEE/LARKIN FUNERAL HOME              103 E UTE ST                                                               ARMINGION         NM       Beck Redden
t773549 \RBOR        HOUSE                              IARBOR HOUSE - NORMAN)                     I4O1 TEE CIRCLE                                   ]K       Beck Redden
                                                                                                                                  'IORMAN
L174041 TOBBAN A.5ICA MD                                (CENTER FOR THE HEALING ARTS PC)           ]91 BOSTON PO5T   RD STE   1   ]RANGE             :T       Vlevers & Flowers
LLl41,5r JCHUYLKILL VALLEY EMS                          PO BOX     62s                                                            .EESPORT           PA       Vlevers & Flowers
It7427      PAUL KESHISHIAN                             TRADING AS REDI MED                        186 ROCHELLE AVE,2ND FLOOR     IOCHELLE PARK      N]       Vleyers & Flowers
1774425 :ARMEN FUNERAL HOME                             ,ROBERSON FUNERAL HOME)                    ,o Box 895                     :LATWOODS          (Y       \4eyers & Flowers
LL7521,4 KENNEBEC VALLEY FAMILY DENTIST                 269 WATER ST                               iTE 1                          \UGUSTA            ME       Vlevers & Flowers
7175238 KYPER FUNERAL HOME                              2702 MT ROYAL BLVD                                                        3LENSHAW           )A       Beck Redden
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iCG No- Name/Address                                 !ame/Address                                             Address          Sity              ;tate Firm {lf Provided}
1176494 TIFFANY FUNERAL HOME                         3232 W SAGINAW HGWY                                                       LANSING           vil   Beck Redden
LL77298 MCCAULEY, MICHAEL MD                         2410 N COMMERCE                                                           \RDMORE           )(    Beck Redden
777832 BILL ARDITO, DDS                              ]55 W BELL RD                                                             NOGALES                 Vlevers & Flowers
1178403     PULMONARY SPECIALISTS OF TYLER            12 FLEISHEL                                                              I'YLER            rx    Beck Redden
117A57C NEBBELING, DAVID DR.                         3918 W SAINT JOSEPH HWY                                                   LANSI NG          vil   Vleyers & Flowers
1r78552 HAIRSTON FUNERAL HOME                        301 FAYETTE ST                                                            MARTINSVILLE            vlevers & Flowers
r178614 !EUMYER FUNERAL HOME                         1.334 NORTH 2ND STREET                                                    HARRISBURG              Beck Redden
1,r7973t MARYLAND ORTHOPEDICS MML                    3570 SAINT JOHNS LN                                                       ELLICOTT CITY     VID   Vleyers & Flowers
1179303     \iUNNELEE FUNERAL CH                     205 N. STODDARD                                                           ;IKESTON          vlo   leck Redden
118049( RY MEMORIAL CHAPEI-                          550 S CENTRAL AVENUE                                                                        .A
                                                                                                                               TRACY                   Vlevers & Flowers
118088' :WING FUNERAL HOME                           701 S OSAGE AVE                                                           ;EDALIA           vto   leck Redden
1 18110! )ENTAL CARE OF THE FUTURE                   33080 GARFIELD ROAD                                                        RASER            VII   Meyers & Flowers
1,181,471   }AY OAKS ASSTD LIVING FACILITY           435 NE 34TH STREET                                                        VIIAMI            :L    Mevers & Flowers
1181921     \DAMS HANOVER ENT        LLC                 SOUTH WASHINGTON STREET                                               SETTYSBU RG             Vlevers & Flowers
118209!     JUENTHER FUNERAL HOME                    '08o. Box 337                                                             )ORTVILLE               Meyers & Flowers
1182444 :OPE MEMORIAL KIRTLAND CHAPEI.               ,o Box 2188                                                               (IRTLAND                ieck Redden
                                                                                                                                                 'iM
It8270(     IOLMES, JOHN B, MD                       1450 S DOESON RD STE 207A                                                 \4ESA             \z         ers & Flowers
118272t     )R ROBERT W HESSBERGER                   ;511 N HARLEM AVE                                                         :HICAGO                     fers & Flowers
LL8275A     )R. GILBERT sTEIN, D,D,S.                2878 ARAWATA LN                                                                             -N
                                                                                                                               VIEM PH     IS          Vlevers & Flowers
LL8276      .IORTON, M, DR                           I210 DEAN ST STE   H                                                      ;T CHARtES                   ers & Flowers
118316:     JRIFFIN FUNERAL HOME                     ,o Box 151.5                                                              /VEST MONROE            Vleyers & Flowers
t'1,83477 A/ATERS FUNERAI.                           309 NORTH 2ND ST                                                          ]ALDWYN           ils   leck Redden
1183s61 ELLERS CHAPEL OF ROSES                       2107 NE BROADWAY                                                          ,ORTLAND          )R    leck Redden
118384i (EGEL FUNERAL HOME, INC.                     3560 WASHINGTON AVE                                                       :INLEWILLE        )A    Vlevers & Flowers
118389( :ARR FUNERAL HOME                            )o Box 8                                                                  JUNTERSVILLE      \L    lurr Forman
1183901 ]ARTER TRENT FUNERAL HOME                    >o Box 127                                                                iATE CITY               leck Redden
1184094     :ILIPPINI, VICTOR P DD5                  1228 N CENTRAL AVE                                                        ]HICAGO                 vlevers & Flowers
1185042 VEY FUNERAL HOME                             ,o Box 879                                                                ]AINBRIDGE              leck Redden
1185087 EAST CENTER FAMILY DENTISTRY                 147 E CENTER ST                                                           !4ANCHESTER       :T    Yleyers & Flowers
1185216 AURORA TUPELO HC                             IUPELO NURSING AND REHABILITATION CENTER                                  -U
                                                                                                1901 BRIAR RIDGE        RD          PELO         MS    laker Donelson
LL8s224 BAKER FUNERAL HOMES. INC                     ;5OO FOOTHILL BLVD                                                        SAKLAND           :A    y'leyers & Flowers
1185280 CYPRESS.FAIRBANKS FUNERAL HOME               )926 JONEs RD                                                             HOUSTON           TX    y'levers & Flowers
1185565 CRADDOCK HEALTH CENTER                       I2O 2OTH ST N                               TE   3400                     BIRMINGHAM        \L    lurr Forman
1146229 DOBRATZ-HANIGE FUNERAL HOME                  HUGHES.HANTGE FUNERAL CHAPEL)              PAUL-MCBRIDE FUNERAL CHAPEL)   HUTCHINSON        MN    r'leyers & Flowers
1186385 {LDERWOOD DILLMAN & GREEN                    ,o Box 308                                                                MARENGO           IN    ieck Redden
1186389     \LL SERVICE REFUSE                       151 N.   W. 31ST AVE                                                      FORT LAUDERDALT   FL
1186655     \URORA RULEVILLE NS REHAB                ,o Box 368                                                                RU LEVILLE        MS    laker Donelson
L1,8720     SOLF ROSE   ANIMAL HOSPITAL              BMK VETERINARY ASSOCIATES PC)              ;1 REMINGTON RD                SCHAUMBURG              r'leyers & Flowers
LL8744t SARZA MEMORIAL FUNERAL HOME                  tO25 E JACKSON                                                            BROWNSVILLE       il    r'levers & Flowers
t18794 :ATRON, DR. WILLIAM R.                        140 HUBBARD RD.                                                           WINCHESTER        (Y    r'levers & Flowers
1 18996 MYSTIC VALLEY UROLOGICAL ASSO.               3 WOODLAND RD STE 216                                                     STONEHAM                Vlevers & Flowers
119004      BERARDINELLI FAMILY FUNERAL SV           1399   LUTSA ST                                                           ;ANTA    FE       {M    Meyers & Flowers
11901.1     PEOPLE FAMILY HEALTH                     102 S ELM ST                                     A                        NORTH PLATTE      !E    Meyers & Flowers
119016! NORTHWEST ORAL & MAXILLOFACIAL               4185 TECHNOLOGY FOREST BLVD                'TEtTE120
                                                                                                su                             THE WOODLANDS     IX    Vlevers & Flowers
rr9r44! lEW     DAY FAMILY DENTAL                    5899 NORTH BELTWEST                        STE   A                        BELLEVILLE              Vlevers & Flowers
LLgL66I     JERITAGE F.H. FT. OGLE                   3239 BATTLEFIELD PKWY                                                     FORT OGLETHORPE   3A    Mevers & Flowers
119181:     /VRIGHT'S FUNERAT HOME                   PO BOX 713                                                                \LEXANDER CIW     \L    \4evers & Flowers
1.19191'    IIERS FUNERAL HOME                       ,o Box2047                                                                ]CALA             iL    3eck Redden
L191922     IINSDALE ORTHOPEDIC NEW LENOX            1870 SILVER CROSS BLVD                     sTE 200                        NEW LENOX                  r'ers & Flowers
779zfi(     VIAGNOLIA NURSING HOME                   3701 PETER QUINN DR                                                       JACKSON           vls   leck Redden
119230t     MD PLASTIC SURGERY ASSOC                 7704 QUARETRFIELD ROAD                     SUITE     E                    SLEN BURNIE       vlD
119248i     /V.5. CLANCY MEMORIAL FUNERAL HOME       244 N MAIN ST                                                             ]RANFORD          ]T    Meyers & Flowers
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119256!       ENKINS FUNERAL HOME                         LESTER JENKINS        & SONS FUNERAL HOME INC)   121 S SEMINARY ST            }LOOMFIELD                  IN     Ylevers & Flowers
t192824        IP SAUNDERS, MD                             GROGANS PARK DRIVE                              ;UITE 103                    ;PRING                      TX     Beck Redden
1193409       :LYNN, DONALD G, DD5                        1177 N HIGHLAND AVE                                                           \URORA                      IL     Meyers & Flowers
119341        :OREsT LAWN FUNERAL HOME                    3994 MONROE HWY                                                               ,ALL                        LA     Meyers & Flowers
1193561 M. BRITT MORRIS, DMD, PC                          PO BOX 396                                                                    }UTLER                      \L     Law Offices of David M. Cowan
L193877 ;UN5ET FUNERAL HOMES                              480 N RESLER DR                                                               :L PASO                     rX     Beck Redden
1194463 ;CENIC NURSING & REHAB CNTR                       1333 SCENIC DRIVE                                                             ]ERCULANEUM                 lvlo   Baker Donelson
1195132 MINTERS FUNERAL HOME                              PO BOX    1599                                                                .osctusKo                   MS     Beck Redden
1195461 }HAM NURSING & REHAB CTR                          ],OOO   DUGAN AVE                                                             }IRMINGHAM                  \L     Baker Donelson
1195565 }UFFALO NIAGARA ENDODONTICS                       5353 MAIN 5T                                                                  \MHERST                     NY     Meyers & Flowers
1196055       HE DANIELS COMPANY LLC                      DBA COPE MEMORIAL CHAPEL.GALLP                   1830 BARBARA                 JALLUP                      NM     Beck Redden
1196101 iMERALD HILLS FUNERAL HOMES                       5OO KENNEDALE SUBLE]-I RD                                                         ENN EDALE               x      Beck Redden
1196335       O/ESTLAKE DERMATOLOGY                       8825 BEE CAVES RD sTE       1OO                                               \USTIN                      TX     Beck Redden
1196345 WHITEFORD JOSH DDS PC                             901 W FOXWOOD DR                                                              (AYMORE                     MO     Vlevers & Flowers
1195555       ;OUTH EAST TEXAS ENT                        740 HOSPITAL DRIVE                               ;UITE 3OO                    }EAUMONT                    IX     Beck Redden
11968s4 SROSS FUNERAL HOME                                120 WRIGHTS STREET                                                            ]OT SPRINGS NATIONAL PARK   \R     Beck Redden
1.196936 r'i/AsHINGTON MEDICAL CENTER                     2557 MOWRY AVE                                   ;UITE 25                     :REMONT                     :A     Mevers & Flowers
t797102 PEOPLE's FAMILY HEALTH             SERV           102 S ELM ST                                      IEA                        \ORTH PLATTE                 !E     Mevers & Flowers
1797728 PINE CREST FUNERAL HOME                           1939 DAUPHIN ISLAND PKWY                                                     MOBILE                       \L     Beck Redden
Lr9717S INGRAM PEDIATRICS MEDICAL                         4].OO S HOSPITAL DR                              ;TE 302                     PLANTATION                          Vleyers & Flowers
7197741 ROLLIE MORTUARY                                   401 NIZHONI BLVD                                                             SALLUP                       \]M    Vlevers & Flowers
1198009       :HENAL FAMILY PRACTICE                      11.215 HERMITAGE RD STE 103                      ;UITE 103 PARK WEST BLDG.   LITTLE ROCK                  \R     Meyers & Flowers
119839C MUSSO FAMILY DENTAL                               513 WEST CENTER VILLE                                                        3ARLAND                      TX     Beck Redden
1199468       ]CC. MED. CLINIC OF ACADIANA                OCCUPATIONAL MEDICINE OF SOUTH LAI               I3O5 PINHOOK                LAFAYETTE                    .A     Vlevers & Flowers
1199471 ]K NATIONAL GUARD WILL ROGERS                     55OO AIRGUARD DRIVE BOX 63                                                   ]KLAHOMA CITY                )K
L199944 :LEVELAND NURSING & REHAB CTR                     PO BOX r.688                                                                 :LEVELAND                    vl5    laker Donelson
1199987 KEYSTONE/HAMPTON FUNERAL HOIVIE                   HWY 25 EAST                                                                  BARBOURVI LLE                (Y     leck Redden
),20028: ]RUNNER FUNERAL HOME                             8466 MENTOR AVE                                                              MENTOR                       )H     Vlevers & Flowers
120063: :EtENTANO FUNERAL HOME                            424 ELM 5T                                                                   NEW HAVEN                    :T     leck Redden
'1,20069t \LLISON FUNERAL SERVICES INC                    1101 NORTH TRAVIS                                                            LI   BERTY                   tx     Vlevers & Flowers
L20L391 .tERNANDO FUNERAL HOME                            PO BOX 810                                                                   HERNANDO                     vls    leck Redden
120139t       IINES-RINALDI FUNERAL SERVICE               11800 NEW HAMPSHIRE AVE                                                      ;ILVER SPRING                VID    leck Redden
r20L49t       NT MED ASSOC OF MONTGOMERY                  i94O WINTON BLOUNT BLVD                                                      VIONTGOMERY                  \L     lurr Forman
120165!       ;AMFORD UNIVERSITY                          3OO LAKESHORE DR                                 ]AMFORD HAIL RM 301         ]IRMINGHAM                   \L     lurr Forman
1,202051 SOBER FUNERAL HOME                               )o Box 547                                                                   \RAB                         \L     lurr Forman
12(J   )40t   ]AKER STEVENS FUNERAL HOME                  ro Box 421039                                                                MIDDLETOWN                   )H     Vleyers & Flowers
120246( \4ARIANI & SON FUNERAL HOME                       2OO   HAWKINS ST                                                             )ROVIDENCE                   {t     Vleyers & Flowers
120296t ;AVIERS, JAMES B. DDS PA                          IOO SOUTH ],8TH STREET                                                       :ORT SMITH                   \R         ers & Flowers
                                                                                                                                                                    .X
1202987 IENDRICK MEDICAL CENTER                           1242 N 19TH      ST                                                          \BILENE                             VG Law
12030s! )EDIATRICS PLUS PC                                13 PECK   S'T                                                                !ORTH HAVEN                  ]T     \4eyers & Flowers
t2031,44 ,AIN MANAGEMENT CLINIC                           1175 S 13TH STREET                               BEHIND PIZZA HUT            :AMBRIDGE                    IH         ers & Flowers
L20329t /ICTORIA MORTUARY           SERVICES              )o Box 7652                                                                  /tcToRtA                     -x     leck Redden
t20340t       )RICARE. PA                                 ,o    Box 789                                                                \LEXANDER CITY               \L     lurr Forman
12034',J.3 ;CHULTZ, GARY B, DR                             139 BROWNSVILLE RD                                                          ,ITTSBURGH                          Vleyers & Flowers
L20419( {ORTH BREVARD FUNERAL HOME                        1450 NORWOOD AVE                                                             IITUSVILLE                   :L     Vlevers & Flowers
L20426C       'IORTH BREVARD FUNERAL HOME                 1450 NORWOOD AVE                                                             TITUSVILLE                   :L     vlevers & Flowers
120453t       :OBLE WARD & SMITH FUNERAL HM               'o Box 3627                                                                  TVILMINGTON                  {c     leck Redden
1205004       V]AZUR, JAMES J,   MD, DPM                  I22 MOCKSVILLE AVE                                                           ;ALISBURY                           /Vallace and Graham
                                                                                                                                                                    'lC
L20so42 ,/lESA FAMILY PRACTICE Pc                         I13O FARMINGTON AVE                                                           ARMINGTON                   {M     Vlevers & Flowers
t205425 ;TOUDENMIRE DOWLING                               ,o Box 12870                                                                 :LORENCE                     iC     )eck Redden
L205476 15T MEMORIAL EDINA CHAPEL                         CREMATION SOCIEry OF MN - EDINA)                 7110 FRANCE AVE   S          DINA                        r'lN   leck Redden
1205567 KEYSTONE BARBOUR AND sON F.H.                     )o Box 267                                                                   :OLLESBORO                   iY     leck Redden
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 L20567t   IUGHES FUNERAL HOME                        311 MAIN 5T S                                                                                 HECTOR              14N     Vlevers & Flowers
t20572! \LBERTVILLE MEM       CHAPEL                  5011 US HIGHWAY 431                                                                           \LBERTVI LLE        \L      lurr Forman
1206091    JANSER, GLEN, DDS                          7737 W BELMONT AVE                                                                            ELMWOOD PARl(               Vlevers & Flowers
t206L3t    J,B. JOHNSON FUNERAL HOME                  196 WARREN ST                                                                                 ROXBURY                     Vlevers & Flowers
L206231    \SSOCIATES IN PODIATRY                     3OOO   BROWNSVILLE RD                                                                         PITTSBURGH                  Vlevers & Flowers
120660( irr'lSEMAN & SKABELUND DENTISTRY              2321 BETHARDS DRIVE                                                                                     ROSA      ]A      Meyers & Flowers
7206a2:    )RAL & MAXILLOFACIAL SURGERY A             WACO ORAL SURGERY & DENTAT IMPTANTS)          PINNACLE DENTAL IMPLANTS)                       'ANTA
                                                                                                                                                    r'r'ACO             x       Mevers & Flowers
L2073Lt    )ENTAL SOLUTIONS.CHAMBERSBURG              421 PHOENIX DRIVE                                                                             :HAMBERSBURG                /levers & Flowers
t20745! )IAZ.   J. PAUL                               lIVERVIEW DENTAL DESIGNS                      IO5 RICE    MINE RD   N                         TUSCALOOSA          \L      -aw Offices of David M. Cowan
1,20753    iKYVIEW MEMORIAL LAWN                      2OO   ROLLINGWOOD DRIVE                                                                       /ALLEJO                     Vlevers & Flowers
1,207909 \IRLINE ANIMAL HLTH & SURGERY                2633 VIKING DR.                                                                               losstER ctTY         d      Mevers & Flowers
7208241    )ENTAL HEALTH ASSOCIATES                   154 WOLCOTT RD                                                                                ilOLCOTT            ]T      Meyers & Flowers
720825( TEEN FUNERAL HOME                             STEEN FUNERAL HOME 13TH STREET CHAPEL)        L5O1 CENTRAL AVE                                \SHLAND             (Y      Mevers & Flowers
120895! :ASTILLO MISSION                              i20 N GENERAL MCMULLEN                                                                        ;AN ANTONIO         :x      4evers &    lowers
],2O913OIMILLER. SCOTT MD FACS                        )834 GENESEE AVE                              sTE   210                                       .A JOLLA            ]A      Meyers & lowers
120930t \LBUQUERQUE CENTER FOR PLASTIC SURGERY        ;203 JUAN TABO BLVD NE                        STE 1C                                          \LBUQUERQUE                 Vlevers &lowers
120935t VtT. TAMALPAIS CEMETERY                       25OO 5TH AVE                                                                                  ;AN RAFAEL          I       4evers & lowers
1,209402 )R DONALD PAVY                               )o Box 278                                                                                     YDIA                A      4eyers &    lowers
7209481    \LTMEYER FUNERAL HOME                      !ARRETT-sYKES FU NEARL SERVICE                PO BOX 908                                      \HOSKI    E         {c      ieck Redden
12103 1I   ONES MORTUARY/LAKEPORT                     115 S MAIN ST                                                                                 AKEPORT             I       ]eck Redden
t21034!    (EYSTONE SHOWALTER BLACKWELL               )20 CENTRAL AVE                                                                               :ON NERSVI LLE      N       leck Redden
!210631    \UBREY BAUDEAN JR DDS                      2446 BARATARIA BLVD                           UNIT C                                          VIARRERO                        /ers & Flowers
12109sS    ;TERLING FUNERAL HOME                      iO2 NORTH MAIN                                                                                                    -x
                                                                                                                                                    )AYTON                      Mevers & Flowers
121,136    THOMPSON FUNERAL HOME                      I72O AUGUSTA RD                                                                                EXINGTON           ;C      leck Redden
L21205;,   IOOFNER COLLINS FUNERAL HOMt                     CHESTNUT ST                                                                             V]   EADVILLE               vleyers & Flowers
t273A7t )EBO FUNERAL HOME                             '44
                                                      t33 COURT ST. PO BOX 818                                                                       ULTON              vlo     leck Redden
                                                                                                                                                    :ORT WORTH          .X
L274407 AURELLAND FUNERAL HOME-FW                     71OO CROWLEY RD.                                                                                                          leck Redden
l2'J,47Lt :YE CLINIC OF TX (LEAGUE CITY)              I3O2 AVENUE     P                                                                             ]ALVESTON           x       leck Redden
L21,474(    ARMERVILLE NURSING AND REHAB              I13 N MAIN ST                                                                                 ARMERVILLE          A       laker Donelson
t274747    :ERGERSON FUNERAL HOME, INC.               215 SOUTH MAIN STREE'I                                                                        !ORTH SYRACUSE              vlevers & Flowers
t2!477!    VIEDIASSIST HOME HLTH CARE SVC             16235 5W 117 AVENUE                            3                                              VIIAMI                      Vleyers & Flowers
r2r5275 ]REMATION     SOCIETY OF ILLINOIS             ],7859 BRETZ DR                                                                               IOMEWOOD                    leck Redden
1"2ts78s )RYOR FTJNERAL HOME                          184 WALNUT ST                                                                                 :AST BANK                   leck Redden
1,276172 IIGGINS CHAPEL                               1.310 A. STREET                                                                               \NTIOCH             ]A      vleyers & Flowers
12L66L4 ANSAS CITY SKIN & CANCER CENT                 ;810 NW BERRY ROAD                                                                            GNSAS CITY          /lo
   7235 iPECKHART & WHITE DMD                         ,o Box   288                                                                                  )ITTSFIELD                  Vlevers & Flowers
L21745t :ONEJO MTN MEMORIAL PARK                      CONEJO    MOUNTAIN FUNERAL HOME)              2052 HOWARD ROAD                                ]AMARILLO                   vlevers & Flowers
1   7596             ORAL & MAXILLOFACIAL             111 PROFESSIONAL PARK DR                                                                      /tcToRtA            'x      vleyers & Flowers
           '/ICTORIA
    774    ROLLIE MORTUARY                            tO1 E NIZHONI BLVD                                                                            JALLUP              \M      vlevers & Flowers
1   7452 ADVANCED ORTHOPEDICS & SPORTS                 r.800 FM 1960 RD W                                                                           .iouSToN            rx      leck Redden
1   7995 WOUND CARE MGMT SPECIALI5T         LLC        488 N UNIVERSITY DR                                                                          >EMBROKE PINES      FL      vleyers & Flowers
1   421 ROSELAWN FUNERAL HOME                         /5OO N CLINTON ST                                                                             {ORTH TERRE HAUTE   IN      ]eck Redden
   824 SAMFORD UNIVERSITY                             lOO LAKESHORE DRIVE                                                                           }IRMINGHAM          \L      ]urr Forman
7214247 SERV|CE CORP. tNTL. (SCt) & SUBSIDtARtES      KEYSTONE AMERICA, INC,    /   PALM MORTUARY   NC.   /   ALDERWOODS GROUP, LLC   /   STEWART   HOUSTON             Tx      leck Redden
12L84a9 PECK FUNERAL HOME                             )o gox 427                                                                                    HARTSELLE           \L      vieyers & Flowers
i218785    THE CARES CENTER                           )o Box 93                                                                                     BUSHN ELt           FL      vlevers & Flowers
1219031 SIERRA VIEW MORTUARY                          I9OO OLIVE AVE                                                                                OLIVEHURST          :A      !eck Redden
1219L82 WHITE HALL NURSING & REHABILITATION CENT      ;20 WEST BRIDGEPORT ST                                                                        WHITE HALL          It      laker Donelson
1219636 r'INES FUNERAL HOME                           ,o Box 198                                                                                    LAFAYETTE           \L      ]eck Redden
122000c /VESTLAKE DERMATOLOGY                         1825 BEE CAVES RD                             ;UITE 1OO                                       AUSTIN              TX      ]eck Redden
L22027t    ZECHAR BAILEY FUNERAL                      )o Box 337                                                                                    GREENVILLE          ]H      ieck Redden
1220633 SULLIVAN FUNERAL HOME                         ,o Box 1026                                                                                   MARSHALL            TX      r'levers & Flowers
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122067s    iT FRANCIS SOUARE DENTAI-                1 ST FRANCIS SOUARE                                              )ALY CITY
7220981    ;YLVESTRE, DIANA   MD                   ;20 27rH Sr                                                       )AKLAND                     leck Redden
r22r01     THOMAS F DALTON FUNERAL HOMES           29 ATLANTIC AVE                                                    LORAL PARX                   eyers & Flowers
1227765    ,ERRINO, MICHAEL, DDS                   )16 KINGS RD                             ;TE 1                    ;CHENECTADY         {Y            rs & Flowers
122144:    ;MITH.DAVID. DDS                                                                                                              .N
                                                   ]31 TIMBER CREEK DR                      STE   1.                 :ORDOVA                         ers & Flowers
12219L4 \iORTHWEST MEDICAL CENTER, INC             i463 4TH ST NW                                                    \LBUOUEROU     E    {M      \4eyers & Flowers
t22208( ;CHNEIDER.MICHAELIS FUNERAL HM             )OO W RACINE ST                                                    EFFERSON                   leck Redden
L222082 ;CHOOLER FUNERAL HOME-CARRIAGE             I1OO S GEORGIA ST                                                 \MARILLO            l(      Vlevers & Flowers
t22204( ;CI MANAGEMENT        GRAY BROWN F/H       )o Box 1808                                                       \NNIsTON            \L      3eck Redden
 222501 TANDLE-DABLE FUNERAL HOME                  ].1],0 5 GRAND AVE                                                /VAUKESHA                   leck Redden
 2226s4 ;OUTHWEST FAMILY DENISTRY                  1601 MILL ROCK WAY                                                ]AKERSFI ELD        :A      Vlevers & Flowers
 22279t )AUL A NARDI DDS                           I75 BICENTENNIAL HWY STE 206                                      ;PRINGFI ELD        ilA     i4evers & Flowers
 22294 ,ACIFIC GARDENS CHAPEL                      1O5O CAYUGA ST                                                    ;ANTA CRUZ          ]A      leck Redden
 22347( V]ARK A SIMMONS, DDS                                                                                                             -x
                                                   13549 US HIGHWAY 87 W                                             A   VERNIA                  i4evers & Flowers
 223485 iADEAU FUNERAL HOME                         OAKMONT FUNERAL & CREMATION SERVICES)   ],80 E MONTE VISTA AVE   /ACAVILLE           :A      leck Redden
 223585 TEADSHAW FUNERAL HOME                       503 BROWNSVILLE RD                                               >ITTSBURGH         ,A       Ylevers & Flowers
 22392(    RESTHAVEN FUNERAL HOME                   RESTHAVEN MEMORY GARDENS)               t00 sw 104               )KLAHOMA CITY      )K       !4eyers & Flowers
 22571 {OVA DENTAL LLC                             11 MIDDLETOWN AVE                                                 {ORTH HAVEN             I   !4evers & Flowers
 225904 JONES, RUSSELL, DDS                             RUNNYMEADE DR                                                PLACERVILLE        :A       Vleyers & Flowers
 226452 tU-JEAN FENG CLINIC                        '390
                                                   }1200   PINETREE RD                                               PEPPER PIKE        )H       vleyers & Flowers
 226464 LADUSAU-EVANs FUNERAL HOME                 ISOO N   VAN BUREN ST                                             ENID               ]K       Vlevers & Flowers
 226524 GUERRERO.DEAN FI]NERAL HOME                iOO EAST   MAIN                                                   SRAND PRAIRIE      TX       leck Redden
1,22663L ELKINS FUNERAL HOME                        535 HERMITAGE DRIVE                                              FLORENCE           \L       leck Redden
1226848 SRIFFIN LEGGETI                            ;8OO W 12TH ST                                                    LITTLE ROCK        \R       leck Redden
t227466 LOMBARDI, DR                               I011 THEODORE ST                                                  JOLIET             IL       r'levers & Flowers
\227s7A MEADOWBROOK       ENDOSCOPY CENTER         t65 MERRICK AVE                          ;TE   150 N              WESTBURY                    r'leyers & Flowers
7227787 KRISHNA NARAYANAN MD                       }4OO PERRY HWY, SUITE 102                                         PITTSBURGH         )A       y'levers & Flowers
1228t62 FORT BEND DENTAL ASSOC.                    ;819 HWY 5 SOUTH                         ;UITE 230                MISSOURI CITY      TX       !eck Redden
t22840t DAVID VARLAND, DDS                         ;068 PALO VERDE DR                       iTE 1                    ROCKFORD                    r'leyers & Flowers
123067t EVERGREEN CEMETARY                         NAUTILUS SOCIETY)                        i45O CAMDEN STREET       OAKLAND            :A       y'levers & Flowers
L23074 :ONNER-WESTBURY FUNERAL HOME                 t891 W MCINTOSH      RD                                          SRIFFIN            3A       vlevers & Flowers
t23t7r\    BULLOCK FUNERAL HOME                    1],90 WILSON HALL     RD                                          ;UMTER             ;c       Meyers & Flowers
L23146t DR JOHN SILVERTON MD                       3031WEST MARCH LANE                      ;TE 101 SOUTH            STOCKTON           ]A       Vlevers & Flowers
123193 :LARK ASSCTS FUNERAL HOME INC               4 WOODS BRIDGE RD                                                 KATONAH            !Y       Vlevers & Flowers
1,23226t BELEZA MEDICAL SPA                        (BRODER, LAWRENCE MD)                    16000 PARK VALLEY DR     ROUND ROCK         rx       Beck Redden
r232Z8t BETHANY ANIMAL HOSPITAL                    24OO BETHANY RD                                                   ;YCAMORE                    Meyers & Flowers
1232ss{ \RIZONA DEPARTMENT OF HEALTH               ].50 N 18TH AVE                          sTE 280                  PHOENIX            \z
123267 :ONRAD AND THOMPSON FUNERAL                 511 EMMETT ST                                                     KISSIMMEE           t       Vlevers & Flowers
123344: (RK & NtCE. tNC.                           80 STENTON AVENUE                                                 PLYMOUTH MEETING   ,A       leck Redden
t23453( :ODY-WHITE FUNERAL HOME                    107 BROAD 5T                                                      MILFORD            :T          yers & Flowers
t234s7t :ONNOLLY AND TAYLOR CHAPEL                 40OO ALHAMBRA AVE                                                 MARTINEZ           :A       Mevers & Flowers
L23476! \DVANCED EYE SURGERY CENTER                1602 W 15TH AVE                          SUITE A                  :MPORIA             :S      Mevers & Flowers
L23485 /OUNG DENTAL CARE LTD                       ],132 PRAIRIE ST                                                  \URORA                      Vleyers & Flowers
123505 TOBIAS FUNERAL HOME DAYTON                     WATEVLIET AVE                                                  )AYTON             )H       ieck Redden
t23526 lOY DAVIS FUNERAL HOME                      '48
                                                   ;935 MULBERRY ST                                                  \USTELI            JA       leck Redden
  3565! ]EALTHY SMILES                              15 N BOWMAN RD                                                   .ITTLE ROCK        \R       Mevers & Flowers
 23585; {ORTHWEST ORAL & MAXILLOFACIAL             I185 TECHNOLOGY FOREST                   sutTE 120                rHE WOODLANDS      'x           /ers & Flowers
  3s88     ),BOYLE FUNERAL HOME                    309 BROAD ST                                                      ]LOOMFIELD         {J              s & Flowers
  3603t    .IUNTER.ALLEN-MYHAND                    iO6 HILL ST                                                       AGRANGE            3A       Vlevers & Flowers
  3679l- AMILY HEALTH CARE                         1273 S PEACHTREE ST                                               ASPER              TX       Vleyers & Flowers
  3706( :APES, JEFFREY                             :OASTAL ORAL SURGERY ASSOCIATES          110 OFFICE PARK LANE     ;T STMONS lS       GA       vlevers & Flowers
  371,31   lARVEY-ENGETHARDT-M ETZ                 1600 COLONIAL BLVD                                                :ORT MYERS         FL       Mevers & Flowers
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t23751! ]UCKLER.JOHNSTON FUNERAL HOME                121 MAIN ST                                                         /VESTERLY                   il          /ers & Flowers
L23757t  LANNER AND BUCHANAN CREM CTR                      E   MARKET ST                                                  NDIANAPOLIS                N       leck Redden
L237994 )R HARRY H BENAVENT                          '35 CLARKSVILLE SQUARE          DRIVE                               :LARKSVILLE                 r'lD    Vlevers & Flowers
123865( {ORTHWEST ORAL & MAXILLOFACIAL               '820
                                                     I185 TECHNOLOGY FOREST          BLVD                                rHE WOODLANDS                x          fers & Flowers
L23927!    (EYSTONE,]OHNSON F, H.                    1685 HENDERSON DR                                                    ACKSONVILLE                ic      leck Redden
t23945i    .IVING CROSS AMBULANCE SERVICE            1355 W BOSQUE LOOP                                                  ]OSQUE FARMS                {M      Vlevers & Flowers
 23948 ]AVENBROOK FUNERAL HOME                       3401 HAVENBROOK ST                                                  !ORMAN                      )K      vleyers & Flowers
 240754 A/ESTWOOD ORTHOPEDIC GROUP                   }54 OLD HOOK ROAD                                                   /VESTWOOD                                 rs & Flowers
                                                                                                                                                     .X
 24034  AMILY WELLNESS CTR                           1300 HWY 281                                                        VIARBLE FALLS                       leck Redden
 240874 VIICHAJLENKO, WALTER S DD5                   2780 STATE ST                           ;TE 9                       iANTA BARBARA               ]A      vlevers & Flowers
124089t ]RANDVILLE PEDIATRIC DENTRISTY                131 44TH ST SW                         ;TE 1                       JRAN DVILLE                 'At     vleyers & Flowers
 241,164    HE DANIELS COMPANY LLC                   )BA COPE MEMORIAL CHAPEL                104   W ARRINGTON            ARMINGTON                  ,lM     ]eck Redden
 241,35(   )UNCAN VETERINARY HOSPITAL                1216 N HWY 81                                                       )UNCAN                      )K      vleyers & Flowers
 247424 ]OONE FUNERAL HOME                           I156 AIRLINE DR.                                                    ]OSSIER CITY                        ]eck Redden
 247544 JNIVERSITY DENTAL GROUP                      1051 N DEAN RD                                                      )RLAN DO                    :L      Vlevers & Flowers
 247647 }RU NELLE                                    ]11 CHTCOPEE ST                                                     :HICOPEE                    r'lA    Vleyers & Flowers
 241a2     MILLIAM CLARK DDS                         ;777 N FRESNO ST STE 110                                            :RESNO                      :A      Vlevers & Flowers
 24198         K   AGGARWALT MD                      ;522 TROUBLE CREEK RD                   iTE 100                     {EW PORT RICHEY             :L      Vlevers & Flowers
 241983    'HIV
           SHULER FUNERAL HOME                        25 ORR'S CAMP RD.                                                  .i
                                                                                                                              ENDERSONVILLE          NC      leck Redden
L242L66    A NEW SMILE                                7OO   W SMITH VALLEY      RD           ;TE C2                      JREENWOOD                   IN      vleyers & Flowers
L242279    ALBANY UPSTATE DENTAL                     )R. TARIQ MALIK                         ;40 BROADWAY STE      1OO   ALBANY                      NY      vlevers & Flowers
L242379 DEVARGAS FUNERAL HOME                        i23 N RAILROAD AVE                                                  ESPANOLA                    NM      ]eck Redden
t242467 PAIN MANAGEMENT            SERICES           ;13 BROOKWOOD BtVD, STE ].01.                                       BIRMINGHAM                  IL      lurr Forman
1,243228 CORPREW FUNERAL HOME                        I822 PORTSMOUTH BLVD                                                PORTSMOUTH                          y'ievers & Flowers
t243283 MARC W HERMAN DDS                            }OO   WOODBURY RD                        UITE D                     WOODBURY                    NY      vlevers & Flowers
1243396 CONNER-WESTBURY FUNERAL HOME                 1891 WEST MCINTOSH RD                                               GRI FFIN                    3A      r'leyers & Flowers
1244265 LANE SOUTH CREST                             }33 CHICKAMAUGA AVE.                                                ROSSVILLE                   3A      y'levers & Flowers
t244at4    WEST LA DENTAL CENTER                     IO3 BELVIEW RD                                                      LEESVILLE                   LA      r'levers & Flowers
1245208 ORAL MAXILLOFACIAL SURGEONS, LTD             r'IARTIN ELsON, DDS                     I.265 RESERVOIR AVE         CRANSTON                    RI      r'leyers & Flowers
124\)6(    REDDY HARINI DR.                          IOOO   HUNGARY SPRINGS RD                                           RICHMOND                            !4evers & Flowers
L24563C RUSTON NURSING AND REHAB                     I72O HIGHWAY 80 EAST                                                RUSTON                              ]aker Donelson
LZ4574E SOUTHERN OKLA SURGICAL CTR                    412 N COMMERCE       ST                                            ARDMORE                     ]K      ]eck Redden
124600] NYKAZA, DRS                                   20O CENTRAL 5T                                                     EVANSTON                            Vleyers & Flowers
L24602 SIERASKI, STEVEN M,DDS                        3601 G E RD STE S6                                                  BLOOMINGTON                         Vlevers & Flowers
t245021 SIERRA EYE GROUP/SIERRA AMBULATORY           STEVEN M. CANTRETL                       828 W MAIN 5T              r'ISALIA                    :A      Vlevers & Flowers
724677 RADNEY SMITH FUNERAL HOME                     PO BOX     2095                                                     SYLACAUGA                   \L      Vlevers & Flowers
1246331    ;TEPHEN R. HAKY FUNERAL HOME              603 NORTH GALLATIN AVE. EXT.                                        UNIONTOWN                           Beck Redden
724649t    SARY P SENK DDS                           14020 SW 72ND AVE                                                   PALMETTO BAY                :t      \4eyers & Flowers
1246s0     iAZE ASSOC DBA ROLLIE MORTUARY            401 NIZHONI BLVD                                                    sALLUP                      !M      Mevers & Flowers
L246s6      EFFERSON MEM. FUNERAL HOME               1591 GADSDEN HWY                                                    BIRMINGHAM                  \L
124699t    IECK FUNERAL HOME                         PO BOX 218                                                          MILTON                              \4evers & Flowers
12471,4    ]ASKELL TOWN MEDICAL                      1141 RINGWOOD AVE                       SUITE 7                     HASKELL                     {J      Vlevers & Flowers
L24778t )USCKAS-MARTIN                                UNERAL HOME & CREMATORY, INC           4216 STERRETTANIA   RD      ERIE                        )A      leck Redden
 24799( :AIRFIELD NURSING & REHAB CENTER             ;825 GRASSELLI RD                                                    AIRFIELD                   \L      laker Donelson
 24823     SENESIS CANCER CENTER                     133 HARMONY PARK CIRCLE                                             JOT SPRINGS NATIONAL PARK   \R      V'levers & Flowers
 24850     )ONOHUE CECERE                            290 POST AVE                                                        iVESTBURY                           Mevers & Flowers
 24895i ]ALDWIN-FAIRCH       ILD                     301 NE IVANHOE BLVD                                                 ]RLANDO                     ;L      leck Redden
t24972i    )OUGLASVILLE NURSING & REHAB              1028 HWY 5                                                          )OUGLASVI LLE               JA      Saker Donelson
L24917     ]RADFORD HEALTH SERVICES                  101 AVIATORS VIEW DR                    ;UITE# B                    \LABASTER                   \L      ]urr Forman
t24943t  ADI METRI DMD & ASSOCIATES                  18 COREY ST                                                         /VEST ROXBURY                       Vlevers & Flowers
L249674 ]OLEMAN FUNERAL HOME                         )o Box     160                                                      )XFORD                      MS      leck Redden
t24970r ]HAPEL     OF THE LIGHT                       620 W BELMONT AVE                                                   RESNO                              Vlevers & Flowers
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 1249A7) :OLUMBUS DENTAL CARE                    30 LOWELL RD            STE                            ;TE 19                          HUDSON                !H    Vlevers & Flowers
 L249909 BETZ, ROSSIE AND BELLINGER              171 GUY PARK AVE                                                                       \MSTERDAM                   Beck Redden
 1250322 :ONRAD & THOMPSON FUNERAL HOME          511 EMMETT ST                                                                          KISSIMMEE             :L    Vleyers & Flowers
125035C BARTUSIAK, EARRY F., DMD                 212 WELLNESS WAY                                                                       r'i/AsHINGTON         )A    Vlevers & Flowers
12s0559 )R VANCIL, S MICHAEL                     1255 CEDAR CT                                                                          :ARBONDALE                  Vleyers & Flowers
125061( ;CHMIDT FUNERAL HOME                     1508 EAST AVE                                                                          KATY                  tx    Mevers & Flowers
1251347 AKE CITY NURSING & REHAB CTR             2055 REX ROAD                                                                          MORROW                JA    laker Donelson
12s136t TVALLACE, CHARLES A. MD                  17],10 DALLAS PKWY STE                  1OO                                            DALLAS                tx    Vleyers & Flowers
r25L78', ;ANDEFER, CLINT DDS                     ) o Box 1149                                                                           /tr'ALKER                   Mevers & Flowers
1,252101 iOUTH BREVARD FUNERAL HOME              1001 s HrcKoRY sT                                                                      VI   ELBOU RNE        :L        ers & Flowers
725298     \LTMEYER FUNERAL HOMES                14OO EOFF ST                                                                           iVH EELING                  leck Redden
tz5307s      RYE FUNERAL HOME                    127 WEST          MAIN       ST                                                        VIONONGAHEL,A         )A       rers & Flowers
1.25328!   \i. MOBILE NURSING & REHAB              IGHT MILE NURSING AND REHAB CENTER                   4525   ST STEPHENS RD            IGHT MILE                  laker Donelson
                                                                                                                                                              \L
125388!    iURGICAL ASsOC. OF LINCOLN                  SOUTH TOTH STREET S31O                                                            INCOLN               ,IE         s & Flowers
125500r ]ERCACOR LABORATORIES, INC.              '75
                                                 IO PARKER                                                                              RVIN    E             ]A    (nobbe Martens
12ss092 VIEDICAL INTERVENTION                    165 WEST STATE ROAD                    50                                              :LERMONT              :L    Vlevers & Flowers
125534t (EYSTONE HOSSELTON FUNERAL HOM           )o Box 418                                                                             :ISNE                       leck Redden
125540C    OHNsON-MCBRIDE FUNERAL HOME            HAUsER-HANTGE FUNERAL CHAPEL - FAIRFAX)               HANTGE FUNERAL CHAPEL)          iUTCHINSON            i4N   vleyers & Flowers
1255095                                           36 BERLIN RD
         'IOVA DENTAL LLC                                                                                                               ]ROMWELL              :T    vlevers & Flowers
125513 1 BUNDY, JEFF, DR., MD                    ;475 DAVISON ROAD                                                                      }URTON                14l   Vlevers & Flowers
L256233 sPAHL, DR TERRANCE DDS PA                t199 DULUTH             ST                                                             ;AINT PAUI-          VIN    Yleyers & Flowers
12s5308 STEELE FAMILY FUNERAL HOME               IO7 BURNS LANE SE                                                                      WINTER HAVEN         FL     leck Redden
1255333 SUN CITY FUNERAL HOME                    t851 RICKENBACKER                 DR                                                   SUN CITY CENTER      FL     leck Redden
1256704    LSR ENTERPRIsES LLC                    PASSPORT HEALTH OF                   TAMPA BAY)       I29O W LINEBAUGH AVE            NORTHDALE            FL     r'leyers & Flowers
12s6764 PREMIER ORTHOPEDICS PA                   I57O   SAINT]OHNS LN                                                                   ELLICOTT CITY        MD     r'leyers & Flowers
1256796 ALL CREATURES VETERINARY                  20 N LEWIS ST                                                                         NEW IBERIA           LA     ilevers & Flowers
L257591 LEE MEMORIAL F,H,, INC,                  )o Box 1180                                                                            r/ERONA              MS     ]eck Redden
L25767     ],BRIEN FUNERAL HOME                   4 LINCOLN AVE                                                                         BRISTOL              lr     r'leyers & Flowers
L25764-, KUTNIKAR, NARENDRA, DR                  (DHAYA KUTNIKAR MD)                                    I8O5 LAMY LN                    MONROE               .A     y'levers & Flowers
725772 LOHMAN FUNERAL HOME DAYTONA       BE      1423 BELLEVUE AVE                                                                      DAYTONA BEACH        :L     Beck Redden
1,2s792! MARK D. LARSON, MD                      LARSON'S COSMETIC                 &   BREAST SURGERY   9s0 N 1LTH ST                   BEAUMONT             rx     Beck Redden
L258L2 SOUTHERN NE ENT                           (s. N.E.   E.   N.T.)                                  1 LONG WHARF DR                 NEW HAVEN            ]T     Vlevers & Flowers
12s824 MCMILLON, RAY C, DMD                      3023 CRUMS LN                                                                          LOUISVILLE            iY    Vleyers & Flowers
t258M!     EENEY FUNERAL HOME INC                232 FRANKLIN AVE                                                                       RIDGEWOOD            {J        /ers & Flowers
125854( JARY WHEELER DDS INC                     389 BROADWAY                                                                           YNN                         Vlevers & Flowers
t2587st )K ARMY NATIONAL GUARD                   3505 MILITARY CIRCLE                                                                   ]KLAHOMA CITY        )K
125889( I'READWAY AND WIGGER                     r23 COOMBS                                                                             !APA                 :A     Vlevers & Flowers
125900; ]ENJAMIN, JOHN T., DR., DDS              1432 PETERMAN DRIVE                                                                    \LEXANDRIA                     /ers & Flowers
L2s98si ]ORELLO, JOHN,    DDS                    15 S PARK BLVD STE 224                                                                 JLEN ELLYN                  Vlevers & Flowers
126013 l   (EYSTONE MATTOX-RYAN F.H.             )o Box 5008                                                                            \JORTH TERRE HAUTE   IN     leck Redden
126026!    IINSDALE ORTHOPEADICS                    W OGDEN AVE                                                                         IINSDALE             IL     Vleyers & Flowers
L2604t7 \RBOR    HOUSE OF MARBLE FALLS           '50 KING RD
                                                 1801                                                                                   VIARBLE FALLS        TX     leck Redden
126086:    AMES H DAVIS FUNERAL HOME             3OO9 FREDERICA ST                                                                      )WENSBORO            KY     leck Redden
1261,L22 )LASTIC SURGERY INSTITUTE               )OO W WACKERLY RD                                                                      VII D LAN D          tvil   vlevers & Flowers
126]^327   ;HARPS SMILE CENTER                    914 S BURDICK ST                                                                      GLAMAZOO             MI     Vleyers & Flowers
L26247t ,OLLOCK &     BEST                       IO15 NEUSE BLVD,                                       UNERAL HOME                     {EW BERN             NC     ]eck Redden
126333L ,IoRTHWEST ORAL & MAxlLLoFclAL           t185 TECHNOLOGY FOREST                                 ;UITE 120                        HE WOODLANDS        TX     r4evers & Flowers
L26337C    AZAYERI- NICK DMD                     PERSONAL CARE FAMILY DENTISTRY, P.A.                   }48 MIRACLE STRIP PKWY, $1.5A   :ORT WALTON BEACH    FL     vlevers & Flowers
125350€    ]UMBY MORTUARY                        PO BOX          509                                                                    ]IGH POINT           NC     Meyers & Flowers
7263607 MILKERSON FUNERAL HOME                   1909 RICHARDsON DRIVE                                                                  IEI DSVILLE          NC     Vlevers & Flowers
1263823 ;PECIALTY CLINICS OF GA.ORTHOP           1240 JESSE JEWELL PKWY                                 r300                            JAI NESVILLE         3A     Vlevers & Flowers
1263903 )R'S. UMSTATTD & JONES                   3OO8   DAWN DRIVE S2O1                                                                 JEORGETOWN           t-x
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 L26422t    :ELIX CAUTHEN FUNERAL HOME                    113 WEST STREET                                                   ;ENATOBIA            vl5     Vlevers & Flowers
            )R JAMES KOMENDARA                            1135 S LAPEER RD                                                  .AKE ORION           vll           s   & Flowers
 26442t :ASCANTE       DR. OSCAR                          rsor. sw 124TH AVE. STE. 107                                      VIIAMI                          /ers & Flowers
 26470 TIMOTHY R BORDEN ENTERPR. INC                      1515 PRODUCE RD                                                    OUISVILLE           (Y      leck Redden
 26483( /ENDITTO DENTAL ASSOC                             175 RT 70                                ;TE 120                  .AKEWOOD                 )       ers & Flowers
 264932 {ORTHWEST ORAL & MAXILLOFACIAL                    I],85 TECHNOLOGY FOREST BLVD             ;UITE 120                                     -x
                                                                                                                            THE WOODLANDS                Vleyers & Flowers
 265'J.4C   VICD   ERMOTT-CROCKETT MORTUARY               2O2O CHAPALA ST                                                   ;ANTA BARBARA        ]A      leck Redden
L265423 ,EYSTONE KERSEY F. H .                            ,o    Box 605                                                     \UBURNDALE           :L      leck Redden
1265754 A/ALDSCHMIDT, FRED P,         DR                  750 ALMAR PKWY sTE 101                                            ]OURBONNAIS                  vlevers & Flowers
126575( MALRATH & STEWART FUNERAL HOME                     1 FREMONT ST                                                     ;LOVERSVILLE                 leck Redden
1266013 ;MITH & SMITH SMILE STUDIO                        1457 E HYDE PARK BLVD                                             :HICAGO                      vlevers & Flowers
t266742     iURGERY CENTER OF CENTRALIA                   1045 MARTIN LUTHER KING             DR                            ]ENTRALIA                    vlevers & Flowers
1266387 IOYAL PALM FUNERAL HOME-09431                     ;601 GREENWOOD AVE                                                A/EST PALM BEACH             leck Redden
L266542 BARTUSIAK, BARRY F IN WA                          I12 WELLNESS WAY                                                  A/ASHINGTON          )a      Vleyers & Flowers
t2667t5     CENTRAL REGIONAL PATHOLOGY                    1875 WOODWINDS DR STE 220                                         A/OODBURY           VIN      vlevers & Flowers
L2669L4 AMERICAN RIVER DENTAL                             103s0 coLorvtA RD                                                                     .A
                                                                                                                            IANCHO CORDOVA               Ylevers & Flowers
L267026 TOBIAS FUNERAL HOME                               i48 WATERVLIET AVE                                                )AYTON              OH       leck Redden
t267303 MARTENS & SONS                                    )811 DENISON AVE                                                  :LEVELAND           )H       Ylevers & Flowers
t267304 MARTIN MACLEAN ALTMEYER            F.H,           I4OO EOFF ST                                                      WHEELING                     leck Redden
L26821,8 DERMATOLOGY CLINIC                               }633 CENTRAL AVE                         ;TE N                    HOT SPRINGS         \R       r'levers & Flowers
1264774 BAYLESS, ROBERT E. MD                             I1.20 N MACARTHUR BLVD S lOO                                      IRVING              fi       ,levers & Flowers
1,269353 BRYAN MEDICAL ASSOCIATES                          BRAZOS MEDICAL ASSOCIATES)              1112 E 29TH ST           BRYAN               TX       leck Redden
1269487 RATH ER,F.C, DR                                   )042 COLUMBIA AVE         STE   A                                 MUNSTER             IN       r'levers & Flowers
1269536 3ENESIS CANCER CENTER                             133 HARMONY                                                       HOT SPRINGS         \R       r''levers & Flowers
1269736 FLEISCHMAN, TODD A.. DMD                          L608 WALNUT ST                            TE   1100               PH ILAD ELPHIA      PA       r'leyers & Flowers
1269885 HAFEY FUNERAL HOME                                t94 BELMONT AVE,                                                  SPRI NGFI ELD                r'levers & Flowers
1270072 SUNSET FUNERAL HOME                               I94O N VERMILION ST                                               DANVILLE            IL       /evers & Flowers
L27033 HILL & KUNSELMAN FUNERAL HOME                      I8O1 4TH AVENUE                                                   BEAVER FALTS        PA       r'leyers & Flowers
r270341 HIRSCH Ft]NERAL HOME                              I5O1   W LINCOLN HWY                                              MATTESON                     r'levers & Flowers
L27038      :OVENANT PLACE OF GARDENDALE                  1409 THOMPSON CIRCLE                                              GARD    E   NOALE   \L       lurr Forman
L27045      \DAMS HANOVER ENT LLC                         ;08 5, WASHINGTON STREET                                          3ETTYSBURG                   \,4evers & Flowers
1277oot     MERCY PREMIUM SURGERY CENTER                  5319 HOAG DR                             iTE L20                  ELYRIA              ]H       Vleyers & Flowers
727129\     BIRMINGHAM SOUTHERN COLLEGE                   )OO   ARKADELPHIA ROAD                                            BIRMINGHAM          \L       Burr Forman
1,27196     JESSE H. GEIGLE FUNERAL   HOME                3125 WALNUT ST                                                    HARRISBURG                   Beck Redden
7272321     \NIMAL EMERGENCY CENTER                       2810 STATE      ST                                                BETTEN DORF                  Meyers & Flowers
127251! REEMAN HARRIS FUNERAL HOME                        PO BOX 32                                                         ROCKMART            JA       Beck Redden
127279( \RCADIA NURSING AND REHAB CENTER                  DBA WILLOW RIDGE NURSING AND REHAB       660 FACTORY OUTLET DR    \RCADIA                      Baker Donelson
t27285l.     LLEN J HARDEN FUNERAL HOME                   18OO NORTH DONNELLY STREET                                        MOUNT DORA           t       Beck Redden
t27300i     \RCH-DENT DENTAL CLINIC PC                    1540 PENNSYLVANIA AVE                                             MCDONOUGH                    Vlevers & Flowers
L27370( |.OWNSEND-WOOD FUNERAL HOME                       201 E, ELM STREET                                                 PENN YAN            {Y       leck Redden
 27321,(    )ASIS.ORG TO ACHIEVE SOLUT SUB                 20 27TH STREET                                                   ]AKLAND             ]A       leck Redden
  7387( VIICHAEL BAKER, DD5                               12885 RESEARCH BLVD                      sTE 201                  \USTIN              TX       Mevers & Flowers
  7440( )UBRE ANIMAL CLINIC, INC                          123   W GREENFIELD DR                                             /VAKE VILLAGE        x       Seck Redden
  7 447 TOOFNER COLLINS FUNERAL HOME                      i44 CHESTNUT         ST                                           VI   EADVILLE       )A       Mevers & Flowers
  752L   MI-ABQ ASSETS LLC DBA DFF5                       ABO CENTRAL CARE CENTER $203)            31.13 CARLISLE BLVD NE    LBUQUERQUE         ,IM      leck Redden
  75331 ;T PETERS BONE AND IOINT SRGRY                    ADVANCED BONE & JOINT)                   P.O. BOX 430             ;AINT PETERS        vlo      Meyers & Flowers
  7556i IELYEA FUNERAL      CHAPEL                        318 N LATAH ST                                                    lotsE               D        Meyers & Flowers
  7567-) ;ACRAMENTO MEMORIAL LAWN                              STOCKTON BLVD                                                ;ACRAMENTO          3A       ]eck Redden
  7603( )RIMARY CARE PHYSICIANS                           '1OO N UNIVERSITY DR
                                                          1488                                     :APRICCIO PLAZA          ,EMBROKE PINES      FL       \4evers & Flowers
 276454 IINSEY BROWN FUNERAL SERVICE                      3406 S MEMORIAL DR                                                {EW CASTLT          IN       Vleyers & Flowers
 27654t ENA NURSING &       REHAB                         ;877 AIIV]WELL       RD                                           ENA                 LA       laker Donelson
  76627 )ELHOMME FUNERAL HOME INC                         ,o Box 61276                                                      .AFAYETTE           LA       leck Redden
                                          Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 23 of 80 PageID #:8262



;CG No-   tlame/Address                           !ame/Address                   {ame/Address          :itv             ;tate    irm alf Providedl
L27797!   JOODWIN FUNERAL HOME                    ;24 BROADWAY                                         /INCENNES            N   ieck Redden
1,278351 )AVID LEVENS. MD     '                   1.725 UNIVERSITY DR,           sutTE 300             :ORAL SPRINGS            Mevers & Flowers
t27837! )R.   SUJIT MOHANTY                                                      1440 SPRINGFIELD RD   :tEN ALLEN               Vlevers & Flowe.s
L27866    :ARTER TRENT FUNERAI.                   ,o Box 1129                                          (INGSPORT            N   leck Redden
L278874   \LTERNATIVE CHOICE                      }04 N DUSTIN AVE                                     ARMINGTON        {M      leck Redden
L2798s(   iTEVEN, R. LINZER, D.O., P.A.           11011 SHERTDAN ST.. STE. 105                         :OOPER CITY              vlevers & Flowers
724022(   }RIGHTON SURGICAL CENTER                )675 BRIGHTON WAY              iTE 100               lEVERLY HILLS    ]A      vleyers & Flowers
128051s IEPUBLIC SERVICES                         ATLANTIS CREMATION)            ,o   Box 2998         ,HOENIX          \z      leck Redden
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                                                                                                               EXCLUSION LIST

                                                                                    Requests for Exclusion by lndividuals or Entities Not Matched to Class Data


                                                                                                                                                                                                                         !ot
{ame/Address                                      Name/Address                                                                          {ame/Address               :iw                      State    irm (lf Providedl   vlatched
)OCTORS HOSPITAL AT RENAISSANCE                   5501 S MCCOLL RD                                                                                                      DINBURG             TX                           x
)RANGE PARK DENTAL PROFESSIONALS. PA              DR MICHAEL T MCCLURE                                                                  1409 KINGSTEY AVE STE 74   )RANGE PARK              Ft      Vlevers & Flowers
)R, MARCUS JOHNSON/ C|TY ENDODONTTCS              30   E   40TH ST, STE 1004                                                                                       !EW YORK                 NY      vleyers & Flowers    x
VIOUNTAINVIEW ORAL SURGERY & IMPLANT CEN]         1612 GRAVES MILL RD                                                                                               YNCHBERG                        Vlevers & Flowers
)55IE CURRY FUNERAL HOME                          1805 MARTIN LI.]THER KING BLVD                                                                                   .UBBOCK                  TX      \4evers & Flowers
)R. ROBERT C.C. LEE FAMILY DENTISTRY CTR          11780 FIRESTONE      BI"                                                                                         \IORWAL(                 CA      vlevers & Flowers
EFFREY PIKE DDS                                   THE SCARSDALE DENTIST                                                                 I42 POST ROAD              iCARSDALE                NY      vlevers & Flowers
]ARRIAGE SERVICES, INC,                           3O4O POST OAK BLVD. STE 3OO                                                                                      IOUSTON                  tx      vlevers & Flowers
:LINICAL RESEARCH OF HOLLYWOOD                    KERRY L MCELLIGOTT                                                                    i517 TAFT   ST   #210      JOLLYWOOD                FL      vlevers & Flowers
AKEWALK SURGERY CENTER                            \NN      FOSNESS                                                                      L42O LONDON RD SUITE 10    )ULUTH                   MN      vlevers & Flowers
,ETERS FAMILY DENTISTRY                           ROBERT PETERS                                                                         i18O CLAY ST               TIVERSIDE                        Vlevers & Flowers
\MERICARE AMBULANCE                                         FREMONT CIRCLE                                                                                         lUNTINGTON BEACH         :A      Vleyers & Flowers
}ROOKHAVEN ANIMAL HOSPITAI.                       '524TOWN BLVD SUITE 21OA
                                                  205                                                                                                              }ROOKHAVEN               3A      ,4evers & Flowers
NORTH SPRINGS ANIMAL CLINIC                       7541 ROSWELL ROAD                                                                                                iANDY SPRINGS            3A      Ylevers & Flowers
S   JASON LEDFORD DMD PC                          ]4 SEASONS LANE                                                                                                  .iIAWASSE                3A      Meyers & Flowers
ARTHUR D'SOUZA WMA PC                             11 MAYFLOWER DRIVE                                                                                               TVILTON                  :T      Vleyers & Flowers
MORRISON FUNERAL CHAPEL                           SUCK KAMPHANSEN                                                                       1297 PINE STREEI           iT HELENA                        Vlevers & Flowers
WIGGINS-KNIPP FUNERAL HOME                        JUCK KAMPHANSEN                                                                      524 CAPITOL STREET          /ALLEJO                          Vlevers & Flowers
DANIEL SHOMER DMD                                 12 CEDAR GROVE RD                                                                                                 OMS RIVER               \]J     \4evers & Flowers
;AN JOSE FUNERAL SERVICE                          \4ICHAEL BROWN                                                                        1O5O S BA5COM AVE          ;AN JOSE                 :A      Vlevers & Flowers
DR. MICHAEL BATARSEH                              1011 MAIN AVE                                                                                                    :LIFTON                  {J      Vlevers & Flowers
HOU5TON PEDIATRIC DENTAL SPECIALIST5 PC           /660 WOODWAY DR SIE               3OO                                                                            IOUSTON                  TX      \4eyers & Flowers
HOUSTON PEDIATRIC DENTAL SPECIATISTS PC           19818 FM 1093 STE 200                                                                                            FU LSH EAR               tx      Mevers & Flowers
LONGVIEW RADIOLOGISTS, PS INC                     7OO      LINCOLN ST STE    1.OO                                                                                  KELso                            Vlevers & Flowers    X
ONGVIEW RADIOTOGISTS, PS INC                      )10 S SCHEUBER RD                                                                                                :ENTRALIA                        Meyers & Flowers     x
]H   JAE KWON DDS, INC,                           141 MAIN ST                                                                                                      LAKE ELSMORE             ]A      Vleyers & Flowers    x
)J KWON DDS. INC                                  )939 MAGNOLIA AVE                                                                                                RIVERSIDE                        Vlevers & Flowers    x
)H, J. KWON DDS, INC.                             }36 S RIVERSIDE AVE. SUITE B                                                                                     RIALTO                           y'levers & Flowers   x
(WON PROFESSIONAL ODS CORP.                       11091 RIVER STREET, SUITE 203                                                                                    )ERRIS                           Meyers & Flowers     x
:WON DENTAL CORPORATION                            3925 INDIAN STREET                                                                                              V]ORENO VALLEY           :A      Vlevers & Flowers    x
AN ANDREW GLASER DDS PC                           ;5 DERBY PLACE                                                                                                   iMITHTOWN                        Vlevers & Flowers    X
:.C, CARTER FUNERAL HOME INC                      }319 ROANOKE AVE                                                                                                 !EWPORT NEWS                     Vlevers & Flowers    x
;TEVEN C. HEWETT DD5 PA                           }390 CHAMPIONS GATE BLVD. SUITE 314                                                                              :HAMPIONS GATE                   Vleyers & Flowers    x
JROLOGY & UROLOGIC SURGERY. PC                    1932 ALCOA HWY #C475                                                                                             (NOXVILLE                .N
                                                                                                                                                                                                    Mevers & Flowers
JROLOGY & UROLOGIC SURGERY, PC                     130 MIDDLE CREEK RD, SUITE 120 & 130                                                                            ;EVIERVILLE               N      Vlevers & Flowers
JROLOGY & UROLOGIC SURGERY, PC                    i447 WEST MORRIS          BLVD.                                                                                  V]ORRISTOWN               N       eyers & Flowers     x
TVESTCHESTER    FUNERAL HOME                       90 MAIN STREET                                                                                                   ASTCH ESTER             iY          ers & Flowers    X
;MILE DESIGNS                                     3825 FM 22114 STE     E                                                                                          \I   JSTI N              tx      Vlevers & Flowers
)UTPATIENT SURGERY SERVICES, LLC                  330 WATERBURY FALLS DR #201                                                                                      )FALLON                  vto     vlevers & Flowers
V]ICHAEL R. SPINDEL,   MD                              MARY'S OUTPATIENT CENTER                                                         1860 3RD AVE. SUITE 220    ]UNTINGTON                       vlevers & Flowers    x
(INDERKNECHT FAMILY DENTISTRY                     'T. HALL ST
                                                  2770                                                                                                             iAYS                     KS      vleyers & Flowers
JEMS AMBULANCE. INC                               PO BOX 729                                                                                                       :LINTON                  AR      Vlevers & Flowers
{EO SURGERY CENTER                                120 S SPALDING DR SUITE 110                                                                                      ]EVERLY HILLS            ^A      vlevers & Flowers
}EVERLY SURGICENTER                               120 S SPALDING DR, SUITE 110                                                                                     BEVERLY HILLS            :A      vleyers & Flowers
\ESTHETICARE SURGERY CENTER                       30260 RANCHO VIEJO RD                                                                                                   JUAN CAPISTRANO   :A      Vlevers & Flowers
IIDS HEALTHY TEETH                                20660 WESTHEIMER PARKWAY                fA                                                                       'AN
                                                                                                                                                                   KATY                     TX      vlevers & Flowers
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{ame/Address                                         Name/Address                            {ame/Address                        :ity              State   :irm (lf Provided)   Vlatched
\MMEN FAMILY - PALM BAY                              )50 MALABAR RD       SE                                                     ,ALM BAY          FL      Vlevers & Flowers
\MMEN FAMILY - ROCKLEDGE                             1286 S. US-r.                                                               IOCKLED6E         FL      Vleyers & Flowers
\MMEN FAMILY - TITU5VILLE                            1OO1    SOUTH HOPKINS AVENUE                                                TITUSVILLE        FL      \4eyers & Flowers
,IEPTUNE SOCIETY OF cENTRAL CALIFORNIA               711 sTH ST                                                                  V]ODESTO          :A      Vlevers & Flowers
{EPTUNE SOCIETY OF CENTRAL CALIFORNIA                1154 WEST SHAW AVE #B                                                       :RESNO            :A      Vleyers & Flowers
NEPTUNE SOCIETY OF CENTRAL CALIFORNIA                201 H sT                                                                    }AKERSFIELD       :A      Meyers & Flowers
NEPTUNE SOCIETY OF CENTRAL CALIFORNIA                758 W 19TH ST                                                               :OSTA MESA                vlevers & Flowers
NAUTILUs SOCIETY                                     2OOO    MARCONI AVE                                                         ;ACRAMENTO        :A      Mevers & Flowers
NAUTILUS SOCIETY                                     16316 HAWTHORNE BLVD.                                                       AWNDALE           ]A      Meyers & Flowers
DR. MARIA FAKLARIS, DDS                              31.9 RANDALL RD                                                             ;OUTH ELGIN               Vlevers & Flowers
SALLAGHER FUNERAL HOME & CREMATORY                   3994 MONROE HWY                                                             }ALL              A       Vlevers & Flowers
KENNETH GRIFFIN/CLARK-GRIFFIN FUNERAL CO             ,IGs FLYING LLC. GRIFFIN FUNERAL HOME   103 IBERIA CIRCLE                   MEST MONROE        A      Meyers & Flowers
SARY B SCHULTZ,       DMD,   PC                      INNOVATIVE ENDONDTICS)                  2593 WEXFORD BAYNE ROAD SUITE 304   ;EWICKLEY         rA      Vlevers & Flowers
DENTAL STUDIO OF CARROLLTON                          1716 CHADWTCK CT                                                            IURST             tx      Vlevers & Flowers
\STHMA & ALLERGY CENTER                              755 BOARDMAN-CANFIELD       RD                                              BOARDMAN          )H      Vleyers & Flowers    x
       MEDICAL INC                                   ;311 SOUTHWEST BLVD                                                         FT WORTH          tx      Meyers & Flowers     x
'DM
V]ULLINS MEMORIAL       FUNERAL HOME   & CREMATIO    1056 NE 7TH TERRACE                                                                           :L
                                                                                                                                 :APE CORAL                Vlevers & Flowers    x
/VW JACKSON FUNERAL HOME                             1701   w   63RD                                                             :HICAGO                   Meyers & Flowers     x
:LBA NURSING AND REHABILITATION CENTER               }87 DRAYTON AVENUE                                                          ELBA              \L      Baker Donelson       x
.,,NIVERsAL HEALTH SERVICES. INC.                    }67 SOUTH GULPH ROAD                    PO BOX      61558                   (iNG OF PRUSSIA   )A                           x
)EERFOOT MEMORIAL FUNERAL HOME                       ;360 DEERFOOT PARKWAY                                                       TRUSSVILLE        \L      Burr Forman          x
:OUNDATION PARTNERS GROUP                            t9O1 VINELAND ROAD. SUTIE 350                                                                 .L
                                                                                                                                 )RLANDO                   leck   Redden        x
;ERENITY      & COMPANY                               220 N. 16 STREET                       ;UITE   C                           )HOENIX           \z      leck   Redden        X
                                                     .HE                                                                                           -X
rHE MEMORIAL SIGNATURE GROUP                               SIGNATURE GROUP                   16801 GREENSPOINT DR,               JOUSTON                   leck   Redden
IOLLINGS FUNERAL SERVICE, INC                         19 CORRIGAN TRACE                                                          ,EACHTREE CITY    JA      ieck   Redden        x
;TONEMOR PARTNER, LP                                 1600 HORIZON BLVD, STE 1OO                                                  TREVOSE           )A      leck   Redden
  DEWITT MEMORIAL FUNERAL HOMES & CREMA              t612 S. SALTNA ST                                                           ;YRACUSE                  leck   Redden
                                                                                                                                                   'lY
}ALLWEG & LUNSFORD FUNERAL HOME5 - LAFAY             1584 FIELD LANE                                                             .AFAYETTE         \lY     leck   Redden
VIILNER   &   ORR FUNERAL HOME OF LONE OAK           ]745 OLD    US HWY   45 SOUTH                                               )ADLJCAH          (Y      leck   Redden
}ENITO & AZZARO - SANTA CRUZ WATSONVILLE             550 SOQUEL SAN IOSE ROAD                                                    ;OQUEL            :A      leck   Redden
IOONE FUNERAL HOME - SHREVEPORT                      3903 MERIWEATHER ROAD                                                       ;H REVEPORT       LA      leck   Redden
IRBS - ]ACKSON    &   BETZ FUNERAL HOME              15 MAIN STREET                                                              :ULTO NVILLE      NY      ]eck Redden
}RBS - JEFFORDS & STEWART FUNERAL HOME               35 WEST MAIN STREET                                                         lROADALBIN        NY      leck Redden
}RBS - KOBUSKIE.KONIK FUNERAL HOME                   51 FREMONT STREET                                                           3 LOVERSVILLE     NY      leck Redden
}RBS - LENZ & BETZ FUNERAL HOME                      J9 OTSEGO STREET                                                            CANAJOHARIE       NY      leck Redden
}RING'S BROADWAY CHAPET                              i91O EAST BROADWAY                                                          TUCSON                    ]eck   Redden
]ARTER.TRENT FUNERAL HOME . CHURCH HILL              1115 HIGHWAY 11.W                                                           CHURCH HILL       TN      leck   Redden
:REMATION SOCIETY OF MN . BROOKLYN PARK              7835 BROOKLYN BLVD                                                          BROOKLYN PARK     MN      ]eck   Redden
 REMATION SOCIETY OF MN - DULUTH                     I],OO GRAND AVE                                                             DULUTH            MN      leck   Redden
/]ILNER & ORR FUNERAL HOME OF BARDWELL               /VEST COURT STREET                                                          BARDWELL          (Y      ,eck Redden
  REMATION SOCIETY OF MN - ST PAUL                   ].979 OLD HUDSON      RD                                                    ST PAUL           VIN     ]eck Redden
)IUGUID FUNERAL SERVICE & CREMATORY.                 /VATERLICK CHAPEL                        1914 TIMBERLAKE ROAD               LYNCHBURG                 ieck Redden
DIUGUID FUNERAL SERVICE & CREMATORY -                /VIGGINGTON CHAPET                       11 WIGGINGTON CHAPEI-              LYNCHBURG                 Beck Redden
UNERAL ALTERNATIVES OF WASHINGTON                    :ENTRALIA                               1126 S. GOLD ST.. SUrTE 208         :ENTRALIA                 Beck Redden
V]ILNER & ORR FUNERAL HOME OF ARLINGTON              ;01 WALNUT STREET                                                           \RLINGTON         fi      Beck Redden
:UNERAL ALTERNATIVES OF WASHINGTON                   :EDERAL WAY
                                                                                             31919 6TH AVENUE sOUTH              FEDERAL WAY               Beck Redden
TUNERAL ALTERNATIVES OF WASHINGTON -                 .ACEY                                   2830 WILLAMETTE DRIVE, SUITE   G    LACEY                     Beck Redden
UNERAL ALTERNATIVEs OF WASHINGTON                    :UMWATER                                X55 NORTH ST. SE                    TUMWATER                  Beck Redden
VIILNER& ORR FUNERAL HOME OF WICKLIFFE               t079 couRT sr                                                               {VICKLIFFE        (Y      Beck Redden
\LTMEYER FUNERAL HOME - NEWPORT NEW VA               12893 JEFFERSON AVE                                                         !EWPORT NEW               Eeck Redden          x
JEORGE FUNERAL HOME & CREMATION CENTER               11 PARK AVENUE SW                                                           \IKEN             ;c      leck Redden
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Name/Address                                             {ame/Address                          {ame/Address                    lity              itate ;irm {lf Provided)   Matched
3LEN HAVEN MEMORIAL GARDENS                              7O70 HOUSTON ROAD                                                     V]ACON            3A     leck Redden
rIERS-BAXLEY FUNERAL & CREMATION LIFE                    EVENT CENTER     - BUFFALO RIDGE      }975 WEDGEWOOD LANE              HE VILLAGES      FL     leck Redden
HIERS-EAXLEY FUNERAL SERVICES        - BELLEVIE          5946 SE ROBINSON ROAD                                                 IELLEVIEW         FL     )eck Redden
HIERS-BAXLEY FUNERAL SERVICES -                          THE VILLAGES                          1511 BUENOS AIRES BLVD           HE VILLAGES      FL     ]eck Redden
HIGHLAND MEMORIAL PARK                                   1515 NE 3RD STREET                                                    )CALA             FL     ]eck Redden
MISSION MORTUARY                                         150 CAMINO EL ESTERO                                                  V]O    NTEREY     :A    Beck Redden
NITARDY FUNERAL HOME - CAMBRIDGE                         208 PARK STREET                                                       :AMBRIDGE               Beck Redden
NITARDY FUNERAL HOME - WHITEWATER                        550 N NEWCOMB STREET                                                  fuHITEWATER             Beck Redden
PCFL-A LIFE TRIBUTE FUNERAL CARE -                       3ULFPORT CHAPEL                       5601 GULFPORT BOULEVARD SOUTH   ;ULFPORT          FL    Beck Redden
PCFL -   A LIFE TRIBUTE FUNERAL CARE .                   .ARGO CHAPEL                          716 SEMINOLE BOULEVARD          ARGO              FL    Beck Redden
                                                                                                                               .AMPA
PCFL. A LIFE TRIBUTE FUNERAL CARE.                       IAMPA CHAPET                          +O4O HENDERSON BOULEVARD                                Beck Redden
PCFL. ANDERSON MCQUEEN                                   ryRONE FAMILY TRIBUTE CENTER          7820 38TH AVENUE NORTH          ;T PETERSBURG     FL    Beck Redden
PCFL - SUNNYSIDE CEMETARY                                ;3OO 19TH STREET NORTH                                                ;T PETERSBURG      L    Beck Redden
PORTLAND - HERITAGE MEMORIAL                             )705 SE 14TH AVE                                                      )ORTLAND          ]R    Beck Redden
PORTLAND - OREGON CREMATION CO.                          11667 SE STEVENS ROAD                                                 lAPPY VALLEY      ]R    Beck Redden
PORTLAND . SUNNYSIDE LITTLE CHAPEL                       )F THE CHIMES & MEMORIAL GARDEN       11667 SE STEVENS ROAD           lAPPY VALTEY      )R    Beck Redden
PORTLAND VALLEY MEMORIAL PARK FUNERAL HO                 }929 SE TUALATIN VALLEY HWY                                           i ILLSBORO        )R    Beck Redden
RIGHT CHOICE CREMATION - BRANDON                         2130 W BRANDON BLVD                                                   }RANDON            L    Beck Redden
RIGHT CHOICE CREMATION         . LOUISIANA                15 BOBBIE STREET                                                     )ossrER ctTY            Beck Redden
RIGHT CHOICE CREMATION - OCALA                           1515 NE 3RD STREET                                                    )CALA              L    Beck Redden
SHAW & SONS FUNERAL DIRECTORS                            IO], NORTH SECOND STREET                                              /AKIMA                  Beck Redden
SOUTH CAROLINA CREMATION SO-GRANITEVILLE                 1910 JEFFERSON DAVIS HWY                                              SRAN ITEVILTE     ;c    Beck Redden
iOUTH CAROLINA CREMATION SOCIETY                         iVEST COLUMBIA                        210 STATE STREET                /r'EST COLUMBIA   ;c    Beck Redden
;UMMERS FUNERAL HOME - BOISE                             1205 W BANNOCK ST.                                                    BOISE             D     Beck Redden
SUMMERS FUNERAL HOME - MERIDIAN                          }629 E USTICK RD                                                      MERIDIAN          D     Beck Redden
DR. LAKE GARNER (MSI                                     )49 BROADWAY DRIVE                                                    HATTI ESBURG      vt5   Beck Redden          X
TJ MCGOWAN SONS FUNERAL HOME-GARNERVILLE                 71,   NORTH CENTRAL HIGHWAY                                           SARN ERVILLE      \lY   Beck Redden          x
THOMPSON FUNERAL HOME - WEST COLUMBIA                    2OO STATE STREET                                                      WEST COLUMBIA     ;c    Beck Redden          x
/i/OODRIDGE MEMORIAL PARK & FUNERAL HOME                 138 CORLEY MILL ROAD                                                  LEXINGTON         ;c    Beck Redden          x
rHE SKIN CLINIC (OKI                                     }07 RADIO   RD                                                        DURANT            )K    Beck Redden          x
TEXA5 SPINE CLINIC   - BARTON (TX)                       19016 STONE OAK PKWY, #280                                            ;AN ANTONIO       TX    Beck Redden          x
ilALNUT GROVE FUNERAL HOME (MS)                          125 MAIN STREET                                                       WALNUT GROVE      vl5   Beck Redden          x
ilORKER'S MEDICAL PA (TX)                                3201 UNIVERSITY DR E- $155                                            BRYAN             tX    Beck Redden          x
:&s DENTAL    (TX)                                       I27 MAGNOLIA BLVD. H1                                                 MAGNOLIA          TX    Beck Redden          x
     AND NEELY DENTAL (MS)
\]EELY                                                   I8O1 OLD CANTON ROAD                                                  ACKSON            vls   Beck Redden          x
!EWSOM FUNERAL HOME {MS)                                 )11 E- MAIN STREET                                                    :HARLESTON        rIS   Beck Redden          x
:LARK MEMORIAL (MS)                                      i21 OBIE CLARK DRIVE                                                  MERIDIAN          14S   Beck Redden          x
]OGN05 CONSULTANTS,      LLC                             }21 MAIN STREET                                                       NATCHES           vts   Beck Redden          x
VIARBIE MEMORIAL MORTUARY (TX)                                ALMEDA ROAD                                                      HOUSTON           ix    Beck Redden          x
;YKEs FUNERAL HOME (M5)                                  'OOO
                                                         I22 N. 12TH 5TREET                                                    :OLUMUS           vls   Beck Redden          x
;AGEL BLOOMFIELD DANZANSKY GOTDBERG                      :UNERAL CARE INC.                     1091 ROCKVILLE PIKE             TOCKVI LLE        vtD   Beck Redden          x
)ORTER FUNERAL HOMES AND CREMATORY                       I535 MONROVIA                                                                           (5    Beck Redden          x
                                                                                                                               -EN EXA
iIVERSIDE FUNERAL HOME OF SANTA FE                       I232 CERRILLOS RD                                                     iANTA    FE       \lM   Beck Redden          x
TIVERSIDE FUNERAL HOME OF LOS LUNAS                      I2O MAIN STREET NE                                                    OS LUNAS                Beck Redden          x
                        (IX)                                                                                                                     .X
V]ENTIS NEURO REHAB                                      ;849 CRESTWAY DRIVE     B                                             iAN ANTONIO             Beck Redden          X
;ANDERS AND SANDERS FUNERAL HOME (MS)                    ;171 HIGHWAY 49 S                                                     JREENWOOD         !4S   Beck Redden          x
{ICKI CRONK, DNP APRN, FNP-BC                            ,OUR FAMILY HEALTHCARE,
                                                                                 LLC           14310 HIGHWAY 6                 iANTA    FE
                                                                                                                                                 -x    leck   Redden        x
EGACY CREMATION FUNERAL SERVICES                         ;04 W gTH ST                                                          \NDERSON          N     leck   Redden        X
]EERS    & STORY FUNERAL HOMES                           ;46 NEWTON STREET                                                     ;OUTH HADLEY            leck   Redden
]EERS& STORY FUNERAL HOMES                               iO MAPLE STREET                                                       ]ELCHERTOWN             leck   Redden        x
)R MURRAY SPAIN                                          1634 SOUTH PLAZA TRAIL                                                /IRGINIA BEACH            eyers & Flowers    X
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Name/Address                                       !ame/Address                              Name/Address          :itv              itate Firm (lf Providedl    Vlatched
WEST LOOP SMILE STUDIO                             )55 W MONROE 5T                                                 :HICAGO                  Meyers & Flowers
:HAPEL HILL FUNERAT HOME                           10775 MCKINLEY HWY                                              )SCEOLA           IN     Beck Redden
:OVINGTON MEMORIAL FUNERAL HOME                    ]408 COVINGTON RD                                               :ORT WAYNE        IN     Beck Redden
DONELSON FUNERAL CHAPEL & CREMATION                 KA FIR LAWN MORTUARY                     1.070   W MAIN ST     ,l
                                                                                                                        ILLSBORO     ]R     Beck Redden
FOREST LAWN FUNERAL HOME                           1977 S STATE RD 135                                             JREENWOOD          N     Beck Redden
PALM BEACH NATIONAL CHAPEL                         10055 HERITAGE FARMS            RD                              AKE WORTH         rL     Beck Redden
;ERENITY MEADOWS FUNERAL HOME                             PROVIDENCE RD                                            IIVERVIEW          L     Beck Redden
/|/OODLAWN FUNERAL HOME                            '919 W JEFFERSON ST
                                                   3201                                                            OLIET                    Beck Redden
FARMINGTON CREMATION SOCIETY                       ;635 HIGHWAY 64                                                 :ARMINGTON        !M     Beck Redden
MEMORY GARDENS OF FARMINGTON                       i917   MAIN ST
                                                          E                                                        :ARMINGTON        {M     Beck Redden
:OPE MEI\4ORAL CHAPEL, AZTEC                       105 S MAIN AVE                                                  \ZTEC             {M     Beck Redden
I'HE SIGNATURE MEMORIAL GROUP                      ],100 COAL AVE SE                                               ALBUQUERQUE              Beck Redden
:ARLISLE CHAPEL   (il202)                          }113 CARLISLE BLVD NE                                           ALBUOUEROUE       !M     Beck Redden          X
\FFORDABLE CREMATION & BURIAL (#204)               ;21 COLUMBIA DR SE                                              \LBUQUERQUE       {M     Beck Redden          x
FAIRVIEW MEMORIAL PARK (#205)                      7OO YALE   BLVD   SE                                            ALBUQUERQUE       !M     Beck Redden          x
3ARCIA MORTUARY {S208)                             717 STOVER AVE SW                                               \LBUOUEROUE       !M     Beck Redden          x
\LAMEDA MORTUARY (f209)                            )420 FOURTH 5T NW                                               \LBUQUERQUE              Beck Redden          x
;ARA CHAPEL (S210)                                 t31O SARA RD SE                                                 RIO RANCHO               Beck Redden          x
SOUTHERN CHAPEL (S213)                             I4OO SOUTHERN BLVD                                              RIO RANCHO        {M     Beck Redden          x
,r'YOMING CHAPEL (f214)                            7601 WYOMING                                                    \LBUOU EROUE      \lM    Beck Redden          x
;ANDIA MEMORY GARDENS (f216)                       )5OO SAN PEDRO NE                                               \LBUQUERQUE       !M     Beck Redden          x
\VISTA FUNERAL & CREMATION {S217)                  15OO   CAMINO ENTRADA                     TEA                   ;ANTA     FE      {M     Beck Redden          x
]TT & LEE FUNTRAL HOME - FOREST (#603)             I95 E FIRST ST                                                  FOREST            \4S    Beck Redden          x
]TT & LEE FUNERAL HOME - MORTON (S604)             }555 HIGHWAY 80        S                                        V]ORTON           vts    Beck Redden          x
]TT & LEE FUNERAL HOME - RICHLAND (#605)           1550 HWY 49 S                                                   MORTON            !4S    Beck Redden          x
OHNSON COUNTY FUNERAL CHAPEL &                     /EMORIAL GARDENS (#301 & S302)            11200 METCALF AVE     ]VERLAND PARK     (s     Beck Redden
TERRACE PARK FUNERAL HOME      & CEMETERY          #401 & S402)                              ]01 NW 1O8TH ST       :ANSAS     CIry          leck   Redden        x
                                                                                                                                     '/1O
 .ONGVIEW FUNERAL HOME & CEMETERY                  (*403 & S404)                             12700 SE RAYTOWN RD   (ANSAS CITY              leck   Redden        x
                                                                                                                                     '/lO
                                                                                                                                     .X
.INCOLN MEMORIAL PARK (#503)                       1311 MURDOCK RD                                                 )ALLAS                   leck   Redden
:ARVER CEMETERY {$506)                              5 MALLORY BRIDGE                                                                 -x     leck
                                                                              RD                                   iVILMER                         Redden        x
}ARRON FUNERAL HOME (1007)                          33 WYLIE 5T                              )o Box727             ]HESTER           ;c     leck   Redden        X
:LARK FUNERAL HOME (1002}                          142 COMMERCE ST                           ,o Box 11s            'IAWKINSVILLE     JA     leck   Redden
)ANTZLER-BAKER FUNERAL HOME                        16   UNDERWOOD AVE                        ,o Box 462            :REAT FALLS       ;c     leck   Redden        x
]USH RIVER MEMORIAL GARDENS (1015)                 i4OO BUSH RIVER RD                                              ]OLUMBIA          ;C     leck   Redden        x
:ULLER-MCALHANY FUNERAL HOME (1014)                1541 SAVANNAH HWY                                               {ORTH             ;c     leck   Redden
:RAZIER& SON FUNERAL HOME (].010)                   016 4TH AVE                              )o Box 570            TOCHELLE          iA     leck   Redden
VIANRY-JORDAN-HODGES FH (1021                       1802 LUCILLE     RD                      ,o Box 126            }LAKELY           JA     leck   Redden
)EE DEE CREMATORY     & CREMATION    CARE          2402 s tRBY 5T                            ,o Box 12870           LORENCE          tc     leck   Redden        x
EMPLES-HALLORAN FUNERAL CREMATION SERVS            54OO BUSH RIVER RD                                              :OLUMBIA          tc     leck   Redden
ruEST GEORGIA CREMATORY     (1009)                 5756 HARRISON AVE SW #B                   ,o   Box 339          \USTELL           GA     leck   Redden
JEORGIA CREMATION CARE                             5754 HARRISON AVE                                               \USTELL           GA     leck   Redden
:ENTRAL SAVANNAH RIVER CREMATORY                   3465 PEACH ORCHARD RD                                           \UGUSTA           3A     leck   Redden
:OREsT HILLS CEMETERY                              1642 WASHINGTON HWY                                              LBERTON          3A     ]eck Redden
IOPKINS FUNERAL HOME I1OO5)                        116 E ROBERT TOOMBS AVE                                         WASHINGTON        3A     leck Redden
}ELOACH.MCKERLEY-PRESCOTT      &                   :REMATION SERVTCE (1001                   220 E 6TH ST          WAYNESBORO               ]eck Redden
,OTEET FUNERAL HOME,SOUTH (1007)                   3465 PEACH ORCHARD          RD                                  AUGUSTA           3A     leck Redden
iTERLING FUNERAL HOMES                             1201 5 MA|N ST                                                  ANAHUAC           rx     vlevers & Flowers
r']ULLER-THOMPSON FUNERAL CHAPEL/CREMATION         IO11 PINE RIDGE ROAD                                            NAPLES            FL     Vlevers & Flowers
;TERLING.WHITE CEMETARY                            11011 CROSBY-LYNCHBURG               RD                         HIGH LAN DS       TX     vleyers & Flowers
\LL CREIVIATION OPTIONS                            ,051 CASTELLO DRIVE                                             NAPLES             L     y'ieyers & Flowers
:VANS-BROWN HEMET VALLEY CREMATORY                 11725 ELM STREET STE 304                                        MURRITETA         :A     vlevers & Flowers
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Name/Address                                   !ame/Address                            {ame/Address        :ity                ;tate :irm (lf Provided)     Vlatched
EAST CARTER COUNTY MEMORY GARDENS              1296 EAST US ROUTE 60                                       iRAYSON             KY       Vleyers & Flowers
WHITE'S FUNERAL HOME                           104 E FOOTHILL BLVD                                         \ZUSA               :A       !4evers & Flowers
MEMORY GARDENS OF AMARILLO                     ],4200 INTERSTATE 27 @ MCCORMICK ROAD                       \MARILLO            rx       Vlevers & Flowers
OAKLAWN MEMORIAL GARDENS                       2116 GARDEN STREET                                          IITUSVILLE          FL       Meyers & Flowers
DWAYNE R SPENCE FUNERAL HOME                    ;50 WEST WATERLOO STREET                                   :ANAL WINCHESTER    ]H       Mevers & Flowers
DWAYNE R SPENCE FUNERAL HOME                   i5O HILL ROAD NORTH                                         ,ICKERINGTON        ]H       Mevers & Flowers
MADDUX FUNERAL HOME                            338 EAST NASHVILLE                                          )EMBROKE            KY       Meyers & Flowers
PALMS MEMORIAL PARK                            2421 HWY 146 S                                              )AYTON              TX       Vleyers & Flowers
RICHMOND COUNTY MEMORIAL PARK CEMETARY         IIGHWAY 74 EAST                                             IOCKINGHAM          !c       Vlevers & Flowers
FULLER CREMATION CENTER                        ,325 JAEGER ROAD                                            ,lAM PLES            L       Meyers & Flowers
ATSIP FUNERAL CHAPEL                           IO4 1OTH AVENUE SOUTH                                       {AMPA                D       Vlevers & Flowers
DAKAN FUNERAL HOME                             iO4 SOUTH KIMBALL AVENUE                                    ]ALDWELL             D       \4evers & Flowers
HILLCREST MEMORIAL GARDENS                     15862 INDIANA AVENUE                                        :ALDWELL             D       Meyers & Flowers
3RANT MILLER-JOHN COX MORTUARY                 2850 TELEGRAPH AVENUE                                       )AKtAND                      Vlevers & Flowers
ROLLING HILLS MEMORIAL PARK                    I1OO HILLTOP DRIVE                                          TICHMOND            :A       Vlevers & Flowers
MOORE FUNERAL AND CREMATION                    r00 sE 19TH ST                                              MOORE               )K       Vlevers & Flowers
:HAPEL OF SAN RAMON VALLEY                     }25 HARTZ WAY                                               DANVI LLE           :A       Meyers & Flowers
SCHOOTER-ARMSTRONG CHAPEL                      123 EAST 2ND 5T                                             :LAUD       E       l'x      \4evers & Flowers
BRYAN & HARDWICK FUNERAL HOME                  1318 MAPLE AVENUE                                           ZANESVILLE          )H       Vlevers & Flowers   X
V]CNARY.MOORE FUNERAL SERVICE                   07 FIFTH STREET                                            :OLUSA              ]A       !4eyers & Flowers   x
)ON GRANTHAM FUNERAL HOME                      L5O2 N 81 HIGHWAY                                           DUNCAN              )K       Vlevers & Flowers   x
:RANKLIN & DOWNS FUNERAL HOME CERES            1561 5TH ST                                                 :ERES               :A       Vlevers & Flowers   x
EE   COUNTY CREMATION SERVICES                 3615 CENTRAL AVE STE S6                                     FT. MEYERS          :I       Meyers & Flowers    x
:ARMAN FUNERAL HOME                            t44 BELTONTE ST                                             RUSSELL                      Vlevers & Flowers   x
,YONS FUNERAL HOME                             16 HIGH STREET                                              IHOMASTON           :T       Vlevers & Flowers   x
TEDGATE.HENNESSY    FUNERAL DIRECTORS           GORHAM PLACE                                               I"RUMBULL           ]T       Meyers & Flowers    x
AIN-SULLIVAN FUNERAL DIRECTORS                 ;O WESTWOOD DRIVE                                           PARK FOREST                  Vlevers & Flowers   x
]RYANT FUNERAL HOME                            I11 OLD TOWN      RD                                        EAST SETAUKET            Y   Vlevers & Flowers   x
AMES TERRY FUNERAL HOME. INC                    36   E LANCASTER   AVE                                     )OWNINGTON          )A       /levers & Flowers   x
(ENT-FOREST LAWN FUNERAL HOME                  I4O3 HARRISON AVENUE                                        )ANAMA CITY         :L       Meyers & Flowers    x
:OREsT LAWN MEMORIAL CEMETARY                   403 HARRISON AVENUE                                        )ANAMA CITY         :L       Mevers & Flowers
TVERGREEN MEMORIAL GARDENS                     1733 U5 HWY 231 NORTH                                       )ANAMA CITY         :L       Vlevers & Flowers
lARDENS OF MEMORY CEMETARY                     IO35 EAST 15TH STREET                                       )ANAMA CITY                      ers & Flowers   x
 MERALD COAST FUNERAL HOME                     t61 RACERACK ROAD, N.W.                                     rORT WALTON BEACH   :L       Vlevers & Flowers   X
rREEN EARTH CREMATION                           36 E LANCASTER AVE                                         )OWNINGTON                   Mevers & Flowers    x
JRAY FUNERAL HOME                              IO2 W 2NG STREET                                            JRAN    D   FIELD   )K       Vlevers & Flowers
;UNSET MEMORIAL GARDENS                        ,o Box 6115                                                 AWTON               )K          /ers & Flowers   x
.lILLIER FUNERAT HOME                                 SIATE HWY 5                                                              -x
                                               IOSO                                                        :OLLEGE STATION                   rs & Flowers   x
)AK VIEW MEMORIAL PARK CEMETARY                1500 E 18TH ST                                              \NTIOCH             :A       Vlevers & Flowers   x
]EDLE FUNERAL HOME                             ;1 BROAD STREET                                             (EYPO RT            ,tJ      Vlevers & Flowers
]EDLE FUNERAL HOME                              12 MAIN STREET                                                                             rers & Flowers   X
]RAUN FUNERAL HOME                             106 BROAD STREET                                             ATONTOWN                    Vlevers & Flowers
\LL CREMATION OPTIONs                          ;346 HWY 98   N                                             ,AKELAND            :L       Vlevers & Flowers
)UIMET BROTHERS CONCORD FUNERAL CHAPEL         +125 CLAYTON ROAD                                           :ONCORD             :A       Vleyers & Flowers
AKETAND MEMORIAL GARDENS                       2125 S BARTOW HWY                                           AKELAND             :L       vleyers & Flowers
)ARLING & FISCHER GARDEN CHAPEL                471 E, SANTA CLARA 5TREET                                   ;AN JOSE            :A       Vlevers & Flowers
)ARLING & FISCHER CAMPBELL MEMORIAL CHAP       231 E CAMPBELL AVE                                          :AM PBELL           :A       vlevers & Flowers
05 GATOS MEMORIAL PARK                         2255 LOs GATOS-ALMADEN ROAD                                 ;AN JOSE            :A       Vleyers & Flowers
;.R. AVERY FUNERAL I{OME                       34 BANK ST                              ,o Box 417          lOPE VALLEY         RI       vleyers & Flowers
IOLLING HILLS PACIFIC RIM OFFICE               ]28   HARRISON ST STE 101
                                                                                                                               .A
                                                                                                           )AKLAND                      Vlevers & Flowers
.RACY
        MAUSOLEUM                              3842 E SCHULTE RD                                            RACY               ]A       vleyers & Flowers
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tlame/Address                                  Name/Address                          {ame/Address          :iw                State    :irm (lf Provided)   Vlatched
IENNESSEY FUNERAL HOME  & CREMATORY            2203 N DIV|SION 5T                                          ;POKANE                     vlevers & Flowers
IENNESSEY VALLEY FUNERAL HOME & CREMATOR       1315 N PINES RD                                             ;POKANE VALLEY              vlevers & Flowers
:OLONIAL FORASTIERE FUNERAL & CREMATION        )85 MAIN ST                                                 \GAWAM             MA       Vleyers & Flowers
;OUTHWICK FORASTIERE FUNERAL & CREMATION             COLLEGE HIGHWAY                                       ;OUTHWICK          MA       Vlevers & Flowers
.YLUNAS                                        '24 BROADWAY
        FUNERAL HOME                           159                                                         :H ICOPEE          MA       vlevers & Flowers
IOTZ FUNERAL HOME                              1330 E MAIN ST                                              ;ALEM                       vleyers & Flowers
LOTZ FUNERAL HOME                              305 E WASHINGTON AVE                                        i   INTON                   vleyers & Flowers
RADER FUNERAL HOME                             i3O ROANOKE RD                                              )ALEVILLE                   vlevers & Flowers
MEMORY GARDENS MEMORIAL PARK                   7251 W LONE MOI.]NTAIN RD                                   AS VEGAS                   Meyers & Flowers
BUNKER'S EDEN VALE MORTUARY                    )25 LAS VEGAS BLVD N                                        AS VEGAS                   Mevers & Flowers
:OLONIAL GARDENS CEMETERY                      IWY 31 - ELYSIAN FIELDS RD                                  r'lARSHALL         TX      Mevers & Flowers
BUNKER'S EDEN VALE MEMORIAL PARK               1216 LAS VEGAS BLVD N                                       AS VEGAS                   Meyers & Flowers
ALGOMA CEMETERY                                IWY 80 E - VICTORY DR                                       /IARSHALL          TX      Vlevers & Flowers
LAUDERDALE MEMORIAL PARI(                      2OO1 SW 4TH AVE                                             T    L-AUDERDALE   :L      Vlevers & Flowers
       MEMORIAL GARDENS                        3201 NW 19TH ST                                             :T LAUDERDALE       t      Meyers & Flowers
'UNSET
EVERGREEN CEMETERY                             13OO SE 1OTH AVE                                            :T LAUDERDALE              Vlevers & Flowers
ROSE HILL MEMORIAL PARK                        I731 COMANCHE                                               :ORPUS CHRISTI     tx      Vlevers & Flowers
:REMATION SOCIETY OF IDAHO                             OVERLAND RD                                         BOISE              D       Vlevers & Flowers     X
,VOODLAWN CEMETERY                             '541
                                               LsOO    LAS VEGAS BLVD N                                    LAS VEGAS                  Vleyers & Flowers     x
)EEGAN FUNERAL CHAPET                           441 sAN JOAQUIN 5T                                         ESCALON            :A      Vlevers & Flowers     x
)EEGAN.RIPON MEMORIAL CHAPEL                   11],5 PALM AVE                                              RIPON              :A      Vlevers & Flowers     x
IILLTOP CREMATION                              }755 ALHAMBRA AVE                                           MARTINEZ                   Mevers & Flowers      x
MCLAUGHLIN TWIN CITIES FUNERAL HOME            t4O5 JOHN SIM5 PKWY     E                                   N   ICEVILLE       :L      Vlevers & Flowers     x
:ORPUS CHRISTI FUNERAL HOME                     409 BALDWIN BLVD                                           :ORPUS CHRISTI      x      Mevers & Flowers      x
;UNSHINE CEMETERY                              I5O1 RODD FIELD RD                                          :ORPUS CHRISTI     -x      Vleyers & Flowers     x
V]CGEE MEMORIAL CHAPEL MORTUARY                1320 LUTSA ST                                               ;ANTA FE           {M      Vleyers & Flowers     X
V]ESSIER FUNERAL HOME                          1944 NORTHAMPTON ST                                         lOLYOKE                    Vlevers & Flowers
TATELL FUNERAL HOME                            IOO   MAIN ST                                               NDIAN ORCHARD              Vlevers & Flowers     x
:LOVERDALE FUNERAL HOME                        12OO N CLOVERDALE RD                                        totsE              D             ers & Flowers   X
:LOVERDALE MEMORIAL PARK                        2OO    N CLOVERDALE RD                                     iotsE              U              rs & Flowers
TERRACE LAWN MEMORIAL GARDENS                   255 E FAIRVIEW AVE                                         V]ERIDIAN          D       Vlevers & Flowers
 VANS.BROWN - LAKE ELSINORE                    ,26 E GRAHAM AVE                                            .AKE ELSINORE      ]A      vleyers & Flowers     x
:VANS.BROWN MORTUARY. PERRIS                   I85 W FOURTH ST                                             ,ERRIS                     Vleyers & Flowers
{EMET VALLEY MORTUARY                          IO3 N SAN JACINTO ST                                        ]EMET              :A      vlevers & Flowers
(EENAN FUNERAL HOME. NORTH BRANFORD            }30 NOTCH HILL RD                                           \]ORTH BRANFORD    :T      vlevers & Flowers
JLACIER MEMORIAL GARDENS                       2659 US HWY 93 N                                            (ALISPELL          VIT     \4eyers & Flowers
\USTIN FUNERAL HOME                            PO BOX 206                                                  iVHITEFISH         MT      vleyers & Flowers
:ULLER METZ CREMATION & FUNERAL SERVICES       3740 DEL PRADO BLVD    S                                    ]APE CORAL         FL      vlevers & Flowers
:ULLER FUNERAL HOME.CREMATION SERVICE
                                               1735 TAMIAMITRAIL E                                         {APLE5             FL      vlevers & Flowers
:ULLER FUNERAL HOME-CREMATION SERVICE          1625 PINE RIDGE RD                                          \IAPLES            FL      vleyers & Flowers
}RIGHT FUNERAL HOME                            105 S MAIN ST                                               WAKE FOREST        NC      vlevers & Flowers
AMES J TERRY FUNERAL HOME                      1.060 W LINCOLN HWY                                         COATESVILLE        PA      y'levers & Flowers
IRADSHAW.CARTER MEMORIAL & FUNERAL 5VC5        1734 W ALABAMA ST                                           HOUSTON            TX      vleyers & Flowers
iICH & THOMPSON FUNERAL & CREMATION SVC        )o Box 558                                                  BURLINGTON         \lc     vleyers & Flowers
 ICH& THOMPSON FUNERAL SERVICE &               :REMATORY                             IO7 E ELM ST          GRAHAM             \lC     vlevers & Flowers
}LUE MOUNTAIN CREMATION SERVICES                     TERRY ST                                              LONGMONT           :o      y'levers & Flowers
r'IEGUT FUNERAL HOME                            '03 N LINCOLN AVE
                                               ],616                                                       LOVELAND           to      r'leyers & Flowers
IHOMAS F DALTON FUNERAL HOMES. INC.            !EW     HYDE PARK                     ,25 HILLSIDE AVE      NEW HYDE PARK      !Y      ilevers & Flowers
THOMAS F DALTON FUNERAL HOMES, INC,            A/ILLISTON PARI(                      12 WILLIS AVE         /VILLISTON PARK            y'levers & Flowers
THOMAS F DALTON FUNERAL HOMES, INC             lICKSVILLE                            7 JERUSALEM AVE       HICKSVILLE         \lY     Vleyers & Flowers
,OMBARDO FUNERAL HOME                          I,O2 LINWOOD AVE                                            BUFFALO                    Vleyers & Flowers
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Name/Address                                     \lame/Address                               Name/Address                               lity                itate Firm (lf Providedl   vlatched
LOMBARDO FUNERAL HOME                            385 NIAGARA FALLS BLVD                                                                 \MHERST                   Vlevers & Flowers
{DVANCED SURGERY CENTER                          13530 MICHIGAN AVENUE                                                                   )EAREORN                 Vlevers & Flowers
SCI-CEMETERY   DIVISION                          ;Cl Manasement L.P                          PO BOX      130548                         ]OUSTON             rx    Beck Redden
:EMETERY ADJUSTMENT                              lillcrest Memorial Comoanv                  NO ADDRESS                                 qNY CITY            tx    Beck Redden
NFP LOCATIONS HELD FOR SALE - CEMETERY           {O    LEGAL PARENT-NOT OWNED BY SCI         NO ADDRESS                                 ANY CITY            rx    Beck Redden
LOCATIONS HELD FOR SALE - CEMETERY               ;Cl Manasement L.P                          NO ADDRESS                                 ANY CITY            tx    Beck Redden
FLORIDA SPECIAL PROJECT                          ;Cl Funeral Services of Florida. LLC        9321 MEMORIAL PARK               RD        /VEST PALM BEACH          Beck Redden
iTONEWALL MEMORY GARDENS                         ;Cl Virsinia Funeral Seruices, lnc.         12004 LEE HIGHWAY                          MANASSAS                  Beck Redden          X
KRAFT-GRACELAND MEMORIAL PARK                    ;Cl lndiana Funeral Seruices, lnc           2778 CHARLESTOWN ROAD                      NEW ALBANY          N     Beck Redden          x
     VIEW MEMORIAL GARDENS MANAGEMENT
r'ALLEY                                          ;Cl Ohio Funeral Seruices lnc.              1639 EAST LYTLE-FIVE POINTS           RD   :ENTERVILLE         )H    Beck Redden          x
]AKWOOD MEMORIAL GARDENS                         ;Cl Alabama Funeral Seruices, LLC           21OO MONCRIEF ROAD                         SARDENDALE          \t    Beck Redden          X
V]ONT META MEMORIAL PARK                         iCl Texas Funeral Services, LLC             26170 STATE HIGHWAY 345                    ;AN BENITO          tx    Beck Redden          x
1ESTTAWN MEMORIAL PARK                           ;Cl Texas Funeral Seruices, LLC             14166 BUSINESS 83                          LA FERIA            l'x   Beck Redden          x
]UENA VISTA BURIAL PARK                          ;Cl Texas Funeral 5ervices, LLC             5 MCDAVITT BLVD                            BROWNSVILLE         l'x   Beck Redden          x
]IGHLAND MEMORIAL PARK                           ;Cl Texas Funeral Seruices, LLC             ROUTE 4 BOX 265                            r'/ESLACO           tx    Beck Redden          x
tOSE LAWN MEMORIAL GARDENS                       ;Cl Texas Funeral Services, LLC             1464 OLD PORT ISABEL ROAD                  BROWNSVILLE         tx    Beck Redden          x
     OF DAVID CEMETERY OF THE PALM BEACH         ;Cl Funeral Seruices of Florida.   LLC      ]321 MEMORIAL          PARK ROAD           /VEST PALM BEACH    :L    Beck Redden          x
'TAR
VIENORAH GARDENS    &   FUNERAL CHAPELS          ;Cl Funeral Seruices of Florida, LLC                                                                       :L
                                                                                             21100 WEST GRIFFIN ROAD                    iOUTHWEST RANCHES         Beck Redden          x
,ALM VALLEY MEMORIAL GARDENS                     iCl Texas Funeral Seruices, LLC             1507 NORTH SUGAR ROAD                      )HARR               'x    Beck Redden          x
TVOODLAWN MEMORIAL PARK & FUNERAL HOME           ;Cl Funeral Seruices of Florida. LLC        )o Box 585627                              )RLAN DO            :L    Beck Redden          x
TESTLAWN MEMORIAL PARK                           ;Cl Texas Funeral 5eruices, LLC                                                                            -X
                                                                                             1848 ALPS                                  :L PASO                   leck   Redden
:ALVARY HILL CEMETERY                            iCl Texas Funeral 5eruices, LLC             21723 ALDINE.WESTFIELD ROAD                ]UMBLE              -x                         x
                                                                                                                                                                  ieck   Redden
:ORSYTH MEMORIAL PARK                            ;Cl North Carolina Funeral Services. LLC    3771 YADKINVILLE ROAD                      iVINSTON-SALEM      {c    leck   Redden        X
/VHITEMARSH MEMORIAL PARK                        ;Cl Pennsylvania Funeral Seruices lnc.      ].169 LIMEKILN       PIKE                  \MBLER                    leck   Redden
;HERWOOD CHAPEL AND MEMORIAL GARDENS             ;Cl Tennessee Funeral Services, LLC         3176 AIRPORT HIGHWAY                       \LCOA                N    ieck   Redden        x
                                                                                             )o Box                                                         .N
]AMILTON MEMORIAL GARDEN5                        ;Cl Tennessee Funeral Seruices, LLC                     9                              {txsoN                    leck   Redden        x
;UNLAND MEMORIAL PARK & MORTUARY                 ;Cl Arizona Funeral Services. LLC           15826 DEL WEBB BLVD                        iUN CITY                  leck   Redden
;UNLAND PET REST CEMETERY                        ;Cl Arizona Funeral Seruices, LLC           ].0917 SUNLAND DRIVE                       ;UN CITY            \z    leck   Redden
;USQUEHANNA MEMORIAL GARDENS                     ;Cl Pennsvlvania Funeral Services lnc.      I5O CHESTNUT HILL ROAD                     IORK                ,A    leck   Redden        X
TESTWOOD MEMORIAL PARX                           iCl Texas Funeral Seruices. LLC             1038 WEST PLANTATION DR                    :LUTE               rX    leck   Redden
;UN5ET HILLS MEMORIAL PARK                       iCl Washington Funeral Seruices,      LLC   1215 145TH PLACE            5E             ]ELLEVUE                  leck   Redden
:EDAR LAWNS MEMORIAL PARK                        scl Washinston Funeral Seruices.      LLC   72OO 18OTH AVE NE                          IEDMOND                   leck   Redden
;OUTHERN HERITAGE CEMETERY                       SCI Alabama Funeral Seruices. LLC           t75 CAHABA VALLEY ROAD                     ,ELHAM              \L    leck   Redden
IEDDING MEMORIAL PARK                            ;Cl California Funeral Services, lnc.        201 CONTINENTAL ST                        IEDDING                   leck   Redden
AWNCREST MEMORIAL PARK                           iCl California Funeral Seruices, lnc        1201 CONTINENTAL 5T                        TEDDING                   ]eck Redden
\LABAMA HERITAGE CEMETERY                        iCl Alabama Funeral Seruices, LLC           ,o Box 240455                              T4ONTGOMERY         \L    ]eck   Redden
JLEN ABBEY MEMORIAL PARK                         ;Cl California Funeral Seruices. lnc.       1838 BONITA ROAD                           BONITA              :A    ]eck   Redden
iAWAIIAN MEMORIAL PARK CEMETERY                  Hawaiian Memorial Life Plan Ltd.            ,o Box      1246                           KANEOHE             HI    leck   Redden
}ERKS COUNTY MEMORIAL GARDENS                    iCl Pennsylvania Funeral Services lnc       IO1 EVANSVILLE RD                          FLEETWOOD           )A    leck   Redden
,HILADELPHIA MEMORIAL PARK                       ;Cl Pennsvlvania Funeral Services lnc.      124 PHOENIXVILLE PIKE                      FRAZER              PA    ]eck   Redden
:RE5NO MEMORIAL GARDENS                          iCl California Funeral Services. lnc.       175 SOUTH CORNELIA AVE                     FRESNO                    Ieck   Redden
r']EADOWBROOK MEMORIAL GARDENS                   ;Cl Vireinia Funeral Seruices, lnc.         ,o Box 5128                                SUFFOLK                   leck   Redden
/ALLEY MEMORIAL GARDENS                          ;Cl Texas Funeral Services, LLC             1605 NORTH TAYTOR ROAD                     MtsstoN             TX    ieck   Redden
r']ARIPOSA GARDENS MEMORIAL PARK                 ;Cl Arizona Funeral Services, LLC           ;747 EAST BROADWAY ROAD                    MESA                \z    leck   Redden
JREENHAVEN MEMORIAL PARK                         lawaiian Memorial Life Plan Ltd.             7.147 WAIKALUA ROAD                       KANEOHE             {     )eck   Redden
/IEMORIAL PARK CEMETERY                          ;Cl lllinois Seruices, lnc.                 }9OO GROSS POINT ROAD                      SKOKI   E                 leck   Redden
;UNSET CEMETERY                                  ;unset Hills Burial Park Association        i959 WEST BROAD STREET                     GALLOWAY            )H    )eck   Redden
;UNSET CEMETERY MANAGEMENT COMPANY               ;Cl Ohio Funeral Services lnc.              i959 WEST BROAD STREET                     GALLOWAY            )H    leck   Redden
ETERNAL HILLS MEMORIAL PARK                      iCl California Funeral Seruices. lnc.       999    EL   CAMINO REAL                    ]CEANSIDE                 3eck Redden
LIMERICK GARDEN OF MEMORIES                      ;Cl Pennsylvania Funeral Seruices lnc       14   SWAMP PIKE                            LIMERICK                  leck Redden
HAMPTON MEMORIAL GARDENS                         ;Cl Virsinia Funeral Seruices. lnc.         I55   BUTLER FARM ROAD                     HAMPTON                   ]eck Redden
                                          Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 32 of 80 PageID #:8271



                                                                                                                                                                                        Not
\,lame/Address                                   Name/Address                                    !ame/Address                          :ity                State    irm (lf Provided)   Matched
,ARKLAWN MEMORIAL PARK                           scl Virsinia Funeral Services. lnc.             I551 NORTH ARMISTEAD AVE              lAMPTON                     leck Redden
)AKDALE MEMORIAL PARK                            SCI   California Funeral Services. lnc.         1401 SOUTH GRAND AVE                  :LENDORA            CA      leck Redden
;UNSET MEMORIAL PARK                             SCI   Texas Funeral Seruices, LLC               1701 AUSTIN HIGHWAY                   ;AN ANTONIO         TX      leck Redden
}ROOKSIDE MEMORIAL PARK                          SCI   Texas Funeral Seruices, LLC               1,3747 EASTEX FREEWAY                 lOUSTON             TX      leck Redden
JREENLAWN MEMORIAL PARK                          SCI lndiana Funeral Seruices. lnc.              iSOO COVINGTON ROAD                   :ORT WAYNE          IN      leck Redden
:LORAL HILLS CEMETERY                            Uniseruice Corporation                          IO9 FILBERT ROAD                       YNNWOOD                    leck Redden
:OREST LAWN CEMETERY                             Uniseruice Corporation                          ;7O1.3OTH AVE SW                      iEATTLE                     leck Redden
TIVERTON CREST CEMEIERY                          Uniseruice Corporation                          }4OO SOUTH 14OTH STREET               TUKWILA                     leck Redden
iUNSET BROWN.SERVICE MEMORIAL PARK               ;Cl Alabama Funeral services. LLC               3802 WATERMELON ROAD                  {ORTHPORT           \L      leck Redden
vIEMORY HILL GARDENS                             iCI Alabama Funeral Seruices, LLC                   2OO   SKYLAND BLVD EAST           TUSCALOOSA                  leck Redden
:OREST LAWN MEMORIAL PARK     MGMT               ;Cl Ohio Funeral Seruices Inc
                                     CO                                                          ;600 EAST BROAD STREET                :OLUMBUS            ]H      leck Redden
:OREsT LAWN MEMORIAL GARDENS                     Forest Lawn Memorial Park Association           ;600 EAST BROAD STREET                ]OLUMBUS            )H      leck Redden
r'YOODMERE MEMORIAL PARK                         ;Cl West Vireinia Funeral Seruices lnc.         5547 WEST TEARIDGE ROAD               .IUNTINGTON                 Beck Redden
RIDGELAWN MEMORIAL PARK                          ;Cl West Virsinia Funeral Seruices lnc          5547 WEST PEA RIDGE ROAD              ]UNTINGTON                  Beck Redden
RESTHAVEN MEMORIAL PARK                          ;Cl KentuckV Funeral Services, lnc.             44OO BARDSTOWN ROAD                   .OUISVILLE          (Y      Beck Redden
GREENWOOD MEMORIAL PARK                          ;Cl Washinston Funeral Seruices. LLC            350 MONROE AVE NE                     IENTON                      Beck Redden
]AK HILL MEMORIAL   PARK   & MORTUARY            ;Cl California Funeral Services, lnc.           3OO CURTNER      AVE                  ;AN JOSE                    Beck Redden
:EDAR LAWN CEMETERY                              ;Cl California Funeral Services, lnc.           48800 WARM SPRINGS BLVD               :REMONT             :A      Beck Redden
MILLER-WOODLAWN     MEMORIAL PARK                ;Cl Washinston Funeral Services. LLC            5505 KITSAP WAY                        IREMERTON                  Beck Redden
MOUNT VERNON MEMORIAL PARK & MORTUARY            \4ount Vernon Memorial Park                     8201 GREENBACK LN                     :AIR OAKS           ]A      Beck Redden
:HAPEL HILL GARDENS SOUTH CEMETERY               iCl lllinois Seruices, lnc                      11333 SOUTH CENTRAL AVE               ]AK LAWN                    Beck Redden
:HAPEL HILL GARDENS WEST CEMETERY                ;ct llinois    Seruices. lnc.                   17W201 ROOSEVELT ROAD                 ]AKBROOK TERRACE            Beck Redden          x
EVERGREEN CEMETERY                               ;CI  llinois   Services, lnc,                   3401 WEST 87TH STREET                 EVERGREEN PARK              Beck Redden          x
MOUNT EMBLEM CEMETERY                            ;cr llinois    Services, lnc                    520 E GRAND AVE                       ELMHURST                    Beck Redden          x
iOSEHILL CEMETERY                                iCl lllinois   Services, lnc.                   58OO NORTH RAVENSWOOD AVE             :HICAGO                     Beck Redden          x
/ALLEY OF THE 5UN MORTUARY & CEMETERY            ;Cl Arizona Funeral Seruices, LLC               10940 EAST CHANDLER HEIGHT5      RD   :HAN DLER           \z      Beck Redden          x
TESTHAVEN CEMETERY                               ;Cl lowa Funeral Services lnc                   301 19TH STREET                       /r'EST DES MOINES           Beck Redden          x
;UNSET MEMORIAL PARK CEMETERY                    ;unset Memorial Park Cemetery Trust             2301 EAST INDIAN HILLS ROAD           NORMAN              x       Beck Redden          x
:YPRESS LAWN MEMORIAL PARK                       ;Cl Washinston Funeral Services. LLC            161.5 5E EVERETT MALL WAY             :VERETT                     Beck Redden          x
/ALHALLA GARDENS OF MEMORY                       iCl lllinois Services, lnc.                     3412 FRANK SCOTT PKWY WEST            ]ELLEVILLE                  Beck Redden          X
iUNLAND MEMORIAL PARK CREMATION CENTER           ;Cl Arizona Funeral 5eruices, LLC               15826 DEL WEBB BLVD                   iUN CITY            \z      ]eck Redden          x
/VASATCH LAWN MEMORIAL PARK                      ruasatch Land and lmorovement Comoanv           3401 SOUTH HIGHLAND DRIVE             ;ALT LAKE CITY       T      leck   Redden        X
VERLAST VAULT COMPANY                            icl Ohio Funeral Seruices lnc.                  ,o Box 35126                          :ANTON              ]H      leck   Redden        X
V]IAMI VALLEY MEMORY GARDENS MGMT CO             icl Ohio Funeral Seruices lnc.                  1639 EAST LYTLE-FIVE POINTS RD        ]ENTERVILLE         ]H      leck   Redden
;UNSET HILLS CEMETERY CORP MANAGEMENT C          ;Cl  Ohio Funeral Services lnc.                 ;OO1 EVERHARD RD NW                   :ANTON              )H      leck   Redden        x
;UNSET HILLS MEMORY GARDENS                      ;unset Hills Burial Park Association                      EVERHARD RD   NW            :ANTON              )H      leck   Redden
VIIAMI VALLEY MEMORY GARDENS                     r'liami Valley Memory Gardens Association       'OO1 EA5T LYTLE-FIVE POINTS RD
                                                                                                 1639                                                      ]H
                                                                                                                                       :ENTERVI LLE                ieck   Redden        x
     VIEW MEMORIAL GARDENS
/ALLEY                                           Vliami Valley Memorv Gardens Association        170 N VALLEY     RD                   (FNIA               )H      leck   Redden        X
AKEMONT MEMORIAL GARDENS                         iCl Marvland Funeral Seruices. lnc.             )OO     WEST CENTRAL AVE              )AVIDSONVILLE       ilD     leck   Redden
;EORGE WASHINGTON CEMETERY                       Seorse Washinston Cemeterv Comoanv.       LLC   )5OO RIGGS ROAD                       \DELPH    I         \4D     leck   Redden
A/OODLAWN MEMORIAL PARK                          iCl California Funeral Seryices, lnc.           tox 307                               :OLMA               :A      leck   Redden
;YLVANIA HILLS MEMORIAL PARK                     iCl Pennsylvania Funeral Seruices lnc.          173 RT 68                             IOCHESTER           PA      leck   Redden
:OREST HILLS/5HALOM MEMORIAL PARK                5Cl Pennsylvania Funeral Services lnc.          )   o   Box 11539                     ,H ILADE LPH IA     PA      leck   Redden
/ALLEY FORGE MEMORIAL GARDENS                    ;Cl Pennsvlvania Funeral Services lnc.          352 SOUTH GULPH ROAD                  (ING OF PRUSSIA     PA      leck   Redden
A/ESTMINSTER CEMETERY                            ;Cl Pennsylvania Funeral Services lnc.          701 BELMONT AVE                       BAL-A   CYNWYD      PA      leck   Redden
:OREsT HILLS MEMORIAL PARK                       ;Cl Pennsylvania Funeral Seruices lnc.          }91WEST NEVERSINK ROAD                READING             PA      leck   Redden
:DGEWOOD MEMORIAL PARK                           ;Cl Pennsvlvania Funeral Seruices lnc.          }25 BALTIMORE PIKE                    GLEN MILLS          PA      leck Redden
IOOSEVELT MEMORIAL PARK                          iCl Pennsvlvania Funeral Seruices lnc.          )o Box 4                              TREVOSE             PA      ]eck Redden
r']EMORY PARK CEMETERY                           ;Cl Funeral Seruices of Florida, LLC            ;641 HIGHWAY 90 WEST                  MILTON              FL      leck Redden
)AVENPORT MEMORIAL PARK                          ;Cl lowa Funeral Seruices lnc.                  1022 EAST 39TH STREET                 DAVENPORT                   leck Redden
IOSEDALE CEMETERY                                losedale Cemetery Company                       )17 CEMETERY ROAD                     MARTINSBURG                 ]eck Redden
                                            Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 33 of 80 PageID #:8272



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tlame/Address                                      Name/Address                               {ame/Address                       :iw                 State   :irm ilf Provldedl
JLEN HAVEN MEMORIAL GARDENS MGMT CO                SCI Ohio Funeral Seryices lnc.             12OO   WEST NATIONAL ROAD          !EW CARLISLE        OH      leck Redden          x
sLEN HAVEN MEMORIAL GARDENS                        Glen Haven Memorial Park Association       }2OO WEST NATIONAL ROAD            {EW CARLISLE        OH      leck Redden
A/ASATCH LAWN MEMORIAL PARK SOUTH VALTEY           Wasatch Land and lmprovement Companv       13001 SOUTH 3600 WEST              IIVERTON            UT      leck Redden          X
JREEN ACRES CREMATORY                              SCI Arizona Funeral Seruices. LLc          101 NORTH HAYDEN ROAD              ;COTTSDALE          \7      leck Redden
JRAND VIEW MEMORIAL PARK/BETHANY CEMETER           SCI Texas Funeral Seruices, LLC            }501 SPENCER HIGHWAY               ,ASADENA            TX      leck Redden          x
;OUTH LAWN CREMATORY                               scl Arizona Funeral Services, LLC                 SOUTH PARK AVE              rucsoN              AZ      leck Redden
)ESERT LAWN MEMORIAL PARK CREMATORY                SCI Arizona  Funeral Services. LLC         '401 SOUTH
                                                                                              1415             1ST AVE           .UMA                qz      leck Redden
JREENWOOD/MEMORY          LAWN CREMATORY           SCI Arizona  Funeral Services, LLC         I3OO WEST VAN BUREN                ,HOENIX             AZ      leck Redden
IESTHAVEN    /   CARR-TENNEY   MORTUARY & MEMOR    SCI Arizona  Funeral Services, LLC         1310 EAST SOUTHERN AVE             ,HOENIX             AZ      leck Redden
TESTHAVEN PARK CEMETERY                            SCI Arizona  Funeral Seruices, LLC         ;450 WEST NORTHERN AVE             ]LENDALE            \7      leck Redden
,ACIFIC VIEW MEMORIAL PARK CREMATORY               ;cl california Funeral services. lnc.      }5OO PACIFIC VIEW DRIVE            :ORONA DEL MAR              leck Redden
,IERCE BROTHERS VALLEY OAKS CREMATORY              ;Cl California Funeral Services, lnc.      ;600 LINDERO CANYON ROAD                                       leck Redden
                                                                                                                                 /VESTLAKE VILLAGE   CA
:AST LAWN PALMS CEMETERY                           SCI Arizona Funeral Seruices, LLC          ;801 EAST GRANT ROAD               l'uc50N             \7      leck Redden
;OUTH LAWN CEMETERY                                iCl Arizona Funeral Seruices. LLC          i4O1 SOUTH PARK AVE                TUCSON              \Z      leck Redden
,EEK FAMILY CREMATORY                              iCl California Funeral Services, lnc.      14801 BEACH BLVD                   A/ESTMINSTER        :A      leck Redden
)ESERT LAWN MEMORIAL PARK                          SCI Arizona Funeral Seruices, LLC           415 SOUTH 1ST AVE                 rUMA                \z      ]eck Redden
JREENWOOD MEMORY LAWN MORTUARY & CEMETER           SCI Arizona Funeral Seruices, LLC           3OO WEST VAN BUREN                ,HOENIX             \7      leck Redden
}ROWARD SALES OFFICE                               ;Cl Funeral Services of Florida. LLC       1032 NORTH DIXIE HIGHWAY           AKE WORTH           FL      ]eck Redden
FOREST LAWN MEMORIAL GARDENS                       icl   Funeral Seruices of Florida, LLC     IOO   WEST COPANS ROAD             ,OMPANO BEACH       FL      ]eck Redden
FOREST LAWN MEMORIAL GARDENS                       SCI   Funeral Seruices of Florida,   LLC    401 DAVIE ROAD                    :ORT LAUDERDALE     FL      ]eck Redden
FOREST LAWN MEMORIAL GARDENS CENTRAL               icl Funeral Seruices of Florida.     LLC   t99 NORTHWEST 27TH AVE             :ORT LAUDERDALE             ]eck Redden
PARKHILL CEMETERY                                  iCl Georgia Funeral Services, LLC           161 MACON ROAD                    ]OLUMBUS            3A      )eck Redden
PIERCE BROTHERS CRESTLAWN MEMORIAL PARK            ;Cl California Funeral Seruices, lnc.      11500 ARLINGTON AVE                tIVERSIDE           :A      ]eck Redden
PACIFIC   VIEW MEMORIAL PARK                       iCl California Funeral Seruices, lnc.       5OO PACIFIC     VIEW DRIVE        :ORONA DEL MAR      ]A      leck Redden
PIERCE BROTHERS SANTA PAULA CEMETERY               icl California Funeral seruices, lnc.      380 CET/ETERY ROAD                 ;ANTA PAULA         :A      Beck Redden
PIERCE BROTHERS VALHALLA MEMORIAL PARK             icl California Funeral Services, lnc.      10621 VICTORY SLVD                 ,IORTH HOLLYWOOD    :A      Beck Redden
EVERGREEN MEMORIAL PARK                            ;Cl Georsia Funeral Services. LLC          ]655 ATLANTA HIGHWAY                THENS                      Beck Redden
ELMWOOD CEMETERY & MAUSOLEUM                       icl Alabama Funeral Services. LLC          600 MARTIN LUTHER KING JR DR       }IRMINGHAM          \t      Beck Redden
HIGHLAND MEMORIAT GARDENS                          ;Cl Alabama Funeral Services, LLC          3115 18TH AVE NORTH                IFSSFMFR            \t      Beck Redden
PIERCE BROTHERS VALLEY OAKS MEMORIAL PAR           ;Cl California Funeral Seruices, lnc.      5600 LINDERO CANYON ROAD           MESTLAKE VILLAGE            Beck Redden
3REENWOOD SERENITY MEMORIAL GARDENS                ;Cl Alabama Funeral seruices. LLC          909 LINCOLN ROAD                   r'IONTGOMERY        \L      Beck Redden
]AKDALE MEMORIAL PARK CREMATORY                    ;Cl California Funeral 5eruices, lnc.      1401 SOUTH GRAND AVE               ]LENDORA                    Beck Redden
PIERCE BROS WESTWOOD MEMORIAL PARK                 ;Cl California Funeral Seruices, lnc.      1218 GLENDON AVE                    OS ANGELES                 Beck Redden
NATIONAL MEMORIAL PARK                             ;Cl Virsinia Funeral seruices. lnc.        7482 LEE HIGHWAY                    ALLS CHURCH                Beck Redden
NOAI-]S ARK PET CEMETERY                           ;Cl Vireinia Funeral Seruices. lnc.        7482 LEE HIGHWAY                   :ALLS CHURCH                Beck Redden
MOUNTAIN VIEW MEMORIAL PARK                        iCl Colorado Funeral Services, LLC         3016 KALMIA AVE                    BOU LDER            :o      Beck Redden
MOUNT COMFORT CEMETERY                             ;Cl Virsinia Funeral Seruices. lnc.        6600 SOUTH KINGS HIGHWAY           \LEXAN    D   RIA           Beck Redden
TEDDING MEMORIAL PARK CREMATORY                    ;Cl California Funeral Seruices. lnc.      1201 CONTINENTAL ST                REDDING             :A      Beck Redden
,VESTMINSTER MEMORIAL PARK                         ;Cl California Funeral Services, lnc.      14801 BEACH BLVD                   /YESTMINSTER        :A      Beck Redden          x
V]EMORIAL PARK CREMATORY                           iCl Texas Funeral Services, LLC            4607 FM 1889                       ROBSTOWN            tx      Beck Redden          x
 LORAL HILLS MEMORY GARDENS                        ;CI   Georeia Funeral Services.   LLC      3OOO   LAWRENCEVILLE HIGHWAY       TUCKER              ;A      Beck Redden          X
\RLINGTON MEMORIAL PARK                            ;Cl Georsia Funeral Seruices. LLc          201 MT VERNON HWY NW               ;ANDY SPRINGS       ;A      Beck Redden          x
:TERNAL HILLS MEMORY GARDENS                       ;Cl Georgia Funeral Seruices, LLC          37OO STONE      MOUNTAIN HIGHWAY   SNELLVILLE          :A      Beck Redden          X
:DEN MEMORIAL PARK                                 ;Cl California Funeral Seruices, lnc.      11500 SEPULVEDA BLVD               MISSION HILLS       :A      Beck Redden          x
IILLCREST MEMORIAL PARK                            icl California Funeral 5ervices, lnc.       101 KERN CANYON ROAD              BAKERSFI ELD        :A      Beck Redden          x
VIEADOWRIDGE MEMORIAL PARK                         ;Cl Maruland Funeral Services. lnc.        7250 WASHINGTON BLVD               ETKRIDGE            VID     Beck Redden          x
:ERNHILL MEMORIAL GARDENS & MAUSOLEUM              iCl Funeral Services of Florida, LLC                                                              :L
                                                                                              1501 SOUTH KANNER HIGHWAY          ;TUART                      Beck Redden          x
:OLORADO CREMATORY sERVICES                        ;Cl Colorado Funeral Seruices, LLC         PO BOX 267                         r'/HEAT RIDGE       to      Beck Redden          x
IAMPTON MEMORIAL GARDENS CREMATORY                 ;Cl   VirPinia Funeral Seruices. Inc.      PO BOX 7438                        IAMPTON                     Beck Redden          x
-INCOLN MEMORIAL PARK CEMETERY                     ;Cl Oreeon Funeral Seruices lnc-           1180],   SE   MT SCOTT BLVD        ,ORTLAND            )R      Beck Redden          x
;KYLINE MEMORIAL GARDENS                           ;Cl Oregon Funeral Seruices lnc.           1101 NW SKYLINE BLVD               )ORTLAND            )R      Beck Redden          x
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{ame/Address                                     Name/Address                                     {ame/Address                         :ity                ttate :irm (lf Provided)   Matched
V]EMORIAL PARK CREMATORY                         SCI   lndiana Funeral Seruices, lnc              I2OO MESKER PARK DRIVE                   VANSVILLE        N     leck   Redden
;UNSET MEMORIAL PARK CREMATORY                   scl Texas Funeral Seruices.    LLC               1701 AUSTIN HIGHWAY                  iAN ANTONIO         TX     leck   Redden       x
]ROOKSIDE MEMORIAL PARK CREMATORY                scl Texas Funeral seruices,    LLC               13747 EASTEX FREEWAY                 {OUSTON             TX     leck   Redden       x
:OREST LAWN CEMETERY     & CREMATORY             Uniseruice Corporation                           ;701 3OTH AVE SW                     ;EATTLE                    leck   Redden       x
VIOUNT MORIAH CREMATORY SOUTH                    SCI Missouri Funeral Seryices lnc.               10507 HOLMES ROAD                    GNSAS CITY          MO     leck   Redden
V]OORE CREMATORY                                 SCI Texas Funeral Seruices, LLC                  1219 N DAVIS DR                      \RLINGTON           TX     leck   Redden
.IVE OAK CREMATORY                               SCI California Funeral Seruices, lnc             IOO E DUARTE ROAD                    VlONROVIA           :A     leck   Redden
JREENLAWN MEMORIAL PARK                          SCI North Carolina Funeral Services. LLc         1311 SHIPYARD BLVD                   A/ILMINGTON         NC     leck   Redden
;HARON MEMORIAL PARK CREMATORY                   icl North Carolina Funeral seruices, LLC         ,o   Box 220346                      :HARLOTTE           NC     leck   Redden
MT VIEW MORTUARY AND        CEMETERY             iCl California Funeral Seruices, lnc             )o Box 2038                          iAN BERNARDINO      :A     leck   Redden
AKELAND MEMORIAL PARK                            ;Cl North Carolina Funeral Seruices. LLC         ,o Box 547                           V]ONROE             NC     leck   Redden
REsTHAVEN MEMORIAL PARK CREMATORY                iCl Texas Funeral Seruices. LLC                  ,o Box 16363                             UBBOCK          TX     leck Redden
WOODLAWN MEMORIAL PARK                           icl South Carollna    Funeral Seruices lnc.      1 PINE KNOLL DRIVE                   JREENVI LLE         SC     Beck Redden
GREENLAWN MEMORIAL PARK                          ;Cl Texas Funeral Seruices, LLC                  39OO   TWIN CITY HIGHWAY             iROVES              TX     Beck Redden
LAKE VIEW CREMATORY                              ;Cl lllinois Seruices, lnc,                      5OOO   NORTH ILLINOIS STREET         AIRVIEW HEIGHTS            Beck Redden
SREENVILLE MEMORIAL GARDENS                      iCl South Carolina Funeral Services lnc.         PO BOX 8853 STATION A                JREENVILLE          ;c     Beck Redden
:ABALLERO RIVERO DADE NORTH                      ;Cl Funeral Services of Florida, LLC             1301 NW OPA LOCKA BLVD               r'ilAMt             :L     Beck Redden
:ABALLERO RIVERO DADE SOUTH                      icl Funeral Seruices of Florida,     LLC         14200 SW 117TH AVE                  V]IAMI                L     Beck Redden
:ABALLERO RIVERO SOUTHERN                        ;Cl Funeral Seruices of Florida. LLC             15OOO WEST DIXIE HIGHWAY            NORTH MIAMI                 Beck Redden
MEMORIAL GARDENS CEMETERY                        ;Cl Georgia Funeral Seruices, LLC                5OO HARBINS ROAD                    LI   LBURN           JA     Beck Redden         x
PALM SPRINGS TRIANGLE TRUST                      iCl California Funeral Seruices, lnc.            1999 ELCAMINO         REAI-         ]CEANSID        E    :A     Beck Redden         x
3REEN ACRES MORTUARY     & CEMETERY              ;Cl Arizona Funeral Seruices. LLC                IO1 NORTH HAYDEN ROAD               ;COTTSDALE           \z     Beck Redden         x
/ALLEY VIEW MEMORIAL PARK                        ilasatch Land and lmorovement c.                 1335 WEST 4100 SOUTH                r'/EST VALLEY CITY    t7    Beck Redden         x
:ERO MEMORIAL GARDENS                            ;CI Funeral Seruices of Florida, LLC                    NORTH LECANTO HIGHWAY        BEVERLY HILLS               Beck Redden         x
lOWARD-WILLIAMS-TURCOTTE       MONUMENT COMPAN   ;Cl Texas   Funeral Seruices. LLC                '891BOX 386
                                                                                                  PO                                   ALFURRIAS
                                                                                                                                                           -x
                                                                                                                                                                  Beck Redden         x
VIARYLAND NATIONAL MEMORIAL                       :Cl Cemetery Seruices of Maryland,        LLC   13300 BALTIMORE AVE                 AUREL                {D     leck Redden
JREEN ACRES FUNERAL TRUST                         ;Cl California Funeral Seruices, lnc.           ,o Box 448                          ]LOOMINGTON          :A     3eck Redden         x
JREEN ACRES DEBENTURES                            ;Cl California Funeral 5eruices. lnc.           ,o Box 448                          ]LOOMINGTON          ]A     leck   Redden       X
JARDEN OF MEMORIES MEMORIAL PARK                  ;Cl Texas Funeral Seruices, LLC                 iWY 59   S GRDL   2                  UFKI N               X     leck   Redden
VlOUNT MORIAH P/N PLAN                            ;Cl Missouri Funeral Seruices lnc.              10507 HOLMES ROAD                   (ANSAS CITY          r'lo   leck   Redden
TVESTWOOD GARDENS                                 iCl Georsia Funeral Seruices. LLC               1155 EVEREE INN ROAD                SRIFFIN                     leck   Redden
 TERNAL VALLEY-FST                                icl California Funeral Services. lnc.           23287 NORTH sIERRA HWY                                   :A     leck   Redden
.iILL CREST MEMORIAL PARK
                                                 ;Cl Louisiana Funeral Seruices, lnc.             ;01 HIGHWAY 80 EAST                 JAUGHTON                    leck   Redden
]ENTURIEs MEMORIAL PARK                          SCI Louisiana Funeral Seruices, lnc.             }801 MANSFIELD ROAD                 ;H REVEPORT          LA     leck   Redden
ruESTHAMPTON MEMORIAL & CREMATION PARK           SCI Vireinia Funeral Seruices. lnc.              1OOOO PATTERSON        AVE          IICHMOND                    leck   Redden
)LEASANT VALLEY MEMORIAL PARK                    SCI Vlrsinia Funeral Services. lnc.              }420 LITTLE RIVER TURNPIKE          \NNANDALE                   leck   Redden
,ARKLAWNS MEMORIAL GARDENS & MAUSOLEUM           ;Cl Pennsylvania Funeral Seruices lnc.           }218 PHILADELPHIA AVE               ]HAMBERSBURG         PA     leck   Redden
.OKOMO 5ALEs                                     ;Cl lndiana Funeral Services, lnc.               I1O1 WEST ALTO ROAD                 KOKOMO               IN     leck   Redden
)ELTONA MEMORIAL GARDENS                         icl Funeral Seruices of Florida.     LLC          295 SAXON BLVD                     ORANGE CITY          FL     ]eck   Redden
}AYVIEW MEMORIAL PARK                            icl Funeral Seruices of Florida,     LLC         I351 SCENIC HIGHWAY           9OE   PENSACOLA             L     Ieck   Redden
,ALMS - ROBARTS FUNERAL HOIV]E & MEMORIAL        iCI Funeral Services of Florida, LLC                                                                      :L
                                                                                                  170 HONORE AVE                      SARASOTA                    leck   Redden
JIGHLAND PARK CEMETERY & MAUSOLEUM               ;CI lndiana Funeral Services, lnc.                403 EAST WALLEN ROAD               FORT WAYNE           N      leck   Redden
;UNSET MEMORY GARDEN CEMETERY                    ;unset Memoru Garden Cemeterv Inc.               IO97 WEST ALTO ROAD                 KOKOMO               N      )eck   Redden
HOLLY HILL MEMORIAL GARDENS                      iCl Marvland Funeral Services. lnc.              ,0201 BIRD RIVER ROAD               BALTIMORE            VID    ieck   Redden
]AK HILL MONUMENT    SHOP                        iCl California Funeral seruices, lnc.            ]OO CURTNER AVE                     SAN JOSE             :A     ]eck   Redden
iOLLING GREEN CEMETERY                           ;Cl Pennsylvania Funeral Seruices lnc            .811 CARLISLE ROAD                  :AMP     HILL        )A     ]eck   Redden
iUNSET MEMORIAL GARDENS                          iCl lllinois Services, lnc.                      88OO NORTH ALPINE ROAD              MACHESNEY PARK              leck Redden
MEMORY GARDENS                                   ;Cl Texas Funeral Seruices, LLC                  32OO   OLD BROWNSVILLE ROAD         :ORPUS CHRISTI       tX     Beck Redden
IESTHAVEN GARDENS OF MEMORY                      ;Cl Kansas Funeral Seruices lnc.                 11800 WEST HIGHWAY 54               /r'lcHlTA            (s     Beck Redden
lILLSBORO MEMORIAL GARDENS                       icl   Funeral Seruices of Florida. LLC           2323 WEST BRANDON BLVD              BRANDON              :I     Beck Redden
\LEXANDER MEMORIAL PARK                          ;Cl lndiana Funeral Services, lnc.               22OO MESKER PARK DRIVE              EVANSVILLE           N      Beck Redden
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{ame/Address                                     tlame/Address                                             \lame/Address                    :iw                 itate Firm Ilf Provided)   vlatched
TOSELAWN FUNERAL HOME AND CEMETERY               icl West Virsinia Funeral Seruices lnc.                   150 COURTHOUSE ROAD              PRINCETON                 Beck Redden
IOSE HILL BURIAL PARK                            lose Hill Burial Park Association                         1781 SOUTH CHARLESTON ROAD       ;PRINGFI ELD        )H    Beck Redden
;PRINGFIELD SALES                                ;Cl Ohio Funeral Seruices lnc.                            1781 SOUTH CHARLESTON ROAD       iPRINGFI ELD        )H    Beck Redden
JLENWOOD MEMORIAL GARDENS                       iCl Pennsylvania Funeral Seruices lnc,                     2321 WESTCHESTER PIKE            BROOMALL                  Beck Redden
/VHITEHAVEN MEMORIAL PARK                       Whitehaven Park Association                                i15 SOM CENTER ROAD              V]AYFIELD VILLAGE   )H    leck   Redden        X
TOSEWOOD MEMORIAL PARK                          SCI Virsinia Funeral Seruices. lnc.                        i31 NORTH WITCHDUCK       ROAD   /IRGINIA BEACH            leck   Redden        x
,RINCESS ANNE MEMORIAL PARK                     SCI Vireinia Funeral Seryices. lnc-                        1110 NORTH GREAT NECK ROAD       /IRGINIA BEACH            leck   Redden        x
/VHITEHAVEN MEMORIAL PARK {MGMT CO   )          SCI Ohio Funeral Services lnc.                              15 SOM CENTER ROAD              MAYFIELD VILLAGE    OH    leck   Redden        X
.INDENWOOD CEMETERY MANAGEMENT                  5Cl lndiana Funeral Seruices, lnc.                         2324 WEST MAIN STREET            :ORT WAYNE          IN    leck   Redden        X
,INDENWOOD CEMETERY                             The Lindenwood Cemetery, lncorporated (not owned by SCI)    324 WEST MAIN STREET            ]ORT WAYNE          IN    leck   Redden
VIONTE VISTA PARK CEMETERY                      SCI   West Virginia FuneralSeruices lnc.                   I5O COURTHOUSE ROAD              )RINCETON                 ieck   Redden        X
i4OUNT ROSE CEMETERY                            5Cl Pennsvlvania Funeral Services lnc.                     ],502 MOUNT ROSE AVE             rORK                PA    leck   Redden
JARDENS OF FAITH MEMORIAL GARDENS               SCI Maruland Funeral Seruices. lnc.                               TRUMPS MILL ROAD          }ALTIMORE           MD    leck   Redden
:VERGREEN CEMETERY                              SCI Kentucky Funeral Seruices, lnc                         '598 PRESTON HIGHWAY
                                                                                                           1623                              OUISVILLE          KY    leck   Redden
ToLEDO SALES   (MGMT    CO   )                  SCI Ohio Funeral Seruices lnc                              1210 WEST CENTRAL AVE            TOLEDO              ]H    leck   Redden
)TTAWA HILLS MEMORIAL PARK                      The Ottawa Hills Memorial Park Association                  210 WEST CENTRAL AVE            TOLEDO              ]H    ]eck Redden
,ENINSULA MEMORIAL PARK                         ,Cl Virginia Funeral Services, lnc.                        12750 WARWICK BLVD               {EWPORT NEWS              leck Redden
:LORIDA MEMORIAL GARDENS                        iCl Funeral Services of Florida, LLC                       ;950 S US HIGHWAY 1              TOCKLEDGE           FL    leck Redden
\RBUTUS MEMORIAL PARK                           SCI Marvland Funeral Services. lnc.                         101 SULPHUR SPRING ROAD         }ALTIMORE           MD    leck Redden
IOSE HILL MGMT CO                               ;Cl Ohio Funeral Seryices lnc.                             3653 W MARKET ST                 \KRON               ]H    ]eck Redden
IOSE HILL BURIAL PARK                           Rose Hill Burial Park Association, lnc.                    }653 W MARKET ST                 \KRON               )H    leck Redden
MEMORIAL PARK                                   SCI Texas Funeral Seruices, LLC                            t607 FM 1889                     IOBSTOWN            rX    ]eck Redden
BLUE GRA55 MEMORIAL GARDENS                     ;Cl Kentuckv Funeral Seruices. lnc.                        1915 HARRODSEURG      ROAD       { ICHOLASVILLE      KY    Beck Redden
FOUNTAINHEAD MEMORIAL PARK                      icl Funeral Seruices of Florida, LLC                       /303   BABCOCK STREET SE         )ALM BAY             L    Beck Redden
MEMORIAL PARK CEMETERY                          iCl Texas Funeral Seruices, LLC                            6969 EAST INTERSTATE 40          \MARILLO            TX    Beck Redden
EAST LAWN MEMORIAL GARDENS CEMETERY             iCl lllinois Seruices, lnc,                                1OO2   AIRPORT ROAD              }LOOMINGTON               Beck Redden
MANSION MEMORIAL PARK AND FUNERAL HOME          iCI Funeral Services of Florida, LLC                       ].400 36TH AVE EAST              ,LLENTON             L    Beck Redden
PARKVIEW CEMETERY                               ;Cl lllinois Seruices, lnc                                 2OO1 NORTH UNIVERSIry STREET     ,EORIA                    Beck Redden
       MEMORY GARDENS AND MAU5OLEUMS            ;Cl West Virpinia Funeral Seruices lnc.                    PO BOX   3347                    ,ARKERSBURG               Beck Redden
'UNSET
LAKEVIEW MEMORIAL GARDENS                       iCl Texas Funeral Services. LLC                            5OOO   WEST HARRISON ROAD        ONGVIEW             rx    Beck Redden
MEMORY PARK CEMETERY                            ;Cl Texas Funeral Seruices, LLC                            5OOO   WEST HARRISON ROAD        .ONGVIEW            tx    Beck Redden
SUADALUPE VALLEY MEMORIAL PARK                  ;Cl Texas Funeral Services, LLC                            2951 SOUTH STATE HIGHWAY 45      NEW BRAUNFELS       TX    Beck Redden
KNOLLWOOD CEMETERY                              [he Knollwood Cemetery Comoanv                             ],678 SOM CENTER ROAD            MAYFIELD HEIGHTS    )H    Beck Redden          x
MANASOTA MEMORIAL PARK AND FUNERAL HOME         ;Cl Funeral Seruices of Florida, LLC                       ],22], 53RD AVE EAST             BRADENTON                 Beck Redden          x
ETERNAL HILLS CREMATORY                         ;Cl California Funeral Seruices, lnc.                      1999 EL CAMINO REAL                                  .A
                                                                                                                                            ]CEANSIDE                 Beck Redden          x
)IERCE BROS VALHALLA CREMATORY                  ;CI California Funeral Services, lnc.                      10621 VICTORY BLVD               NORTH HOLLYWOOD     I     Beck Redden          x
(OKOMO NORTH SALES                              ;Cl lndiana Funeral Seruices. lnc.                         PO BOX 282                       KOKOMO              N     Beck Redden          x
(OKOMO MEMORIAL PARK                            iunset Memory Garden Cemetery lnc.                         13OO EAST NORTH STREET           KOKOMO              N     Beck Redden          x
)AK HILL MEMORIAL PARK & MORTUARY               icl California Funeral seruices, lnc.                      3OO CURTNER     AVE              iAN   JOSE          :A    Beck Redden          x
]REVARD MEMORIAL PARK                           ;Cl Funeral Seruices of Florida, LLC                       320 SPRING STREET                :ocoA               :L    Beck Redden          x
:EDAR LAWN CEMETERY & CREMATORY                 iCl California Funeral Seruices. lnc-                      18800 WARM SPRINGS BLVD           REMONT             :A    leck   Redden        x
;HANNON ROSE HILL FUNERAL CHAPEL AND CEM        ;Cl Texas Funeral Services, LLC                            7301 EAST LANCASTER              :ORT WORTH          -x
                                                                                                                                                                      ieck   Redden        X
V]EMORIAL OAKS CEMETERY                         ;Cl Texas   Funeral Seruices, LLC                          13001 KATY FWY                                       -x
                                                                                                                                            ]OUSTON                   leck   Redden        X
:OREST PARK LAWNDALE                             ;Cl Texas Funeral Seruices. LLC                                                                                .X
                                                                                                           i9OO LAWNDALE STREET             lOUSTON                   leck   Redden        x
:OREST PARK EAST CEMETERY                        ;CI Texas Funeral Seruices, LLC                                                                                -x
                                                                                                           21620 GULF FWY                   /VEBSTER                  leck   Redden        X
:OREsT PARK WESTHEIMER CEMETERY                  ;Cl Texas Funeral Seruices, LLC                           12800 WESTHEIMER ROAD            {OUSTON              X    leck   Redden
,IVE OAK MEMORIAL PARK                           ;Cl California Funeral Seruices. lnc.                     IOO E DUARTE ROAD                V]ONROVIA           :A    leck   Redden
iREENOAKS MEMORIAL PARK                         SCI Louisiana Funeral Seruices, lnc.                       )595 FLORIDA BLVD                }ATON ROUGE               leck   Redden
,RIEN/HIGHLAND MEMORIAL PARK                    tcl Louisiana Funeral 5ervices, lnc.                       ;325 COMMON STREET               .AKE CHARLES              leck   Redden
:OREST LAWN MEMORIAL PARK
                                                SCI   Texas Funeral Seruices, LLC                          ,o Box 1468                      ]EAUMONT            tx    leck   Redden
ruOODLAWN MEMORIAL PARK                         ;Cl Tennessee Funeral Seruices, LLC                        ;60 THOMPSON LN                  {ASHVILLE           TN    leck   Redden
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tlame/Address                                      Name/Address                                     {ame/Address                        :iw                 State   :irm (lf Provided)   Vlatched
:OREST LAWN MEMORIAL GARDENS                       SCI Tennessee Funeral Seruices- LLL              ;60 THOMPSON LN                     \JASHVILLE          TN      leck Redden
!4EMPHIS FUNERAL HOME AND MEMORIAL GARDEN          iCl Tennessee Funeral Seruices, LLC              }7OO NORIH GERMANTOWN PARKWAY       ]ARTLETT            TN      leck Redden
IOSE HILL BURIAL PARK                              Rose Hill Burial Park, a Trust                   iOO], NORTHWEST GRAND BLVD          )KLAHOMA CITY       OK      leck Redden
:HAPEL HILL MEMORIAL GARDENS                       Memorial Gardens Association. an Exoress Trust   1701. NORTHWEST EXPRESSWAY          )KLAHOMA CITY       ]K      leck Redden
YNNHURST CEMETERY                                  iCl Tennessee Funeral Services, LLC               3OO WEST    ADAIR DRIVE             .NOXVILLE          IN      leck Redden
Y]OORE MEMORIAL GARDENS                            ;Cl Texas Funeral Services, LLC                      N DAVIS DR
                                                                                                    121,9                               \RLINGTON           TX      leck Redden
]ERMITAGE FUNERAT HOME & MEMORIAL GARDEN           SCI Tennessee Funeral Seruices, LLC              >o Box757                           IERITAGE            TN      leck Redden
;REEN ACRES MEMORIAL PARK                          ;Cl California Funeral Services, Inc.             1715 CEDAR AVE                     }LOOMIN6T0N         :A      leck Redden
SHARON MEMORIAL PARK                               ;Cl North Carolina Funeral Services, LLC          716 MONROE ROAD                    ]HARLOTTE           NC      leck Redden
MEMPHIS MEMORY GARDENS                             iCl Tennessee Funeral Services, LLC              ;444 RALEIGH LAGRANGE ROAD          V]EMPH IS           TN      leck Redden
RESTHAVEN MEMORIAL PARK                            iCl Texas Funeral 5eruices. LLC                  1616 NORTH BIG SPRING STREET        !4lDLAN D           TX      ]eck Redden
PARKDALE CEVIETERY                                 iCl Texas Funeral 5eruices, LLC                   219 NORTH DAVIS                    \RLINGTON           TX      Beck Redden
OLEANDER MEMORIAL GARDENS                          ;Cl North Carolina Funeral Seruices, LLC         131], SHIPYARD BLVD                 ruILMINGTON         !c      Beck Redden
MOUNT MORIAH CEMETERY SOUTH                        ;Cl Missouri Funeral Seruices lnc.               10507 HOLMES ROAD                    .ANSAS CITY        MO      Beck Redden
MOUNT LEBANON CEMETERY                             ;Cl Missouri Funeral Services Inc.               11101 ST CHARLES ROCK RD            iAINT ANN           vlo     Beck Redden
:HAPEL HILL MEMORIAL GARDENS                       ;Cl Kansas Funeral Seruices lnc                  701 NORTH 94TH STREET               IANSAS CITY         (s      Beck Redden
MONTECITO MEMORIAL PARK                            iCI California Funeral Services. lnc.            3520 E WASHINGTON ST                ]OLTON                      Beck Redden
]LINGER CROWN HILL MORTUARY & CEMETERY             icl Colorado Funeral     Seruices, LLC           7777 WEST 29TH AVE                  A/HEAT RIDGE        :o      Beck Redden
MT VIEW MORTUARY &      CEMETERY                   ;Cl California Funeral Seruices, lnc.            570 EAST HIGHLAND AVE               ;AN BERNARDINO      :A      Beck Redden
MOUNT VERNON MEMORIAL PARK CREMATORY               \4ount Vernon Memorial Park                      8201 GREENBACK LN                   FAIR OAKS           ]A      Beck Redden
:OOK.WALDEN/FOREST      OAKS MEMORIAL PARK         iCl Texas Funeral 5ervices. LLC                  63OO WEST    WILLIAM CANNON DRIVE   AUSTIN              l'x     Beck Redden          x
RESTHAVEN MEMORIAL PARK                            ;Cl Texas Funeral Services, LLC                  PO BOX 16363                        LUBBOCK             tx      Beck Redden          x
HILLCREST MAUSOLEUM     & MEMORIAL   PARK          ;Cl Texas Funeral 5eruices, LLC                  7405 WEST NORTHWEST HIGHWAY         DALLAS              TX      Beck Redden          x
:OOK-WALDEN CAPITAL PARKS CEMETERY                 ;Cl Texas Funeral 5eruices. LLC                  14s01 NORTH tH-35                   PFLUG ERVILLE       tx      Beck Redden          x
ilILLWOOD BURIAL PARK                              iCl lllinois Services, lnc.                      TOOO WEST    5TATE STREET           ROCKFORD                    Beck Redden          x
JILLCREST MEMORIAL PARK                            ;Cl Funeral Seruices of Florida, LLC             i411    PARKER AVE                  /r'EST PALM BEACH   :I      Beck Redden          x
:HAPEL HILLS MEMORY GARDENS                        iCI Funeral Seruices of Florida. LLC             }50 ST JOHNS BLUFF ROAD NORTH       JACKSONVILLE        :L      Beck Redden          X
TIVERSIDE MEMORIAL PARK                            ;Cl Funeral Seruices of Florida, LLC             7242 NORMANDY BLVD                  ACKSONVILLE         :I      Beck Redden          x
VIEADOWLAWN FUNERAL HOME AND MEMORIAL GAR          ;Cl Funeral Seruices of Florida, LLC             1244 MADISON STREET                 !EW   PORT RICHEY   :L      Beck Redden          X
SREENLAWN CEMETERY                                 icl Funeral Seruices of Florida.   LLC           13OO BEACH BLVD                     ,ACKSONVILLE        :L      Beck Redden          x
V]EADOWWOOD MEMORIAL PARK                          ;Cl Funeral Services of Florida,   LLC           7OO   TIMBERLANE ROAD               TALLAHASSEE         :t      leck   Redden        X
IILLCREST MEMORIAL GARDENS                         ;Cl Funeral Seruices of Florida,   LLC           ,025 NORTH US HIGHWAY       1       :ORT PIERCE         :L      ieck   Redden        x
.AKE WORTH MEMORY GARDENS                          ;Cl Funeral Seruices of Florida, LLC             304]. KIRK ROAD                     AKE WORTH           :L      leck   Redden        x
TESTHAVEN MEMORIAL PARK (F5}                       ;CI   Kentuckv Funeral Services. lnc.            I4OO BARDSTOWN ROAD                 .OU I5VILLE         (Y      leck   Redden        x
TVOODLAWN MEMORIAL PARK CREMATORY                  iCl California Funeral Services, lnc.            )o Box 307                          ]OLMA                       leck   Redden        X
;ERENITY GARDENS MEMORIAL PARK                     ;Cl Funeral Seruices of Florida, LLC             13401 INDIAN ROCKS ROAD             ARGO                        leck   Redden        x
                                                                                                                                                            .X
]RESTVIEW MEMORIAL PARK                            ;Cl Texas Funeral Seruices, LLC                  1917 ARCHER    C   Y HIGHWAY        /VICHITA FALLs              leck   Redden
)LINGER HAMPDEN MORTUARY & CEMETERY                ;Cl Colorado Funeral Services. LLC               }600 EAST HAMPDEN AVE               )ENVER                      leck   Redden
)LINGER EASTLAWN CEMETERY                          SCI Colorado Funeral Seruices. LLc               19500 EAST SMITH ROAD               \URORA              :o      leck   Redden
)LINGER MOUNT LINDO CEMETERY                       iCl Colorado Funeral Seruices, LLC               ;601 S COLORADO BLVD                 ITTLETON           :o      leck   Redden
)LINGER HIGHLAND MORTUARY & CEMETERY               SCI Colorado   Funeral Seruices,   LLC           10201 NORTH GRANT STREET            IHORNTON            :o      leck   Redden
)LINGER CHAPEL HILL MORTUARY & CEMETERY            icl Colorado   Funeral Seruices.   LLC           ;601 SOUTH COLORADO BLVD            :ENTENN IAL         :o      leck   Redden
;UN5ET MEMORIAL GARDENS                            iCl Colorado   Funeral Seruices,   LLC           }4OO WEST 28TH STREET               ;REELEY             :o      ]eck Redden
,/IEMORIAL GARDENS CEMETERY & FUNERAL HOME         iCl Colorado   Funeral Seruices,   LLC           }825 AIRPORT ROAD                   ]OLORADO SPRING     :o      leck Redden
OSHUA MEMORIAL PARK & MORTUARY                     ;Cl California Funeral Services. lnc.            }08 EAST LANCASTER BLVD             LANCASTER           :A      leck Redden
:VERGREEN CEMETERY (FS)                            ;Cl Kentucky Funeral Seruices, lnc,              1623 PRESTON HIGHWAY                LOU ISVILLE         KY      leck Redden
:TERNAL VALLEY MEMORIAT PARK                       icl California Funeral Seruices, lnc             13287 NORTH SIERRA HWY              NEWHALL                     ]eck Redden
:A5T LAWN MEMORIAL PARK                            iCl Tennessee Funeral Seruices. LLC              t997 MEMORIAL BLVD                  KINGSPORT           TN      leck Redden
:OREsT PARK - THE WOODLANDs CEMETERY               ;CI Texas Funeral Services. LLC                  I8OOO INTERSTATE 45 S               THE WOODLANDS       TX      leck Redden
}LUE GRASS MEMORIAL GARDENS (FS)                   iCI Kentucky Funeral Seruices, lnc.              1915 HARRODSBURG ROAD               NICHOLASVILLE       (Y      )eck Redden
RUST ADVISORS.CEM    ETERY                         Trust Advisors, lnc.                             1929 ALLEN PKWY                     HOUSTON             TX      )eck Redden
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                                                                                                                                                                               {ot
Name/Address                                    {ame/Address                                   Name/Address                     :itv                itate Firm tlf Providedl   Vlatched
MEMORY GARDENS CEMETERY                         iCl lllinois Seruices, lnc                     2501 EAST EUCLID AVE             \RLINGTON HEIGHTS         Beck Redden
:HATTANOO6A MEMORIAL PARK                       ;Cl Tennessee Funeral Services.     LLC        50]. MEMORIAL DRIVE              :HATTANOOGA         IN    Beck Redden
)UR   LADY QUEEN OF PEACE                       icl California Funeral 5eruices, lnc.          3520 E WASHINGTON ST              OLTON              :A    Beck Redden
]UR   LADY QUEEN OF PEACE CATHOLIC CEMETER      !O    LEGAL PARENT-NOT OWNED BY SCI            3520 E WASHINGTON ST             :OLTON              :A    Beck Redden
MEMORIAL PARK GREENHOUSE                        ;Cl lllinois Services. lnc.                    9OOO GROSS   POINT ROAD          iKOKI   E                 Beck Redden
MEMORIAL PARK MANAGEMENT COMPANY                iCl Oklahoma Funeral Seruices lnc.             13313 NORTH KELLY                ]KLAHOMA CITY       )K    Beck Redden
MEMORIAL PARK CEMETERY                          Vlemorial Park Association - A Trust Estate    ],3313 NORTH KELLEY AVE          ]KLAHOMA CITY       )K    Beck Redden
SUNNY LANE CEMETERY                             ;unnv Lane Cemetery. a orooertv trust          39OO SE 29TH STREEI              DEL CITY            IK    Beck Redden
;UNNY LANE MANAGEMENT COMPANY                   ;Cl Oklahoma Funeral Services lnc.             39OO SE 29TH STREE'I             DEL CITY            )K    Beck Redden          X
LAKE VIEW MEMORIAL GARDENS                      -ake View Memorial Gardens, lnc.               5OOO   NORTH ILLINOIS STREET     FAIRVIEW HEIGHTS          Beck Redden          x
LAKE VIEW MANAGEMENT COMPANY                    ;Cl Funeral Seruices. LLC                      5OOO   NORTH ILLINOIS STREET     FAIRVIEW HEIGHTS          Eeck Redden          x
EDGEWOOD CEMETERY                               ;Cl Funeral Seruices of Florida. LLC           +519 EDGEWOOD DRIVE              ,ACKSONVILtE        :t    Beck Redden          X
/OLUSIA MEMORIAL PARK                           ;Cl Funeral Seruices of Florida, LLC           550 NORTH NOVA ROAD              )RMOND BEACH        :t-   Beck Redden          x
V]AGIC VALLEY MEMORIAL GARDENS                  ;Cl TexasFuneral Seruices, LLC                 1607 NORTH SUGAR ROAD            PHARR               tx    Beck Redden          x
JLEN ABBEY MEMORIAL GARDENS                     iCl Funeral Services of FIorida.   LLC         22OO K-VILLE AVE                 \U BURNDALE         :t    Beck Redden          x
]AKLAWN CEMETERY                                )aklawn Cemetery Assoclation                   1801 SAN JOSE BLVD               JACKSONVILLE        :L    Beck Redden          x
OREST   IAWN MEMORY     GARDENS                 ;Cl Funeral Seruices of Florida, LLC                  SOUTH PINE AVE            ]CALA               :I    Beck Redden          x
iOLLY HILL MEMORIAL PARK                        ;Cl Funeral Seruices of Florida. LLC            '740 OLD.JENNINGS ROAD
                                                                                               3601                             V]   ID D LEBURG    :I    Beck Redden          x
:ASTERN GATE MEMORIAL GARDENS                   ;Cl Funeral Seruices of Florida, LLC           ],985 WEST NINE MILE ROAD        ,ENSACOL,A                Beck Redden          x
IOSE HItLS CREMATORY                            lH Cemetery Corp                               3888 WORKMAN MILL ROAD           Ir'HITTI ER         :A    Beck Redden          x
;UNSET MEMORIAL PARK CEMETERY MANAGEIVIENT      ;Cl Oklahoma Funeral Services lnc.             2301 EAST INDIAN HILLS ROAD      \]ORMAN             )K    Beck Redden          x
tOSE HILL BURIAL PARK MANAGEMENT COMPANY        iCl Oklahoma Funeral Services lnc.             iOOl NORTHWEST GRAND BLVD        )KLAHOMA CITY       )K    leck   Redden
:HAPEL HILLS MEMORIAL GARDENS MANAGEMENT        ;Cl Oklahoma Funeral Seruices lnc.             ]701 NORTHWEsT      EXPRESSWAY   ]KLAHOMA ClTY       ]K    leck   Redden        x
,ALM BOULDER CITY MAUSOLEUM AND COLUMBAR        ,alm Mortuary, Inc,                            ]OO SOUTH BOULDER HIGHWAY        IENDERSON                 leck   Redden        x
)ALM CREMATORY                                  )alm Mortuary, lnc.                            1325 NORTH MAIN     ST           A5     VEGAS              leck   Redden        x
)ALM MEMORIAL DESIGN CENTER-CEMETERY            )alm Mortuarv, lnc.                            Z600 S EASTERN AVE               A5     VEGAS              leck   Redden        x
IEDMOND COMMUNITY CEMETERY                      ;CI Washinston Funeral Seruices.     LLC       Z2OO 18OTH   AVE NE              IEDMOND                   ]eck Redden          x
:ALVARY HILL CEMETERY                           :alvarv Hill cemeteru                          t235 OMBARDY                     )ALtAS              -x
                                                                                                                  LN                                      leck   Redden
:ALVARY HILL CEMETERY MANAGEMENT COMPANY        lhristian Funeral 5eruices, lnc.               3235   OMBARDY LN                )ALLAs               x    leck   Redden
)LD CALVARY HILL CEMETERY                       :alvary HillCemetery                           t23s OMBARDY       LN            )ALLAS              'x    leck   Redden        X
)LD CALVARY HILL MANAGEMENT COMPANY             :hristian Funeral seruices. lnc.               }235 LOMBARDY LN                                     -x
                                                                                                                                )ALLAS                    leck   Redden
lOLY REDEEMER CEMETERY                          :alvaru Hill Cemeteru                                                                               -x
                                                                                               15OO SOUTH WESTMORELAND ROAD     )E50TO                    leck   Redden
{OLY REDEEMER CEMETERY MANAGEMENT COMPAN        :hristian Funeral Seruices, lnc.               15OO SOUTH WESTMORELAND ROAD     )ESOTO              rx    ]eck Redden
iACRED HEART CEMETERY                           :alvarv Hill Cemeterv                          }9OO ROWLETT ROAD                IOWTETT             tx    leck   Redden
;ACRED HEART CEMETERY MGMT CO                   lhristian Funeral Seruices- lnc.               39OO ROWLETT ROAD                IOWLETT             TX    leck   Redden
JROVE HILL MEMORIAL PARK                        ;Cl Texas Funeral 5eruices, LLC                ]920 SAMUELL   BLVD              )ALLAS              TX    leck   Redden
(ING DAVID CEMETERY                             Palm Mortuarv,    lnc.                         1697 E ELDORADO LN               A5 VEGAS            NV    leck   Redden
,ALM   DOWNTOWN CEMETERY                        Palm Mortuarv,    lnc.                         1325 NORTH MAIN     ST           A5     VEGAS              leck   Redden
,ALM   EASTERN CEMETERY                         Palm Mortuarv.    lnc.                         7600 S EASTERN AVE               AS VEGAS                  leck   Redden
)ALM   BOULDER HIGHWAY CEMETERY                 Palm Mortuary, lnc.                            }OO   SOUTH BOULDER HIGHWAY      .IEN DERSO N        NV    leck   Redden
,ALM   NORTHWEST CEMETERY                       Palm Mortuary, lnc.                            i7O1 NORTH JONES BLVD            AS VEGAS                  leck   Redden
}ALL & DODD FUNERAL HOME & CREMATORY            SCI Washinston Funeral Seruices. LLC           ;1OO WEST WELLESLEY AVE          iPOKANE                   leck   Redden
iTEPHENS   & BEAN   FUNERAL CHAPEL              \lderwoods Grouo lCalifornial. lnc.            IO2 NORTH TEILMAN                :RE5NO              ^A    leck   Redden
MEAVER CREMATORY                                ;Cl California Funeral Seruices, lnc.           177 BEAUMONT AVE                BEAUMONT                  leck Redden
\FFORDABLE CREMATION & BURIAL SERVICE           Knauss Enterprises Limited Liabilitv Comoanv   I127 WEST CHARLESTON BLVD        LAS VEGAS           NV    )eck   Redden
ING DAVID MEMORIAL CHAPEI-                      )alm Mortuaru. lnc.                            1597 E ELDORADO LN               LAS VEGAS           NV    ]eck   Redden
,ALM CENTRAL CARE CENTER                        ralm Mortuary, Inc.                            325 NORTH MAIN ST                LAS VEGAS           NV    ]eck   Redden
)ALM DOWNTOWN MORTUARY                          )alm Mortuarv, lnc-                            325 NORTH MAIN ST                LAS VEGAS           NV    leck   Redden
 ALM EASTERN MORTUARY                            alm Mortuarv, lnc.                            1600 S EASTERN AVE               LAs VEGAS                 ]eck Redden
,ALM BOULDER HIGHWAY MORTUARY                   )alm Mortuaru. lnc-                            }OO   SOUTH BOULDER HIGHWAY      HENDERSON                 ,eck Redden
,ALM NORTHWEST MORTUARY                         )alm Mortuary, lnc.                            ;701 NORTH JONES BLVD            LAS VEGAS                 leck Redden
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\lame/Address                                        Iame/Address                                     !ame/Address                     :iry               itate Firm llf Providedl   vlatched
PALM SOUTH JONES MORTUARY                            ,alm Mortuary, lnc,                              1600 SOUTH JONES BLVD            LAS VEGAS                Beck Redden
PALM CHEYENNE MORTUARY                               )alm Mortuarv. lnc.                              74OO WEST CHEYENNE AVENUE        LAS VEGAS                Beck Redden
iURPRISE FUNERAL CARE                                ;Cl Arizona Funeral 5eruices, LLC                16063 W BELL RD                  SU RPRISE          \z    Beck Redden          X
\PEX FUNERAL HOME                                    icl North Carolina Funeral Seruices,       LLC   550 W WILLIAMS ST                \PEX               !c    Beck Redden          x
NEVSKY YABLOKOFF MEMORIAL CHAPELS                    ;Cl Funeral Services of New York. lnc.           1707 HYLAN BLVD                  STATEN ISLAND      !Y    Beck Redden          x
PAF ADMINI5TRATION                                   {ew York Funeral Chaoels.     LLC                114-03 QUEENS BLVD               FOREST HILLS             Beck Redden          x
SREGORY   W    SPENCER FUNERAL DIRECTORS             /VFG - Greeory Spencer Funeral Home, lnc         PO BOX 15159                     FORT WORTH         TX    Beck Redden          x
 UNERARIA DEL ANGEI-                                 ;Cl New Jersev Funeral Seruices. LLC             2OOO KENNEDY BLVD                UNION CITY         !J    Beck Redden          x
\DVANTAGE FUNERAL AND CREMATION SERVICES             :Cl Services of Maine, lnc.                      )99 FOREST AVENUE SUITE      1   PORTLAND           VIE   Beck Redden          x
 OREST PARK CHAPET                                   {ew York Funeral Chapels, LLC                    114-03 QUEENS BLVD               FOREST HILLS       {Y    Beck Redden          x
 UNERARIA DEL ANGEL PANORAMA CITY                    ;Cl California Funeral Seruices. Inc.            14629 NORDHOFF STREET            PANORAMA CIry      ]A    Beck Redden          x
,ERNA DENGLER ROBERTS FUNERAL HOME                   ;Cl Funeral Seruices of New York, lnc.           1571 MAPTE RD                    /VILLIAMSVILLE     {Y    Beck Redden          X
IESTWOOD FUNERAL HOME                                iCl Texas Funeral Services, LLC                  1038 WEST PLANTATION    DR       :LUTE              :x    Beck Redden          x
:HICAGO FACILITY MANAGEMENT                          ;Cl lllinois Services, lnc.                      J62O W ARCHER AVE                :HICAGO                  Beck Redden          x
iVALTER   B   COOKE FUNERAL HOME
                                                     'lew York Funeral ChaDels. LLC                   352 EAST 87TH STREET             \EW YORK                 leck   Redden
lEW MONUMENT       DEPT   ADMIN COST CENTER          ,lew York Funeral Chapels, LLC                   1895 FLATBUSH AVE                ]ROOKLYN                 leck   Redden        x
V]OBILE CENTRAL SERVICES                             ;Cl Alabama Funeral Seruices, LLC                3155 DAUPHIN STREET              MOBILE             \L    leck   Redden        x
,ARKER FUNERAL HOME & CREMATORY                      ;Cl Arizona Funeral Seruices. LLC                , o Box 3850                     )ARKER             \z    leck   Redden        X

                                                     'lew York Funeral ChaDels. LLC
JARLICK FUNERAL HOMES                                                                                 21 WEST BROAD STREET             VIOUNT VERNON      {Y    3eck Redden          x
\4ONTGOMERY CENTRAL SERVICES                         ;ClAlabama Funeral Seruices,        LLC          )09 LINCOLN ROAD                 MONTGOMERY         \L    leck Redden          x
V]ASSACHUSETTS PERSONAL CARE CENTER                  \FFS Boston lnc                                  ;80 COMMERCIAL STREET            losToN             /lA   leck Redden
:APE COD PERSONAL CARE CENTER                        \FFS Boston lnc.                                 160 WEST MAIN STREET             IYANNIS            /lA   leck Redden
(ISER-ROSE HILL FUNERAL HOME                         ;Cl   Tennessee Funeral Seruices,                toSE HILL FUNERAL HOME           ]REENEVILLE              ]eck Redden
                                                                                          LLC                                                              N                         x
AKESIDE MEMORIAL PARK AND FUNERAL HOME               ;Cl Funeral Seruices of Florida, LLC             10301 NW 25TH STREET             V]IAMI             :L    leck   Redden        x
.EE MEMORIAL CARE CENTER                             ;Cl Funeral Services of Florida,    LLC          12777 STATE H!GHWAY 82           :ORT MYERS         :L    leck   Redden
TWIN CITIES CARE CENTER                              \lderwoods (Minnesota), LLC                      IVULFF FUNERAL HOME              ;T   PAUL          V]N   leck   Redden
{ORTH SHORE PERSONAL CARE CENTER                     tcl Funeral Seruices of New York, lnc,           1OO1 ROUTE   25A                 V]ILLER PLACE      \Y    leck   Redden
;OUTH SHORE PERSONAL CARE CENTER                     \,lew York Funeral chaDels. LLC                  I48 WEST MAIN STREET             ]ABYLON            !Y    leck   Redden
:RANK E CAMPBELL - THE FUNERAL CHAPEL                New York Funeral Chapels, LLC                    1076 MADISON AVE                 {EW YORK           \Y    leck   Redden
fuAGNER PERSONAL CARE CENTER                         \lderwoods { New York). LLC                      125 OLD COUNTRY ROAD             I ICKSVILLE        NY    leck   Redden
(NOXVILLE CENTRAL PREP                               ;Cl Tennessee Funeral 5eruices. LLC              }704 CHAPMAN HWY                 (NOXVILLE          IN    ]eck Redden
]HICAGO CARE CENTER                                  ;Cl lllinois Seruices, lnc.                       727 WEST 1O3RD ST               )AK LAWN           IL    leck Redden
)AKLAWN CENTRAL CARE CENTER                          icl Funeral Seruices of Florida, LLC             i19 NEW WARRINGTON     ROAD      PENSA.COLA         FL    leck   Redden
)ITTSBURGH PERSONAL CARE CENTER                      H.P. Brandt Funeral Home, lnc.                   tO32 PERRY HIGHWAY                                  PA
                                                                                                                                       PITTSBURGH               leck   Redden
;TANETSKY MEMORIAT CHAPELS (LEASE)                   \ffiliated Familv Funeral Seruice. lnc.           75 WASHINGTON STREET            CANTON             MA    leck   Redden
/ORISCO FUNERAL HOME                                 icl Funeral Services of New York. lnc.            5-20 BROADWAY                   LONG ISLAND CITY   NY    ]eck   Redden
JREENLAWN FUNERAL HON]E                              ;Cl lndiana Funeral Seruices, lnc.               i75O COVINGTON RD                FORT WAYNE         N     Ieck   Redden
:HAPEL OF ETERNAL PEACE AT FOREST PARK               ;Cl Texas Funeral 5eruices, LLC                  12800 WESTHEIMER ROAD            HOUSTON            TX    leck   Redden
.OUISVILLE CENTRAL SERVICES                          ;Cl Kentuckv Funeral Services. lnc.               727 SOUTH THIRD STREET          LOU ISVILLE        :Y    leck   Redden
;ARDEN STATE CREMATORY                               iarden State Crematory, lnc,                      101 KENNEDY BLVD                NORTH BERGEN       !i    Ieck   Redden
rHE RUNGE MORTUARY CREMATORY                         ;Cl lowa Funeral Seruices lnc                    }38 EAST KIMBERLY ROAD           DAVENPORT          A     ]eck   Redden
FLORIDA MARKER LLC                                   :lorida Marker, LLC                              ,o Box 130548                    HOUSTON            IX    Ieck Redden
NEW YORK MARKER LLC                                  lew York Marker, LLC                             ,o Box 130548                    HOUSTON            rx    ]eck Redden
:HICAGO PRINTING CENTER                              ;Cl lllinois Seruices, lnc                       1727 WEST 1O3RD ST               ]AK LAWN                 3eck Redden
I"RU5T ADVISORS-FU NERAL                             [rust Advisors, lnc.                             .929 ALLEN PKWY                  HOUSTON            tx    leck Redden
IUBBARD-KELLY CREMATORY                              ;Cl Texas Funeral Services. LLC                     GOLDER                        ]DEsSA             TX    leck Redden
\YCOCK FUNERAL AND CREMATION CENTER                  iCl Funeral Services of Florida, LLC             '02 SOUTH KANNER HIGHWAY
                                                                                                      ],501                            ;TUART             t     Beck Redden
!EPTUNE SOCIETY - NEW ORLEANS                        {eptune Management CorD.                         3SOl WILLIAMS BLVD SUITE A       KENNER             A     Beck Redden
:ALIFORNIA TIOS                                      Jnconsolidated TIO Administration                PO BOX 130548                    HOUSTON             X    Beck Redden
LORIDA TIOS                                          Jnconsolidated TIO Adminlstration                PO BOX 130548                    HOUSTON             x    Beck Redden
\LABAMA TIOS                                         Jnconsolidated TIO Administration                PO BOX   130548                  HOUSTON            tx    Beck Redden
                                               Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 39 of 80 PageID #:8278



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Iame/Address                                          {ame/Address                                tlame/Address                    :ity                 itate    irm (lf Provided)   Vlatched
{ATIONAL CREMATION SOCIETY RUSKIN                     ,lCS  Marketina Seruices,   LLC             308 EAST COLLEGE AVE             TUSKIN               :L      leck Redden          x
{ATIONAL CREMATION SOCIETY HUDsON                     ,,lCS Marketins Services.   LLC             13011. US HIGHWAY 19 NORTH       IUDSON               :L      leck Redden
{ATIONAL CREMATION SOCIETY JACKSONVILLE                     Marketine Seruices.   LLC             ]705 PERIMETER PARK BLVD          ACKSONVILLE         .L      leck Redden
                                                      'lCS
{ATIONAL CREMATION SOCIETY        N   PALM BEACH      \CS Marketina Seruices, LLC                 }14 NORTH LAKE BLVD              \]ORTH LAKE          :L      leck Redden          x
IOCK FUNERAL HOME (LEASE)                              \ffiliated Familv Funeral Service, lnc.    1285 ASHLEY BLVD                 \]EW BEDFORD                 leck Redden
{EPTUNE SOCIETY - NORTH CHICAGO                       \eDtune Manasement Coro.                    ]18 W NORTHWEST HWY              ,ALATIN E                    leck Redden
,HOENIX SALES                                         SCI Dlrect, lnc.                            3033 N 44TH STREET SUITE 268     ,HOENIX              \z      leck Redden          x
{EPTUNE SOCIETY. DETROIT (MI)                         \eDtune Manasement Coro                     28581 NORTHWESTERN HWY           ;OUTHFIELD           r'lt    leck Redden
V]URPHY FUNERAL HOMES                                 5Cl Virsinia Funeral Services. lnc.         1510 WILSON BOULEVARD            \RLINGTON                    ]eck Redden
V]URPHY FUNERAL HOMES                                 SCI Virsinia Funeral Services, lnc.             102 WEST BROAD STREET         ALLS CHURCH                 leck   Redden        x
IOCK FUNERAL HOME                                     \FFS Southcoast East lnc.                   1285 ASHLEY BLVD                 {EW BEDFORD                  leck   Redden
\DVANTAGE CRYSTAL ROSE FUNERAL HOME                   SCI Arizona Funeral Seruices. LLC           )155 WEST VAN BUREN ST           IOLLESON             \z      leck   Redden
:UNERARIA DEL ANGEL GREER.WILSON CHAPEL               ;Cl Arizona Funeral Servlces. LLC           ;921 WEST THOMAS RD              )HOENIX              \z      leck   Redden
{ARMON FUNERAL HOME                                   icl Funeral Services of New York, lnc       ;71 FOREST AVE                    IATEN ISLAND        NY      leck   Redden
\DVANTAGE FUNERAL HOME & CREMATION SERVI              SCI Tennessee Funeral Seruices, LLC         1724 MCCALLIE AVE                ]HATTANOOGA          TN      leck   Redden
:LORAL HILLS FUNERAL HOME AND CREMATION               iCl Georeia Funeral Services. LLC           }150 LAWRENCEVILLE HIGHWAY       TUCKER               3A      leck   Redden
]OFFEY FUNERAL HOME                                   \ldemoods (Tennessee), LLc                  )   o   Box 639                  {ARROGATE            TN      leck   Redden
:LAUDE R BOYD - CARATOZZOLO FUNERAL HOM               New York Funeral Chapels, LLC               1785 DEER PARK AVE                )EER PARK           NY      ]eck Redden
{ATIONAL FUNERAL CAR                                  New York Funeral Chaoels. LLC               1895 FLATBUSH AVE                ]ROOKLYN             NY      ]eck Redden
IVEST SIDE FUNERAL SERVICE                            New York Funeral Chapels, LLC               1895 FLATBUSH AVE                ]ROOKLYN             NY      ]eck Redden
:ASTSIDE FUNERAL SERVICE                              New York Funeral Chapels, LLC               t895 FLATBUSH AVE                BROOKLYN             NY      leck Redden
                       FUNERAL HOME BELTLINE          ;Cl Texas Funeral Seruices. LLc             I951 S BELT LINE ROAD            GRAND PRAIRIE        TX      )eck   Redden
.REASURE
'EAN-MASSEY.BURGE
         COAST CREMATORY                              ;Cl Funeral Services of Florida, LLC                SOUTH FEDERAL HIGHWAY    iTI JART             FL      )eck   Redden
;RAMERCY PARK MEMORIAL CHAPEL                         New    York Funeral Chapels,   LLC          '05
                                                                                                  }53 2ND AVE                      NEW YORK             NY      leck   Redden
IIVERSIDE MEMORIAL CHAPEI-                            New    York Funeral chaoels.   LLC          114-03 OUEENS BLVD               FOREST HILLS         NY      leck   Redden
TOULEVARD RIVERSIDE CHAPELS                           \lew   York Funeral Chaoels.   LLC          1895 FLATBUSH AVE                BROOKLYN             NY      ]eck Redden
}OU LEVARD-RIVERSIDE    CHAPELS                       \iew   York Funeral Chapels,   LLC          t45O BROADWAY                    HEWLETT              NY      ]eck Redden
TIVERSIDE-NASSAU     NORTH CHAPEL                     lew York Funeral ChaDels.      LLC               NORTH STATION PLAZA         GREAT NECK           \lY     leck Redden
IIVERSIDE MEMORIAL CHAPEL                             lew York Funeral ChaDels.      LLC          '5 WEST 75TH STREET
                                                                                                  180                              NEW YORK                     leck   Redden
OHNS RIDOUTS CREMATORY                                iCl Alabama Funeral Seruices, LLC               116 UNIVERSITY BLVD          BIRMINGHAM           \L      leck   Redden
)ANDREA BROS FUNERAL HOME                             lew York Funeral    Chapels, LLC            )9 OAK STREET                    COPIAGUE                     leck   Redden
IOSE HILLS.ALHAMBRA                                                                               ;50 EAST MAIN STREET             ALHAMBRA                     leck   Redden
:LAUDE R BOYD-SPENCER FUNERAL HOMES                   tlew York Funeral Chapels, LLC               55 HIGBIE LN                    WEST ISLIP                   ieck   Redden
:LAUDE R BOYD - SPENCER FUNERAL HOMES                 lew York Funeral Chapels, LLC               I48 WEST MAIN STREET             BABYLON              !Y      Ieck   Redden
 ;ROMAN EDEN MORTUARY                                 ;Cl California Funeral 5ervices. lnc.        15OO SEPULVEDA BLVD             MISSION HILLS                leck   Redden
!EPTUNE SOCIETY . MINNEAPOLIS                         !eDtune Manasement Loro.                    1560 WAYZATA BLVD                GOLDEN VALLEY        MN      ieck   Redden
r'/EAVER MORTUARY AND CREMATORY                       icl California Funeral Seruices,     lnc.       177 BEAUMONT AVE             BEAUMONT                     Ieck   Redden
/i/EAVER-HUGHES MORTUARY                              ;Cl California Funeral Seruices, lnc.           3629 YUCAIPA BLVD            YUCAIPA                      leck   Redden
:ONDRA FUNERAL HOME                                   icl Texas Funeral Seruices. LLc             ;03 TALBOT STREET                TAYLOR               TX      ieck Redden
3OODNIGHT FUNERAL HOME                                ;Cl Texas Funeral Seruices, LLC             IO9 EAST PROFESSOR POWELL BLVD   BARTLETT             rx             Redden
ROSEWOOD FUNERAL CHAPEI.                              ;Cl Texas Funeral Seruices, LLC                 304 MOCKINGBIRD LN                                rx      'eck
                                                                                                                                                                leck Redden
                                                                                                                                   '/ICTORIA
;TEWARD & WILLIAMS TRIBUTE CENTER CREMAT              (evstone America, lnc.                      IO1 E 3RD AVE                    ELLENSBURG                   leck Redden
THE UNIVERSAL FUNERAL CHAPEL                          {ew York Funeral ChaDels.      LLC           076 MADISON AVE                 NEW YORK             \iY     ]eck Redden
iH -                                                  lH Mortuarv CorDoration                                                      //                   .A
       FLOWER SHOP                                                                                1888 WORKMAN MILL ROAD                H           R           )eck Redden
                                                                                                                                            'TTIF
tH - CIry OF INDUSTRY 5ALE5 OFFICE                    lH Mortuary Corporation                     i8725 E GALE AVENUE STE 208      :ITY OF INDUSTRY     :A      ieck Redden
iH -   CERRITOS SALES OFFICE                          lH Mortuarv Corporation                     }888 WORKMAN MILL ROAD           WHITTIER                     leck Redden
tH _ PROFESSIONAL SERVICES DEPT                       lH Mortuarv Corooration                     3888 WORKMAN MILL ROAD           WHITTIER             :A      leck Redden
)FS CREMATORY GRESHAM                                 \lderwoods {OreSon), lnc.                   520 W POWELL BLVD                SRESHAM              )R      Beck Redden
]URLEY FUNERAL CHAPEL CREMATORY                        evstone America, lnc,                      30 SE ELY ST                     ]AK       HARBOR             Beck Redden
ITZHENRY,S FUNERAL HOME CREMATORY                     (evstone America. Inc.                      3945 FAIRVIEW DR                 :ARSON CITY                  Beck Redden
:HAPEL OF ETERNAL PEACE AT FOREST PARK C              ;Cl Texas Funeral Services,    LLC          12800 WESTHEIMER ROAD            HOUSTON              tx      Beck Redden
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                                                                                                                                                                                 Uot
Name/Address                                              {ame/Address                              Name/Address                  :itv                ;tate Firm (lf Provided)   vlatched
LEE MEMORIAL CREMATORY                                    icl Funeral Seruices of Florida.   LLC    PO BOX 130s48                 JOUSTON            TX     Beck Redden
DIGNITY MEMORIAL CREMATORY                                iCl lllinois Seruices, Inc                3412 FRANK SCOTT PKWY WEST    }ELLEVI LLE               Beck Redden
HODGES CREMATORY AT NAPLES MEMORIAL GARD                  ;Cl Funeral Seruices of Florida, LLC      525-111 AVE NORTH                                 :L    Beck Redden
                                                                                                                                  'IAPLES
BILL EISENHOUR CREMATORY                                  \lderwoods {Oklahomal. lnc.               8805 NORTH EAST 23RD STREET    )KLAHOMA CITY      )K    Beck Redden
\MERICAN CREMATORY                                        \lderwoods (Georsia). LLC                 ,50 MANSELL    RD             tOSWELt             JA    Beck Redden
]AKLAND CREMATORY                                         \lderwoods (lllinois), lnc,               15200 LINCOLN AVE             DOLTON                    Beck Redden
r'/OODLAWN CREMATORY                                      /Voodlawn Cemeterv of Chicaso. lnc.       7750   WEST CERMAK ROAD       FOREST PARK               Beck Redden
IUNTT CREMATORY                                           \lderwoods {Marulandl. lnc.               3035 OLD WASHINGTON RD        WALDORF             VID   Beck Redden          x
    INDSEY CREMATORY                                      ;Cl Virsinia Funeral Seruices, lnc.       173 SOUTH MAIN STREET         HARRISONBURG              Beck Redden          X
MULLINS & THOMPSON CREMATORY                              ;Cl Virsinia Funeral Seruices. lnc.       186 SHELTON SHOP ROAD         STAFFORD                  Beck Redden          x
    AST FLORIDA CENTRAL CARE                              iCl Funeral Services of Florida, LLC      1.200 SOUTH US HIGHWAY 1      ROCKLEDGE           :I    Beck Redden          x
TIVERSIDE MEMORIAL CHAPEL
                                                          ',lew York Funeral Chapels, LLC           21 WEST BROAD STREET          MOUNT VERNON        {Y    Beck Redden          x
THOMASM QUINN&sONS                                        -homas
                                                                   M. Quinn & Sons. LLC             35-20 BROADWAY                ,ONG ISLAND CITY          Beck Redden          x
                                                          -homas
]UINN -     FOGARTY FUNERAL HOME                                   M. Ouinn & Sons. LLC             192.15 NORTHERN BOULEVARD     :LUSH ING                 leck   Redden        x
JEORGE WERST FUNERAL HOME                                   homas M. Quinn & Sons, LLC              71-41 COOPER AVE              JLENDALE                  leck   Redden
/VERST REALTY COMPANY INC                                 -homas
                                                                   M. Quinn & Sons, LLC             71-41 COOPER AVE              3LENDALE                  leck   Redden        x
                                                                                                                                                      'lY
IELLMAN MEMORIAL CHAPELS
                                                          'lew York Funeral ChaDels. LLC            15 STATE STREET               ;PRING VALLEY             leck   Redden        X
:HAS      PETER NAGEL FUNERAL DIRECTORS                   :has. Peter Nagel, LLC                    }52 EAST 87TH STREET          \]EW YORK                 leck   Redden
/VHALEN     & BALL FUNERAL HOME                           icl Funeral Seruices of New York, lnc     168 PARK AVE                  rON KERS                  leck   Redden
                                                                                                                                                      'iY
 DWIN L BENNETT FUNERAL HOMES                             ;Cl Funeral Seruices of New York. Inc.    324 SCARSDALE AVE             ;CARSDALE                 leck   Redden        X
)AVID FUNERAL HOME                                        ;Cl Funeral Services of New York. lnc.    }5-20 BROADWAY                 ONG ISLAND CITY   \IY    leck   Redden
;TAMATIADES FUNERAL HOME                                 icl Funeral Seruices of New York, lnc      }5-20 BROADWAY                .ONG ISLAND CITY   NY     leck   Redden
iEVSKY YABLOKOFF MEMORIAL CHAPELS                        New York Funeral Chaoels. LLC               7OO   CONEY ISLAND AVE       ]ROOKLYN           NY     leck   Redden
i   IRGINIA FUNERAL CHAPEL                               SCI Funeral Seruices of New York. lnc.     I.707 HYLAN BLVD              ;TATEN ISLAND      NY     leck   Redden
}OULEVARD-RIVERSIDE CHAPELS                              New York Funeral Chapels, LLC              114-03 OUEENS BLVD            :OREST HILLS       NY     leck Redden
:ASEY FUNERAL HOME                                       icl Funeral Services of New York, lnc.     i50 sLossoN AVE               STATEN ISLAND      NY     leck Redden
:ASEY MCCALLUM RICE SOUTH SHORE FUNERAL                  ;Cl Funeral Seruices of New York. lnc.     ]O NELSON AVE                 STATEN ISLAND      NY     ]eck Redden
    J   MORRIS FUNERAL DIRECTORS                         l. J. lvlorris, LLc                        11.4-03 OUEENS BLVD           FOREST HILLs       NY     ]eck Redden
IICHARDSON-GAFFEY FUNERAL HOME (tEAsE)                   \lderwoods (Massachusetts). LLC            t82 FIRsT PARISH ROAD         SCITUATE                  leck Redden
;TANETSKY-HYMANSON MEMORIAL CHAPEL (LEAS                 \ffiliated Familv Funeral Service. lnc.    LO   VINNIN STREET            SALEM                     leck   Redden
NDEPENDENT FUNERAL HOME AND CEMETERY DI                  Vlaking Everlasting Memories, L.L.C,       11475 NORTHLAKE DRIVE         CINCINNATI         ]H     ieck   Redden
    J   MORRIS FUNERAL DIRECTORS                           J. Morris, LLC                           1895 FLATBUSH AVE             BROOKLYN           \JY    ]eck   Redden
    J   MORRIS                                             J. Morris, LLC                            1 EAST DEER PARK ROAD        DIX HILLS          {Y     ]eck   Redden
TIVERSIDE SERVICE CENTER                                 ;Cl California Funeral Services.    lnc-   ,944 MAGNOLIA AVE             RIVE RSIDE         ]A     3eck Redden
/ENTURA SERVICE CENTER                                   ;Cl California Funeral Seruices,    lnc.   ]150 LOMA VISTA      ROAD     VENTURA            :A     leck Redden
;AN FERNANDO VALLEY SERVICE CENTER                       ;Cl California Funeral Seruices,    lnc.   [0621 VICTORY BLVD            NORTH HOLLYWOOD           Beck Redden
]AKTRSFIELD SERV CTR      /   HILLCREST                  ;Cl California Funeral 5eruices,    lnc.   )101 KERN CANYON ROAD         BAKERSFIELD        :A     Beck Redden
,ONG BEACH SERVICE CENTER                                iCl California Funeral Seruices.    lnc.   3026 EAST ALONDRA BLVD        PARAMOUNT          ]A     Beck Redden
]RANGE COUNTY CENTRAL CARE CENTER                        ;Cl California Funeral Seruices,    lnc.   14801 BEACH BLVD              /r'ESTM INSTER     :A     Beck Redden
;AN JOSE SERV CTR/OAK HILL                               icl California Funeral seruices,    lnc.   730 WILLOW STREET             ;AN JOSE           :A     Beck Redden
;ACRAMENTO SERV CTR/MT VERNON                            Vlount Vernon Memorial Park                 ]201 GREENBACK LN            AIR OAKS           :A     Beck Redden          x
IEDDING SERVICE CENTER/MCDONALDS                         SCI California Funeral Seruices, lnc.      ],275 CONIINENTAL STREET      TEDDING            :A     leck   Redden        x
    RESNO SERVICE CENTER      /   LISLE                  SCI California Funeral 5eruices, lnc       1605 L STREET                  RE5NO             CA     leck   Redden
/ISALIA SERV CTR   /   MILLER                            SCl California Funeral Services, lnc       1120 WEST GOSHEN AVE          /ISALIA                   leck   Redden        x
;AN FRANCISCO SERV CTR / GREEN STREET                    SCI California Funeral Services. lnc.      i49   GREEN STREET            ;AN FRANCISCO      CA     ieck   Redden        x
IOSEDALE FUNERAL HOMI                                    Rosedale Funeral Chaoel. lnc-               17 CEMETERY ROAD             \4ARTI NSBURG             leck   Redden
TOSELAWN FUNERAL HOME              AND CEMETERY          SCI West Virsinia Funeral Seruices lnc     150 COURTHOUSE ROAD           ,RINCETON                 leck   Redden
{ARDAGE - GIDDENS GREENLAWN FUNERAL HOME                 SCI Funeral Seruices of Florida, LLC       t3OO BEACH BLVD               ACKSONVILLE        FL     leck   Redden        x
\UMAN FUNERAL HOME INC                                   \uman Funeral Home. lnc.                   47 PENN STREET                IEADING            PA     leck   Redden
}LOOMFIELD-COOPER JEWISH FUNERAL CHAPELS                 iCI New Jersey Funeral Seruices, LLC       13OO   VERMONT AVE            AKEWOOD            NJ     ]eck Redden
KRAFT FUNERAL SERVICE                                    ;Cl lndiana Funeral Seruices, lnc.         776 CHARLESTOWN ROAD          {EW ALBANY         IN     leck Redden
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\,lame/Address                                        {ame/Address                                        \lame/Address                  :ity               itate Firm (lf Provided)   Matched
(RAFT FUNERAL SERVICE                                 icl lndiana Funeral Seruices, lnc.                  708 EAST SPRING STREET         NEW ALBANY          N    Beck Redden          x
IHE RUNGE MORTUARY AND CREMATORY                      icl lowa Funeral Seruices lnc                       ]38   EAST KIMBERLY ROAD       DAVENPORT          A     Beck Redden          x
]LAKE.DOYLE FUNERAL HOME                              ;Cl New Jersev Funeral Seruices. LLC                226 WEST COLLINGS AVE          :OLLINGSWOOD       !J    Beck Redden          x
;OUTH JERSEY PERSONAL CARE CENTER                     icl   New Jersey Funeral Seruices, LLC              26 MULE ROAD                   TOMS RIVER         {J    Beck Redden          x
]ALL & DODD FUNERAL HOME                              iCl Washinston Funeral Seruices. LLC                ilOO WEST WELLESLEY AVE        ;POKANE                  Beck Redden          x
iUNSET MEMORIAL FUNERAL HOME                          ;Cl West Virsinia Funeral Services lnc.             PO BOX 3294                    PARKERSBURG              Beck Redden          x
]URGEE-HENSS-SEITZ FUNERAL HOME INC                   ]urgee-Henss-Seitz Funeral Home, lnc.               3631 FALLS ROAD                BALTIMORE          VID   Beck Redden          x
:ALVARY HILL FUNERAL HOME                             ;Cl Texas Funeral Seruices, LLC                     3235 LOMBARDY LN               )ALLAS             :x    Beck Redden          x
VIEM SCI FUNERAL HOME AND CEMETERY                    Vlakins Everlastins Memories. L.L.C                 11475 NORTHLAKE DRIVE          :INCINNATI         )H    leck Redden          x
,IXLEY FUNERAL HOME                                   iCl MichiEan Funeral Seruices lnc.                  322 WEST UNIVERSITY DRIVE      1OCHESTER HILLS    vlt   Beck Redden          x
;UGARMAN SINAI MEMORIAL CHAPEL                        ;Cl Rhode lsland Funeral Services, LLC              I58 HOPE STREET                )ROVIDENCE         U     Beck Redden          x
\DVANTAGE FUNERAL & CREMATION SERVICES                ;Cl Arizona Funeral Seruices, LLC                       141 NORTH 19TH AVE         )HOENIX            \z    Beck Redden          x
IATIONAL CREMATION SOCIETY                            ;Cl   Arizona Funeral Services.         LLC         1460 EAST THOMAS ROAD          )HOENIX                  leck   Redden        X
IATIONAL CREMATION SERVICE                            icl North Carolina Funeral Services, LLC                   MONROE ROAD             :HARLOTTE                leck   Redden        x
                                                                                                                                                            'lC
TAKIMA PERSONAL CARE CENTER                           icl Washinston Funeral Services. LLC                '4OO
                                                                                                          )02 WEST YAKIMA AVE            /AKIMA                   leck   Redden        x
IHE ABBEY FUNERAL DIRECTORS
                                                      'lew York Funeral ChaDels.                          1075 MADISON AVE                                        leck
                                                                                            LLC                                          \JEW YORK          {Y           Redden        x
\FFINITY GROUP: VFW                                   ;Cl Shared Resources, LLC                           )o Box 130548                                     -x
                                                                                                                                         IOUSTON                  leck   Redden
;POKANE SERVICE CENTER                                ;Cl   Washinston Funeral Seruices,            LLC   ].306 NORTH MONROE STREET      ;POKANE                  leck   Redden
:HARLOTTE CARE CENTER                                 ;Cl North Carolina Funeral Seruices. LLC            1601 FREEDOM DRIVE             :HARLOTTE                leck   Redden        x
                                                                                                                                                            'lC
,ORTLAND FUNERAL SERVICES                              lniservice Corooration                             1733 NE THOMPSON ST            )ORTLAND           )R    leck   Redden
)UNNELLON CENTRAL CARE                                ;Cl Funeral Services of Florida, LLC                ;740 S PINE AVE                )CALA              :L    leck   Redden
,ARK WEST-RIVERSIDE CHAPELS                           iew York Funeral Chapels.             LLC           1.80 WEST 76TH STREET          {EW YORK                 leck                 x
                                                                                                                                                            'lY
                                                                                                                                                                         Redden
]HAPEL HILL FUNERAL HOME                              ;Cl Services   (Alabama).       LLC                 i42 WEST 52ND STREET           \NNISTON           \L    leck   Redden
OHNSON FUNERAL HOME                                   iCl Seruices (Alabama), LLC                         )o Box 617                     SEORGIANA          \L    leck   Redden
V]CCONNELL FUNERAL HOME                               ;Cl Seruices (Alabama), LLC                         )o Box 933                     \THENS             \L    leck   Redden
,ARKER FUNERAL HOME                                   SCI   Arizona Funeral seruices. LLc                 , o Box 3850                   )ARKER                   leck   Redden
IEICHERTS FUNERAL     & CREMATION   SERVICES          ;Cl California Funeral Services, lnc.               7320 AUBURN BLVD               :ITRUS HEIGHTS     :A    ]eck Redden
}EN,IAMIN   J   CALLAHAN FUNERAL HOME                 SCI   Connecticut Funeral Seruices,           LLC   3],8 BURNSIDE AVE                  AST HARTFORD   :T    leck Redden
\IATIONAL CREMATION AND BURIAL SOCIETY                scl Funeral Seruices of Florida.            LLC     }08 EAST COLLEGE AVE           il.lsKt N          FL    ]eck Redden
;TOWERS FUNERAL HOME                                  icl Funeral Seruices of Florida,            LLC     IOl WEST BRANDON BLVD          ]RANDON            FL    leck Redden
:ERO FUNERAL HOME WITH CREMATORY                      ;CI Funeral Seruices of Florlda, LLC                ;955 LECANTO HWY               ]EVERLY HILLS      FL    leck Redden
IAISTEN MCCULLOUGH FUNERAL HOME                       SCI Georsia Funeral Seruices.           LLC         ,o Box ss                      ; RIFFIN           3A    leck Redden
AKE VIEW FUNERAL HOME                                 ;Cl lllinois Services. lnc.                                NORTH ILLINOIS STREET    AIRVIEW HEIGHTS   IL    )eck Redden
r'IARENGO.UNION FUNERAL HOME                          iCl lllinois Seruices,   lnc.                       'OOO
                                                                                                          ;05 EAST GRANT HIGHWAY         V]ARENGO           IL    leck Redden
]UERHAMMER & FLAGG FUNERAL HOME                       iCl lllinois Seruices,   lnc                        ;OO WEST TERRA COTTA AVE       :RYSTAL LAKE       IL    leck Redden
 UIPER FUNERAL HOME                                   SCI lndiana Funeral      Seruices, lnc.             )039 KLEINMAN ROAD             HIGHLAND           IN    ]eck Redden
IOCKEMEYER & MILLER FUNERAL HOME                      icl Indiana Funeral      Services. lnc.             ;131 ST JOE ROAD               FORT WAYNE         IN    ]eck Redden
lOCKEMEYER FUNERAL HOME                               ;Cl lndiana Funeral      Services, lnc.             ,o Box   217                   HARLAN             IN    !eck Redden
/lYERS.REED CHAPEL                                    iCl lndiana Funeral      Services, lnc.             I729 25TH STREET               COLUMBUS           N     leck Redden
'iATHAWAY-MYER5 CHAP     EL                           ;Cl lndiana Funeral      Services. lnc.             1022 PEARL STREET              COLUMBUS           N     leck Redden
lIXSON FUNERAL HOME                                   ;Cl Louisiana Funeral Services, lnc.                 10 NORTH PINE STREET          D   ERIDDER              leck Redden
lIXSON FUNERAL HOME                                   ;Cl Louisiana Funeral Seruices, lnc                 ;08 SOUTH FIFTH STREET         LEESVILLE          -A    leck Redden
IALEIGH CENTRAL CARE CENTER                           ;Cl North Carolina Funeral Services, LLC            IOO ST   MARY'S ST             RALEIGH            \]C   leck Redden
ViETRO DETROIT CARE CENTER                            ;Cl Michisan Funeral Services lnc.                  15201 GARFIELD RD              CLINTON TOWNSHIP         leck Redden
EVANSVILLE CARE CENTER                                ;Cl lndiana Funeral Services, lnc.                  ,o Box 14036                   EVANSVILLE         N     leck Redden
PEORIA CARE CENTER                                    ;Cl lllinois Seruices, lnc                          IO21 N UNIVERSITY STREET       PEORIA                   Ieck Redden
      & EDWARDS FUNERAL HOME                           Cl Services of Maine, lnc.                             83 MADISON AVE             SKOWHEGAN          VIE   ]eck Redden
'MART
REDINGTON FUNERAL HOME                                rcl Services of Maine. lnc.                             PARK STREET                /VATERVILLE        VIE   ]eck Redden
ONES-RICH-HUTCHINS FUNERAL HOME                        Cl Services of Maine, lnc.                         199 WOODFORD STREET            PORTLAND           VIE   ]eck Redden
/EILLEUX FUNERAL HOME                                 :Cl Seruices of Maine, lnc.                         3   ELM STREET                 WATERVILLE         VlE   leck Redden
INDQUIST FUNERAL HOME                                 :Cl Seruices of Maine. lnc.                         L   MAYBERRY LN                YARMOUTH           V]E   leck Redden
                                         Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 42 of 80 PageID #:8281



                                                                                                                                                                               Not
!ame/Address                                     !ame/Address                                  !ame/Address                  :lty                   ;tate Firm (lf Provided)   Matched
THE FORTIN GROUP                                 :Cl Seruices of Maine,    lnc                 2],7 TURNER STREET            AUBURN                 VIE     Beck Redden        x
THE FORTIN GROUP                                 :Cl Seruices of Maine.    lnc.                70 HORTON STREET              LEWISTON               VIE     Beck Redden        x
i G THIBAULT FUNERAL HOME                        :Cl Seruices of Maine,    lnc.                250 PENOBSCOT STREET          RUMFORD                \4E     Beck Redden        x
]IRMINGHAM FUNERAL HOME                          :Cl Services of Maine,    lnc                 138 MAIN STREET               ]LD TOWN               VIE     Beck Redden        x
:ROSMAN FUNERAL HOME                             :Cl Seruices of Maine,    lnc.                10   MAIN STREET              LISBON FALLS           vlE     Beck Redden        x
VICMILLAN FUNERAL HOME                           ;Cl Mississippi Funeral Services, LLC         702 WEST COLLEGE STREET       ]OONEVILLE             vt5     Beck Redden        x
(AHLER DOLCE MORTUARY                            iCl Nebraska Funeral Seruices lnc             141 NORTH WASHINGTON STREET   ,APILLION                  E   leck   Redden      x
]ENNETT FUNERAL HOME                             :Cl Seruices of New Hamoshire. lnc.           209 NORTH MAIN STREET         :ONCORD                        leck   Redden      X
                                                                                                                                                    'lH
\LVAH HALLORAN & sON FUNERAL HOME                ;Cl Funeral Services of New York, lnc.        )o gox24467                   TOCHESTER                      leck   Redden      X
)ENGLER ROBERTS PERNA FUNERAL HOME               iCl Funeral Seruices of New York, lnc         3OOO DELAWARE        AVE      (ENMORE                        leck   Redden      X
                                                                                                                                                    'lY
)ENGLER ROBERTS PERNAFUNERAL HOME                ;Cl Funeral Seruices of New York. lnc.        }O7O DELAWARE AVENUE          (ENMORE                {Y      leck   Redden
)ENGLER ROBERTS PERNA FUNERAL HOME               ;Cl Funeral Seruices of New York, lnc.        3OOO DELAWARE        AVE      (ENMORE                        leck   Redden      X
                                                                                                                                                    'lY
:ONWAY FUNERAL HOME                             SCI Funeral Seruices of New York,       lnc    }2.19 NORTHERN BLVD           ACKSON HEIGHTS         \Y      leck   Redden
)   B DAVISFUNERALHOMES                         SCI Funeral Seruices of New York,       lnc,   1326 MIDDLE COUNTRY ROAD      :ENTEREACH             \Y      leck   Redden
)   B DAVISFUNERALHOMES                         SCI Funeral Seruices of New York-       lnc.   LOO1 ROUTE     25A            VIILLER PLACE         NY       leck   Redden
)   B DAVISFUNERALHOMES                         iCl Funeral Seruices of New York,       lnc    t839 NESCONSET HIGHWAY        ,ORT JEFFERSON STATION NY      leck   Redden
IALTEMAN-FETT & DYER FUNERAL HOME & MEMO        ;Cl Ohio Funeral Services lnc                  }36 NORTH BROAD STREET        .ANCASTER              )H      leck   Redden
JATTOZZI & SON FUNERAL HOME                     ;Cl Ohio Funeral Seruices lnc.                 ,o   Box 806                  ]H ESTERLAND           ]H      leck   Redden
:USTOM MEMORIAL DESIGNS                         ECI   Services of Maine. lnc.                  70 HORTON STREET              TEWISTON              ME       ]eck Redden
}RATCHER FUNERAL HOME                           ;Cl Texas Funeral Services, LLC                )o Box 700                    DENISON               TX       ]eck Redden
]ASIMIR FUNERAL HOME                            ;Cl Funeral Seruices of New York, lnc.         1OO1 ROUTE 25A                MILLER PLACE          NY       ]eck Redden
 OLONIAL FUNERAL HOME                           ;CI Texas Funeral Seruices.       LLC          I8O1 EAST RED RIVER STREET    VICTORIA              TX       leck Redden
;MITH FUNERAL HOME                              ;Cl Texas Funeral Services,       LLC          )o Box 102                    MOULTON               TX       ,eck Redden
 ICHARDSON.COLONIAL FUNERAL HOME                icl Texas Funeral Seruices,       LLC          123 NEWLIN STREET             PORT LAVACA            IX      ]eck Redden
 OLONIAL FUNERAL HOME                           ;Cl Texas Funeral 5eruices. LLC                ,o Box 166                    TAFT                   tx      leck Redden
BUFFINGTON FUNERAL HOME                         ;Cl Texas Funeral Seruices, LLC                ,o Box 64                     SHINER                 tx      leck Redden
BUFFINGTON FUNERAL HOME                         ;Cl Texas Funeral 5eruices, LLC                I24 ST PETER STREET           SONZALES               TX      leck Redden
;MITH FUNERAL HOME                              ;Cl Texas Funeral Seruices.       LLC          ,o Box 1.02                   MOULTON                tx      3eck Redden
:ASON MONK-METCALF FUNERAL DIRECTORS            ;CI Texas Funeral Seruices,       LLC          54OO NORTH 5TREET             NACOGDOCHES            tx      Beck Redden
]AKLEY-METCALF FUNERAL HOME                     ;Cl Texas     Funeral Seruices,   LLC          PO BOX   408                  LUFKIN                 IX      Beck Redden
\DAMS FUNERAL HOME                              ;Cl Texas     Funeral Services,   LLC          129 COLEMAN STREET            MARLIN                 X       Beck Redden
:RAWFORD-BOWERS FUNERAL HOME                    iCl Texas     Funeral Services.                                                                     .X
                                                                                  LLC          1615 SOUTH FORT HOOD ROAD     (I LLEEN                       Beck Redden
:RAWFORD-BOWERS FUNERAL HOME                    ;Cl Texas     Funeral Seruices,   LLC          211 WEST AVE B                :OPPERAS COVE          -x      leck   Redden
:LEMENTS-WILCOX FUNERAL HOME                    SCI   Texas   Funeral 5eruices,   LLC          ,o Box 206                    ]U RN ET              TX       leck   Redden      x
:LEMENTS-WILCOX FUNERAL HOME                    SCl Texas     Funeral Services,   LLC          1805 HIGHWAY 28]. NORTH       VlARBLE FALLS         TX       leck   Redden      x
 UNERARIA DEL AN6EL HOWARD.WILLIAMS             SCI Texas     Funeral Services.   LLC          1208 SOUTH ST MARYS           :ALFU RRIAS           TX       ieck   Redden      x
:UNERARIA DEL ANGEL HOWARD.WILLIAMS             scl Texas     Funeral 5eruices,   LLC          IO1 TEXAS STREET              I EBBRONVI LLE        TX       ieck   Redden      x
)UTTON FUNERAL HOME                             SCI Texas     Funeral Seruices,   LLC          3OO EAST CASH STREET          OWA PARK              TX       leck   Redden
]OLE FUNERAL HOME                               SCI   Texas   Funeral 5ervices.   LLC          1113 WEST 5TH STREET          V]CGREGOR             TX       leck   Redden      X
:OLE CHAPEL                                     SCI   Texas   Funeral 5eruices.   LLC          ,o   Box 342                  V]CGREGO     R        TX       leck   Redden
IILEY FUNERAL HOME                              iCl Texas     Funeral 5eruices,   LLC          tO2 WEST MAIN                 ]AMILTON              TX       leck   Redden
:ONNALLY-COMPTON     FUNERAL DIRECTORS          iCl Texas Funeral Seruices, LLC                t4OO WEST WACO DRIVE          /vAco                 tx       leck   Redden
SIPSON FUNERAL HOME                             ;CI Texas Funeral Services. LLC                ,o Box 1607                   UFKIN                 TX       ]eck Redden
MARRS-JONES-NEWBY FUNERAL HOME                  iCl Texas Funeral Services, LLC                )o Box 745                    }ASTROP               TX       leck Redden
MARRS!ONES FUNERAL HOME                         iCl Texas Funeral Seruices, LLC                104 OLIVE STREET              ;MITHVILLE            rx       leck Redden
MOHNEY-YARGAR FUNERAL CHAPEL INC                Vlohnev-Yarsar Funeral Chaoel. lnc.            i42 WEST   LONG AVE           )u Bots               )A       Beck Redden
MOHNEY-YARGAR FUNERAL CHAPEL(LEASE)             :uneral Seruice Pennsvlvania. LLC              142 WEST LONG AVE             )U BOIS                        Beck Redden
BENNETTAND HOUSER FUNERAL HOME INC              l'he Bennett & Houser Funeral Home, lnc        312 EAST LOCUST STREET        :LEARFIELD            )A       Beck Redden
BENNETT & HAUSER FUNERAL HOMEILEASE)            :uneral Service Pennsvlvania, LLC              312 EAST LOCU5T STREET                              )A
                                                                                                                             :LEARFI ELD                    Beck Redden
NEPTUNE MEMORIAL REEF                           ;Cl Direct, lnc                                1250 5 PINE ISLAND RD         }LANTATION             L       Beck Redden
DAVISON-FULTON-WOOLSEY FUNERAL HOME             ;Cl Illinois Services. lnc.                    504 MAIN STREET               SLASFORD                       Beck Redden
                                             Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 43 of 80 PageID #:8282



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{ame/Address                                                  Address                         {ame/Address                             ciw                      ;tate   iirm ilf Provided)   Vlatched
lERITAGE CREMATORY                                  iCl California Funeral Seruices, lnc.      223 E PICO BLVD                         LOS ANGELES              :A      leck Redden
)EERFIELD BEACH CREMATORY                           iCl Funeral Services of Florida. LLC      1921 NW 4OTH CT                          DEERFIELD BEACH           L      )eck Redden
.ITTLE & SONS FUNERAL HOME                          ;Cl lndiana Funeral seruices, lnc.         301 MAIN STREET                         BEECH GROVE               N      ieck Redden
.ITTLE & SONS FUNERAL HOME                          ;Cl lndiana Funeral Services, lnc.        t9O1 EASTSTOP ELEVEN ROAD                INDIANAPOLIS              N      leck Redden
:ASIMIR FUNERAL HOME                                ;Cl Funeral Seruices of New York. lnc.    1839 NESCONSET HIGHWAY                   PORT JEFFERSON STATION   {Y      ]eck Redden
)ANZER DENGLER & ROBERTS FUNERAL HOME               ;Cl Funeral Seruices of New York, lnc.    IOOO DETAWARE      AVE                   KENV]ORE                         Ieck Redden
1OLLINS FUNERAL HOME                                ;Cl Arkansas Funeral Seryices, lnc        t4O1 HUDSON ROAD                         ROGERS                   \R      leck Redden
,PH REALTY                                          tMJ Land, lnc.                            )o    Box 130548                         HOUSTON                  tx      Beck Redden
EAST FUNERAL HOME                                   ;Cl Texas Funeral Seruices, LLC           2807 MOORES LN                           TEXARKANA                l'x     Beck Redden
EAST FUNERAL HOME                                   ;Cl Texas Funeral Services, LLC                 OLIVE STREET                       TEXARKANA                TX      Beck Redden
tIDOUTS GARDENDALE CHAPEL                           ;Cl Alabama Funeral Seruices, LLC         '02 BOX 498
                                                                                              PO                                       SARDENDALE               \L      Beck Redden
IARDAGE-GIDDENS OAKLAWN CHAPEL                      )aklawn Cemeteru Association              +801 SAN JOSE BLVD                       ,ACKSONVILLE             :I      Beck Redden
IEPTUNEC S -PORTLAND                                tVilhelm Mortuary, lnc.                   17819 NE RIVERSIDE PKWY                  PORTLAND                 )R      Beck Redden
\]EPTUNE SOCIETY - AUSTIN                           {eptune Manasement Coro.                  )11 W ANDERSON LN                        \USTIN                   tx      Beck Redden
!EPTUNE SOCIETY - DENVER                            {eDtune Manasement        CorD.           ;225 W 8OTH AVE #C1                      \RVADA                   :o      Beck Redden
!EPTUNE SOCIETY - FORT WORTH                        {eptune Management        Corp.            101 AIRPORT FWY                         :ORT WORTH               ix      Beck Redden
!EPTUNE SOCIETY - FORT MYERS                        {eptune Management        Coro.                  PRESIDENTIAL CT                   :T   MYERS                       Beck Redden
!EPTUNE SOCIETY - HOUSTON                           {eptune Manasement        CorD.           '360
                                                                                              3425   S SHEPHERD DR                     ]OUSTON
                                                                                                                                                                -x
                                                                                                                                                                        Beck Redden
!EPTUNE SOCIETY. JACKSONVILLE                       \leptune Management       Corp.           3928 BAYMEADOWS                           Ia(soNVI    I           :L      leck   Redden        X
IEPTUNE SOCIETY - LAS VEGAS                         Neptune Management        Coro            ]570 DEL WEBB BLVD                       AS VEGAS                         leck   Redden        X
{EPTUNE SOCIETY NORTH SEATTLE (L}
                                                     'leptune Manasement Coro.                I32O 196TH STREET SW SUITE       C       YNWOOD                           leck   Redden        X
 OCATIONS HELD FOR SALE - FUNERAL                   SCI Manasement L.P.                       )o Box 130548                            IOUSTON                  TX      leck   Redden
{EPTUNE SOCIETY - ATLANTA                           Neptune Management Corp.                  1831 PEACHTREE ROAD NE SUITE         B   \TLANTA                          leck   Redden        x
dOODLAWN FUNERAL HOME                               SCI California Funeral 5eruices, lnc      1OOO EI CAMINO REAI                      :OLMA                    CA      leck   Redden        X
{EPTUNE SOCIETY - NASHVITLE                         \eDtune Manasement Coro                   1,187 OLD HICKORY BLVD                   ]RENTWOOD                TN      leck   Redden
,AR15 FREDERICK MORTUARY      & CREMATION           scl California Funeral seruices, lnc.
                                            SER                                               i78   S MOLLISON AVENUE                  :L CAJON                 CA      leck   Redden
\BBEY CREMATION & FUNERAL SERVICE                   SCI California Funeral Seruices, Inc            SOUTH MOLLISON AVE                  ICAJON                  CA      leck   Redden        X
{CS SALES _ BOCA RATON                              NCS Marketins Seruices. LLC               '76
                                                                                               777   GTADES   ROAD SUITE 212           }OCA RATON               FL      leck   Redden
 TONEBRIAR FUNERAL HOME AND CREMATION         SE    SCI Texas Funeral seruices. LLC           10375 PRESTON ROAD                        Rtsco                   IX      leck   Redden
 L   CfuON MORTUARY AND CREMATION SERVICE           iCl California Funeral Seruices, lnc      ;84 SOUTH MOLLISON AVE                   :t cAloN                 :A      leck   Redden
V]IRAMAR MEMORIAL SERVICES                          SCI California Funeral Seruices, lnc      }380 MIRAMAR MALL SUITE # 105            ;AN DIEGO                :A      leck   Redden
{ATIONAL CITY-CHULA VISTA MORTUARY & CRE            SCI California Funeral Seruices. lnc.           HIGHLAND AVE                       {ATIONAL CIry            :A      leck   Redden
                                                    \,leptune Management Corp.                '11
'IEPTUNE SOCIETY - ALBUQUERQUE                                                                 770 MONTGOMERY SLVD N       E           \LBUOU EROUE             NM      leck   Redden
}ELLFTOWER CENTRAL CARE CENTER                      \lderwoods Grouo (California), lnc.       )903 EAST FLOWER STREET                  }ELLFLOWER               :A      Beck Redden
AMERICAN BURIAL AND CREMATION                       icl Funeral Services of Florida, LLC       2OO   SOUTH US HIGHWAY 1                TOCKLEDGE                FL      Beck Redden
NEPTUNE SOCIETY - OCALA                             !eptune Management Corp.                  17350 5E 1O9TH TERRACE RD                ;UMMERFIELD              FL      Seck Redden
NEPTUNE sOCIETY - SOUTH CHICAGO                     \,leptune Management Corp.                ],628 OGDEN AVENUE                       )OWNERS 6ROVE                    Beck Redden
NEPTUNE SOCIETY - ORLANDO                           !eptune Manasement        CorD            9439 FOREST CITY COVE                    \LTAMONTE SPRING          L      Beck Redden
NEPTUNE SOCIETY TAMPA                               !eDtune Manasement        Coro.           2560 TAMPA RD                            ,ALM HARBOR              :L      Beck Redden
NEPTUNE SOCIEry FT LAUDERDALE                       !eptune Management        Corp.           3404 N ANDREWS AVENUE EXT                ,OMPANO BEACH            :L      Beck Redden
NEPTUNE SOCIETY - RENO                              !eptune Management        Corp.           ]69 WEST MOANA LANE                      IENO                             Beck Redden
NEPTUNE SOCIEry. SAN ANTONIO                        {eptune Manaeement        Coro.           8910 BANDERA RD                          ;AN ANTONIO              t'x     Beck Redden
NEPTUNE SOCIETY . SAN PEDRO                         \leptune Management       Corp.           562 5 PALOS VERDES 5T                    SAN PEDRO                        Beck Redden
!EPTUNE SOCIETY - SANTA BARBARA                     \,leDtune Manasement      Coro            4173 STATE ST                            ;ANTA BARBARA            :A      Beck Redden
!EPTUNE SOCIETY - sHERMAN OAKS                      {eptune Manaaement CorD.                  4312 WOODMAN AVE                         ;HERMAN OAKS                     Beck Redden
\,IEPTUNE SOCIETY - SPOKANE                         !eptune Management CorD.                  222    E FRANCIS AVE                     ;POKANE                          Beck Redden          X
\]ATIONAL MUSEUM OF FUNERAL HISTORY {PROP           ;Cl Texas   Funeral Seruices.   LLC        15 BARREN SPRINGS DRIVE                 HOUSTON                  tx      Beck Redden          X
;CI MGMT.CONS BILLING FOR AFFILIATES                ;Cl Shared Resources, LLC                 PO BOX   130s48                          HOUSTON                  tx      Beck Redden          x
;TANETSKY ILEASE)                                   \ffiliated Family Funeral Service, lnc.   1668 BEACON STREET                       BROOKLINE                        Beck Redden          x
IOUSTON SERVICE CENTER                              ;Cl Texas   Funeral Seruices, LLC         1220 W 34TH STREET                       HOUSTON                  tx      Beck Redden          x
VIOORE GRIMSHAW BETHANY CHAPEL CEN                  ;Cl   Arizona Funeral Seruices. LLC       710 WEST BETHANY HOME ROAD               PHOENIX                  \z      Beck Redden          x
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rlame/Address                                       {ame/Address                               rlame/Address                  Ltw                 itate :irm (lf Provided)   vlatched
:ORT WAYNE CREMATORY                                 iCl lndiana Funeral 5eruices, lnc.        ;424 WINCHESTER ROAD           FORT WAYNE         1N       ]eck Redden
 HEO    C AUMAN CREMATORY                           fheo C. Auman lnc                           47 PENN STREET                READING                     ]eck Redden
)AVISON.FULTON WOODLAND CHAPEL CREMATORY             ;Cl lllinois 5eruices. lnc.               IO21 NORTH UNIVERSITY STREET   PEORIA                      ieck Redden
}IRMINGHAM CENTRAL SERVICES                          iCl Alabama Funeral Seruices, LLC          116 UNIVERSITY BLVD           BIRMINGHAM          \L      leck Redden
]CJ FUNERAL HOME INC                                ;Cl Texas Funeral Seruices, LLC            )o Box 130548                  HOUSTON             tx      ]eck Redden
:OLORADO SPRINGS MORTUARY & CREMATORY               ;Cl Colorado Funeral services. LLC         1475 ASTROZON COURT            COLORADO SPRINGS    :o      ,eck Redden
JACKSONVILLE CREMATORY                              ;Cl Funeral Services of Florida, LLC        17 PARK STREET                JACKSONVILLE            L   ]eck Redden
MELCHER MISSION CHAPEL CENTRAL                      ;Cl Arizona Funeral 5eruices, LLC          5625 E MAIN ST                 MESA                \z      leck Redden
:ULLEY5 MEADOWWOOD CREMATORY                        ;Cl Funeral Seruices of Florida. LLC       1737 RIGGINS ROAD              TALLAHASSEE         :L      3eck Redden
MONTVILLE FUNERAL HOME OF CHURCH & ALLEN            iCl Connecticut Funeral Services, LLC      t36 SACHEM STREET              NORWICH             :l      Beck Redden
:HURCH & ALLEN FUNERAL SERVICE                      ;Cl Connecticut Funeral Services, LLC      136 SACHEM STREE]              NORWICH             :l      Beck Redden
lAsHVILLE CREMATION SERVICE                         ;Cl Tennessee Funeral Services, LLC        i5O THOMPSON LN                NASHVILLE           IN      Beck Redden
:OBLE.WARD.SMITH       CREMATORY                    iCI North Carolina Funeral Services. LLC   PO BOX 21.9 HIGHWAY 17         iUPP    LY          \lC     Beck Redden
IEIGHTS FUNERAL HOME                                ;Cl Texas  Funeral Services, LLC           1317 HEIGHTS BLVD              HOt.lsToN           tx      Beck Redden
/VALTRIP FUNERAT DIRECTORS                           ;Cl Texas Funeral Services, LLC           1415 CAMPBELL ROAD             HOUSTON                 x   Beck Redden
,VESTSIDE CREMATORY                                  ;Cl Arizona Funeral Seruices. LLC         11211 MICHIGAN AVE             TOUNGTOWN           \z      Beck Redden
IHORNHILL VALLEY CHAPEL & CREMATORY                  iCl Washington Funeral Seruices, LLc      ].400 SOUTH PINES ROAD         ;POKANE                     Beck Redden
 :UNERARIA DEL ANGEL                                 iCl Texas Funeral Seruices, LLC           )0L MA|N                       ]ASADENA            .X
                                                                                                                                                          Beck Redden
AMONICA MEMORIAL HON4E                               ;Cl New Jersev Funeral Seruices. LLL      145 EAST MOUNT PLEASANT AVE     IVINGSTON          iJ      Beck Redden        x
JREEN ACRES IV]ORTUARY & CEMETERY                   SCI Arizona Funeral Services, LLC          IO1 NORTH HAYDEN ROAD          iCOTTSDALE         A7       Beck Redden        x
IESTHAVEN EMBALMING                                 SCI Kansas Funeral Seruices lnc.           11800 WEST HIGHWAY 54          iVICHITA           KS       leck Redden        x
\4ARTIN CREMATORY                                   SCI Colorado Funeral 5eruices. LLC         ,50 N0RTH AVE                  ,RAND JUNCTION     co       leck Redden        x
VIOUNTAIN VIEW MORTUARY                             SCI Colorado Funeral Seruices, LLC         I35O MONTEBELLO SQUARE DRIVE   :OLORADO SPRINGS   CO       leck Redden
THIRTY-ONE CTRL UNTED                               5Cl Missouri Funeral Seruices lnc.         ,o Box 130548                  ]OUSTON            TX       ]eck Redden        X
}OULDER CREMATORY ASSOCIATION                       SCI Colorado Funeral Seruices, LLC                PENROSE PLACE           }OULDER            co       leck Redden
;OUTHEASTER      CREMATORY                          SCI Funeral seruices of Florida. LLC       '395NEW WARRINGTON ROAD
                                                                                               ;19                            ,ENSACOLA          FL       leck Redden
V]CGILLEY   &   FRYE FUNERAL HOME   & CREMATION     SCI Kansas Funeral Seruices Inc.           105 EAST LOULA                 )LATHE             KS       ]eck Redden
\DVANTAGE AURORA CHASE CHAPET                       SCI   Colorado Funeral Seruices, LLC       LOg5 HAVANA STREET             \URORA             :o       leck   Redden
)LINGER WOODS CHAPEL                                ;Cl   Colorado Funeral Seruices. LLC        1OO   WASHINGTON AVE          ]OLDEN             :o       leck   Redden
)EVORSS FLANAGAN-HUNT MORTUARY                      iCl   Kansas Funeral Seruices lnc-         IO1 SOUTH HYDRAULIC            /VICHITA           KS       leck   Redden
\DVANTAGE RUNYAN STEVENSON CHAPEL                   iCl   Colorado Funeral Services, LLC       ;425 WEST ALAMEDA AVE          AKEWOOD            :o       leck   Redden
MILLER   WOODLAWN CREMATORY                         SCI   Washineton Funeral Seruices. LLC     ;505 KITSAP WAY                }REMERTON                   leck Redden
SCHMIDT.HALLER BURIAL AND CREMATION SERV            iCl   lllinois Services. lnc.              1625   W CANDLETREE DRIVE      ,EORIA             IL       )eck Redden
REMMERT FUNERAL HOME                                iCl   lllinois Seruices, lnc                21 EAST WASHINGTON STREET     :AST PEORIA        IL       Beck Redden
CENTRAL IOWA PERSONAL CARE CENTER                   ;Cl lowa FuneralServices lnc.              1510 WEST FIRST STREET         \NKENY             IA       Beck Redden
OMAHA MARKET PERSONAL CARE CENTER                   ;Cl Nebraska Funeral Seryices lnc.         5701 CENTER   ST               )MAHA              !E       Beck Redden
NATIONAL CREMATION SOCIETY CREMATORY                icl Georeia Funeral Seruices,   LLC        5OO HARBINS ROAD                I   LBURN         JA       Beck Redden
ELLIOTT SONS CREMATORY                              ;Cl Georsia Funeral Services, LLC          4255 COLUMBIA ROAD             r'IARTIN EZ        3A       Beck Redden
DALLAS CARE CENTER                                  ;Cl Texas Funeral Services, LLC            10501 GARLAND ROAD             )ALLAS             il       Beck Redden
;OUTHEASTERN CREMATORIES                            ;Cl Funeral Seruices of Florida. LLC       4945 EAST BAY DRIVE            ]LEARWATER         :L       Beck Redden
:ENTURION                                           ;Cl Texas Funeral Services, LLC            PO BOX 130548                  IOUSTON            rx       Beck Redden
3ROVE HILL FUNERAL HOME                             ;Cl Texas Funeral Seruices, LLC            3920 SAMUELL BLVD              )ALLAS             rx       Beck Redden
DRAKE    & SON FUNERAL HOME                         iCl lllinois 5eruices, lnc,                5303 NORTH WESTERN AVE         :HICAGO                     Beck Redden
\DVANTAGE HOWARD-GLENDALE CHAPEL                    iCl Texas Funeral Services. LLC            1015 FEDERAL ROAD              HOUSTON            IX       Beck Redden        x
IM   PATTERSON  & sON EMBALMING                     ;Cl Georgia Funeral Seruices, LLC          ].73 ALLEN ROAD NE             ;ANDY SPRINGS      JA       Beck Redden        x
:HARLES S ZEILER & SON INC                          :harles S. Zeiler & Son, lnc.              i224   EASTERN AVE             BALTIMORE          VID      Beck Redden        X
JOSEPH GAWLERS SONS INC                             OSEPH GAWLER'S SONS, LLC                   sr.30 wrscoNstN AVE Nw         r'/ASHINGTON       )c       Beck Redden        x
3EO H LEWIS & SONS FUNERAL DIRECTORS                ;Cl Texas Funeral seruices. LLC            1010 BERING DRIVE              HOUSTON            TX       Beck Redden        x
{EWKIRK & WHITNEY FUNERAL HOME                      ;Cl Connecticut Funeral Seruices, LLC      318 BURNSIDE AVE               EAST HARTFORD      :T       Beck Redden        x
IICKORY FUNERAL HOME                                ;Cl North Carolina Funeral Seruices, LLC   PO BOX 603                     HICKORY            {c       Beck Redden        x
VIEMPHIS FUNERAL HOME                               ;Cl Tennessee Funeral Seruices. LLC        PO BOX   17069                 MEMPHIS             N       Beck Redden        x
                                         Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 45 of 80 PageID #:8284



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rlame/Address                                   \tame/Address                                       {ame/Address                  City                ttate   rirm (lf Provided)   vlatched
]HATTANOOGA FUNERAL HOME CREMATORY & FL         iCl Tennessee Funeral Seruices, LLC                 ,o Box   9                    HtxsoN              TN      leck Redden
,ALM BEACH-CENTRAL SUPPORT {DISPATCH-PRE        ;Cl Funeral Seruices of Florida. LLC                tO32 NORTH DIXIE HIGHWAY      LAKE WORTH                  leck Redden
;ATEs KINGSLEY & GATES SMITH SALSBURY F         ;Cl California Funeral Seruices, lnc.                220 5OUTH SEPULVEDA BLVD     CULVER CITY         :A      leck Redden
JATES KINGSLEY & GATES PRAISWATER MORTU         ;Cl California Funeral Services, lnc.               ;909 CANOGA AVE               CANOGA PARK         :A      ieck Redden
:TERNAL VALLEY MEMORIAL PARK MORTUARY           icl California Funeral Services.      lnc.           3287 NORTH SIERRA HWY        NEWHALL                     ieck Redden
/IARTIN CENTRAL EMBALMING CTR                   ;Cl Texas Funeral Seruices, LLC                     1839 MONTANA AVE              EL PASO             tx      leck Redden
\ATIONAL PERSONAL CARE CENTER                   ;Cl Virsinia Funeral Seruices, lnc                   482   LEE   HIGHWAY          FALLS CHURCH                Ieck Redden
:AGE.MILLS FUNERAL DIRECTORS                    ;Cl Texas Funeral Seruices. LLC                     I9O1 EVERHART ROAD            CORPUS CHRISTI      rx      ,eck Redden
SPARKMAN/HILLCREST FUNERAL HOME                 ;Cl Texas Funeral Seruices, LLC                      405 WEST NORTHWEST HIGHWAY   DALLAS              l'x     Ieck Redden
;PARKMAN-CRANE FUNERAL HOME                     iCl Texas Funeral Seruices, LLC                      O5O1 GARLAND ROAD            DALLAS              tx      leck Redden
HAZEN & JAEGER FUNERAL HOME                     ;Cl Washinston Funeral Seruices. LLC                1306 NORIH MONROE STREET      SPOKANE                     leck Redden
1AZEN & JAEGER VALLEY FUNERAL HOME              ;Cl Washinston Funeral Seruices. LLC                1306 NORTH PINES ROAD         SPOKANE VALLEY              Beck Redden
/ALLEY VIEW MEMORIAL PARK & FUNERAL HOME        ly'asatch Land and lmprovement Company              4335 WEST 4100 SOUTH          WEST VALLEY CITY    ]T      Beck Redden
TURNER     & STEVENS LIVE OAK MORTUARY          iCl California Funeral Services, lnc.               2OO E DUARTE ROAD             MONROVIA            I       Beck Redden
MARSH FUNERAL HOME                              iCl lllinois Seruices. lnc.                         305 N CEMETERY RD             r   U   RNEE                Beck Redden
:ASTLAND FUNERAL HOME & CREMATION SERVIC        ;CI  Tennessee Funeral Seruices, LLC                1150 DICKERSON ROAD           3OOD LETTSVILLE      N      Beck Redden
VIEMORY GARDENS EMBALMING                        ;Cl Texas Funeral 5eruices, LLC                    ]2OO OLD BROWNSVILLE ROAD     :ORPU5 CRISTI        x      Beck Redden
 UNERARIA DEL ANGEL SOUTH GATE                   iCl California Funeral Seruices. lnc.              ]665 CALIFORNIA AVE           iOUTH GATE          :A      Beck Redden
:OLORADO SPRINGS EMBALMING                      iCl Colorado Funeral Seruices, LLC                  3475 ASTROZON COURT           :OLORADO SPRINGS    to      Beck Redden
V]ANASOTA MEMORIAL EMBALMING                    SCI Funeral Seruices of Florida, LLC                1,221 53RD AVE EAST           ]RADENTON           :L      leck   Redden        x
/ARINGTONS/WHITE CENTER FUNERAL HOME            SCI Washinston Funeral Seruices. LLC                10708 1"6TH AVE SOUTHWEST     ;EATTLE                     leck   Redden        X
:OOK WALDEN EMBALMING                           SCI Texas Funeral Seruices. LLC                     ilOO NORTH LAMAR              \USTIN              TX      leck   Redden        x
)UATTLEBAUM FUNERAL CREMATION AND EVEN          scl Funeral Seruices of Florida, LLC                       PARKER AVE             /VEST PALM BEACH    FL      leck   Redden        X
 UNERARIA DEL ANGEL MARTIN CENTRAL              scl Texas Funeral Services, LLC                     '411 MONTANA AVE
                                                                                                    3839                              L PASO          TX      leck   Redden        X
)ELIA FUNERAL HOME                              SCI New Jersev    Funeral Services.     LLC         IOUTE 70 - VERMONT AVENUE     AKEWOOD             NJ      leck   Redden
{ATIONAL CREMATION AND BURIAL SOCIETY           SCI Funeral Services of Florida, LLC                13011 US HIGHWAY 19 NORTH     ]UDSON              FL      leck   Redden        X
{ASHVILLE CARE CENTER                           SCI Tennessee Funeral Services, LLC                 ;60 THOMPSON tN               \]ASHVILLE          TN      leck   Redden
IARDAGE-GIDDENS FUNERAL HOME                    SCI Funeral Seruices of Florida. LLC                729 SOUTH EDGEWOOD AVE        ACKSONVILLE         FL      leck   Redden
{ATIONAL CREMATION AND BURIAL SOCIETY           ;Cl Funeral Seruices of Florida, LLC                i940 ATLANTIC BLVD            ACKSONVILLE         FL      leck   Redden
}EACHES CHAPEL BY HARDAGE-GIDDENS               ;Cl Funeral   Seruices of Florida, LLC              1701 BEACH BLVD               ACKSONVILLE BEACH   FL      leck   Redden
JARDAGE-GIDDENS FUNERAL HOME                    SCI Funeral   Seruices of Florida. LLC              ;753 BLANDING BLVD            ACKSONVILLE         FL      leck   Redden
,lARDAGE,GIDDENS FUNERAL HOME                   ;Cl Funeral   Services of Florida, LLC               17 PARK STREET               ACKSONVI LLE        FL      leck   Redden
IARDAGE-GIDDENS FUNERAL HOME                    icl Funeral   Seruices of Florida, LLC              1115 HENDRICKS AVE            ACKSONVILLE         FL      leck   Redden
PENDRYS LENOIR FUNERAL HOME                     SCI   North Carolina Funeral Seruices,        LLC      WILKESBORO BLVD SE         .ENOIR              NC      leck Redden
MEMPHIS CREMATORY                               iCl Tennessee Funeral Seruices. LLC                 ,o
                                                                                                    '22 Box 17069                 V]EMPHIS            TN      leck Redden
SWAN-LAW FUNERAL DIRECTORS                      ;Cl Colorado Funeral Services. LLC                  501 NORTH CASCADE AVE         :OLORADO SPRING     :o      Beck Redden
                                                                                                                                  .ALLAHASSEE
CULLEYS    MEADOWWOOD FUNERAL HOME              ;Cl Funeral Seruices of Florida, LLC                1737 RIGGINS ROAD                                  L      Beck Redden
HAHN-COOK/STREET & DRAPER FUNERAL DIRECT        iCl Oklahoma Funeral Services lnc                   6600 BROADWAY EXTENSION       )KLAHOMA CITY       ]K      Beck Redden
:HAPEL OF THE CHIMES MORTUARY                   ;CI Arizona Funeral Seruices. LLC                   7924 NORTH 59TH AVE           JLENDALE                    Beck Redden
PARKLAWN.WOOD       FUNERAL HOME                ;Cl Virginia Funeral Services, lnc.                 2551 NORTH ARMI5TEAD AVE      ]AMPTON                     Beck Redden
H   M          & SON-ARLINGTON CHAPEI-
        PATTERSON                               ;Cl Georsia Funeral Services, LLC                   173 ALLEN ROAD NE             iANDY SPRINGS       3A      Beck Redden
FUNERARIA DEL ANGEL - MEMORIAL HOLLY            ;Cl Texas Funeral Services, LLC                     3442 HOLLY ROAD               :ORPU5 CHRISTI      rx      Beck Redden
HIBBETT    & HAILEY FUNERAL HOME                ;Cl Tennessee Funeral Services. LLC                 660 THOMPSON LN               NASHVI LLE          I'N     Beck Redden
TG      MCCARTHY FUNERAL HOME                   ;Cl Colorado Funeral Services, LLC                  329 GOODNIGHT AVE             PU EBLO             :o      Beck Redden
:ENTRAL VALLEY CREMATORY                        ;Cl California Funeral Seruices, lnc.               175 NORTH BROADWAY            FRESNO              :A      Beck Redden
]ISCH & SON5 FUNERAL HOME & CREMATORY           ;Cl lllinois Seruices, lnc.                         505 EAST ALLEN                SPRINGFIELD                 Beck Redden          x
]ARDAGE-GIDDENS FUNERAL HOME                    ;Cl Funeral Services of Florida. LLc                11,801 SAN JOSE BLVD          IACKSONVILLE        :t      Beck Redden          x
UNERARIA DEL ANGEL                              ;Cl Arizona Funeral 5eruices, LLC                   7 EAST UNIVERSITY BLVD        TUCSON              \Z      Beck Redden          x
MOORE FUNERAL HOME                              ;Cl Texas   Funeral Serulces,   LLC                 1219 NORTH DAVIS DRIVE        \RLINGTON           tx      Beck Redden          X
LINT CARE CENTER                                ;Cl Michisan Funeral Seruices lnc.                  11723 SOUTH SAGINAW STREET    SRAND BLANC         vll     Beck Redden          x
IERMITAGE FUNERAL HOME & MEMORIAL GARDEN        ;Cl Tennessee    Funeral Services,    LLC           PO BOX 757                    HERMITAGE            N      Beck Redden          x
                                             Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 46 of 80 PageID #:8285



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!ame/Address                                        \,lame/Address                                  Name/Address                         !itv              ;tate Firm {lf Providedl   lvlatched
\RCH L HEADY AT RESTHAVEN                           ;Cl Kentuckv Funeral Seruices. lnc.             44OO BARDSTOWN ROAD                  LOIJISVILLE       (Y      Beck Redden
;PARKMAN FUNERAL HOME & CREMATION SERVIC            iCl Texas Funeral Services, LLC                 ],029 SOUTH 6REENVILLE AVE           RICHARDSON        tx      Beck Redden
             & CREMATION SERVICE
r'i/HITE FUNERAL                                    ;Cl North Carolina Funeral Seruices, LLC        PO BOX 219 HIGHWAY 17                     PPLY         !c      Beck Redden
:HATTANOOGA FUNERAL HOME CREMATORY & FL             ;Cl   Tennessee Funeral 5ervices,   LLC         404 SOUTH MOORE ROAD                 'U
                                                                                                                                         EAST RIDGE        IN      Beck Redden        X
MT MORIAH NEWCOMER AND FREEMAN FUNERAL              ;Cl Missouri Funeral Seryices lnc.              10507 HOLMES ROAD                    KANSAS CITY       vto     Beck Redden        X
)FS CREMATORY                                       Jniseruice Corporation                          4733 NE THOMPSON ST                  PORTLAND          )R      Beck Redden        x
)IGNITY MEMORIAL FUNERAL & CREMATION SER            ;Cl Funeral Services of Florida, LLC            i7O1 WEST COMMERCIAL BLVD            TAMARAC           :I      Beck Redden        x
)LINGER CROWN HILL MORTUARY & CEMETERY              ;Cl Colorado Funeral seruices. LLc              7777 WEST 29rH AVE                   r'UHEAT RIDGE     :o      Beck Redden        x
SREEN ACRES MEMORIAL PARK       & MORTUARY          ;Cl California Funeral Services, lnc.           11715 CEDAR AVE                      BLOOMINGTON               Beck Redden        x
,ATIENCE.MONTGOMERY        FUNERAL HOME             ;Cl Michisan Funeral Seruices lnc.              PO BOX 1407                          JACKSON           vll     Beck Redden        x
(RIEGSHAUSER       MORTUARY-WEST CHAPEL             ;Cl Missouri Funeral Seruices lnc.              )450 OLIVE BLVD                       T   LOUIS        vlo     Beck Redden        x
\CHESON & GRAHAM GARDEN OF PRAYER MORTUA            ;CI California Funeral 5eruices, lnc.           7944 MAGNOLIA AVE                    RIVERSIDE                 Beck Redden        x
VIONTECITO MEMORIAL PARK AND MORTUARY               iCl California Funeral Seruices, lnc.           3520 E WASHINGTON ST                 :OLTON                    Beck Redden        x
TEYERS    NORTH VALLEY CHAPEL                       ;Cl MichiPan Funeral Seruices lnc.              1815 FULLER AVE NE                   SRAND RAPIDS              Beck Redden        x
THORNHILL VALLEY CHAPEL                             ;Cl Washington Funeral 5ervices, LLC            14OO SOUTH PINES ROAD                ;POKANE VALLEY            Beck Redden        X
:HAS J BURDEN & SON FUNERAL HOME                    ;Cl Michisan Funeral Seruices lnc.              PO BOX 1407                          ACKSON            v'l I   Beck Redden        x
V]ALEC & SONS FUNERAL HOME                          iCl lllinois 5eruices, lnc.                     ,OOO   NORTH MILWAUKEE AVE           :HICAGO                   Beck Redden        x
V]ETCALF FUNERAL DIRECTORS                          iCl Texas Funeral Services. LLC                                                                        -X
                                                                                                    1801 EAST WHITE OAK TERRACE          :ONROE                    Beck Redden        X
;HADOW MOUNTAIN MORTUARY                            icl Arizona Funeral Seruices, LLC               2350 EAST GREENWAY ROAD              ,HOENIX           \z      Beck Redden        x
JREENWOOD/MEMORY          LAWN MORTUARY             ;Cl Arizona Funeral 5eruices, LLC               719 NORTH 27TH AVE                   )HOENIX           \z      Beck Redden        x
AKESHORE MORTUARY                                   ;Cl Arizona Funeral Seruices. LLC               1815 SOUTH DOBSON ROAD               MESA              \z      Beck Redden        x
,ATH FOLEY&COMPANY                                  ;Cl Texas   Funeral Services, LLC               ],200 WESI 34TH STREET               'iOUSTON          -x
                                                                                                                                                                   leck   Redden      X
:HATTANOOGA SERVICE CENTER                          ;Cl Tennessee Funeral Seruices, LLC              )o Box 9                            ltxsoN             N      leck   Redden      x
:AROLINA CREMATION SERVICE                          ;Cl North Carolina Funeral Seruices,      LLC   }OO   SAINT MARYS STREET             TALEIGH           ,lC     leck   Redden      X
V]ONTCLAIR-LUCANIA FUNERAL HOME                     ;Cl lllinois Services. lnc.                            WEST BELMONT AVE              :HtcA60                   leck   Redden
;KYLINE MEMORIAL GARDENS FUNERAL HOME               ;Cl Oreson Funeral Seruices lnc                 '901
                                                                                                    I1O1 NW   SKYLINE BLVD               ,ORTLAND          )R      ]eck Redden
iILLCREST MEMORIAL PARK AND MORTUARY                ;Cl California Funeral Seruices, lnc             )101 KERN CANYON ROAD               ]AKE RSFIELD      :A      leck   Redden      x
VIISH FUNERAL HOME      & CREMAIORY                 ;Cl California Funeral Services. lnc-           ],20 MINNER AVE                      ]AKERSFIELD       ]A      leck   Redden
)ELAWARE VALLEY CREMATORY                           Um. Rowen Grant Funeral Home lnc.               i59   STREET ROAD                    ;OUTHAMPTON       )A      leck   Redden
]ULLEYS   MEADOWWOOD FUNERAL HOME                   ;Cl Funeral Seruices of Florida, LLC            1737 RIGGINS      RD                 TALLAHASSE    E   :L      leck   Redden
iVM H     SCOTT FUNERAL HOME                        tCl lllinois 5eruices. lnc.                     11OO GREENLEAF AVE                   /VILMETTE                 leck   Redden
!4lLLER MEMORIAL CHAPEL     & CREMATORY             SCI California Funeral Seryices, lnc.           1120 WEST GOSHEN AVE                 /ISALIA           :A      leck   Redden
V]CEWEN FUNERAL SERVICE.MINT HILL CHAPEL            SCI North Carolina Funeral Seruices,      LLC   I428 MATTHEWS.MINT       HILL ROAD   ]HARLOTTE         NC      leck   Redden
Y]CEWEN FUNERAL SERVICE.DERITA     CHAPET           SCI North Carolina Funeral Seruices.      LLC   i3OO MALLARD CREEK ROAD              ]HARLOTTE         NC      ]eck Redden
.I5LE FUNERAL HOME                                  ;Cl California Funeral Services. lnc.           1605   L STREET                      :RE5NO            :A      leck Redden
}OICE FUNERAL HOME                                  iCl California Funeral Services, lnc.           308 POLLASKY AVE                     :LOVIS            :A      leck Redden
:RISBIE WARREN      & CARROLL MORTUARY              icl California Funeral 5eryices, lnc            }09 NORTH CALIFORNIA                 ;TOCKTON                  ]eck Redden
.IMA FAMILY ERICKSON MEMORIAL CHAPEL                SCI California Funeral 5eruices, lnc,           I10 WILLOW STREET                           JOSE       :A      leck Redden
,IMA FAMILY SANTA CLARA MORTUARY                    icl California Funeral Services. lnc.           166 NORTH WINCHESTER BLVD            'AN   CTARA       :A      leck Redden
 IMA FAMILY MILPITAS.FREMONT MORTUARY               icl California Funeral Seryices, lnc,           I88OO   WARM SPRING5 BLVD            'ANTA
                                                                                                                                         FREMONT           :A      ]eck Redden
lARDAGE.GIDDENS RIVERMEAD FUNERAL HOME              ;Cl Funeral Seruices of Florida, LLC            27 BLANDING BLVD                     ORANGE PARK       FL      leck Redden
)AK HILL FUNERAL HOME & MEMORIAL PARK               ;Cl California Funeral Seruices, lnc.           }OO CURTNER AVE                      SAN JOSE          :A      leck Redden
;REENWOOD MEMORIAL PARK FUNERAL HOME                ;Cl Washington Funeral seruices, LLC            }50 MONROE AVE NE                    RENTON                    leck Redden
r']CDONALDS CHAPEL                                  ;Cl California Funeral 5eruices, lnc.            275 CONTINENTAL STREET              REDDING           :A      ]eck Redden
AWNCREST CHAPEI.                                    iCl California Funeral Services, lnc.           1522 EAST CYPRESS AVE                REDDING                   leck   Redden
/]CDONALDS CHAPEL                                   ;Cl California Funeral 5eruices. lnc.           )o Box 1148                          BU RNEY           :A      !eck   Redden
\EW BRITAIN MEMORIAL-SAGARINO FUNERAL HO            ;Cl Connecticut Funeral Seruices, LLC           I44 FARMINGTON AVE                   NEW BRITAIN       :T      leck   Redden
:OREST PARK LAWNDALE FUNERAL HOME                   ;Cl Texas Funeral Seruices, LLC                 ;9OO LAWNDALE STREET                 HOUSTON           TX      leck   Redden
FOREST PARK WESTHEIMER FUNERAL HOME                 ;Cl Texas Funeral Seruices, LLC                 28OO WESTHEIMER ROAD                 HOUSTON           TX      ieck Redden
FUNERARIA DEL ANGEL                                 iCl Texas Funeral Services. LLC                 ;49 CHEYENNE                         CORPUS CHRISTI    rX      leck Redden
FOUNTAINHEAD CREMATORY                              ;Cl Funeral Seruices of Florida, LLC             359 BABCOCK STREET      SE          PALM BAY          :L      ieck Redden
                                            Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 47 of 80 PageID #:8286



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{ame/Address                                        rlame/Address                                 {ame/Address                       :iry                ;tate    irm (lf Provided)   Matched
:YPRESS FUNERAL HOME                                ;Cl lllinois Seruices, lnc.                   1698 NORTH BLOOMINGDALE ROAD       JLENDALE HEIGHTS            leck Redden
\NKENY FUNERAL HOME & CREMATORY                    ;Cl lowa Funeral Seruices lnc.                 1,510 WEST FIRST STREET            \NKENY                      leck Redden
\LEXANDER - WHITE. MULLEN FUNERAL HOME             ;Cl Missouri Funeral Seruices lnc.             1.1101 SAINT CHARLES ROCK ROAD     ;T ANN              r'lo    leck Redden          X
VICGILLEY & GEORGE FUNERAL HOME AND CREMA          SCI Missouri Funeral Seruices lnc.             12913 GRANDVIEW ROAD               SRANDVIEW          vro      leck Redden
V]CGILLEY & GEORGE FUNERAL HOME AND CREMA          SCI   Missouri Funeral Seruices lnc.           12913 GRANDVIEW ROAD               JRANDVIEW          MO       leck Redden
V]CGILLEY MEMORIAL CHAPEL.MIDTOWN                  icl Missouri Funeral Seruices    lnc.          IO WEST LINWOOD BLVD               (ANsAS CITY        MO       leck Redden
Y]CGILLEY ANTIOCH CHAPET                           SCI Missouri Funeral Services lnc.             }325 NORTHEAST VIVION ROAD         (ANSAS CITY        MO       leck Redden          X
        & HOGE JOHNSON COUNTY MEMORIAL
,/ICGILLEY                                         iCl Kansas Funeral Seruices lnc.               }024 SANTA FE DRIVE                ]VERLAND PARK      KS       leck Redden
}OUTON & REYNOTDS FUNERAL HOME                     iCl Connecticut Funeral Services, LLC          I9OO SUMMER STREET                 iTAMFORD           :T       leck Redden
:EENEY-HORNAK SHADELAND MORTUARY                   iCl Indiana Funeral Services, lnc.              307 NORTH SHADELAND AVE           NDIANAPOLIS        IN       leck Redden
:EENEY.HORNAK KEYSTONE MORTUARY                    ;Cl lndiana Funeral Services, lnc.             I126 EAST 71ST STREET              NDIANAPOLIS        IN       ]eck Redden
ilELCHER MISSION MORTUARY & CREMATORY              icl Arizona Funeral Seruices. LLc                     E   MAIN 5T                 MESA                        leck Redden
 ANSAS CITY CENTRAL SERVICES                       iCl Missouri Funeral Seruices lnc              '525
                                                                                                  LO5O7 HOLMES         ROAD          KANSAS CITY        MO       ]eck Redden
}ROOKSIDE FUNERAL HOME-CYPRESS     CREEK           ;Cl Texas Funeral Seruices, LLC                )149 HIGHWAY 6 NORTH               HOUSTON            TX       ]eck Redden
IRANTLEY FUNERAL HOME                              ;Cl Mississippi Funeral Services. LLC          ,o Box 428                         OLIVE BRANCH       vl5      !eck Redden
r']CCRACKEN FUNERAL HON4E                          ;Cl New Jersey Funeral Services, LLC            5OO MORRIS AVE                    UNION              \tl      leck   Redden
]ARDAGE.GIDDENS TOWN & COUNTRY FUNERAL H           icl Funeral Services of Florida,   LLC          242 NORMANDY BLVD                 JACKSONVILLE        L       ]eck   Redden
VlARTIN MORTUARY                                   ;Cl Colorado Funeral Seruices, LLC             ;50 NORTH AVE                      GRAND JUNCTION     :o       ]eck   Redden
)ENVER MORTUARY SERVICE                            ;Cl Colorado Funeral Services. LLC             ,o Box 267                         WHEAT RIDGE        :o       ieck   Redden
)LINGER HIGHLAND MORTUARY & CEMETERY               ;Cl Colorado Funeral 5eruices, LLC              O201 NORTH GRANT STREET           THORNTON           :o       jeck   Redden
)LINGER CHAPEL HILL MORTUARY & CEMETERY            ;Cl Colorado Funeral 5eruices,     LC          ;601 SOUTH COLORADO BLVD           :ENTENNIAL         :o       3eck Redden
MEMORIAL GARDENS CEMETERY & FUNERAL HOME           iCl Colorado Funeral Seryices.     LC          }825 AIRPORT ROAD                  :OLORADO SPRING    :o       Beck Redden
:RIST MORTUARY                                     ;Cl Colorado Funeral Seruices, LLC             3395 PENROSE PLACE                 BO U LDER          :o       Beck Redden
\DRIAN-COMER GARDEN CHAPEL                         ;Cl Colorado Funeral Seruices,     LC          2710 NORTH ELIZABETH STREET        PUEBLO             :o       Beck Redden
\JORTH JERSEY PERSONAL CARE CENTER                 ;Cl New Jersey Funeral seruices, LLC           15OO MORRIS AVE                    UNION              !l       Beck Redden
:ABALLERO RIVERO SOUTHERN                          ;Cl Funeral services of Florida, LLc           15011 WEST DIXIE HIGHWAY           NORTH MIAMI        :I       Beck Redden
]LAKE.LAMB FUNERAL HOME/1O3RD                      iCl lllinois Services, lnc.                    1727 WEST 1O3RD STREET             )AK LAWN                    Beck Redden
]LAKE-LAMB FUNERAT HOME                            ;Cl lllinois Services. lnc.                    iO].5 LINCOLN AVE                  -I5LE                       Beck Redden
rE   HlxsoN&50Ns                                    iCl Louisiana Funeral Seruices, lnc,          3OO1 RYAN STREET                   .AKE CHARLES                Beck Redden
lrxsoN wELsH                                       iCl Louisiana Funeral Seruices, lnc.            12 EAST SOUTH STREET              /VELSH                      Beck Redden          X
lIXSON-SULPHUR MEMORIAL FUNERAL HOME               SCI Louisiana Funeral Seruices. lnc.           2051. EAST NAPOLEON STREET         ;ULPH UR           LA       leck   Redden        X
}ASTIAN AND PERROTT OSWALD MORTUARY                SCI California Funeral Seruices, lnc.          1.8728 PARTHENIA STREET            \]ORTHRIDGE        CA       leck   Redden        x
JREEN STREET MORTUARY                              SCI California Funeral 5eruices, lnc.          i49   GREEN STREET                 ;AN FRANCISCO      CA       leck   Redden        X
IIXSON MOSS BLUFF                                  SCI Louisiana Funeral Seruices, lnc.           }OO1 RYAN STREET                   AKE CHARLES        LA       leck   Redden        x
IIXSON WEsTLAKE                                    SCI Louisiana Funeral Services, lnc.           3OO1 RYAN STREET                   .AKE CHARLES       LA       leck   Redden
lIXSON FUNERAL HOME-VINTON                         SCI Louisiana Funeral Services. lnc,           IO51 EAST NAPOLEON                 ;ULPHUR            LA       leck   Redden        x
:RANK VOGLER & SONS CREMATORY                      SCI North Carolina Funeral Seruices, LLC       ,o Box 540                         :LEMMONS           NC       leck   Redden
]HAPEL OF THE HILLS                                SCI California Funeral Seruices, lnc           1331 LINCOLN WAY                   \UBURN             CA       leck   Redden
/ENTURA CREMATORY                                  SCI California Funeral Seruices. lnc.          }150 LOMA VISTA ROAD               /ENTURA            CA       leck   Redden
 REAsURE COAST CCC                                 ;Cl Funeral Seruices of Florida, LLC           ;05 SOUTH FEDERAL HIGHWAY          ;TUART             FL       ]eck Redden          x
)AK LAWN FUNERAL HOME                              iCl Funeral Seruices of Florida, LLC           i19 NEW WARR'NGTON          ROAD   ,ENSACOLA          FL       leck   Redden
VlILLER-WOODLAWN FLJNERAL HOME                     ;Cl Washineton Funeral Seruices. LLC           ;505 KITSAP WAY                    ]REMERTON                   leck   Redden
 WAN FUNERAL HOME                                  ;Cl Connecticut Funeral Services. LLC          }O EAST    MAIN STREE]             :LINTON            :T       leck   Redden
SOUTH IAWN EMBALMING                               ;Cl Arizona Funeral Services, LLC               401 SOUTH PARK AVE                 UCSON                      leck   Redden
BOSAK-TALBOYS   FUNERAL HOME                       ;Cl Connecticut Funeral Services, LLC          I9OO SUMMER STREET                 ;TAMFORD           :T       ]eck Redden
GLASTONBURY FUNERAL HOME                           ;Cl Connecticut Funeral Seruices, LLC           50 NEW LONDON TURNPIKE            iLASTONBURY        :T       leck Redden
BORTHWICK KAUAI MORTUARY & CREMATORY               lawaiian Memorial Life Plan Ltd.               3168 POIPU ROAD                    (OLOA              HI       Beck Redden
RIVERSIDE MEMORIAL CHAPELS OF NEW JERSEY           ;Cl New Jersey Funeral seruices, LLC           402 PARK sTREET                    ,]ACKENSACK        \]J      Beck Redden
BORTHWICK MORTUARY & CREMATORY                     lawaiian Memorial Life Plan Ltd.               1330 MAUNAKEA STREET               IONOLULU           {        Beck Redden
:AROLINA CREMATION SERVICE                         ;Cl North Carolina Funeral Services. LLC       522 WILKESBORO BLVD SE             .ENOIR             !c       Beck Redden
MCEWEN FUNERAL SERVICE-PINEVILLE   CHAPEL          icl North Carolina Funeral Services,     LLC   1O5OO PARK ROAD                    ]HARLOTTE          \lC      Beck Redden
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!ame/Address                                     Name/Address                                                      !ame/Address                        -try               State   :irm (lf Provided)   Matched
JREENOAKS FUNERAL HOME                           SCI   Louisiana Funeral Seruices, lnc.                            )595 FLORIDA BLVD                   ]ATON ROUGE        LA      leck Redden
\4EMORIAL OAKS FUNERAL HOME                      5Cl Texas Funeral Seruices, LLC                                   13001 KATY FWY                      ..tousToN          TX      leck Redden          x
:HAPEL HILLGARDENS WEST FUNERAL HOME             SCI   lllinois 5eruices. lnc.                                     17W201 ROOSEVELT ROAD               ]AKBROOK TERRACE   IL      ieck Redden          x
\LEXANDER FUNERAL HOME-NORTH CHAPET              scl lndiana Funeral Seruices, lnc                                 12OO   STRINGTOWN ROAD              :VANSVILLE         IN      leck Redden
:HAPEL HILL GARDENS SOUTH FUNERAL HOME           scl lllinois Seruices, lnc.                                       11333 SOUTH CENTRAL AVE             ]AK LAWN           IL      ieck Redden          x
,ARY L KAUFMAN FUNERAL HOME AT IV]EADOWRI        3aru L. Kaufman Funeral Home at Meadowridee Memorial Park. lnc.   7250 WASHINGTON BLVD                 LKRIDGE           MD      ]eck Redden          x
;WAN FUNERAL HOME                                SCI Connecticut Funeral Seruices, LLC                             ]O EAST MAIN STREET                 :LINTON            CT      leck   Redden
;WAN FUNERAL HOME                                5Cl Connecticut Funeral Seruices, LLC                             ,O EAST MAIN STREET                 ]LINTON            CT      leck   Redden
\LEXANDER FUNERAL HOME.EAST CHAPEL               scl lndiana Funeral Seruices. lnc.                                 115 LINCOLN AVE                     VANSVILLE         IN      leck   Redden        x
\LEXANDER FUNERAL HOME-WEST CHAPEL               SCI   lndiana Funeral Seruices. lnc.                              IlOO WEST ILLINOIS STREET            VANSVILLE         IN      leck   Redden
\LEXANDER FUNERAL HOME-NEWBURGH CHAPEL           SCI lndiana Funeral Seruices, lnc.                                       STATE ROAD   26].            !EWBURGH           IN      leck   Redden
{ATIONAL FUNERAL HOME & CREMATORY                SCI VirEinia Funeral Services. lnc.                               '333
                                                                                                                   7482   LEE   HIGHWAY                 ALLS CHURCH               leck   Redden        X
]ARRYA NAUMAN&SON                                SCI California Funeral Seruices. lnc.                             1041 FREEPORT.BLVD                  iACRAMENTO         CA      leck   Redden
:ULTON.THEROUX FUNERAL SERVICE                   SCI Connecticut Funeral Services, LLC                                                                 \lEW LONDoN
                                                                                                                   181 OCEAN AVE                                          CT      leck   Redden
:ULTON-THEROUX FUNERAL SERVICT                   SCI Connecticut Funeral Services, LLC                                                                 \lEW LONDON
                                                                                                                   181 OCEAN AVE                                          CT      leck   Redden        X
:ULTON-THEROUX FUNERAL SERVICE                   SCI Connecticut Funeral Seruices. LLC                             181 OCEAN AVE                       {EW LONDON         CT      leck   Redden
\,lATloNAL CREMATION AND BURIAL SOCIETY          ;Cl Funeral Seruices of Florida, LLC                              1032 NORTH DIXIE HIGHWAY            AKE WORTH          FL      leck   Redden
 J   MORRIS FUNERAL DIRECTORS                    ;Cl Funeral Services of Florida, LLC                              ;411 OKEECHOBEE BLVD                A/EST PALM BEACH   FL      leck   Redden
 HE COLUMBUS CREMATORY                           SCI lndiana Funeral Seruices. lnc.                                tO22 PEARL STREET                   ]OLUMBUS           IN      leck   Redden
IIVER VIEW CREMATORY                             ;CI Connecticut Funeral 5eruices, LLC                              224 BOSTON POST ROAD               )LD SAYBROOK        T      leck   Redden
NATIONAL CREMATION AND BURIAL SOCIETY            ;Cl Funeral Seruices of Florida, LLC                              ;641 HIGHWAY 90 WEST                VlILTON            FL      ]eck Redden
FAMILY FUNERAL CARE                              SCI Utah Funeral Seruices lnc.                                    t3001 souTH 3600 wEsr               TIVERTON           UT      ]eck Redden
NATIONAL CREMATION SERVICE                       iCl Connecticut Funeral Seruices. LLc                             I44 FARMINGTON AVE                                     :T      ]eck Redden
                                                                                                                                                       'lEW BRITAIN
STEVENS MEMORIAL CHAPEL                          ;Cl lowa Funeral Seruices lnc.                                    ;07 28TH STREET                     \MES               IA      Beck Redden
FOREST PARK EAST FUNERAL HOME                    ;Cl Texas Funeral 5ervices, LLC                                   21620 GULF FWY                      A/EBSTER           TX      Beck Redden
GOLD COAST CREMATORY                             ;Cl Funeral Seruices of Florida. LLC                              /96 NORTHWEST 57TH         STREET   :ORT LAUDERDALE    FL      Beck Redden
ADVANTAGE FUNERAL HOME AND CREMATION SER         iCl Georgia Funeral Seruices, LLC                                 5OO HARBINS ROAD                    .ILBURN            3A      Beck Redden
ADVANTAGE FUNERAL AND CREMATION SERVICES         ;Cl Arizona Funeral Seruices, LLC                                 6901 WEST INDIAN SCHOOL ROAD        )HOENIX            \z      Beck Redden
BROOKSIDE FUNERAL HOME - CHAMPIONS               iCl Texas Funeral 5ervices, LLC                                   3410 FM 1960 WEST                   IOUSTON            TX      Beck Redden
HARRY   & BRYANT FUNERAL HOME                    ;Cl North Carolina Funeral Seruices. LLC                          5OO PROVIDENCE ROAD                 :HARLOTTE          !c      Beck Redden
ELLIOTT SONS FUNERAL HOME                        ;Cl Georgia Funeral Seruices, LLC                                 4255 COLUMBIA ROAD                  r'IARTIN EZ        3A      Beck Redden
BERRY LYNNHURsT FUNERAL HOME                     iCl Tennessee Funeral Seruices, LLC                               23OO WEST ADAIR DRIVE                NOXVILLE          TN      Beck Redden
/UHITE CHAPEL.GREENWOOD FUNERAL HOME             ;Cl Alabama Funeral seruices. LLC                                 909 TINCOLN ROAD                    V]ONTGOMERY        \L      Beck Redden
MARTIN FUNERAL HOME                              ;Cl Texas Funeral Seruices, LLC                                   128 NORTH RESLER DRIVE              :L PASO            tx      Beck Redden
PIXLEY FUNERAL HOME                              ;Cl Michisan Funeral Seruices lnc.                                322 WEST UNIVERSITY DRIVE           ROCHESTER          vil     Beck Redden
PIXLEY FUNERAL HOME GODHARDT-TOMLINSON     C     ;Cl Michisan Funeral Seruices lnc.                                2904 ORCHARD LAKE                   KEEGO HARBOR       vil     Beck Redden          x
MANASOTA CREMATORY                               icl Funeral Seruices of Florida.      LLC                         1221 53RD AVE EAST                  BRADENTON          :L      Beck Redden          x
ITTLE   & SONS EMBALMING CENTER                  iCl lndiana Funeral Services, lnc,                                T9O1 EAST STOP ELEVEN ROAD          INDIANAPOLIS       N       Beck Redden          x
ORT WAYNE PERSONAL CARE CENTER                   ;CI lndiana Funeral Services, lnc                                 2307   WMAIN STREET                 FORT WAYNE         N       Beck Redden          x
!ATIONAL CREMATION SERVICE                       ;Cl TexasFuneral Services, LLC                                    54OO HIGHWAY 6 NORTH                HOU5TON             x      Beck Redden          x
AKELAND CREMATORY                                iCl Funeral Services of Florida. LLC                              2196 K-VILLE AVE                    \U BURNDALE        :t      Beck Redden          x
VICGILLEY MEMORIAL CHAPEL                        ;Cl Missouri Funeral Services lnc.                                12301 STATE LINE ROAD               KANSAS CITY        vlo     Beck Redden          x
lATIONAL CREMATION SERVICE                       ;Cl Funeral Seruices of New'York, lnc.                            32-19 NORTHERN BLVD                 JACKSON HEIGHTS    {Y      Beck Redden          x
lATIONAL   CREMATION AND BURIAL SOCIETY          ;Cl Funeral Seruices of Florida. LLC                              I99O BEE RIDGE ROAD                 SARASOTA           :L      Beck Redden          x
lATIONAL   CREMATION SOCIETY                     ;Cl Funeral Services of Florida, LLC                              1945 EAST BAY DRIVE                 :LEARWATER         :L      Beck Redden          x
IATIONAL   CREMATION SOCIETY                     icl Funeral Services of Florida,      LLC                         2525.8 TAMIAMITRAIL                 )ORT CHARLOTTE             leck   Redden        x
IATIONAL   CREMATION SERVICE RIVERSIDE           ;Cl California Funeral Services, lnc.                                    BROCKTON AVE                 TIVERSIDE                  leck   Redden        x
\4EMPH15 FUNERAL HOME FLORIST                    ;Cl Tennessee Funeral Seruices. LLC                               '955Box
                                                                                                                   )o                                                     .N
                                                                                                                              17069                    VIEMPHIS                   leck   Redden        x
LORAL SERVICE INTERNATIONAL                      ;Cl Tennessee Funeral Services, LLC                               i6O THOMPSON LN                     lASHVILLE           N      leck   Redden        X
iIXSON FLOWER SHOP                               icl Louisiana Funeral Seruices, lnc.                              109 BRYAN STREET                    iULPH UR                   leck   Redden        X
;UNSET FLOWER SHOP                               ;Cl Texas   Funeral 5eruices.                                     1701 AUSTIN HIGHWAY                                    -X
                                                                                 LLC                                                                   ;AN ANTONIO                leck   Redden        x
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!ame/Address                                        Name/Address                               {ame/Address                     :iw                 State   :irm llf Providedl
:HATTANOOGA FUNERAL HOME FLORIST                    5Cl Tennessee Funeral Seruices, LLC        ,O BOX 9                         {xsoN               TN      ieck Redden          X
,IERCE FLORIST                                          California Funeral Seruices. lnc.
                                                    SCI                                        10521 VICTORY BLVD               {ORTH HOLLYWOOD     CA      leck Redden
,IERCE FLORIST CRESTLAWN                            scl California Funeral Services, lnc       11500 ARLINGTON AVE              tIVE RSIDE          CA      leck Redden
{ICKERSON.BOURNE FUNERAL HOME SANDWICH          (   (evstone America, lnc                      154 ROUTE 6A                     ;ANDWICH            MA      leck Redden
,IEPTUNE SOCIETY SOUTH SEATTLE                      \,leDtune Manasement CorD.                 ]730 S PINE   ST                 TACOMA                      leck Redden
{EPTUNE SOCIETY . PHOENIX                           \,leptune Management Corp.                 1634 S PRIEST DRIVE              I'E IVI   PE        AZ      leck Redden
{EPTUNE SOCIETY - TUCSON                            \eptune lvlanaqement Corp                  103 W GRANT RD                   TUCSON                      leck Redden
{EPTUNE sOCIETY WEST COVINA (L)                     !eptune lManagement Corp.                  163 N AZUSA AVE                  A/EST COVINA        :A      leck Redden
 RIDENT SOCIETY - SACRAMENTO                        Trident Societv. lnc.                      )650 FAIRWAY DRIVE #120          TOSEVILLE           :A      leck Redden
 RIDENT SOCIETY - RANCHO MIRAGE                     Trident Society, lnc.                      72-116 HTGHWAY 111               TANCHO MIRAGE               leck Redden
-RIDENT
        SOCIETY. SAN DIEGO                          Trident Society, lnc                       )242 MIRAMAR ROAD S35 AND 37     ;AN DIEGO           :A      leck Redden
.RIDENT
        SOCIETY SAN JOSE                            frident Societv. lnc.                      IO55 MOWRY AVENUE                :REMONT                     leck Redden
TRIDENT SOCIETY   . WALNUT CREEK                    frident Societv. lnc.                      L62O TICE VALLEY BLVD            A/ALNUT CREEK       :A      leck Redden
NATIONAL CREMATION AND BLIRIAL SOCIETY SA           NCS    MarketinA Seruices,   LLC           2990 BEE RIDGE ROAD              ;AHAST]        IA   FL      leck Redden
NATIONAL CREMATION SOCIEW CLEARWATER                !CS Marketins Seruices. LLC                4945 EAST BAY DRIVE              ]LEARWATER          FL      Beck Redden
BALTIMORE NORTH PERSONAL CARE CENTER                ;Cl Maryland Funeral Seruices, lnc.        610 W MACPHAIL RD                }EL AIR             VID     Beck Redden
ALAMEDA CREMATIONS                                  iCl California Funeral Services, lnc.      29OO MAIN ST                     \LAMEDA             :A      Beck Redden
NEPTUNE SOCIETY - MILWAUKEE                         !eDtune Manasement Coro.                   1560 E MORELAND BLVD $C          A/AUKESHA                   Beck Redden
NEPTUNE SOCIETY - INDIANAPOLIS                      !eptune Management Corp.                   4825 EAST 96TH STREET             NDIANAPOLIS        N       Beck Redden
NEPTUNE SALES _ SOUTH WASHINGTON                    !eptune Manaaement Corp                    17819 NE RIVERSIDE PKWY          )ORTLAND            ]R      Beck Redden
FUNERAL HOME ADJUSTMENTS                            ;Cl Manasement L.P                         PO BOX    130548                 {OUSTON             rx      Beck Redden
\RCH L HEADY & SON ADMINISTRATION OFFIC             ;Cl Kentuckv Funeral Services. lnc.        1201 EAST OAK STREET             LOU ISVILLE         (Y      Beck Redden
KATY FUNERAL HOME                                   ;Cl Texas Funeral Seruices, LLC            23350 KINGSLAND BLVD             KATY                tx      Beck Redden          x
NATIONAL CREMATION SERVICE                          ;Cl North Carolina Funeral Seruices, LLC   716 WEST NORTH STREET            RALEIGH             {c      Beck Redden          x
:HATTANOOGA CREMATORY                               ;Cl Tennessee Funeral Seruices. LLC        PO BOX 9                         HtxsoN              TN      Beck Redden          x
EMMON FUNERAL HOME OF DULANEY VALLEY IN              emmon Funeral Home of Dulaney Valley ln   10 WEST PADONIA ROAD             I'IMONIUM           VID     Beck Redden          x
JRAND PRAIRIE FUNERAL HOME                          ;Cl Texas Funeral Services, LLC            733 DALWORTH STREET              J^RAND PRAIRIE      tx      Beck Redden          x
\DVANTAGE FUNERAL & CREMATION sERVICES              ;Cl lndiana Funeral Seruices, lnc.         2403 EAST WALLEN ROAD            FORT WAYNE          N       Beck Redden          x
UNERARIA DEL ANGEI.                                 ;Cl Texas Funeral services. LLC            3611 N TAYLOR RD                 \4 tsstoN           TX      Beck Redden          x
\DVANTAGE FUNERAL AND CREMATION SERVICES            ;Cl Kansas Funeral Seruices lnc.           1408 WEST CENTRAL                r'flcHtTA           (s      Beck Redden          x
iUNNY LANE FUNERAL HOME                             iCl Oklahoma Funeral Seruices lnc.         1OOO SE   29TH STREET            )EL CITY            )K      leck   Redden        X
:HAPEL HILL - BUTLER FUNERAL HOME                   icl Kansas Funeral Services lnc.           701 NORTH 94TH STREET            (ANsAS CITY         (5      leck   Redden
]UINN HOPPING FUNERAL HOME                          ;Cl New Jersey Funeral Seruices, LLC       ],45 EAST MOUNT PLEASANT AVE      IVINGSTON            I     leck   Redden        x
]UINN HOPPING FUNERAL HOME                          iCl New Jersev Funeral Seruices. LLC       16 MULE ROAD                     IOMS RIVER            I     ieck   Redden        X
IEARY QUINN FUNERAL HOME                            iCl New Jersev Funeral Seruices. LLC       39 SOUTH STREET                  VIANASQUAN            l     leck   Redden
V]ACK MEMORIAL HOME                                 ;Cl New Jersev Funeral Services. LLC       1245 PATERSON PLANK ROAD         ;ECAUCUS                    leck   Redden
                                                                                                                                                    'lJ
]ECKER FUNERAL HOME                                 ;Cl New Jersey Funeral Seruices, LLC       219 KINDERKAMACK ROAD            /VESTWOOD             t     ieck   Redden        X
THOS L SHINN FUNERAL HOME                           ;Cl New Jersey Funeral Seruices, LLC       10 HILLIARD DRIVE                V]ANAHAWKIN           J     leck   Redden        X
JOBLE FUNERAL HOME                                  ;Cl New Jersev Funeral Seruices. LLC       12 MAIN STREET                   iPARTA              {J      leck   Redden
:VER REST FUNERAL HOME AND CREMATION CHA            ;Cl   Michisan Funeral Seryices lnc.       1783 EAST KEATING AVE            V]USKEGON           r'll    leck   Redden
:UNERARIA DEL ANGEL KASTER-MAXON & FUTRE            iCl Texas Funeral Seruices, LLC            }817 DYER                         L PASO             IX      leck   Redden
TRAMMIER.OBERLE FUNERAL HOME                        SCI Texas Funeral 5eruices, LLC            t841 3gTH STREET                 ,ORT ARTHUR         IX      leck   Redden
IILL CREST MEMORIAL FUNERAL HOME                    ;Cl Louisiana Funeral Seruices. lnc.       iO1 U5 HIGHWAY 80 EAST           IAUGHTON            LA      leck   Redden
:ENTURIES MEMORIAL FUNERAL HOME                     ;Cl Louisiana Funeral Seruices, lnc.       }801 MANSFIELD ROAD              ;H REVEPORT         LA      leck   Redden
 L   MOORE-GRIMSHAW MORTUARIES BETHANY      C       tCl Arizona Funeral Services, LLC          /10 WEST EETHANY HOME ROAD       )HOENIX                     leck   Redden
/ALLEY OF THE SUN MORTUARY & CEMETERY               icl Arizona Funeral Services, LLC          10940 EAST CHANDLER HEIGHTS RD   ]HAN DLER                   leck   Redden
;EATTLE CARE CENTER                                 Uniseruice CorDoration                     14951 BOTHELL WAY NE             ;EATTLE                     leck   Redden
:LTON BLACK & SON FUNERAL HOME                      icl Michigan Funeral Seryices lnc          1233 UNION LAKE RD               MHITE LAKE          MI      ]eck Redden
:LTON BLACK & SON FI..INERAL HOME                   iCl Michiean Funeral Seruices lnc          }295 EAST HIGHLAND ROAD          HIGHLAND            MI      ]eck Redden
]ARDAGE-GIDDENS CHAPEL HILLS FUNERAL HOM            ;Cl Funeral Seruices of Florida. LLC       }50 ST JOHNS BLUFF ROAD NORTH    JACKSONVILLE        FL      leck Redden
r']EMPHIS CENTRALIZED SERVICE CENTER                ;Cl Tennessee Funeral Seruices, LLC        )o Box 17069                     MEMPHIS             TN      leck Redden
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Name/Address                                     !ame/Address                                tlame/Address                    :ity                 itate :irm (lf ProYided)   Vlatched
TINKLER FUNERAL CHAPEL & CREMATORY               ;Cl California Funeral Seruices, lnc        175 NORTH BROADWAY               :RE5NO               :A     leck Redden
BISCH   & SON FUNERAL HOME                       iCl lllinois Seruices. lnc.                  ;05 EAST ALLEN                  ;PRINGFI ELD        IL      ]eck Redden
BISCH FUNERAL HOME                               ;Cl lllinois 5ervices, lnc.                 2931 SOUTH KOKE MILL ROAD        ;PRINGFI ELD        IL     Beck Redden
WARING-SULLIVAN HOME OF MEMORIAL TRIBUTE         iullivan Funeral Homes lnc.                 866 COUNTY STREET                ;OMERSET                   Beck Redden
ROSE    E SULLIVAN FUNERAL HOME (LEASE)          \ffiliated Familv Funeral Service. lnc.     856 COUNTY STREET                iOMERSET                   Beck Redden
RESTHAVEN MORTUARY                               ;Cl Kansas Funeral Services lnc.            11800 WEST HIGHWAY 54            A/tcHtTA             (s    Beck Redden
MCCONNELL FUNERAL HOME                           iCl Arkansas Funeral 5eruices, lnc          PO BOX s93                       ;REENWOOD            \R    Beck Redden
FAMILY FUNERAL CARE-ROCKVILLE WEST               iCl lndiana Funeral Services, lnc.          5791 ROCKVILLE ROAD              NDIANAPOLIS          N     Beck Redden
: M SLOAN & 5ON5    FUNEML HOME                  ;Cl lndiana Funeral Services. lnc-          1327 NORTH WELLS STREET          :ORT WAYNE           N     Beck Redden
r'UASATCH LAWN MORTUARY                          rVasatch Land and lmprovement Company       3401 SOUTH HIGHLAND DRIVE        JALT LAKE CITY       )r    Beck Redden
\NDERSON & CAMPBELL FUNERAL HOME                 ;Cl New Jersev Funeral Seruices. LLC        703 MAIN STREET                  TOMS RIVER           !J    Beck Redden
qNDERSON & CAMPBELL FUNERAL HOME                 ;Cl New Jersev Funeral Services. LLC        3010 RIDGEWAY ROAD               V]ANCH ESTER         !J    Beck Redden          x
ANDERSON & CAMPBELL FUNERAL HOME                 icl New Jersey Funeral Seruices,      LLC   115 LACEY ROAD                   WHITING              {t    Beck Redden          x
VALLEY FUNERAL HOME                              ;Cl California Funeral Seruices, lnc.       2121 WEST BURBANK BLVD           BURBANK              ]A    Beck Redden          x
:OLLIERVILLE FUNERAL HOME                        ;Cl Tennessee Funeral Seruices. LLC         PO BOX 17069                     MEMPHIS              TN    Beck Redden          X
STANETSKY MEMORIAL CHAPELS                       itanetsky Memorial Chapels, lnc,            175 WASHINGTON STREET            :ANTON                     Beck Redden          x
]ALTIMORE SOUTH PERSONAL CARE CENTER             /Vitzke Funeral Homes lnc                   5555 TWIN KNOLLS ROAD            :OLUMBIA             VID   Beck Redden          x
iOUTH EASTERN CREMATORY                          ;Cl Funeral Seruices of Florida. LLC        ].3011 U5 HIGHWAY 19 NORTH       HUDSON               :L    Beck Redden          x
;AUL-GABAUER FUNERAL HOME INC                    iaul-Gabauer Funeral Home, lnc,             273 ROUTE 68                     iOCHESTER            )A    Beck Redden          x
VIUEHLIG FUNERAL CHAPEL                          ;Cl Michisan Funeral Seruices lnc           103 SOUTH FOURTH AVE             \NN ARBOR            ilt   Beck Redden          x
lOSMER.MUEHLIG FUNERAL CHAPEL                    ;Cl Michisan Funeral Seruices lnc,          34I,0 BROAD STREET               )EXTER               vll   Beck Redden          x
(LAEHN FAHL MELTON FUNERALHOME                   ;Cl lndiana Funeral Seruices. lnc-          120 WEST WAYNE STREET            :ORT WAYNE           N     leck   Redden        x
(LAEHN FAHL MELTON FUNERALHOME                   ;Cl lndiana Funeral 5eruices, lnc           I2O WEST WAYNE STREET            iORT WAYNE           N     leck   Redden        X
TIVERSIDE GORDON MEMORIAL CHAPELS                icl Funeral Services of Florida,    LLC     10955 BISCAYNE BLVD              \VENTURA             :L    leck   Redden        x
J MORRIS AT STAR OF DAVID OF THE PALM B          icl Funeral Seruices of Florida.    LLC     )321 MEMORIAL PARK ROAD          iVEST PALM BEACH     :L    leck   Redden
\4ENORAH 6ARDENS & FUNERAL CHAPELS               ;Cl Funeral Services of Florida, LLC        21100 WEST GRIFFIN ROAD          ;OUTHWEST RANCHES    .L    leck   Redden        x
iCHWARTZ BROTHERS-IEFFER MEMORIAL CHAPET         ;Cl Funeral Seruices of New York, lnc       114-03 OUEENS BLVD               :OREST HILLS               leck   Redden        X
                                                                                                                                                   'lY
lIXsON-SNIDER FUNERAL HOME                       ;Cl Louisiana Funeral Seruices. lnc.        IO5 WEST HARRISON STREET         )EQUINCY             A     ]eck Redden
(ENNY BROTHERS FUNERAL DIRECTORS                 ;Cl lllinois Services. lnc.                 3600 WEST 95TH STREET                                       leck
                                                                                                                              :VERGREEN PARK                    Redden        x
tHEO C AUMAN INC                                 -heo
                                                         C. Auman lnc.                       I47 PENN STREET                  IEADING                    leck   Redden        X
\UMANS INC                                       \uman's, lnc                                }90 WEST NEVERSINK ROAD          iEADING             )a     leck   Redden
:RANCIS F SEIDEL INC FUNERAL DIRECTORS           Francis F. Seidel. lnc.                                                                          )A
                                                                                             I47 PENN STREET                  TEADING                    leck   Redden
)AVISON-FULTON-WOOLSEY-WILTON      FUNERAL HO    iCl Illinois Seruices. lnc.                 I4O8 WEST WILLOW KNOLLS DRIVE    ,EORIA              il,    leck   Redden
)AVISON-FULTON-WOOLSEY FUNERAL HOME              SCI lllinois Seruices, lnc                  }01 BROADWAY                     ,EKI N              il.    leck   Redden
(ARLO & SONS FUNERAL HOME                        SCI Ohio Funeral Services lnc.              ;],2 SOUTH MAIN STREET           {ORTH CANTON        ]H     leck   Redden
IEIGLE FUNERAL HOME/SUNSET CHAPEL                SCI Michipan Funeral Services lnc.                 WEST PIERSON ROAD         :LUSHING            MI     leck   Redden
JATEWAY LITTLE CHAPEL OF THE CHIMES              Uniservice Corooration                      '501 NORTHEAST 1O6TH AVE
                                                                                             1515                             )ORTLAND            ]R     ]eck Redden
IOSS HOLLYWOOD CHAPEL     AND KILLINGSWORTH      Uniservice   Corporation                    1733 NE THOMPSON ST              ,ORTLAND            ]R     ]eck Redden
,URDY & KERR WITH DAWSON FUNERAL HOME            Uniseruice   Corporation                    IO9 WEST   MAIN STREET           MONROE                     )eck Redden
,URDY & WALTERS AT FLORAL HILLS                  Jniseruice   corooration                    IO9 FILBERT ROAD                 TYNNWOOD                   ]eck Redden
,URDY & WALTERS WITH CASSIDY                     Jniseruice   Corooration                     702 PACIFIC AVE                 EVERETT                    ]eck Redden
MELLER FUNERAL HOME                              Jniseruice Corporation                      I27 NORTH MACLEOD AVE            ARLINGTON                  leck   Redden
}LEITZ FUNERAL HOME                              Jniseruice Corporation                      I16 FLORENTIA STREET             SEATTLE                    leck   Redden
:OREST LAWN FUNERAL HOME                         Jniseruice CorDoration                      i7O1 3OTH AVE SW                 SEATTLE                    leck   Redden
-AMB FUNERAL HOME (LEASE)                        :uneral 5eruice Pennsylvania,               iO1 BYBERRY ROAD                                     )A
                                                                                 LLC                                          HUNTINGDON VALI.           Ieck   Redden
LANTERMAN & ALLEN FUNERAL HOME (LEASE)           :uneral 5eruice Pennsvlvania.                7 WASHINGTON STREEI                                 )A
                                                                                 LLC                                          EAST STROUDSBURG           leck   Redden
;TODDARD FUNERAL HOME                            iCl Colorado Funeral Seruices. LLC          I2O5 WEST 28TH STREET            GREELEY             :o     ]eck   Redden
IOELLER FUNERAL HOME                             ;Cl Texas Funeral 5eruices, LLC             515 LANDA                        NEW ERAUNFELS       l'x    3eck Redden
IIDGE FUNERAL HOME                               ;Cl lllinois Seruices, Inc.                 i620   WEST ARCHER AVE           :HICAGO                    Beck Redden
\MERICAN HERITAGE FUNERAL HOME                   ;Cl Texas Funeral Services.   LLC           1071.0 VETERANS MEMORIAL DRIVE   HOUSTON             TX     Beck Redden
IAMPTON VAUGHANaTCRESTVIEW MEMORIAL PARK         iCl Texas Funeral Seruices,   LLC           1917 ARCHER CITY HWY             /VICHITA FALLS      tx     Beck Redden
                                                Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 51 of 80 PageID #:8290



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{ame/Address                                           !ame/Address                                                            tlame/Address                  lity                State   :irm (lf Provided)   Vlatched
IESIHAVEN   /   CARR-TENNEY MORTUARY & MEIV]OR         ;Cl Arizona Funeral Seruices, LLC                                        310 EAST SOUTHERN AVE         ,HOENIX             \Z      leck Redden
/VOODLAWN MEMORIAL PARK & FUNERAL HOME                 SCI   Funeral Services of Florida,   LLC                                ,o Box 585627                  )RLANDO             FL      ]eck Redden
)AVISON-FULTON WOODLAND CHAPEL                         5Cl lllinois Seruices, lnc.                                             IO21 NORTH UNIVERSITY STREET   ,EORIA              It      ]eck Redden
)AVISON.FULTON/BARTONVILLE       CHAPEL                ;Cl lllinois Services. lnc.                                              203 WEST GARFIELD AVE         ]ARTONVILLE         IL      leck Redden
(EITH & KEITH FUNERAL HOME                             iCl Washinston Funeral Services, LLC                                    ,o Box   2824                  TAKIMA                      leck Redden
ANGEVIN EL PARAISO FUNERAL HOME                        ;Cl Washinston Funeral Seruices. LLC                                    1O1O WEST   YAKIMA AVE         TAKIMA                      ]eck Redden
I.INCOLN MEMORIAL PARK & FUNERAL HOME                  ;Cl OrePon Funeral Seruices lnc.                                        11801 SE MT SCOTT BLVD         ,ORTLAND            )R      leck Redden
FOREST LAWN FUNERAL HOME                               ;Cl Texas Funeral Serulces, LLC                                         ,o Box   1468                  }EAUMONT            ry      ]eck Redden
THE SETTEGAST-KOPF     COMPANY at SUGAR CREEI(         iCl Texas Funeral Seruices, LLC                                         15015 SOUTHWEST FWY            iUGAR LAND          TX      Beck Redden
WOODLAWN CREMATORY                                     iCl Funeral Seruices of Florida. LLC                                    PO BOX   585527                )RLANDO             FL      Beck Redden
RIVERSIDE . STANETSKY MEMORIAL CHAPELS                 ;Cl Funeral Services of Florida, LLC                                    /205   WEST ATLANTIC AVE       )ELRAY BEACH        FL      Beck Redden
SUNSET NORTHWEST FUNERAL HOME                          ;Cl Texas Funeral 5eruices, LLC                                         6321 BANDERA ROAD              ;AN ANTONIO         TX      Beck Redden
MEADOWLAWN FUNERAL HOME AND MEMORIAL GAR               iCl Funeral Seruices of Florida, LLC                                    4244 MADISON STREET                                        Beck Redden
                                                                                                                                                              'IEW PORT RICHEY     L
KARLO-LIBBY FUNERAL HOIVIE                             ;Cl Ohio Funeral Services lnc.                                          5OOO EVERHARD     ROAD NW        ANTON             )H      Beck Redden
MT VIEW IV]ORIUARY &     CEIV]ETERY                    iCl California Funeral Services, lnc.                                   570 EASI HIGHLAND AVE          ;AN BERNARDINO      :A      Beck Redden
DORSEY-E EARL SMITH MEMORY GARDENS FUNE                ;CI Funeral Seruices of Florida, LLC                                    3041 KIRK ROAD                 AKE WORTH            L      Beck Redden
BRENTWOOD-ROESCH.PATTON FUNERAL HOME                   ;Cl Tennessee Funeral Seruices. LLC                                     9O1O CHURCH STREET EAST        ]RENTWOOD           IN      Beck Redden
FUNERARIA DEL ANGEL-MARTIN EAST                        iCl Texas Funeral Seruices, LLC                                         1460 GEORGE DIETER DRIVE       EL PASO             tx      Beck Redden
BROWN-WYNNE FUNERAL HOME                               ;Cl North Carolina Funeral Services, LLC                                3OO   SAINT MARYS STREET       RALEIGH             {c      Beck Redden          x
lROWN-WYNNE FUNERAL HOME                               ;Cl North Carolina Funeral Seruices. LLC                                PO BOX 1.2195                  RALEIGH             \lC     Beck Redden          X
]ROWN-WYNNE FUNERAL HOME                               ;Cl North Carolina Funeral Seruices, LLC                                PO BOX 12195                   RALEIGH             \lC     Beck Redden          x
]ERRY FUNERAL HOME                                     ;Cl Tennessee Funeral Services, LLC                                     3704 CHAPMAN HIGHWAY           KNOXVI LLE          TN      Beck Redden          x
MISH FUNERAL HOME.OILDALE                              ;Cl California Funeral Seruices. lnc.                                   120 MINNER AVE                 BAKERSFIELD         :A      Beck Redden          x
/ALHALLA-GAERDNER-HOLTEN FUNERAL HOME                  iCl lllinois Services. lnc.                                             3412 FRANK SCOTT PKWY WEST     BELLEVILLE                  Beck Redden          x
:ALVARY HILL FUNERAL HOME                              ;Cl Texas Funeral Services, LLC                                         21723 ALDINE.WESTFIELD ROAD    HUMBLE               x      Beck Redden          x
JERKOWITZ-KU     MI N.BOOKATZ                          iCl Ohio Funeral Seruices lnc.                                          1985 SOUTH TAYLOR ROAD         :LEVELAND HEIGHTS   )H      Beck Redden          X
.INWOOD   W     OTT FUNERAL HOME INC                    inwood W. Ott Funeral Home- lnc.                                       111 NORTH READING AVE          ]OYERTOWN           )A      Beck Redden          x
TOHLAND FUNERAL HOME INC                               lohland Funeral Home                                                    iO8 CUMBERLAND STREET           EBANON             )A      leck   Redden        x
:LAUSER FUNERAL HOME INC                               :lauser Funeral Home, lnc                                               iO8 CUMBERLAND STREET           EBANON             )A      leck   Redden        x
.INWOOD   W     OTT FUNERAL HOME (LEASE}               :uneral Seruice Pennsvlvania.                                           111 NORTH READING AVE
                                                                                         LLC                                                                  ]OYERTOWN                   leck   Redden
:LAUSER FUNERAL HOME MGMT CO                           :uneral 5ervice Pennsylvania,                                           120 NORTH CARPENTER STREET
                                                                                         LLC                                                                  ;CHAEFFERSTOWN              leck   Redden
/VM ROWEN GRANT FUNERAL HOME          INC              Mm. Rowen Grant Funeral Home lnc.                                       i59   STREET ROAD              ;OUTHAMPTON         )A      leck   Redden        X
A/M ROWEN GRANT FUNERAL HOME          (LEASE)           :uneral 5eruice Pennsvlvania, LLC                                      ;59 STREET ROAD                ;OUTHAMPTON                 leck   Redden
)LINGER MOORE HOWARD CHAPEL                             ;Cl Colorado Funeral Seruices, LLC                                     1345 WEST 46TH AVE             )ENVER              :o      leck   Redden
}ERNHEIM-APTER-KREITZMAN SUBURBAN FUNERA               ;Cl New iersey Funeral Seruices, LLC                                       OLD SHORT HILLS ROAD        .IVINGSTON          {t      leck   Redden
IED DICKEY WEST FUNERAL HOME                           tCl Texas Funeral 5eruices, LLC                                         '8 GEO BUSH TURNPIKE
                                                                                                                               I99O                           )ALLAS              tx      leck   Redden
AMILY FUNERAL CARE                                     SCI Tennessee Funeral Services, LLC                                     ,o Box 17059                   V]EMPH IS           TN      leck   Redden
V]OORE BOWEN ROAD FUNERAT HOME                         SCI Texas Funeral Seruices. LLC                                         t216 SOUTH BOWEN ROAD          \RLINGTON           TX      leck   Redden
A/OOD-KORIRIGHT-BORKOSKI FUNERAL HOME                  icl Ohio Funeral Services lnc.                                          703 EAST MAIN STREET           IAVENNA             ]H      ]eck Redden
;UNLAND MEMORIAL PARK MORTUARY & CREMAT                iCl Arizona Funeral Services, LLC                                       15826 DEL WEBB BLVD            iUN CITY            \z      ]eck Redden
:UNERARIA DEL ANGEL WEST COVINA                        SCI California Funeral Services, lnc.                                                                                      ^A
                                                                                                                               1333 WEST MERCED AVE           A/EST COVINA                leck Redden
)OVE-WITT FAMILY MORTUARY                              iCl Colorado Funeral Services, LLC                                      ;630 SOUTH US HIGHWAY 85-87    FOUNTAIN            :o      ]eck Redden
]EILIGTAG-LANG-FENDLER FUNERAL HOME                    icl Missouri Funeral Seryices lnc                                       1081 JEFFCO BLVD               ARNOLD              MO      leck Redden
r']ILLER-DIPPEL FUNERAL HOME INC                       Miller-Dippel Funeral Home. lnc.                                        ;415 BELAIR ROAD               BALTIMORE           MD      ]eck Redden
r']ILLER MEMORIAL CHAPEL                               icl California Funeral   Seruices. lnc.                                 1120 WEST GOSHEN AVE           VISALIA             :A      leck Redden
r']ILLER MEMORIAL CHAPET                               ;Cl California Funeral Seruices, lnc.                                   1120 WEST GOSHEN AVE           VISALIA             :A      leck Redden
,EOPLES FUNERAL CHAPEL                                 ;Cl California Funeral Seruices, lnc.                                   ;01 NORTH DOUTY                HANFORD             :A      ]eck Redden
:AMILY FUNERAL CARE                                    ;Cl Funeral Seruices of Florida, LLC                                    3OO1 SOUTH JOHN YOUNG PKWY     ORLANDO              L      )eck Redden
r'i/ITZKE FUNERAL HOMES INC                            /Vitzke Funeral Homes lnc.                                              ;555 TWIN KNOLLS ROAD          COLUMBIA            MD      Ieck Redden
STERLING-ASHTON.SCHWAB-WITZKE FUNERAL HO               iterling-Ashton-Schwab-Witzke        Funeral Home of Catonsville, lnc    630 EDMONDSON AVE             CATONSVILLE         VID     )eck Redden
LEAK MEMORY CHAPEL                                     ;Cl Alabama Funeral 5eruices,     LLC                                   )45 LINCOLN ROAD               MONTGOMERY          \L      ,eck Redden
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!ame/Address                                     \,lame/Address                            Name/Address                 :itv                 ;tate Firm (lf Provldedl   Matched
rVM R CHASE&SON FUNERAL HOME                     ;Cl Funeral Services of New York, lnc.    737 CHENANGO STREET          PORT DICKINSON             Beck Redden          x
FOREST LAWN FUNERAL HOME                         ;Cl Funeral Services of Florida, LLC      5740 SOUTH PINE AVE          )CALA                      Beck Redden
]TT-LAUGHLIN FUNERAL HOME                        ;Cl Funeral Services of Florida, LLC      2198 K-VILLE AVE             AU BU RNDALE         :L    Beck Redden
IARDAGE - GIDDENS HOTLY HILL FUNERAL HOM         ;Cl Funeral Services of Florida, LLC      3601 OLD JENNINGS ROAD       MIDDLEBURG                 Beck Redden
/OLUSIA MEMORIAT FUNERAL HOME                    ;cl Funeral Services of Florida.    LLC   548 NORTH NOVA ROAD          )RIVIOND BEACH             Beck Redden          x
IATIONAL CREMATION AND BURIAL SOCIETY            icl Funeral Services of Florida,    LLC   3453 HANCOCK BRIDGE PKWY     NORTH FORT MYERS           Beck Redden          x
;OUTHEASTERN TAHARA PERSONAL CARE CENTER         ;Cl Funeral Services of Florida,    LLC   20955 BISCAYNE BLVD          \VENTURA                   Beck Redden          X
 OREST LAWN FUNERAL HOME                         ;Cl Funeral Services of Florida. LLC      2OO   WEST COPANS ROAD       POMPANO BEACH              Beck Redden          x
:OREST LAWN FUNERAL HOME                         ;Cl Funeral Seruices of Florida, LLC      2401 SOUTHWEST 64TH AVENUE                        :L
                                                                                                                        FORT LAUDERDALE            Beck Redden          x
\LABAMA HERITAGE FUNERAL HOME                    ;CIAlabama Funeral Seruices,        LLC   10505 ATLANTA HIGHWAY        MONTGOMERY           \t    Beck Redden          X
:OLLIER.BUTLER FUNERAL HOME                      ;Cl Alabama Funeral Services,       LLC   PO BOX 460                   3ADSDEN              \L    Beck Redden          x
OHNS-RIDOUTS FUNERAL PARLORS                     ;Cl Alabama Funeral Services.       LLC   2115 UNIVERSITY BLVD         BIRMINGHAM           \L    Beck Redden          x
,OHNS-RIDOUTS MORTUARY-ELMWOOD     CHAPET        iCl Alabama Funeral Seruices, LLC         3OO   DENNISON AVE SW        BIRMINGHAM           \L    Beck Redden          x
TIDOUTS.BROWN.SERVICE PRATryILLE CHAPEL          ;Cl Alabama Funeral Seruices,       LLC   347 EAST MAIN STREET         PRATTVILLE           \L    Beck Redden          x
iOUTHERN HERITAGE FUNERAL HOME                   ;Cl Alabama Funeral Services.       LLC   175 CAHABA VALLEY ROAD       )ELHAM               \L    Beck Redden          x
TIDOUTS TRUSSVILLE CHAPEL                        ;Cl Alabama Funeral Seruices, LLC         15OO GADSDEN HWY             BIRMINGHAM           \L    Beck Redden          x
IIDOUTS VALLEY CHAPEL                            iCl Alabama Funeral Seruices, LLC         18OO OXMOOR ROAD             IOMEWOOD                   Beck Redden          x
;AN ANTONIO EMBALMING CENTER                     ;Cl Texas Funeral Seruices. LLC           ;15 NORTH MAIN AVE           ;AN ANTONIO          'x    Beck Redden          x
UNERARIA DEL ANGEL ROY AKERS                     ;Cl Texas Funeral Services. LLC            15 NORTH MAIN AVI           ;AN ANTONIO                Beck Redden          x
;OETZ FUNERAL HOME                               ;Cl Texas Funeral Seruices, LLC           713 NORTH AUSTIN STREET      iEGUIN               t)(   Beck Redden          x
TADNEY FUNERAL HOME.MOBILE                       iCl Alabama Funeral Seruices, LLC         PO BOX 7245                  VlOBILE              \L    Beck Redden          x
TADNEY FUNERAL HOME                              ;Cl Alabama Funeral Seruices. LLC         12OO INDUSTRIAL PKWY         ;ARALAND             \L    leck Redden          X
;UNSET FUNERAL HOME                              ;Cl Texas Funeral Services, LLC           1701 AUSTIN HIGHWAY          iAN ANTONIO          -x
                                                                                                                                                   Seck Redden          x
]ABIONE. KRAEER FUNERAL HOME AND CREMAT          ;Cl Funeral Services of Florida, LLC      11OO NORTH FEDERAL HIGHWAY   ]OCA RATON           .L    leck   Redden        x
]ABIONE FUNERAL HOME                             ;Cl Funeral Services of Florida. LLC      1OO5O CATLE COMERCIO DRIVE   ]OCA RATON                 leck   Redden        X
                                                                                                                                             .N
;HERWOOD CHAPEL AND MEMORIAL GARDENS             ;Cl Tennessee Funeral Services, LLC       3176 AIRPORT HIGHWAY         \LCOA                      leck   Redden
:EDAR LAWNS FUNERAL HOME                         ;Cl Washinston Funeral Seruices. LLC      72OO 1.8OTH AVE NE           TEDMOND                    leck   Redden
;UNSET HILLS FUNERAL HOME                        ;Cl Washinston Funeral Seruices. LLC      1215 145TH PLACE    SE       ]ELLEVUE                   leck   Redden        x
\]ATIONAL CREMATION SOCIETY                      ;Cl Funeral Seruices of Florida, LLC      1945 EAST BAY DRIVE          :LEARWATER           :L    ieck   Redden        x
:HAPEL OF MEMORIES                               ;Cl  Colorado Funeral Services, LLC       }29 SOUTH HANCOCK            :OLORADO SPRINGS           leck   Redden
AIRDALE-MCDANIEL FUNERAL HOME & CREMATI           ;CI Kentuckv Funeral Services, lnc.       11 FAIRDALE ROAD            :AI RDALE                  ieck   Redden        x
\DVANTAGE FUNERAL HOME AND CREMATION SER          ;Cl Kentucky Funeral Services, lnc.      10907 DIXIE HIGHWAY          OU ISVILLE           (Y    leck   Redden        X
]OULDER CREMATION SERVICE                         ;Cl Colorado Funeral Services, LLC       3016 KALMIA AVE              }OU LDER             :o    leck   Redden
:HATTANOOGA FUNERAL HOME CREMATORY & Ft           ;Cl Tennessee Funeral Services, LLC      1214 EAST BRAINERD ROAD      :HATTANOOGA           N    leck   Redden        x
I/OODY CREMATION SERVICES                         ;Cl Vireinia Funeral Services. lnc.      ],771 NORTH PARHAM ROAD      iICHMOND                   leck   Redden        x
:ABALLERO RIVERO CORAL GABLES                    ;Cl Funeral Services of Florida. LLC      ],717 SW 37TH AVE            \4lAMl               :L    leck   Redden        x
;UNSET NORTH FUNERAL HOME                        SCI   Texas Funeral Services, LLC         )10 NORTH LOOP 1604 EAST     ;AN ANTONIO          IX    leck   Redden
}LOOMFIELD.COOPER JEWISH CHAPELS                 SCI New Jersev Funeral Seruices, LLC      ,o Box 2312                  )CEAN                 {l   leck   Redden
}LOOMFIELD-COOPER JEWISH CHAPELS                 SCI New Jersev Funeral 5eruices. LLC      ,o Box 161                   \4ANALAPAN                 leck   Redden        x
A/IEN& WIEN INC MEMORIAL CHAPELS                 wien & Wien. lnc.                         tO2 PARK STREET              {ACKENSACK           \l    leck   Redden
JUTTERMAN AND MUSICANT JEWISH FUNERAL DI         iCl New Jersey Funeral 5eruices, LLC      }02 PARK STREET              lACKENSACK           \l    leck   Redden
;UNSET MEMORY GARDEN FUNERAL HOME                SCI lndiana Funeral Services, lnc.        IO97 WEST ALTO ROAD          (oKoMo               IN    leck   Redden
VlEMORY GARDENS FUNERAL HOME                     lCl Texas Funeral Seruices. LLC           }2OO OLD BROWNSVILLE ROAD    :ORPU5 CHRI5TI       TX    leck   Redden
}AYVIEW FISHER-POU CHAPEL                        icl Funeral Seruices of Florida, LLC      3351SCENIC HIGHWAY 90E       ,ENSACOLA            FL    ]eck Redden
A/ILDER FUNERAL HOME                             icl Funeral Seruices of Florida, LLC      )o Box   1052                lON4OSASSA SPRINGS   FL    ]eck Redden
.IFE EVENT CENTER AT FLORIDA MEMORIAL            SCI Funeral seruices of Florida, LLC      ;950 S U5 HIGHWAY 1          TOCKLEDGE            FL    leck Redden
:OUNTAINHEAD FUNERAL HOME                        icl Funeral Seruices of Florida. LLC      7359 BABCOCK STREET SE       )ALM BAY             FL    ]eck Redden
r'IEMORIAL PARK FUNERAL HOME & CEMETERY          ;Cl Texas Funeral Seruices, LLC           ;969 EAST INTERSTATE 40      AMARILLO             rx    ]eck Redden
1ODGE5-FARLEY   FUNERAL HOME                     iCl Funeral Seruices of Florida, LLC       1OO LEE BLVD                LEHIGH ACRES         FL    leck Redden
.AKEVIEW FUNERAL HOME                            ;Cl Texas Funeral Seruices. LLC           ;OOO   WEST HARRISON ROAD    LONGVIEW             TX    ]eck Redden
r']ANASOTA MEMORIAL PARK AND FUNERAL HOME        iCl Funeral Services of Florida,    LLC   221 53RD AVE EA5T            BRADENTON            FL    leck Redden
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       /Addrps<                                       {ame/Address                              Name/Address                    :itv                 ;tate Firm (lf Providedl   Oatched
;UN5ET FUNERAL HOME                                   ;Cl lllinois Seruices, lnc,               38OO    NORTH ALPINE ROAD       MACHESNEY PARK              Beck Redden
]REVARD MEMORIAL FUNERAL HOME                         ;Cl Funeral Seruices of Florida, LLC      5475 N US HIGHWAY 1             :ocoA                :t     Beck Redden
;ROOVER FUNERAL HOME                                  ;Cl Funeral Seruices of Florida. LLC      14OO 36TH AVE EASI              ELLENTON             :I     Beck Redden
)ELTONA MEMORIAL FUNERAL HOME                         ;Cl Funeral Seruices of Florida, LLC      1295 SAXON BLVD                 ]RANGE CITY          :L     Beck Redden
IILLSBORO MEMORIAL FUNERAL HOME                       ;Cl Funeral Services of Florida, LLC      2323 WEST BRANDON BLVD          BRANDON              :I     Beck Redden
:ATAVOLOS FUNERAL HOME                                ;Cl Ohio Funeral Seruices lnc.            3653 W MARKET ST                \KRON                )H     Beck Redden
 AST LAWN FUNERAL HOME                                iCl lllinois Seruices. lnc.               1102 AIRPORT ROAD               BLOOMINGTON                 Beck Redden
 VERGREEN FUNERAL HOME                                ;Cl Kentucky Funeral Seruices, lnc.       4623 PRESTON HIGHWAY            LOI,]ISVILLE                Beck Redden
TOSEWOOD.KELLUM FUNERAL HOME                          ;Cl   Virsinia Funeral Seruices. lnc.     JO1 NORTH WITCHDUCK ROAD        /IRGINIA BEACH              Beck Redden
IOSHUA MEMORIAL PARK & MORTUARY                      icl    California Funeral seruices. lnc-   ]08   EAST LANCASTER BLVD       .ANCASTER                   Beck Redden
;HANNON RUFE SNOW DRIVE FUNERAL CHAPEL               SCI    Texas Funeral Services, LLC         ,OO], RUFE SNOW DRIVE           ;ORT WORTH           TX     leck   Redden       x
\NKENY FUNERAL I{OME AND CREMATORY                   SCI    lowa Funeral Seruices lnc.          1510 WEST FIRST STREET          \N KENY              IA     leck   Redden       X
;T   LOUIS CENTRAL SERVICES                          SCI    Missouri Funeral Services lnc.      )450 OLIVE BLVD                 ;T    LOUIS          MO     leck   Redden
;T   LOUIS ELIMINATION                               5Cl    Missouri Funeral Services lnc.      7814 SOUTH BROADWAY             ;T    LOUIS          MO     leck   Redden       x
AMES V DEMARCO & SON FUNERAL HOME                    SCI    Funeral Seruices of New York, lnc   737 CHENANGO STREET             ,ORT DICKINSON       NY     leck   Redden       X
VICLARENS RESTHAVEN CHAPEL      & MORTUARY           SCI    lowa Funeral Seruices lnc.          }01 19TH STREET                 /VEST DES MOINES     IA     leck   Redden
)RAPER MORTUARY                                      SCI    California Funeral Seruices, Inc.   ]11 NORTH MOUNTAIN AVE          )NTARIO              CA     leck   Redden
{ATIONAL CREMATION SOCIETY                           SCI Vireinia  Funeral Seruices, lnc.       1110 NORTH GREAT NECK ROAD      /IRGINIA BEACH              leck   Redden       x
V]ELCHER MORTUARY MISSION CHAPEL & CREMAT            SCI Arizona   Funeral Seruices, LLC        ;625 E MAIN ST                  \4ESA                AZ     leck   Redden
:UNERARIA MELCHER MORTUARY CHAPET OF THE             SCI Arizona   Funeral 5eruices. LLC         3 SOUTH STAPLEY DRIVE          VlESA                       leck   Redden
V]ICHAELJ HIGGINS FUNERAL SERVICE INC                lCl Funeral   Services of New York, lnc,   }21 SOUTH MAIN STREET           {EW CITY             NY     leck   Redden       x
V]ICHAELJ HIGGINS FUNERALSERVICE INC                 iCl Funeral Seruices of New York, lnc      }21 SOUTH MAIN STREET                                       leck   Redden
                                                                                                                                'lEW CITY            NY
!4EMORIAL FUNERAL CHAPEL COTLEGE STATION             SCI Texas Funeral Seruices. LLC             901 TEXAS AVE SOUTH            ]OLLEGE STATION      TX     ]eck Redden
f,AKDALE MORTUARY                                    iCl California Funeral Seryices. lnc.       401 SOUTH GRAND AVE            JLENDORA             :A     ]eck Redden
ETERNAL HILLS FUNERAL HOME AND CREMATION             iCl Georgia Funeral seruices, LLC           594 STONE MOUNTAIN HIGHWAY     ;NELLVILLE           3A     leck Redden
ADVANTAGE FUNERAL AND CREMATION SERVICES             ;Cl lllinois 5eruices, lnc                 IOOO WEST STATE STREET          TOCKFORD             IL     ]eck Redden
WOODY FUNERAL HOME.ATLEE CHAPEL                      iCl Virsinia Funeral Services. Inc-        ]27].   SI'IADY GROVE ROAD      V]   ECHANICSVILLE          Beck Redden
f,LINGER ANDREWS CALDWELL GIBSON CHAPEL              ;Cl Colorado Funeral Seruices, LLC         407 JERRY STREET                ]ASTLE ROCK          :o     Beck Redden
FUNERARIA DEL ANGEL OXNARD                           ;Cl California Funeral Seruices, lnc.      401 WEST CHANNEL ISLANDS BLVD   )XNARD               :A     Beck Redden
SKILLIN.CARROLL MORTUARY                             iCl California Funeral Services. lnc.      738 EAST SANTA PAULA STREET     ;ANTA PAULA          :A     Beck Redden
SKILLIN.CARROLL MORTUARY                             ;Cl California Funeral 5eruices, lnc.      600 CENTRAL AVE                 :ILLMORE             ]A     Beck Redden
:HARLES CARROLL FUNERAL HOME                         iCl California Funeral 5eruices, lnc.      15 TELOMA DRIVE                 /ENTU RA             :A     Beck Redden
LANTERMAN & ALLEN FUNERAL HOME INC                    anterman & Allen Funeral Home. lnc.       27 WASHINGTON STREET            :AST STROUDSBURG     )A     Beck Redden
LAMB FUNERAL HOME INC                                -amb Funeral Home, lnc.                    101 BYBERRY ROAD                IUNTINGDON VALI             Beck Redden
RHOTON FUNERAL HOME                                  ;Cl Texas Funeral 5eruices, LLC            1511 SOUTH INTERSTATE 35E       :ARROLLTO N          tx     Beck Redden
lATIONAL CREMATION SOCIETY                           icl Funeral Seruices of Florida, LLC       3251 US HTGHWAY 441127          FRUITLAND PARK              Beck Redden
V]ARIPOSA GARDENS MEMORIAT PARK      AND FUNER       ;Cl Arizona Funeral Seruices. LLC          IOO 5OUTH POWER ROAD            MESA                 \z     Beck Redden         x
:ROSBY BURKET SWANSON GOLDEN FUNERAL HOM             iCl Nebraska Funeral Services lnc.         11902 W CENTER ROAD             ]MAHA                !E     Beck Redden         x
iTRIFFLER-HAMBY MORTUARY                             ;CI Alabama Funeral Seruices, LLC          PO BOX 2s48                     PHENIX CITY          \L     Beck Redden         x
iTRIFFLER-HAMBY MORTUARY                             ;Cl Georsia Funeral seruices. LLC          PO BOX 399                      LAGRANGE             JA     Beck Redden         X
;TRIFFLER.HAMBY MORTUARY                             ;Cl Georsia Funeral Seruices. LLC          PO BOX    6857                  :OLUMBUS             ;A     Beck Redden         x
\RCH L HEADY AND sON - CRALLE FUNERAL H              icl Kentucky Funeral Services, lnc         2428 FRANKFORT AVE              OUISVILLE                   Beck Redden         x
IEADY-HARDY FUNERAL HOME                             icl Kentuckv Funeral Services. lnc         7710 DIXIE HIGHWAY              ,OUISVILLE           (Y     Beck Redden         X
\RCH   L   HEADY AND   sON FUNERAL HOME &   CRE      ;CI    Kentucky Funeral Seruices. lnc.     3601 TAYLOR BLVD                ,OUISVILLE                  3eck Redden         x
\RCH   L   HEADYAND SON FUNERAL HOME & CRE           ;Cl    Kentucky Funeral Seruices, lnc.     ]519 PRESTON HIGHWAY            .OUISVILLE           (Y     leck   Redden       x
iEADY-RADCLIFFE FUNERAL HOME & CREMATION             ;CI    Kentucky Funeral Seruices, lnc      311 WEST JEFFERSON STREET       NGRANGE                     ieck   Redden
\RCH L HEADYAND sON FUNERAL HOME & CRE               ;Cl    Kentucky Funeral Seruices, lnc.     7410 WESTPORT ROAD              .OU ISVILLE          (Y     leck   Redden
V]CGILLEY   & SHEIL FUNERAL HOME & CREMATIO          icl    Missouri Funeral Seruices lnc.      11924 EAST 47TH STREET          IANSAS    CIry       r'lo   leck   Redden       x
JREEN ACRES GLENDALE MORTUARY                        icl Arizona Funeral 5ervices,     LLC              WEST MISSOURI AVE       ;LEN DALE            \z     leck   Redden       X
\DVANTAGE FUNERAL AND CREMATION SERVICES             SCI    Texas Funeral Seruices, LLC         '830 CHETWOOD
                                                                                                701O                            tol,sTo   N
                                                                                                                                                     -x
                                                                                                                                                            leck   Redden
JRAND VIEW FUNERAL HOME                                     Texas Funeral Services, LLC         }50]. SPENCER HIGHWAY           )ASADENA             -x
                                                     SCI                                                                                                    leck   Redden
                                             Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 54 of 80 PageID #:8293



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{ame/Address                                        \lame/Address                              {ame/Address                    Citv              itate rirm llf Provided)   Vlatched
]ALCATERRA FUNERAL HOME                             ;Cl Missouri Funeral Seryices lnc.         ;140 DAGGETT AVE                ST LOUIS          MO     leck Redden
IALVERSON STONE & MYERS MORTUARY                    iCl California Funeral 5eruices, lnc        223 CRAVENS AVE                IORRANCE                 ]eck Redden
:UNERARIA DEL ANGEL WILMINGTON                      ;Cl California Funeral Seruices, lnc,      1640 NORTH AVALON BLVD          A/ILMINGTON              ]eck Redden
JOODBODY MORTUARY                                   ;Cl California Funeral Services. lnc.      ;027 EL CAJON BLVD              ;AN DIEGO         :A     leck Redden
JLEN ABBEY MEMORIAL PARK     AND MORTUARY           icl california Funeral Seruices,    Inc    }838 BONITA ROAD                IONITA            :A     leck Redden
 IERNAL HILLS MEI\4ORIAL PARK MORTUARY AN           SCI California Funeral Seruices, lnc       t999 EL CAMINO REAL             )CEANSIDI         :A     leck Redden
:UNERARIA DEL ANGEL BUENA VISTA                     ;Cl Texas Funeral Seruices. LLC            125 MCDAVITT BLVD               BROWNSVILLE       rx     leck Redden
:UNERARIA DEL ANGEL                                 icl Texas Funeral Servlces, LLC            t906   s   EXPRESSWAY 77183     HARLI NGEN        TX     ]eck Redden
JONZALEZ FUNERAL HOME                               icl Funeral Seruices of Florida,    LLC    7209 NORTH DALE MABRY HIGHWAY   TAMPA             FL     leck Redden
,ALMS - ROBARTS FUNERAL HOME & MEMORIAL             icl Funeral Seruices of Florida.   LLC     170 HONORE AVE                  SARASOTA          FL     leck Redden
\DVANTAGE FUNERAL AND CREMATION SERVICES            ;Cl Arizona Funeral Services, LLC          11211 MICHIGAN AVE              YOUNGTOWN         \z     leck   Redden
}OSTON HARBORSIDE HOME OF J S WATERMAN              \FFS Boston lnc.                               COMMERCIAL STREET           BOSTON                   ]eck   Redden
}OSTON HARBORSIDE HOME OF JS WATERMAN &             \ffiliated Familv Funeral Seruice. lnc.    '80 COMMERCIAL STREET           BOSTON            MA     ]eck   Redden
)UCKETT FUNERAL HOME OF     I   S WATERMAN          \FFS West lnc.                             '80
                                                                                               ;56 BOSTON POST ROAD            SUDBURY                  ]eck   Redden
)UCKETT FUNERAL HOME OF J S WATERMAN                \ffiliated Familv Funeral Service, lnc.    I92 ROCK STREET                 FALL RIVER               ]eck   Redden
r']ETROWEST FUNERAL AND CREMATION SERVICE           \FFS West lnc.                             }1.8 UNION AVE                  FRAMINGHAM               leck Redden
r']ETROWEST FUNERAL AND CREMATION SERVICE           \fflliated Familv Funeral Seruice. lnc.    I92 ROCK STREET                 FALL RIVER        MA     leck Redden
:UNERARIA DEL ANGEL KAMMANN                         ;Cl Arizona Funeral Seruices, LLC          ,95 WEST 28TH STREET            YUMA                     leck Redden
OHNSON IV]ORTUARY & DESERT LAWN MEMORIAL            SCI   Arizona Funeral Seruices,   LLC      1415 SOUTH 1ST AVE              YUMA                     ,eck Redden
 AST LAWN PALMS MORTUARY                            icl Arizona Funeral 5eruices. LLc          ;801 EAST GRANT ROAD            TUCSON                   leck Redden
:UNERARIA DEL ANGEL SOUTH IAWN                      ;Cl Arizona Funeral Seruices, LLc          ;401 SOUTH PARK AVE             TUCSON            \z     leck   Redden
A/ARING-SULLIVAN HOME OF MEMORIAL TRIBUTE           \FFS   Southcoast West lnc.                 78 WINTER STREET               FALL RIVER               leck   Redden
:HERRY PLACE FUNERAL HOME OF WARING                 \ffiliated Familv Funeral Seruice. Inc.    192 ROCK STREET                 FALL RIVER               ]eck   Redden
{/ARING-SULLIVAN HOME OF MEMORIAL TRIBUTE           \FFS Southcoast West lnc.                  189 GARDNERS NECK ROAD          SWANSEA           VIA    ]eck   Redden
}IRCHCREST FUNERAL HOME (LEASE)                     \ffiliated Family Funeral seruice, lnc.    I92 ROCK     STREET             FALL RIVER               ]eck Redden
:AIRLAWN MORTUARY                                   \FFS   Southcoast East lnc.                180 WASHINGTON STREET           FAIRHAVEN                ieck Redden
:AIRLAWN MORTUARY (LEASE                            \ffiliated Familv Funeral Seryice. lnc.    }92 ROCK STREET                 FALL RIVER        VIA    leck Redden
r']EMORY CHAPEL FUNERAL HOME                        iCl Alabama Funeral Seruices, LLC           2OO SKYLAND     BLVD EAST      TUSCALOOSA        \L     ]eck Redden
iERENITY FUNERAL HOME                               ;Cl Funeral Seruices of Florida, LLc        3401 INDIAN ROCKS ROAD         LARGO              L     ]eck Redden
)ARTMOUTH FUNERAT HOI\1E                            \FFS   Southcoast East lnc.                 30 RUSSELLS MILLS ROAD         SOUTH DARTMOUTH          leck Redden
)ARTMOUTH FUNERAL HOME (LEAsE)                      \ffiliated Family Funeral Service, lnc.    }92 ROCK STREET                 FALL RIVER               Ieck Redden
)EWARE FUNERAL HOME                                 \FFS Quincv lnc                             76 HANCOCK STREET              QUINCY                   ]eck Redden
)EWARE FUNERAL HOME {LEASE)                         \ffiliated Familv Funeral 5eruice. lnc.    I92 ROCK STREET                 FALL RIVER               leck Redden
JILLOOLY FUNERAL HOME                               \FFS NoMood lnc.                           i26 WALPOLE     STREET          NORWOOD                  ]eck   Redden
sILLOOLY FUNERAL HOME (LEASE)                       \ffiliated Family Funeral Service, lnc.    I92 ROCK STREET                 FALL RIVER               ,eck   Redden
EUSTIS & CORNELL FUNERAL HOME                       \FFS North, lnc                             42 ELM STREET                  MARELEHEAD               Ieck   Redden
EUSTIS & CORNELL FUNERAL HOME OF WATERMA            \ffiliated Familv Funeral Seruice. lnc.    I92 ROCK STREET                 FALL RIVER               Ieck   Redden
HERITAGE CHAPEL FUNERAL HOME                        ;Cl Alabama Funeral Seruices. LLC          ;2OO OLD BIRMINGHAM HWY         TUSCALOOSA        \L     ]eck Redden
BROOKSIDE FUNERAL HOME                              ;Cl Texas Funeral Seruices, LLC             3747 EASTEX FREEWAY            HOUSTON           rx     leck Redden
;MITH & WILLIAMS FUNERAL HOME                       ;Cl Virsinia Funeral Seruices. Inc.        I18 NORVIEW AVE                 NORFOLK                  ]eck Redden
SMITH & WILLIAMS FUNERAL HOME/KEMPSVILLE            ;Cl Virsinia Funeral Seruices. lnc.        1889 PRINCESS ANNE ROAD         VIRGINIA BEACH           le.k   Redden
MCEWEN FUNERAL SERVICE AT SHARON MEMORIA            ;Cl North Carolina Funeral Seruices, LLC    716 MONROE ROAD                CHARLOTTE         !c     ]eck Redden
         BROWN.SERVICE FUNERAL HOME                 ;Cl Alabama Funeral 5eruices, LLC          I802 WATERMELON ROAD            NORTHPORT         \r    leck Redden
'UN5ET
ROBERT   L   HENDRICKS FUNERAL HOME INC             lobert    Hendricks Funeral Home. lnc.
                                                             L.                                12],8 PHILADELPHIA AVE          :HAMBERSBURG      )A     leck Redden
/VEST RESTHAVEN FUNERAL HOME                        ;Cl Arizona Funeral Services, LLC          5450 WEST NORTHERN AVE          3LENDALE          \z    leck Redden
,VOODY FUNERAL HOME'PARHAM                          ;Cl Virsinia Funeral seruices, lnc.        177], NORTH PARHAM ROAD         RICHMOND                3eck Redden
r'i/OODY FUNERAL HOME HUGUENOT CHAPET               icl Virsinia Funeral Seruices. lnc.        TO2O   HUGUENOT ROAD            MIDLOTHIAN               ]eck Redden
 RANK VOGLER & SONS                                 ;Cl North Carolina Funeral Seruices. LLC   2951 REYNOLDA ROAD              WINSTON.SALEM     \lC   leck Redden
:RANK VOGLER & SONS                                 iCl North Carolina Funeral 5eruices, LLC   PO BOX 540                      :LEMMONS          \lC   Beck Redden
;ECHREST FUNERAL SERVICE                            ;Cl North Carolina Funeral Seruices, LLC   ].30]. EAST LEXINGTON AVE       HIGH POINT        !C    Beck Redden
iECHREST FUNERAL SERVICE                            ;Cl North Carolina Funeral Seruices. LLC   120 TRINDATE ROAD               ARCHDALE          \lC   Beck Redden
                                             Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 55 of 80 PageID #:8294



                                                                                                                                                                                        Not
!ame/Address                                           rlame/Address                                 !ame/Address                      :ity                itate    irm (lf Provided)   Matched
THOMASVILLE FUNERAL HOME                               icl North Carolina Funeral 5ervices,    LLC   ],8 RANDOLPH STREET               IHOMASVILLE         {c      leck Redden
IOFFMEISTER COLONIAL MORTUARY                          ;CI Missouri Funeral Seruices lnc.             ;464 CHIPPEWA STREET             iT LOUIS            ilo     leck Redden          x
:DWARDS FUNERAL HOME                                   ;CI Arkansas Funeral 5eruices, lnc.            )o Box 3                         :ORT SMITH          \R      ieck Redden          x
:ENTRESS MORTUARY                                      ;Cl Arkansas Funeral 5eruices, lnc.            )o Box 3                         :ORT SMITH          \R      leck Redden
 DWARDS VAN-ALMA FUNERAL HOME                          ;Cl   Arkansas Funeral Seruices. lnc.         ,o Box 1345                       /AN BUREN           \R      leck Redden
JRIG65.5CHOOLER-GORDON FUNERAL DIRECTORS               iCl Texas   Funeral Seruices, LLC             ,o Box 31900                      \MARILLO
                                                                                                                                                           -x
                                                                                                                                                                   leck Redden
;IGNATURE CAFE                                        ;Cl Funeral Services of Florida, LLC           TOO   WOODLAWN CEMETERY ROAD      JOTHA               FL      leck Redden
:HATTANOOGA FUNERAL HOME CREMATORY &             FL   ;Cl Tennessee Funeral Seruices. LLC            )o Box   9                        ltxsoN              TN      leck Redden
;NOW5 MEMORIAL CHAPEL                                 ,Cl Georgia Funeral Seruices, LLC              746 CHERRY STREET                 vlAcoN              3A      leck Redden
;NOWS MEMORIAL CHAPEL                                 SCI Georsia Funeral Services,    LLC           }077 PIO NONO AVE                 VI,ACON             3A      ]eck Redden
 LLIOTT SONS FUNERAL HOME                             5Cl Georsia Funeral Services-    LLC           1524 LUMPKIN ROAD                 \UGUSTA             3A      ]eck Redden
}ERNSTEIN FUNERAL HOME AND CREMATION 5ER              iCl Georsia Funeral Seruices.    LLC           ]195 ATLANTA HIGHWAY              qTH ENS             3A      ]eck Redden
)ANIELS FUNERAL HOME AND CREMATION SERV               iCI Georsia Funeral Seruices,    LLC           }01. EAST 2ND AVE                 ROME                3A      ]eck Redden
ilILLER MIES DOWNEY MORTUARY                          scl California Funeral Services, lnc.          t0229 PARAMOUNT BLVD              DOWNEY              :A      ]eck Redden
lOFFMEISTER SOUTH COUNTY CHAPEI.                      ;Cl Missouri Funeral Services lnc.             1515 LEMAY FERRY ROAD             ST LOUIS            MO      leck Redden
:UNERARIA DEL ANGEL CHINO                             iCl California Funeral 5eruices, lnc.           3OO2 SOUTH CENTRAL AVE           CHINO               :A      )eck Redden
,IERCE BROTHERS VALHALLA                              iCl California Funeral 5eruices, lnc.          10521 VICTORY BLVD                NORTH HOLLYWOOD     :A      leck Redden
,IERCE BROTHERS TURNER & STEVENS MORTUAR              iCl California Funeral 5eruices. lnc.           136 EA5T LAs TUNAS DRIVE         SAN GABRIET         :A      leck   Redden
.ED
   MAYR FUNERAL HOME                                  ;CI California Funeral Services, lnc.           ].50 LOMA VISTA ROAD             VENTURA                     leck   Redden
:UNERARIA DEL ANGEL VAN NUYS                          ;Cl California Funeral 5eruices, lnc.          i94O VAN NUYS BLVD                VAN NUYS            :A      leck   Redden
;TONE FUNERAL HOME                                    ;Cl California Funeral Seruices, lnc.          I55 EAST gTH STREET               UPLAND              :A      leck   Redden
PIERCE BROTHERS WESTWOOD VILLAGE MEMORIA              ;Cl California Funeral Seruices. Inc.           218 GLENDON AVE                  LOS ANGELES                 leck Redden
PACIFIC VIEW MEMORIAL PARK     AND MORTUARY           iCl California Funeral Seruices, lnc.          I5OO PACIFIC VIEW DRIVE           :ORONA DEL MAR      :A      Seck Redden
r'ALLEY OAKS-GRIFFIN MEMORIAL PARK MORTTJ             iCl California Funeral Services, lnc.          ;5OO LINDERO CANYON ROAD          /UESTLAKE VILLAGE   :A      leck Redden
,IERCE BROTHERS-CRESTLAWN      MORTUARY               ;Cl California Funeral Seruices- lnc.          11500 ARLINGTON AVE               RIVERSIDE           :A      Beck Redden
 UNERARIA DEL ANGEL ANAHEIM                           ;Cl California Funeral 5eruices, lnc.          2425 WEST LINCOLN AVE             \NAHEIM             :A      Beck Redden
IATIONAL CREMATION SERVICE HOLLYWOOD                  ;Cl California Funeral 5eruices, lnc.          10559 VICTORY BLVD                NORTH HOLLYWOOD     :A      Beck Redden
\DVANTAGE FUNERAL & CREMATION SERVICES                ;CI  California Funeral Seruices. lnc.         i27 MAIN     STREET               HUNTINGTON BEACH    ]A      Beck Redden
 UNERARIA DEL ANGEL SANTA PAULA                        ;Cl California Funeral Seruices, lnc.         128 SOUTH EIGHTH STREET           iANTA PAULA         -A      Beck Redden
\YCOCK FUNERAL HOME                                    icl Funeral Seruices of Florida, LLC          ;05 SOUTH FEDERAL HIGHWAY         ;TUART              :L      Beck Redden          x
\YCOCK FUNERAL HOME                                   tct uneral Seruices of Florida, LLC            )50 NE JENSEN BEACH BLVD          JENSEN BEACH                Beck Redden          X
\YCOCK FUNERAT HOME                                   sct uneral Seruices of Florida. LLC            1.504 SOUTHEAST FLORESTA DRIVE    )ORT ST LUCIE       FL      leck   Redden        X
\YCOCK.RIVERSIDE FUNERAL AND CREMATION       C        scl uneral Seryices of Florida, LLC            1112 MILITARY TRAIL               ,UPITER             FL      ieck   Redden
iRISSOIVI FUNERAL HOME AND CREMATORY                  5Ct uneral Services of Florida, LLC            ,03 EMMETT STREET                  (ISSIMMEE          FL      leck   Redden
)TT-LAUGHLIN FUNERAL HOME                             SCI Funeral Seruices of Florida. LLC           ;45 WEST CENTRAL AVE              /VINTER HAVEN       FL      leck   Redden
IOWARD-QUATTLEBAUM      FUNERAL CREMATION AND         SCI Funeral Seruices of Florida. LLC           754 US HIGHWAY 1                  !ORTH PALM BEACH    FL      leck   Redden        x
/VELLS MEMORIAL   AND EVENT CENTER                    SCI Funeral Seruices of Florida, LLC           1903 WEST REYNOLDS STREET         )LANT CITY          FL      leck   Redden        x
:UNERARIA DEL ANGEL MONTEBELLO                        SCI California Funeral Services, lnc           )13 WEST WHITTIER BLVD            V]ONTEBELLO         CA      leck   Redden
:UNERARIA DEL ANGEL PICO RIVERA                       SCI California Funeral Seruices. lnc.                                            ,ICO RIVERA
                                                                                                     )107 EAST WASHINGTON BLVD                             CA      leck   Redden
}ILL MERRITT FUNERAL SERVICE                          ;Cl Oklahoma Funeral Services lnc.                   NORTHWEST 39TH EXPRESSWAY   ]ETHANY             ]K      leck   Redden        x
)EMAINE FUNERAL HOME                                  ;Cl Virsinia Funeral Seruices, lnc             '201SOUTH WASHINGTON STREET
                                                                                                     ;20                               \LEXANDRIA                  leck   Redden
)EMAINE FUNERAL HOME                                  SCI Virsinia Funeral Services. lnc.            ;308 BACKLICK ROAD                ;PRINGFI ELD                leck   Redden
COLONIAL FUNERAL HOME                                 ;Cl Mississiooi Funeral Services. LLC           23 2ND STREET                    :OLUMBIA            MS      leck   Redden
KIRKSEY FUNERAL HOME                                  icl North Carolina Funeral Seruices,     LLC   106 LENOIR ROAD                   V]ORGANTON          NC      leck Redden
VALDESE FAMILY FUNERAL CARE    AND PERFECT            icl North Carolina Funeral Seruices,     LLC   IO5 MORGAN STREET                 iALDESE             NC      Beck Redden
KIRKSEY FUNERAL HOME                                  ;Cl North Carolina Funeral Services.     LLC   69 NORTH MAIN STREET              r'IARION            \]C     Beck Redden
KIRKSEY FUNERAL HOME                                  ;Cl North Carolina Funeral Services,     LLC   PO BOX756                          LD FORT            !c      Beck Redden
BORTHWICK KAUAI MORTUARY                              lawaiian Memorial Life Plan Ltd.               3168 POIPU ROAD                   .OLOA               {t      Beck Redden
BORTHWICK MORTUARY                                    lawaiian Memorial Life Plan Ltd.               1330 MAUNAKEA STREET              IO NOLULU           lt      Beck Redden
LEO   P GALLAGHER & sON FUNERAL HOME                  ;Cl Connecticut Funeral Seruices. LLC          29OO SUMMER STREET                STAMFORD            :T      Beck Redden
LEO   P GALLAGHER & sON FUNERAL HOME                  ;Cl Connecticut Funeral Services, LLC          31 ARCH STREET                    GREENWICH           :T      Beck Redden
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Name/Address                                        \lame/Address                              {ame/Address                        :iw              itate Firm {lf Provided}   Vlatched
FOREST LAWN FUNERAL HOME      & MEMORIAL   GARD     ;Cl Tennessee Funeral Seruices, LLC         1.50 DICKERSON ROAD                JOODLETTSVILLE   TN     leck Redden
WOODLAWN.ROESCH.PATTON        FUNERAL HOME & ME     ;Cl Tennessee Funeral Services, LLC        i60 THOMPSON LN                     'IASHVILLE
                                                                                                                                                    TN     !eck Redden
COOK.WALDEN FUNERAL HOME                            iCl Texas Funeral Seruices. LLC                   NORTH LAMAR                  \USTIN           TX     )eck Redden
COOK-WALDEN CHAPEL OF THE HITLS FUNERAL             iCl Texas Funeral Seruices, LLC            '1OO ANDERSON MILL ROAD
                                                                                               )7OO                                \USTIN           TX     leck Redden
COOK-WALDEN DAVIS FUNERAL HOME                      Scl Texas Funeral 5eruices, LLc            I9OO WILLIAMS DRIVE                 JEORGETOWN       TX     ]eck Redden
:OOK-WALDEN/FOREST       OAKS FUNERAL HOME AND      ;Cl Texas Funeral Seruices. LLc            ;3OO WEST    WILLIAM CANNON DRIVE   \USTIN           TX    Beck Redden
                                                                                                                                   .UCSON
DESERT ROSE HEATHER CREMATION     & BURIAL          iCl Arizona Funeral 5eruices, LLC          tO4O NORTH COLUMBUS BLVD                                    leck Redden
WHITTEN FUNERAL HOME/PARK AVENUE                    SCI Virsinia Funeral Seruices, lnc         )o Box 489                          YNCHBURG               Beck Redden
WHITTEN MONELISON CHAPEL                            iCl Virsinia Funeral Seruices. lnc.        ,o Box 489                          YNCHBURG               Beck Redden
WHITTEN TIMBERLAKE CHAPEL                           iCl Virsinia Funeral Seruices, lnc.        ,o Box 489                          YNCHBURG               Beck Redden
MEMORIAL PLAN                                       icl Funeral services of Florida, LLc        5OO NW   52ND STREET
                                                                                                                                   '/ilAMt
                                                                                                                                                     L     ]eck Redden
FUNERARIA DEL ANGEL BELLFLOWER                      ;Cl California Funeral Services, lnc.      t0333 EAST ALONDRA BLVD             }ELLFLOWER       :A    Beck Redden
RESTHAVEN FUNERAL HOME      & CEMETERY              ;Cl Texas Funeral Services. LLC            ,o Box 15363                         UBBOCK          tx     ]eck Redden
REDWOOD CHAPEI.                                     ;Cl California Funeral Seruices, lnc.      }47 WOODSIDE ROAD                   IEDWOOD CITY           Beck Redden
FUNERARIA DEL ANGEL LINCOLN HEIGHTS                 ;Cl California Funeral Seruices, lnc.      1814 N BROADWAY                     .OS ANGELES            Beck Redden
FUNERARIA DEL ANGEL BEtL                            iCl California Funeral Seruices. lnc.      1677 EAST GAGE AVE                  }ELL             :A    Beck Redden
LEBER FUNERAL HOME                                  icl New Jersey Funeral Seruices, LLC       IOOO KENNEDY BLVD                   JNION CITY       NJ     leck Redden
LAMBERT FUNERAL HOME                                iCl California Funeral Seruices, lnc.      IOO DOUGLAS BLVD                    IOSEVILLE              Beck Redden
MOUNT VERNON MEMORIAL PARK                          Mount Vernon Memorial Park                 }201 GREENBACK LN                   AIR OAKS         :A     leck Redden
FOREST PARK - THE WOODLANDS FUNERAL HOME            ;Cl Texas Funeral Services. LLC            18OOO INTERSTATE   45   S            HE WOODTANDS    TX     leck Redden
LEVY FUNERAL DIRECTORS                              iCl Texas Funeral Seruices, LLC            4525 BTSSONNET                      }ELLAIRE         TX    Beck Redden
MEMPHIS FUNERAL HOME AND MEMORIAL GARDEN            iCl Tennessee Funeral Services, LLC        PO BOX 17069                        }ARTLETT         TN    Beck Redden
AYCOCK FUNERAL HOME                                 ;Cl Funeral Seruices of Florida. LLC       ;026 NORTH US HIGHWAY 1             :ORT PIERCE       L    Beck Redden
NATIONAL FUNERAL HOME                               iCl Virsinia Funeral Seruices, lnc.        1482 LEE HIGHWAY                    :ALLS CHURCH           Beck Redden
TRAVEL PROTECTION PLAN                              ;entinel Securitv Plans, lnc               PO BOX 130548                       IOUSTON          TX    Beck Redden
:RAWFORD.BOWERS FUNERAL HOME                        ;Cl Texas Funeral Services. LLC            3220 SOUTH 31ST STREET               EMPLE           TX    Beck Redden
EASTERN GATE MEMORIAL FUNERAL HOME                  ;Cl Funeral Services of FIorida.    LLC    1985 WEST NINE MILE ROAD            ,ENSACOT,A        L    Beck Redden
SHANNON ROsE HILL FUNERAL CHAPEL AND CEM            ;cl Texas Funeral Services,   LLC          730]. EAST LANCASTER                :ORT WORTH       TX    Beck Redden
:ABALLERO RIVERO SUNSET                             ;Cl Funeral Services of Florida, LLC       7355 SW 117 AVE                     r'llAMl          :L    Beck Redden
BERGER MEMORIAL CHAPEI                              ;Cl Missouri Funeral Services Inc.         9430 OLIVE BLVD                     iT LOUIS         vlo   Beck Redden
ELLIS FUNERAL HOME                                  ;Cl Texas Funeral 5eruices, LLC            80l   ANDREWS HIGHWAY               r'IIDLAND        TX    Beck Redden
H   M   PATTERSON & SON.SPRING HILL CHAPEL          ;CI Georsia Funeral Services. LLC          PO BOX 7370                          TLANTA          JA    Beck Redden
H   M   PATTERSON & SON-CANTON HILLCHAPEL           ;Ci Georsia Funeral Seruices. LLC          1157 OLD CANTON ROAD NE             /IARIETTA        3A    Beck Redden
H   M   PATTERSON & SON.OGLETHORPE HILL CHA         ;CI Georgia Funeral 5eruices, LLC          4550 PEACHTREE ROAD         NE      \TLANTA          3A    Beck Redden
EAST LAWN FUNERAL HOME      AND MEMORIAL PARK       ;Cl Tennessee Funeral Seruices, LLC        4997 MEMORIAL BLVD                   INGSPORT        TN    Beck Redden
BROWN FUNERAL HOME                                  ;Cl Michisan Funeral Seruices lnc          1480 EAST HILL ROAD                 JRAND BLANC      MI    Beck Redden
PRIMROSE FUNERAL SERVICE                            ;Cl Oklahoma Funeral seruices lnc.         1109 NORTH PORTER AVE               ,IORMAN          ]K    Beck Redden
]LINGER HAMPDEN MORTI.,ARY & CEMETERY               ;Cl Colorado Funeral 5eruices, LLC         8600 EAST HAMPDEN AVE               )ENVER           :o    Beck Redden
;TANETSKY MEMORIAL CHAPEL                           ;tanetskv Memorial Chapels, lnc            1668 BEACON STREET                  3ROOKLINE              Beck Redden
STANETSKY-HYMANSON MEMORIAL CHAPEL                  \FFS Salem. lnc.                           10 VINNIN STREET                    iALEM                  Beck Redden
MEMORIAL FUNERAL CHAPEL                             ;Cl Texas Funeral Services. LLC            PO BOX   3032                       BRYAN            x     Beck Redden
NATIONAL CREMATION AND BURIAL SOCIET'I              icl   Funeral Seruices of Florida, LLC     7565 RED BUG LAKE ROAD              )VIEDO            L    Beck Redden
KINGWOOD FUNERAL HOME                               ;Cl Texas Funeral Seruices, LLC            22800 HIGHWAY 59 NORTH              KINGWOOD         rx    Beck Redden
/OLUSIA MEMORIAL FUNERAL HOME                       ;Cl Funeral Seruices of Florida. LLC       4815 CLYDE MORRIS BLVD              PORT ORANGE            Beck Redden
             MEMORIAL PARK MORTUARY
r'i/ESTMINSTER                                      ;Cl California Funeral Seruices, lnc.      14801 BEACH BLVD                    WESTMINSTER      :A    Beck Redden
)EEK FUNERAL HOME                                   ;Cl California Funeral Services, lnc.      7801 BOLSA AVE                      d/ESTMINSTER           Beck Redden
         MEMORY CHAPEL                              ;Cl Georsia Funeral Serulces. LLC          PO BOX 56L                          WINDER           JA    Beck Redden
'MITH
/r'OODLAWN FUNERAL HOME AND MEMORIAL PARK           ;Cl South Carolina Funeral Services lnc.   1 PINE KNOLL DRIVE                  SREENVILLE       ;c    Beck Redden
\DVANTAGE SOUTH FUNERAL HOME                        ;Cl Oklahoma Funeral Seruices lnc.         7720 SOUTH PENNSYLVANIA AVE         ]KLAHOMA CITY    IK    Beck Redden
r'i/HITE FUNERAL HOME                               ;Cl Mississippi Funeral Seruices, LLC      315 HIGHWAY 11 SOUTH                POPLARVI LLE     \45   Beck Redden          X
TVHITE FUNERAL HOME                                 ;Cl Mississiooi Funeral Seruices. LLL      102 NORTH 1ST STREET                LUMBERTON        vt5   Beck Redden
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                                                                                                                                                                                  Not
{ame/Address                                      Name/Address                                   {ame/Address                     :itv               State   :irm (lf Provided)   Matched
:OOK-WALDEN/CAPITAL     PARKS FUNERAL HOME        SCI    Texas Funeral Services, LLC             14s01 NORTH tH-35                ,FLUGERVILLE       TX      leck Redden          X

:HAPEL HILL FUNERAL HOME                          SCI Oklahoma Funeral Seruices lnc.             ]701 NORTHWEST EXPRESSWAY        )KLAHOMA CIW       3K      leck Redden          X

)RUM FUNERAL HOME - CONOVER                       SCI North Carolina Funeral Seruices.     LLC   ;09 FIRST AVE SOUTH              :ONOVER            NC      leck Redden          X

)RUM FUNERAL HOME. HICKORY                        SCI North Carolina Funeral Services,     LLC   )40 29TH AVENUE NE               ] ICKORY           NC      leck Redden          x
/VlLLlS-REYNOLDS   FUNERAL HOME                   SCI North Carolina Funeral Services,     LLC   i6   NORTHWEST BLVD              !EWTON             NC      leck Redden          x
/VlLLlS-REYNOLDS   CREMATORY                      SCI North Carolina Funeral Services.     LLC        NORTHWEST BLVD              !EWTON             NC      leck Redden          x
TVOODLAWN NORTH      MONUMENT SHOP                S.E.   combined Seruices of Florida,    LLC    '6 SW 8TH ST
                                                                                                 3250                             VIIAMI             FL      leck Redden
:OOK-WALDEN LAMAR CREMATORY                       SCI    Texas Funeral Services, LLC                  NORTH LAMAR                 \U5TIN             TX      leck Redden          x
)FW CARE CENTER                                   SCI    Texas Funeral Services. LLC             '1OO
                                                                                                 )OO ROAD TO sIX FLAGS WEST       \RLINGTON          TX      leck Redden          x
L   CAJON PCC                                     SCI California Funeral Seruices, lnc.          ;84 SOUTH MOLLISON AVE           rl CAION           CA      leck Redden
{EPTUNE SOCIETY KANSAS CITY                        {eDtune Manasement Coro.                      ]438 WARD PARKWAY                GNSAS CITY         MO      leck Redden          x
!EPTUNE SOCIETY - MISSOURI IKANSAS}                leDtune ManaEement Coro.                      }438 WARD PARKWAY                (ANSAS CITY        MO      ieck Redden          X

EWISH MEMORIAL CHAPEL OF LONG ISLAND              SCI Funeral Services of New York, lnc.         16 GREENWICH STREET              { EM PSTEAD        NY      leck Redden
LMWOOD FUNERAL HOME & CREMATION SERVICE           (evstone America, lnc.                                 ELMWOOD AVE              :OLUMBIA           sc      leck Redden          x
TOSELAWN FUNERAL HOME & MEMORIAL GARDENS          Alderwoods {Tennessee). LLC                    '01 NW BROAD STREET              VIU RFREESBORO     TN      leck Redden          x
IATIONAL CREMATION SOCIETY DENVER                 NCS Marketine Services. LLC                    '350
                                                                                                 ;060 EAST HAMPDEN AVE            )ENVER             co      3eck Redden          x
!EPTUNE SOCIETY DAttAS                            Neptune Management Corp                        }OOO CUSTER        ROAD S260     )LANO              t-x     leck   Redden        X

{ATIONAL CREMATION SOCIETY DETROIT                NCS Marketins Seruices, LLC                    13249 WOODWARD AVENUE            ]LOOMFIELD HILLS           leck   Redden        X
{ATIONAL CREMATION SOCIETY MINNEAPOLIS            NCS Marketins Services. LLC                    ,oBox-130548                     IOUSTON            TX      leck   Redden
AIRHAVEN MEMORIAL PARK                            SCI California Funeral Seruices, lnc.          1702 FAIRHAVEN AVENUE            iANTA ANA          CA      leck   Redden        x
:REMATION SOCIETY OF VIRGINIA . RICHMON           5Cl Virsinia Funeral Seruices, lnc.            7542 W BROAD STREET              TICHMOND                   leck   Redden        X
:REMATION SOCIETY OF VIRGINIA - CHARLOTT          SCI Virsinia Funeral Seruices. lnc.            386.8 GREENBRIER DR              :HARLOTTESVILLE            leck   Redden
]REMATION SOCIETY OF VIRGINIA - CHANTILL          SCI Virginia Funeral Services, lnc.            14014 SULLYFIELD CIR S     F     :HANTILLY                  leck   Redden
!ELsEN RICHMOND                                   5Cl Virsinia Funeral Services, lnc.            1650 SOUTH LABURNUIV] AVENUE     TICHMOND                   leck   Redden        x
{ELSEN ASHLAND                                    SCI Vireinia Funeral Services. lnc.                12 S WASHINGTON HWY          \SHLAND                    leck   Redden
{ELSEN WILLIAMSBURG                               SCI Vireinia Funeral Services. lnc.            3785 STRAWBERRY PLAINS RD        /VILLIAMSBURG              leck   Redden
ABENSKI FUNERAL HOME                              5C! Connecticut Funeral Services,      LLC     107 BOSWELL AVENUE               !ORWICH            CT      ieck   Redden        x
iILLCREsT FUNERAL HOME                            SCI Texas Funeral Services, LLC                1060 NORTH CAROLINA DRIVE         L PASO            TX      leck   Redden
]ILLCREST FUNERAL HOME - WEST                     SCI Texas Funeral Seruices. LLC                ;054 DONIPHAN DRIVE              :L PASO            TX      ]eck Redden
:RESTVIEW FUNERAL HOME                            scl Texas Funeral Seruices, LLC                1462 NORTH ZARAGOZA RD            L PASO            TX      leck   Redden        x
:REDERICK FUNERAL HOME                            sCI Funeral Seruices of New York, lnc          192-15 NORTHERN BOULEVARD         LUSHING           NY      leck   Redden        x
{ARDEN FUNERAL HOME                               scl Funeral Seruices of New York. lnc.         I08-17 NORTHERN BOULEVARD        ]AYSIDE            NY      leck   Redden        X
]ENEY FTJNERAL HOME                               SCI Funeral Seruices of New York, lnc.         79 BERRY HILL ROAD               ;YOSSET            NY      leck   Redden
:RANCIS   X   HATTON FUNERAL HOME                 scl Funeral Seruices of New York, lnc          208-17 NORTHERN BOULEVARD        }AYSIDE            NY      ieck   Redden        X
TAINIER MEMORIAL CENTER                           SCI Washinston Funeral Seruices, LLC           )   o   Box 1481                 TAKIMA                     leck   Redden
)IGNITY MEMORIAL FUNERAL & CREMATION SER          SCI Funeral Seruices of Florida, LLC           I2O2 E LAKE AVE                  rAMPA              FL      leck   Redden
-AKEsHORE MEMORIAL SERVICES                       SCI Michisan Funeral Seruices lnc.             11939 JAMES STREET               ]OLLAND            MI      leck   Redden
{EPTUNE SOCIETY - SALT LAKE CITY                  Neptune Manaqement Corp.                       11.20   souTH 700 EAST sPAcE c   ;ALT LAKE CITY     UT      leck   Redden        X
{ATIONAL CREMATION SOCIETY MILWAUKEE              NCS Marketlns Services. LLC                    ;454 N PORTWASHINGTON RD         3LE N DALE                 leck   Redden
{ELSEN FUNERAL HOME - CREMATORY                   SCI Virsinia Funeral Services. lnc-            }785 STRAWBERRY PLAINS RD        /VILLIAMSBURG              ]eck Redden
IICHMOND CREMATORY                                SCI Virsinia Funeral Seruices, lnc.            1927 WESTMORELAND ST             TICHMOND                   ieck   Redden
]HANTILLY CREMATORY                               SCI Virsinia Funeral Seruices, lnc.            14014 SULLYFIELD CIR # F         :HANTILLY                  ieck   Redden        x
IILLCREST FUNERAL    HOME. CREMATORY              SCI Texas Funeral Seruices, LLC                1060 NORTH CAROLINA DRIVE        :L PASO            TX      leck   Redden
{EPTUNE SOCIETY FT LAUDERDALE IL)                 \eDtune Manasement CorD.                       }404 N ANDREWS EXT               ,OMPANO BEACH      FL      leck   Redden
iEPTUNE SOCIETY -FLP MIAMI                        Neptune Management Corp.                       3404 N ANDREWS EXT               )OMPANO BEACH      FL      ieck   Redden        x
{EPTUNE SOCIETY _FLP PALM BEACH                   \eptune Manasement CorD.                       3404 N ANDREWS EXT               ,OMPANO BEACH      FL      leck   Redden        X
,IEPTUNE SOCIETY_SHERMAN OAKS (L)                 \eDtune Manaeement Coro.                       }312 WOODMAN AVE                 ;HERMAN OAKS       CA      leck   Redden
{EPTUNE SOCIETY-SEM SHERMAN OAKS                  \eptune Management Corp.                       T53     N AZUSA    AVE           /lr'EST   COVINA   CA      leck   Redden
RIDENT SOCIETY RANCHO MIRAGE (L)                  Trident Societv, lnc.                          72-115 tItGHWAY 111              IANCHO MIRAGE      CA      leck   Redden        x
RIDENT SOCIETY _FLP SAN DIEGO                     Trident Societv. lnc.                           )242 MIRAMAR ROAD S36 - #37     ;AN DIEGO          CA      leck   Redden
AMILY MORTUARY                                    SCI California Funeral Services. lnc.          I,201 NORTH MAIN STREET          ;ANTA ANA          CA      leck   Redden
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tlame/Address                                     {ame/Address                                 !ame/Address                        :iw                itate Firm llf Providedl   flatched
                                                  ;Cl Funeral Seruices of Florida, LLC         5411 OKEECHOBEE BLVD                //EsT PALM BEACH   :t
fUATTLEBAUM FUNERAL CREMATION AND EVENT                                                                                                                     Beck Redden
JREENOAKS CREMATORY                               ;Cl Louisiana Funeral Services. lnc,         )595 FLORIDA BLVD                   BATON ROUGE              Beck Redden
TADNEY FH CATHOLIC CEMETERY OH                    ;Cl Alabama Funeral Seruices, LLC            1919 ALLEN PKWY                     HOUSTON             x    Beck Redden
\iATIONAL CREMATION SERVICE ATLANTA               {CS Marketins Services, LLC                  1250    5    PINE ISLAND ROAD       PLANTATION         :I    Beck Redden
]AVEN OF MEMORIES MEMORIAL PARK                   /an Zandt Countv Haven Of Memories, lnc      P   O   BOX   339                   :ANTON              x    Beck Redden
UBANK FUNERAL HOME                                :ubank Funeral Home, lnc                     P   O   BOX   339                   :ANTON             TX    Beck Redden
,ALM SOUTHWEST MORTUARY                           )alm Mortuary, lnc.                          1929 ALLEN PARKWAY                  HOUSTON             x    Beck Redden
]UR LADY QUEEN OF PEACE CATHOLIC CEMETER          {O LEGAL PARENT-NOT OWNED BY SCI             3520 E WASHINGTON ST                :OtTON             :A    Beck Redden
)IGNIW MEMORIAL FUNERAL & CREMATION SER           ;Cl Funeral Services of Florida. LLC             17 PARK STREET                  ACKsONVILLE        :L    Beck Redden
]OULEVARD RIVERSIDE MEMORIAL CHAPEL               icl Funeral Seruices of New York,    lnc.    1707 HYLAN BLVD                     ;TATEN ISLAND            Beck Redden
IEPTUNE MEMORIAL REEF CO 2OOO                     ;Cl Funeral Seruices of Florida, LLc         1801 EAST OAKLAND PARK BLVD         FORT LAUDERDALE    :t    Beck Redden
\CME IVIAUSOLEUM     LLC                          \cme Mausoleum,      LLC                     P O BOX 23736                       NEW ORLEANS              Beck Redden
JRACELAWN MEMORIAL PARK                           iracelawn Memorial Park. lnc                 2220    N    DUPONT HIGHWAY         NEW CASTLE         )E    Beck Redden
;AN DIEGO HUMPHREY PCC                            ;Cl California Funeral Services, Inc.        753 BROADWAY                        :HULA VISTA        I     Beck Redden
]AROTHERS FUNERAL HOME AT GASTON MEMORIA          larothers Holdins ComDanv.     LLC           2205 WILLIAMSBURG DRIVE             3A5TON1A           {c    Beck Redden
OREST LAWN FUNERAL HOME       & MEMORIAL   GARD   \lderwoods {Georpia). LLC                    ;755 MALLORY        ROAD            :OLLEGE PARK       JA    Beck Redden
]CEANSIDE PERSONAL CARE CENTER                    ;Cl California Funeral 5ervices, lnc.        1999    EL   CAMINO REAI            ]CEANSIDE          -A    Beck Redden
!EPTUNE SOCIETY ORLANDO (L                        {eptune Management Corp,                     )439 FOREST CITY COVE               \LTAMONTE SPRING         Beck Redden
!EPTUNE SOCIETY TAMPA (L)                         {eDtune Manasement Coro.                     2560 TAMPA RD                       PALM HARBOR        :L    Beck Redden
\JATIONAL CREMATION SERVICE PORTLAND                   Marketing 5eruices, LLC                 ]8OO SW SHADY LANE                  PORTLAND           )R    Beck Redden
                                                  'lCS
{ATIONAL CREMATION SOCIETY SEATTLE                {CS Marketins Seruices, LLC                  J72 STRANDER BLVD                   TUKWILA                  Beck Redden
]ENICIA CREMATORY                                 icl California Funeral Seruices. lnc.        1845 PARK ROAD                      BENICIA            :A    Beck Redden
)INELLAS PCC                                      ;Cl Funeral Services of Florida. LLC         2859 SUNSET POINT RD                :LEARWATER         .L    Beck Redden
]AY MONUMENT CO                                   ;.E.Combined Services of Florida, LLC        +207 E LAKE AVE                     TAMPA                    Beck Redden
AIRHAVEN MEMORIAL SERVICES                        icl california Funeral seruices, lnc-        27856 CENTER DRIVE                  V]ISSION VIEJO     I     Beck Redden
AIRHAVEN MEMORIAL PARK MORTUARY                   ;Cl California Funeral Seruices. lnc.        1702 FAIRHAVEN AVENUE               ;ANTA ANA          :A    Beck Redden
AIRHAVEN MEMORIAL PARK CREMATORY                  icl California Funeral Services, lnc.        1702 FAIRHAVEN AVENUE               iANTA ANA          -A    Beck Redden
lATIONAL CREMATION SERVICE CHICAGO                'lCSMarketins 5eruices, LLC                  i942 W        TOUHYAVENUE           \]ILES                   Beck Redden
!EPTUNE SOCIETY CHICAGO {L)                       {eotune Manaeement CorD.                     1628 OGDEN AVENUE                   )OWNERS GROVE            Beck Redden
:ASH RECEIPTS OH.PUERTO RICO                      :moresas Stewart - Funerarias                PO BOX 11187                        ;AN ]UAN           )R    Beck Redden
!EW ENGLAND CREMATION      SERVICES               rlew Enqland Cremation Services,       LLC   25 STARLINE WAY                     :RANSTON           U     Beck Redden          x
!EPTUNE SOCIEIY CHARLOTTE                         Neptune Manasement CorD.                     303 E WOODLAWN         RD           :HARLOTTE          {c    Beck Redden          X
{EPTUNE SOCIETY- INDIANA                          NeDtune Manaeement CorD.                     1825 EAST 96TH STREET               NDIANAPOLIS        N     Beck Redden          x
!EPTUNE SOCIETY LOUISVILLE                        Neptune Management (KY), LLC                 708 LYNDON LANE                     OUISVILLE                Beck Redden          x
!EPTUNE SOCIETY ATLANTA (L)                       Neptune Manasement CorD                      1831 PEACHTREE ROAD NE SUITE    B   \TLANTA            3A    leck   Redden        X
V]IAMI PERSONAL CARE CENTER                       S.E. Combined Services of Florida, LLc       3344 5W 8TH ST                      V]IAMI             FL    leck   Redden        X
/IEW   CREST   ABBEY MAUSOLEUM                    :versreen Funeral Home and Cemetery. lnc.    1575 145TH PLACE SE                 lELLEVUE                 leck   Redden        x
)INE RIDGE CREMATORY                              Alderwoods {ceorsia), LLC                    2950 NORIH COBB PKWY                (ENNESAW           GA    leck   Redden        x
:EMETERY REVENUE OH-PUERTO RICO                   :mpresas Stewart - Cementerios               ,o Box 11187                        iAN JUAN           PR    leck   Redden        x
;TOCKTON PERSONAL CARE CENTER                     SCI California Funeral Seruices. lnc.        ;01 N CALIFORNIA ST                 iTOCKTON           CA    leck   Redden

'IEPTUNE soclETY FoRT WoRTH
                              (L)                 \eDtune Manaeement Loro                      IlOl    AIRPORT FWY                 :ORT WORTH         TX    leck   Redden        x
{EPTUNE SOCIETY LAs VEGAS (L)                     Neptune Management Corp                      ]570 DEL WEBB BLVD                  AS VEGAS                 leck   Redden        X
)IGNITY MEMORIAL FUNERAL & CREMATION SER          SCI Funeral Seruices of FIorida, LLc         1983 W NINE MILE RD                 )ENSACOLA          FL    leck   Redden
\iEPTUNE SOCIETY HOUSTON (L)                      \eDtune Manasement Coro.                     3425 S SHEPHERD DR                  ]OUSTON            TX    leck   Redden
I'RIDENT SOCIETY ORANGE COUNTY (L)                Trident Society, lnc.                        72-116 HTGHWAY 111                  TANCHO MIRAGE      CA    ieck   Redden        x
{EPTUNE SOCIETY AUSTIN (L)                        Neptune Manasement Corp                      )11 W ANDERSON LN                   \USTIN             TX    ]eck Redden          X
,ALMDALE PERSONAL CARE CENTER                     SCI California Funeral Seruices, lnc         3150    E   PALMDALE BLVD           }ALMDALE           CA    leck   Redden        x
{EPTUNE SOCIETY DALLAS (L)                        \,leotune ManaPement Coro.                   1000 cusTER RoAD s260               )LANO              TX    leck   Redden
{ATIONAL CREMATION SOCIETY SOUTH WASHING          NCS Marketins Services. LLC                  ;72 STRANDER BLVD                   TUKWILA                  leck   Redden        x
IUINN-FOGARTY FUNERAL HOME                        SCIFuneral Seruices of New York, lnc         208-17 NORTHERN BOULEVARD           fU   EENS          NY    leck   Redden        x
{ATIONAL CREMATION SOCIETY PT CHARLOTTE           NCS Marketins Services. LLC                  2525-B TAMIAMI TRAIL                )ORT CHARLOTTE     FL    leck   Redden
                                                Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 59 of 80 PageID #:8298



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Iame/Address                                           {ame/Address                                     !ame/Address                      :ity                ;tate    irm {lf Provided)   Vlatched
\IATIONAL CREMATION SOCIETY FORT MYERS                        Marketina Seruices, LLc                   3453 HANCOCK BRIDGE PKWY          \]ORTH FORT MYERS   :L      leck Redden          x
                                                       'lCS
{ATIONAL CREMATION SOCIETY CLEARWATER2                 ICS Marketins 5eruices. LLC                      1945 EAST BAY DRIVE               :LEARWATER          :L      leck Redden
{ATIONAL CREMATION SOCIETY FRUITLAND PAR               ,/CS   Marketins Services.   LLC                 1261 US HTGHWAY 441l27               RUITLAND PARK            leck Redden          X
{ATIONAL CREMATION SOCIETY OVIEDO                      \CS Marketins Seruices, LLC                      7565 RED BUG LAKE ROAD            )VIEDO              :L      leck Redden
{ATIONAL CREMATION SOCIETY PHOENIX                     \CS Marketins Seruices. LLC                      1460 EASTTHOMAS ROAD              )HOENIX             \z      leck Redden
{ATIONAL CREMATION SERVICE - HOUSTON                   \iC5 Marketins 5eruices. LLC                     i4OO HIGHWAY 5 NORTH              {OUSTON             tx      leck Redden          x
)EACOCK NEWNAM & WHITE FUNERAL AND CREM                SCI North Carolina Funeral Seruices,       LLC   1411 NORTH HOWE STREET            iOUTHPORT           \c      leck Redden
A/HITE FUNERAT AND CREMATION SERVICE                   SCI North Carolina Funeral 5eruices,       LLC   3660 EXPRESS DRIVE                ;HALLOTTE           \C      leck Redden
iEPTUNE SOCIETY INDIANAPOLIs (L)                       !eDtune Manasement        Coro.                  t825 EAST 96TH STREET              ND!ANAPOLIS        N       leck Redden
EWISH DIRECT BURIAL & CREMATION SERVICE                ;Cl Funeral Seruices of   Florida,   LLC         I4OO NORTH FEDERAL HIGHWAY        ]OCA RATON          FL      leck Redden
{EPTUNE SOCTETY PHOENTX (L)                            \eptune Management        Corp                   1634 S PRIEST DRIVE SUITE 103     I'EMPE                      leck Redden
{EPTUNE SOCIETY DENVER (L)                             \eptune Manasement        CorD                   i225 W 80TH AVE #Cl               \RVADA              co      leck Redden
{EPTUNE SOCIETY NASHVILLE (L)                          \eotune Manapement        CorD.                  1187 OLD HICKORY BLVD             ]RENTWOOD           TN      leck Redden
{EPTUNE SOCIETY CLEVELAND                              \leDtune Manasement CorD                         7864 BROADVIEW       RD           )ARMA               3H      ]eck Redden
,lICKORY PERSONAL CARE CENTER                          SCI North Carolina Funeral Services,       LLC   tO6 LENOIR ROAD                   VIORGANTON          NC      leck   Redden
lIGH POINT PERSONAL CARE CENTER                        ;Cl North Carolina Funeral Services.       LLC    301 EAST LEXINGTON AVE           lIGH POINT          NC      leck   Redden
           SOCIEry COLUMBUS                            \,leptune Management Corp.                       }558 CEVIETERY ROAD               IILLIARD            ]H      leck   Redden
'IEPTUNE
,IEPTUNE SOCIETY DETROIT (L)                           \,leptune Management Corp                        18581 NORTHWESTERN HWY            SOUTH FIELD         MI      leck   Redden
GNsAS CITY PERSONAL CARE CENTER                        icl Missouri Funeral Seruices lnc.               ;912C BLUE RIDGE BLVD             KANSAS CITY         MO      leck   Redden
r'IOUNT HOPE CEMETERY AND MAUSOLEUM                    Mount Hope Cemetery and Mausoleum Company         215 LEMAY FERRY ROAD             ST LOUIS            MO      ]eck Redden
:UNERARIA DEL ANGEL - HIGHLAND FUNERAL H               ;Cl Texas Funeral Seruices, LLC                  ;705 N FM 88                      WESLACO             rX      ]eck Redden
)ALM VALLEY FUNERAL HOME                               iCl Texas Funeral Seruices, LLc                  I5O7 NORTH SUGAR ROAD             PHARR               TX      leck Redden
,IEPTUNE SOCIETY MINNEAPOLIS IL)                       !eptune Management Corp.                          560 WAYZATA BLVD                 GOLDEN VALLEY       MN      ]eck   Redden
,IEPTUNE SOCIETY SAN ANTONIO    It)                    !eptune Management Corp.                         I91O BANDERA RD                   SAN ANTONIO         TX      leck   Redden
r']OUNT HOPE MAUSOLEUM                                 Mount Hope Community Mausoleum Company            215 LEMAY FERRY ROAD             ST LOUIS            MO      leck   Redden
AIRHAVEN MEMORIAL FLOWER sHOP                          ;Cl California Funeral Seruices, lnc.            1702 FAIRHAVEN AVENUE             SANTA ANA           :A      ]eck   Redden
]EAVENLY GRACE MEMORIAL PARK CREMATORY                 )ial Dunkin EnterDrises. lnc.                    16873 N WHITE RANCH ROAD          LA FERIA            TX      ieck Redden
]EAVENLY GRACE FUNERAL HOME                            )ial Dunkin Enterprises, lnc                     16873 N WHITE RANCH ROAD          LA FERIA            TX      leck Redden
lEAVENLY GRACE MEMORIAL PARK                           )ial Dunkin Enterprises, lnc                     16873 N WHITE RANCH ROAD          LA FERIA            TX      Ieck   Redden
EE    FH CREMATORY                                     iCl South Carolina Funeral Services lnc.         ,o  Box 1115                      LITTLE RIVER        ;c      ieck   Redden
.EE   FUNERAL HOME                                     ;CI South Carolina Funeral Seruices lnc.         )o    BOX   1116                  LITTLE RIVER        ;c      Ieck   Redden
 IEPTUNE SOCIEry NEW ORLEANS (I.                       !eDtune Management Coro                          I8O1 WILLIAMS      BLVD SUITE A   KENNER                      ]eck   Redden
\IATIONAL CREMATION SOCIETY. LAs VEGAS                 ,,lCS Marketins Services. LLC                     1   S STEPHANIE ST S 140         HENDERSON                   Ieck Redden
EVERGREEN CEMETERY                                     ;Cl Texas Funeral Services, LLC                   301 ALAMEDA AVE                  EL PASO             rX      ]eck Redden
EVERGREEN CEMETERY EAST                                ;Cl Texas Funeral Seruices, LLC                   24OO EAST MONTANA                EL PASO             rx      ]eck Redden
EVERGREEN EAST CREMATORY                               ;Cl Texas Funeral Seruices, LLC                  .2400 EAST MONTANA                EL PASO             TX      3eck Redden
\RBUTUS MEMORIAL PARK OH                               ;Cl Maruland Funeral Services. lnc.              I1O1 SULPHUR SPRING ROAD          BALTIMORE           \40     leck Redden
:HAPEL OF THE CHIMES FUNERAL HOME                       .E.Combined Services of California, lnc.        2601 SANTA ROSA AVENUE            SANTA ROSA          :A      Beck Redden
:ALIFORNIA SHARED SERVICE CENTER                       ;Cl California Funeral Seruices, lnc.            325   W   HOSPITALITY LANE        ;AN BERNADINO               Beck Redden
-AKEWOOD PERSONAt CARE CENTER                          iCl California Funeral Seruices. lnc.            )OO   SANTA FE AVE                HUGHSON             :A      Beck Redden
IUA YUAN FUNERAL CENTER                                lH Mortuarv Corooration                          3888 WORKMAN MILL ROAD            r'1/   H ITTIF R    :A      Beck Redden
IOSE LAWN FUNERAL HOME                                 ;Cl Texas  Funeral Services, LLC                 4464 OLD PORT ISABEL RD           BROWNSVILLE         tx      Beck Redden
:REMATION SOCIETY OF VIRGINIA - RICHMON                ;Cl Virsinia Funeral Services. lnc.              1927 WESTMORELAND ST              RICHMOND                    Beck Redden
(ELLER FUNERAL HOME   & CREMATION     SERVICE          ;Cl Texas Funeral Services, LLC                  220 KELLER PARKWAY                KELLER              TX      Beck Redden
VERGREEN EAST FUNERAL HOME                             ;Cl Texas Funeral Services, LLC                  12400 EAST MONTANA                EL PASO             tX      Beck Redden
;IMPLICITY PLAN OF PUERTO RICO                         ihe Simplicity Plan of Puerto Rico                     CALLE SAN JO5E              ;ANTURCE            )R      Beck Redden
,RIEN MEMORIAL CEMETERY                                ;Cl Louisiana Funeral Seruices, lnc              '07 COUNTRY CLUB ROAD
                                                                                                        2220                              LAKE CHARLES        A       Beck Redden
!EPTUNE CREMATION SOCIETY PARAMUS                      {eDtune Manasement (NJ)- LLC                     175-8 ROUTE 4 WEST                PARAMUS             \lJ     Beck Redden
IEPTUNECS PORTLAND(L)                                  rurlhelm Mortuary, lnc.                          17819 NE RIVERSIDE PKWY           PORTLAND            )R      Beck Redden
P   WOODLANDS CEMETERY RECORDS PROJECI                 iCl Texas Funeral Seruices, LLC                  18OOO INTERSTATE 45 S             I'HE WOODLANDS      tx      Beck Redden
!EPTUNE SALES - LEGACY SOUTH WASHINGTON
                                                       'leDtune Manaeement CorD.                        17819 NE RIVERSIDE PKWY           PORTLAND            )R      Beck Redden
                                         Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 60 of 80 PageID #:8299



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{amE/Address                                    !ame/Address                             {ame/Address                      :iw                 ;tate :irm (lf Provided)   Vlatched
      OF DAVID PERSONAL CARE CENTER             icl Funeral Seruices of Florida,   LLC   7701 BAILEY ROAD                  {ORTH TAUDERDALE   FL       ]eck Redden
'TAR 5ALE5
PALM                                            Palm Mortuary, lnc.                      1325 NORTH MAIN ST                AS VEGAS           NV       leck Redden
GARNER                                          (evstone America, lnc.                   10 LAWRENCE AVE                   )OTSDAM            NY       Beck Redden
FOX   & MURRAY MEDICAL TRANSPORT                 levstone America. lnc.                  528 FRANKLIN STREEI               )GDENSBURG          \IY     Beck Redden
ROSELAWN FUNERAL HOME AND CEMETERY              iCI Seruices (Alabama),    LLC           709 MEMORIAL DRIVE SW             )ECATUR             \t      Beck Redden
PHOENIX MEMORIAL PARK AND MORTUARY              ;Cl Arizona Funeral Services, LLC        2OO    WEST BEARDSLEY ROAD        ,HOENIX             \z      Beck Redden
LAKEWOOD MEMORIAL PARK                          \lderwoods Grouo (Californial. lnc.      9OO SANTA FE AVE                  ]UGHSON             ]A      Beck Redden
HARBOR LAWN-MT OLIVE MEMORIAL PARK & MO         \lderuoods Group (California), lnc       1625 GISLER AVE                   :OSTA MESA          :A      Beck Redden
SREEN ACRES PET CEMETERY   & CREMATORY          \lderwoods (Colorado), lnc.              5450 HIGHWAY 78 WEST              )U EBLO             :o      Beck Redden
RIVERSIDE MEMORIAL PARK                         ;Cl Funeral Seruices of Florida. LLC     c/o AYcocK-RrvERstDE F-c cENTR    IU PITER                L   Beck Redden
:ORAL RIDGE FUNERAL HOME & CEMETERY             iCl Funeral Seruices of Florida, LLC     1630 SW PINE ISLAND RD            CAPE CORAL              L   Beck Redden        x
HODGES FUNERAL HOME AT LEE MEMORIAL PARK        iCl Funeral Seruices of Florida, LLC     12777 STATE ROAD 82               FORT MYERS          :I      Beck Redden        X
.AKESIOE MEMORIAL PARK    AND FUNERAL HOME      iCl Funeral Seruices of Florida. LLC     10301 NW 25TH STREET              MIAMI                       Beck Redden        x
\4OUNT NEBO/KENDALL MEMORIAL GARDENS            ;Cl Funeral Services of Florida, LLC     t900 sw 77TH AVE                  MIAMI               :t-     Beck Redden        x
;TAR OF DAVID MEMORIAL GARDENS CEMETERY         ;CI Funeral Seruices of Florida, LLC     7801 BAILEY ROAD                  NORTH LAUDERDALE    :L      Beck Redden        x
iODGES FUNERAL HOME AT NAPLES MEMORIAL G        ;Cl Funeral Seruices of Florida. LLC     i25.111TH AVE        N            NAPLES              :L      Beck Redden        x
JARDEN SANCTUARY CEMETERY                       ;Cl Funeral Services of Florida, LLC     7950 131 STREET NORTH             ;EMINOLE                    Beck Redden        x
:OREsT LAWN FUNERAL HOME & MEMORIAL GARD        \lderwoods {Georsia),     LLC                   MALLORY ROAD               :OLLEGE PARK        ;A      Beck Redden        x
(ENNEDY MEMORIAL GARDENS                        \lderwoods {Georsia).     LLC            '755
                                                                                         I5OO   RIVER ROAD                 :LLENWOOD           ]A      leck Redden        X
;HERWOOD MEMORIAL PARK AND MAUSOLEUM            \lderwoods (Georsial.     LLC                   TARA BLVD                  ONESBORO            ;A      leck Redden        x
)INERIDGE MEMORIAL PARK                         \lderwoods (Georeia),                    '841 NORTH COBB PKWY              (ENNESAW
                                                                          LLC            I95O                                                  iA      ]eck Redden
JEOR6IA MEMORIAL PARK FUNERAL HOME AND C        \lderwoods {Georsia),     LLC            IOOO   COBB PKWY 5E               VIARIETTA           ]A      3eck Redden        x
(ENNESAW MEMORIAL PARK                          \lderwoods lGeorsia).                    1306 WHITLOCK AVE
                                                                          LLC                                              V]ARIETTA           ]A      leck   Redden      X
;REEN LAWN CEMETERY & MAUSOLEUM                 \ldemoods (Georsia).      LLC            )50 MANSELL     RD                iOSWELL            3A       leck   Redden
AIRVIEW MEMORIAL GARDENS                        \lderwoods   (Georsia),   LLC            164 FAIRVIEW ROAD                  TOCKBRI DGE       GA       leck   Redden
lILLCREST MEMORIAL PARK                         \lderwoods   (Georsla).   LLC            ITOO DEANS BRIDGE ROAD            \UGUSTA            3A       leck   Redden
V]ACON MEMORIAL PARK CEMETERY                   \lderwoods {Georsial. LLC                3969 MERCER UNIVERSITY DRIVE      VIACON             3A       leck   Redden
;UNSET MEMORIAL PARK                            \lderwoods (ldaho), lnc                  1296 KIMBERLY ROAD                rWIN FALLS         ID       leck   Redden
}EVERLY CEMETERY                                :hicago Cemetery Corporation              2OOO S KEDZIE AVE                }LUE ISLAND        IL       leck   Redden
)AK WOODS MANAGEMENT COMPANY                    lak Woods Manasement Comoanv             tO35 EAST 57TH 5TREET             :HICAGO            IL       leck Redden
RVING PARK CEMETERY                             Elmwood Acquisition Corporation          1777 IRVING PARK ROAD             CHICAGO            IL       ]eck Redden
r'IOUNT OLIVE CEMETERY                          \lderuoods {Chicaso Centrall. lnc.       ISOO NORTH NARRAGANSETT AVE       CHICAGO            IL       leck Redden
)AK HILL CEMETERY   II                          :hicago Cemetery Corporation              19OO SOUTH KEDZIE AVE            CHICAGO                     )eck   Redden
.INCOLN CEMETERY                                :hicago Cemetery Corporation             12300 SOUTH KEDZIE AVE            CHICAGO                     Ieck   Redden
TIDGEWOOD MEMORIAL PARK                         lidgewood Cemeterv Companv, lnc,         }9OO N MILWAUKEE AVE              DES PLAINES                 Ieck   Redden
]AKLAND MEMORY LANES                            \lderwoods {lllinois), lnc               I52OO LINCOLN AVE                 DOLTON                      ieck   Redden
r'UOODLAWN MEMORIAL PARK                        /Voodlawn Cemeteru of Chicaso. lnc.       750 W CERMAK        ROAD         FOREST PARK                 leck   Redden
ELMWOOD CEMETERY AND MAUSOLEUM                   lmwood Acouisition Corooration          Z9O5 NORTH THATCHER ROAD          RIVER GROVE                 leck Redden
V]OUNTAUBURN CEMETERY                           vlount Auburn Memorial Park, lnc          101 SOUTH OAK PARK AVE           STICKNEY                    leck Redden
]AK WOODS CEMETERY                              )ak Woods Cemeterv Association           1035 EAST 67TH STREET             :HICAGO                     Beck Redden
:HAPEL LAWN FUNERAL HOME AND MEMORIAL GA        \lderwoods (lndianal- lnc.                1.78 CLINE AVE                   ;CHERERVILLE       N        Beck Redden
MORNINGSIDE MEMORIAL GARDENS                    \lderuoods {Minnesota}.     LLC          ].1800 UNIVERSITY AVE NORTH       :OON RAPIDS        vlN      Beck Redden
iUNSET FUNERAL HOIV]E AND CEMETERY              \lderwoods (Minnesota),     LLC          2250 5T ANTHONY EOULEVARD NE      MINNEAPOLIS        vlN      Beck Redden
:OREsT LAWN MEMORY GARDENS                      qlderwoods (MississiDoi).   LLC          7774 HIGHWA\ 39 NORTH             V]ERIDIAN          vls      Beck Redden
)ARKWAY MEMORIAL CEMETERY                       Alderwoods {MississiDoi}. LLC            ],161 HIGHLAND COLONY PKWY        TIDGETAND          MS       leck   Redden      X
JASTON MEMORIAL PARK                            Carothers Holding Companv, LLC           2205 WILLIAMSBURG DRIVE           ]A5TONIA           NC       leck   Redden
TILLCREST GARDENS                               Carothers Holdins ComDanv. LLC           1.508 CHARLES RAPER JONAS HIGHW   MOUNT HOLLY        NC       leck   Redden      x
:OREST LAWN WEST CEMETERY
                                                Carothers Holdins ComDanv. LLC           1601 FREEDOM DRIVE                :HARLOTTE          NC       ieck   Redden      x
]UMBERLAND MEMORIAL GARDENS                     Alderwoods (North Carolina), LLC         1509 RAEFORD ROAD                 AYETTEVILLE        NC       leck   Redden
ilESTMINSTER GARDENS CEMETERY AND CREMATO       W€stminster Gardens, lnc                 3601 WHITEHURST ROAD              JREENSBORO         NC       leck   Redden
iUILFORD MEMORIAL PARK                          Lineberrv GrouD. LLC                            W   GATE CITY BLVD         JREENSBORO         NC       leck   Redden      x
                                                                                         'OOO
                                         Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 61 of 80 PageID #:8300



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IALEIGH MEMORIAL PARK & MITCHELL FUNERAL        \lderwoods (North Carolinal.      LLC           501 GLENWOOD AVE             RALEIGH            NC     ]eck Redden
:OREST HILL CEMETERY                            Forest Hill Cemetery Association, lnc.         1414 CLEVELAND AVE NW         CANTON             ]H     leck Redden
IESTHAVEN MEMORIAL PARK                         \lderwoods {Oklahoma). lnc.                    14909 HIGHWAY 3               SHAWNEE            ]K     leck Redden
\RLINGTON MEMORY GARDENS                        \lderwoods {Oklahoma). lnc.                    }4OO NORTH MIDWEST BLVD       OKLAHOMA CIW       ]K     ]eck   Redden
}ELCREST MEMORIAL PARK                          \lderwoods loresonl. lnc-                       295 BROWNING AVE SOUTH       SALEM              )R     ]eck   Redden
IO5ELAWN MEMORIAL GARDENS                       \lderwoods (Tennessee). LLC                    ;350 NW BROAD STREET          MURFREESBORO       TN     ieck   Redden
]AMBLEN MEMORY GARDENS & MAUSOLEUM              \lderwoods {Tennessee). LLC                    i421 E ANDREW ]OHNSON HWY     MORRISTOWN         TN     ]eck   Redden
 ARTHMAN MEMORY GARDENs CEMETERY                ;Cl Texas Funeral Services, LLC                }624 GARTH ROAD               BAYTOWN            TX     )eck Redden
:ARTHMAN RESTHAVEN CEMETERY                     ;Cl Texas Funeral Services, LLC                 3102 NORTH FWY               HOUSTON            TX     ]eck Redden
3ARDEN PARK CEMETERY                            ;Cl Texas Funeral Seruices, LLC                }01 TEAS ROAD                 CONROE             rx     Ieck Redden
:ATHEDRAL IN THE PINES                          )unwood Cemeteru Seruice Comoanv               1825 SOUTH BROADWAY AVE       TYLER              rx     )eck Redden
TYLER MEMORIAL FUNERAL HOME - CEMETERY A        ;Cl Texas Funeral Seruices, LLC                 2053 STATE HIGHWAY 64 WEST   ryLER              rx     ]eck Redden
ELLIOTT.HAMIL GARDEN OF MEMORIES CEMETER        iCl Texas Funeral Seruices, LLC                 701 HIGHWAY 277 SOUTH        \BILEN     E       tx    3eck Redden
\CACIA MEMORIAL PARK & FUNERAL HOME             \lderwoods (Washinston).        LLC             4951 BOTHELL WAY NE          SEATTLE                  leck Redden
MILLS & MILLS MEMORIAL PARK                     i & H Properties and Enterprises, lnc.         ;725   LITTLEROCK ROAD   5W   IUMWATER                 leck Redden
POWERS WOODLAWN ABBEY                           \lderwoods (Washinston), LLC                   320 WEST PIONEER AVENUE       PUYALLU        P         Beck Redden
:VERGREEN FUNERAL HOME AND CEMETERY              vergreen Funeral Home and Cemeterv, lnc.      1504 BROADWAY                 EVERETT                  Beck Redden
METRO CREMATORY                                 \lderwoods {Georeial. LLC                      1354 SENOIA ROAD              PEACHTREE CITY     :A    Beck Redden
OHNSONS LAWNHAVEN MEMORIAL GARDENS              ;Cl Texas   Funeral Services,   LLC            4989 FM HTCHWAY 1223          ;AN ANGELO         tx    Beck Redden
MPERIAL MEMORIAL GARDENs                        \lderwoods {coloradol. lnc.                    5450 HIGHWAY 78 WEST          PUEBLO             :o    Beck Redden
IOSE HILLS MEMORIAL PARK                         lH Cemetery Corp.                             3888 WORKMAN MILL       RD    r'/H ITTIER              Beck Redden
]AILEY MEMORIAL GARDENS                          ;Cl Funeral Services of Florida, LLC          7801 BAILEY ROAD              NORTH LAUDERDALE   :t    Beck Redden
THE FOREST HILL CEMETERY   MGMT                       woods (Ohio) Cemeterv Manaqement, lnc.   1414 CLEVELAND AVE NW         ]ANTON             )H    Beck Redden
)CEAN VIEW CREMATORY                             \lderwoods Group {California). lnc.           1625 GISLER AVE               :OSTA MESA         :A    Beck Redden
           GARDENS CREMATORY
iVESTMINSTER                                     Mestminster Gardens, lnc.                     3601 WHITEHURST ROAD          SREENSBORO         ic    Beck Redden          x
)OWERS WOODLAWN ABBEY CREMATORY                  \lderwoods {Washineton), LLC                  12421 VALLEY AVE EA5T         )I]YALLLJ P              ieck    Redden       X
,EACOCK NEWNAM & WHITE - CREMATORY              SCI North Carolina Funeral Services. LLC       1411 NORTH HOWE STREET        iOUTHPORT          NC    leck    Redden       X
\DAMS FUNERAL HOMES & CREMATION SERVICE         (eystone America, lnc.                         ],2 MEADOW STREET             .UDLOW                   leck    Redden
\DAMS FUNERAL HOMES & CREMATION SERVICE         (evstone America, lnc.                         35 DEPOT ST                   :HESTER                  leck    Redden       x
]AYSIDE COMMUNITY MORTUARY                      (evstone America, lnc.                         )o Box 1104                   ;EASIDE            CA    ieck    Redden
]EHM FUNERAL HOME INC                           Behm Funeral Home. lnc.                        182 W HIGH ST                 /VAYNESBURG        PA    leck    Redden
]OOKHOUT FUNERAL HOME                           (eystone America, lnc.                         3s7 MA|N 5T PO BOX 612        )NEONTA            NY    leck    Redden       x
}OTTONI-WOOD FUNERAL HOME                       levstone    America, lnc                       I MECHANIC ST PO BOX 394      ,RATTSBURGH        NY    leck    Redden
}UCK MILLER HANN FUNERAL HOME & CREMAIIO        (evstone    America. lnc.                      }25 E 17TH STREET             DAHO FALLS         ID    leck    Redden
}URLEY FUNERAL CHAPEL                           (evstone    America. lnc.                      IOSEELYSTREET                 )AK HARBOR               leck    Redden
:ALLAWAY MEMORIAL GARDENS                       (eystone America,    lnc,                      I33 COURT STREET              :ULTON             MO    leck    Redden
:ASCADE FUNERAL HOME                            Keystone America,    lnc                       )o Box 306                     LLENSBURG               leck    Redden
 :AUGHMAN-HARMAN FUNERAL HOME - WEST COLU       (evstone America,    lnc,                      }20 W DUNBAR RD               A/ COLUMBIA        sc    leck    Redden
:AUGHMAN.HARMAN FUNERAL HOME. CHAPIN CH         (evstone America.    Inc-                      ;03 N LAKE DR                 .EXINGTON          ;c    leck    Redden
CAUGHMAN-HARMAN FUNERAL HOME - LEXINGTON        Keystone America, lnc                          ;03 N LAKE DR                  EXINGTON          tc    ]eck Redden
CLORE-ENGLISH   FUNERAL HOME                    (evstone America,    lnc                       t1190 JAMES MONROE HIGHWAY    :ULP   EP ER             ]eck Redden
CROUSE-KAUBER-FRALEY     FUNERAL HOME           (evstone America.    lnc.                       25 NORTH MAIN STREET         OHNSTOWN           ]H    ]eck Redden
ELMWOOD CEMETERY                                leystone America,    lnc.                      501 ELMWOOD AVE               :OLUMBIA           ;C    Beck Redden
FITZHENRY'S CARSON VALLEY FUNERAL HOME          (eystone America,    lnc                       ]945 FAIRVIEW   DRIVE         ]ARSON CITY        NV    Beck Redden
FITZHENRY'S FUNERAL HOME                        (evstone America,    lnc,                      3945 FAIRVIEW DRIVE           ]ARSON CITY              Beck Redden
FLETCHER FUNERAL HOME AND CREMATION SERV        ievstone America.    lnc.                      33 MARLBORO STREET            (EEN   E           \]H   Beck Redden
FOLEY FUNERAL HOME AND CREMATION SERVICE        (eystone America,    lnc                       49 COURT STREET               (EENE              {H    Beck Redden
FOX   & MURRAY FUNERAL HOME AND CREMATION       (eystone America,    lnc.                      528 FRANKLIN STREET           f,GDENSBURG        \]Y   Beck Redden
SARNER FUNERAL SERVICE                          (evstone America, lnc.                         ].0 LAWRENCE AVE              )OTSDAM                  Beck Redden
SEBHART-SCHMIDT-PARRAMORE FUNERAL HOME          :evstone America- lnc.                         508 E LINDEN AVE              MIAMISBURG         )H    Beck Redden
:ERBER CHAPEL                                   (eystone America, lnc.                         23 W LOCKWOOD AVE             WEBSTER GROVES     vto   Beck Redden
                                            Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 62 of 80 PageID #:8301



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JILLILAND HOWE FUNERAL HOME                        (evstone lndiana, lnc.                         10 EAST NORTH STREET           J   REENSBU RG       IN      leck Redden
JIVEN-DAWSON FUNERAL HOMES                         (evstone America. lnc.                        t86 PARK AVE                    :OSHOCTON            ]H      leck Redden
IARRY J WILL FUNERAL HOMES                         Kevstone Michigan, lnc.                       }7OOO   W SIX MILE ROAD         .IVONIA              MI      leck Redden
HARRY J     WIIL   FUNERAL HOMES                   (evstone Michisan, lnc                         5450 PLYMOUTH RD               IEDFORD              MI      ]eck Redden
HARRY J WILL FUNERAL HOMES                         (evstone Michisan. lnc.                       }4567 IVIICHIGAN AVE            A/AYNE               MI      leck   Redden
HAUGHEY-WOOD FUNERAL HOME                          (evstone America. lnc.                         19 FIFTH STREET                A/ATKINS GLEN        NY      leck   Redden
HEALY-HAHN FUNERAL HOME INC                        Healy-Hahn Funeral Home, lnc,                 ;12 GRANT AVE                   }ITTSBURGH           PA      leck   Redden
HODGSON FUNERAL HOME                               (evstone America, lnc                         ;08 2OTH STREET                 IOCK ISLAND          It      leck   Redden
SUMMIT MEMORIAL PARK                               (evstone America. lnc.                        !33 COURT STREET PO BOX 818     :ULTON               MO      leck   Redden
HOPKINS. RECTOR FUNERAL HOME                       Keystone lndiana, lnc.                         PERCY   L JULIAN   DRIVE       JREENCASTLE          IN      leck   Redden
HOYT.COtE CHAPET OF THE FLOWERS                    (evstone America, lnc                         I15 WALNUT    ST                IED BLUFF            :A      leck Redden
J   KEVINTIDD FUNERAL HOME                         (evstone Michisan. lnc.                       }11. FINLEY DR                  \tBION               MI      leck Redden
]OHNSON FUNERAL HOME                               Keystone America, lnc.                         ],0 HARGETT SI                 TICHLANDS            NC      leck Redden
JONES   &   LEWIS CLEAR LAKE MEMORIAL CHAPEL       (evstone America, lnc                         16140 MA|N ST PO BOX 284         OWER LAKE           :A      ]eck Redden
KAUBER-FRALEY       FUNERAL HOME                   (evstone America, lnc.                         89 S MAIN ST PO BOX 141.3      ,ATASKALA            ]H      ]eck Redden
KAUL FUNERAL HOME                                  levstone Michisan. lnc.                        8433 JEFFERSON AVE             iT    CLAIR SHORES   MI      leck Redden
KAUL FUNERAL HOME                                  (evstone Michiqan, lnc.                        5201 GARFIELD RD               ]LINTON TOWNSHIP     MI      Beck Redden
KAUL FUNERAL HOME                                  (evstone Michisan. lnc.                       27830 GRATIOT AVE               IOSEVILLE            MI      Beck Redden
KELLER-KOCH-CHUDZINSKI FUNERAL HOME                :evstone America. lnc.                        416 SOUTH ARCH STREET           :REMONT              ]H      Beck Redden
KENNETH L BENNETT FUNERAL HOME                     (eystone America, lnc.                        425 MAIN STREET                 :RANKLIN             NY      Beck Redden
KER WESTERLUND FUNERAL HOME                        (er-Westerlund Funeral Home, lnc              57 HIGH 5T                      }RATTLEEORO          ,fi     Beck Redden
LESTER   R GRUMMONS FUNERAL HOME                   (evstone America. lnc,                        14 GRAND STREET                 )NEONTA              !Y      Beck Redden
LINDSEY KOCHER FUNERAL SERVICES                    :evstone America. lnc.                        323 MYRTLE AVE                  MILLARD              ]H      Beck Redden
LINDSEY-FOOS-KOCHER       FUNERAL SERVICE          (eystone America, lnc,                        1295 WEST TIFFIN STREET         \TTICA               ]H      Beck Redden
LINN-HONEYCUTT FUNERAL HOME                        (evstone America, lnc,                        1420 NORTH MAIN ST              :HINA GROVE          !C      Beck Redden
LINN.HONEYCUTT FUNERAL HOME                        :evstone America. lnc.                        1420 NORTH MAIN ST              ]HINA GROVE          !c      Beck Redden
LITTLE CHAPEL BY THE SEA CREMATORY                 (evstone America, lnc                         390 LIGHTHOUSE AVE              ,ACIFIC GROVE                Beck Redden
MARINA CREMATION & BURIAL ALTERNATIVES             (evstone America, lnc,                        229 REINDOLLAR AVE SUITE    F   /lARINA                      Beck Redden
MATTOX-WOOD          FUNERAL HOME                   :evstone lndiana. lnc.                       1550 LAFAYETTE                  rERRE HAUTE          N       Beck Redden
MERRILL GRINNELL FUNERAL HOME                      (eystone America, lnc.                        39 GEDDES ST                    IOTLEY               \]Y     Beck Redden
MYERS FUNERAL HOME                                 (eystone lndiana, lnc                         2901 GUILFORD STREET            IUNTINGTON           N       Beck Redden
MYERS FUNERAL HOIV]E                               (evstone lndiana. lnc.                        X15 N LEE STREET                MARKLE               N       Beck Redden
NICKERSON.BOURNE FUNERAL HOME                      ,,lickerson-Bourne Funeral Homes, lnc.        154 ROUTE 5A                    SANDWICH                     Beck Redden
PETTUS.TURNBO FUNERAL HOME                         (evstone America, lnc.                        501 W GAINES ST                 LAWRENCEBURG         rN      Beck Redden
PUTNAM FUNERAL HOME                                (evstone Michisan. lnc.                       11 EAST CHICAGO STREET          :OLDWATER            vll     Beck Redden
RJ FAHYFUNERALHOME                                 (evstone America, lnc.                        116 N BROAD STREET              NORWICH              {Y      Beck Redden
REYNOLDS HAMRICK FUNERAL HOMES        & CREMATO    (eystone America, lnc.                        518 W MAIN ST                   A/AYNESBORO                  Beck Redden          x
;CHIMUNEK FUNERAL HOME                             the Schimunek Funeral Home of Bel Air, lnc.   610 W MACPHAIL RD               BEL   AIR            V]D     Beck Redden
iHAFFER-JENSEN MEMORY CHAPET                       (evstone America, lnc.                        112 N gTH PO BOX 730            PAYETTE              D       Beck Redden
SHAFFER-JENSEN MEMORY CHAPEI.                      (evstone America, lnc.                        112 N gTH PO BOX 730            PAYETTE              D       Beck Redden          x
;HAFFER.JENSEN MEMORY CHAPET                       (eystone America, lnc.                        112 N gTH PO BOX 730            PAYETTE              D       Beck Redden          X
;HERRIE BREAM FUNERAL HOME                         (eystone America, lnc.                        4521 MAIN STREET                SASPORT              \lY     Beck Redden          x
(ENNETH H SHERRIE FUNERAL HOME                     (evstone America, lnc.                         139 EAST AVE                   NEWFANE                      Beck Redden          x
;HOWALTER BLACKWELL FUNERAL HOME                   (evstone Amenca. lnc.                         BAKERCHAPEL.4 COUNTY LINE ST    :OLLEGE CORNER       ]H      Beck Redden          x
;OUTHLAND MEMORIAL GARDENS                         (eystone America, lnc.                        7OO W DUNBAR RD                 /i/   COIUMBIA       ;c      Beck Redden          X
iTEWARD & WILLIAMS TRIBUTE CENTER                   evstone America, lnc                         301 EAST THIRD AVENUE           ELLENSBU RG                  Beck Redden          x
;TRATE FUNERAL HOME                                .evstone America. lnc.                        505 10TH ST PO BOX 175          DAVENPORT                    Beck Redden          x
iTRATE FUNERAL HOME                                (eystone America, lnc.                        329 EAST GRAND COULEE AVE       SRAND COULEE                 Beck Redden          x
;TRATE FUNERAL HOME                                 eystone America, lnc.                        MAIN - ADLER STREETS            /VILBUR                      Beck Redden          x
THE PAUL MORTUARY                                   eVstone America, lnc.                        390 LIGHTHOUSE AVE              )ACIFIC GROVE        ,A      Beck Redden          x
THOMAS FUNERAL HOME                                 evstone lndiana. lnc.                        2200 N 13TH 5T                  TERRE HAUTE          N       Beck Redden          x
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.O8IAS
         FUNERAL HOME . BEAVERCREEK CHAPEL            levstone America. lnc.                  }970 DAYTON.XENIA RD        DAYTON              ]H    ]eck Redden
 OBIAS FUNERAL HOME - ENGLEWOOD CHAPEL                (eystone America, lnc                   ;75 WEST WEN6ER ROAD        ENGLEWOOD           )H     ]eck Redden
 OBIAS FUNERAL HOME - FAR HILLS CHAPEL                (evstone America, lnc,                  ;471 FAR HILLS AVE          DAYTON              ]H     leck   Redden
-URNER
         ROBERTSHAW FUNERAL HOME                      levstone America. lnc.                  12OO N SHENANDOAH AVE       FRONT ROYAL                ]eck   Redden
/ISSER FUNERAL HOME                                   (eystone America, lnc,                  ,o Box327                   LANGLEY                    )eck   Redden
MEBB NOONAN KIDD FUNERAL HOME                         (evstone America. lnc                    40 ROSS AVE                HAMILTON            ]H     leck   Redden
      FUNERAL HOME                                    (evstone America. lnc,                  I84 MAIN STREET             EAST AURORA                leck Redden
^/OOD
,OUNG'S FUNERAL DIRECTORS                              leystone America, Inc.                 iO8 CHAMPAGNOLLE            EL DORADO           \R     ]eck Redden
:ARRO FUNERAL HOME                                    Iarro Funeral Home                      t45 HARRISON STREET         BLOOM    FI   ELD   !J     ]eck Redden
]AILEY ZECHAR FUNERAL HOME                            (evstone America. lnc.                  ;53 HICKEY AVE              VERSAILLES          ]H     ieck Redden
(EYSTONE ADVANCE PLANNING ELIMINATION                 :evstone Advance Plannins. lnc.          929 ALLEN PKWY             HOUSTON             il     ,eck Redden
VIONTEREY CREMATORY                                   (evstone America, lnc                   I90 LIGHTHOUsE AVE          PACIFIC GROVE       :A     Ieck Redden
NORTH VALLEY CREMATORY                                (evstone America, lnc.                  ,o Box 558                  RED BLUFF           ]A     )eck Redden
:REMATION SERVICES OF WESTERN CT                      :evstone America. lnc.                   5 MAIN ST                  DANBURY             :T    Seck Redden
KER   AMBULANCE                                       (er-Westerlund Funeral Home, Inc.           7 HIGH ST               BRATTLEBORO         n      leck Redden
HOYT-COLE MEMORIAL CHAPEL MAUSOLEUM                   Memorial Chapel                         316 WALNUT ST               RED BLUFF           :A    leck Redden
:AUGHMAN - HARMAN CREMATORY                           (evstone America. lnc.                  ;03 N   L,AKE DR            LEXINGTON           ;c    3eck Redden
(ER WESTERLUND CREMATORY                              (er-Westerlund Funeral Home, lnc.           7 HIGH 5T               BRATTLEBORO         n      ]eck Redden
TERRE HAUTE CREMA.TORY                                (eystone Indiana, lnc                   4660 LAFAYETTE              TERRE HAUTE         N     leck Redden
iEYNOLDS-HAMRICK CREMATORY                            (evstone America, lnc.                      W MAIN ST               /UAYNESBORO               Beck Redden
IO8IA5 CREMATORY                                      (evstone America. lnc.                  '18 DAYTON-XENIA RD
                                                                                              3970                        DAYION              )H    Beck Redden
V]OSS SERVICE FUNERAL HOME                            ;cl Seruices (Alabama),   LLC           1901 2ND AVE NORTH WEST     :UtLMAN             \L    Beck Redden
IOSELAWN FUNERAL HOME AND CEMETERY                    ;Cl Seruices (Alabama), LLC             741 DANVILLE ROAD SW        DECATUR             \L    Beck Redden
(ILGROE FUNERAL HOME                                  ;Cl Seruices (AIabama). LLc             2219 - 2ND AVE NORTH        PELL CITY           \L    Beck Redden
:URTIS AND sON FUNERAL HOME                           ;Cl Seruices (Alabama), LLC             131.5 TALLAOEGA HIGHWAY     iYLACAUGA           \L    Beck Redden
 UQUA-BANKSTON FUNERAL HOME                           ;Cl Seruices (Alabama), LLC             P   O BOX 1809              ]ZARK               \L    Beck Redden
:ALLISON.LOUGH FUNERAL HOME                           \lderwoods (Arkansas). lnc.             JO5   W CENTRAL             ]ENTONVILLE         \R    Beck Redden
)HOENIX MEMORIAL PARK AND MORTUARY                    ;Cl ArizonaFuneral 5eruices, LLC        2OO   WEST BEARDSLEY ROAD   )HOENIX             \z    Beck Redden
)IMOND & SON5 VALLEY VIEW FUNERAL HOME                icl ArizonaFuneral Services, LLC        2620 SILVER CREEK ROAD      ]ULLHEAD CITY       \z    Beck Redden          x
)IMOND & SONS SILVER BELL CHAPEL                      SCI ArizonaFuneral 5eruices, LLC        2620 SILVER CREEK ROAD      ]ULLHEAD CITY       \z    Beck Redden          x
)EtANO MORTUARY                                       Alderwoods  Group (California), lnc.    707 BROWNING ROAD           )ELANO              :A    leck    Redden       X
.AKEWOOD FUNERAL HOME                                 Alderwoods Group (California), Inc.     )OO   SANTA FE AVE          IUGHSON             CA    leck    Redden
;TEPHENS   AND EEAN FUNERAL CHAPEL                    Aldemoods Grouo {California). lnc.      IO2 NORTH TEILMAN            RESNO                    leck    Redden       x
/VHITEHURST SULLIVAN BURNS      & BLAIR FUNERA        Alderwoods Grouo {California}. lnc.     1525 EAST SAGINAW            RESNO              CA    leck    Redden
;TRATFORD EVANS MERCED FUNERAL HOME                   qlderuoods Group (Calitornial, lnc,     1490 B STREET               VIERCED             CA    leck    Redden
/VHITES FUNERAL HOME                                  Alderwoods Group (California), lnc.     ,903 EAST FLOWER STREET     JELLFLOWER                leck    Redden
IARBOR LAWN.MT OLIVE MEMORIAL PARK & MO               Alderwoods Grouo (California). lnc.     ],625 GISLER AVE            :O5TA MESA          CA    leck    Redden       x
)IMOND & SHANNON MORTUARY                             Alderwoods Grouo {California).   lnc.   ],0630 CHAPMAN AVE          JARDEN GROVE        CA    leck    Redden
IRENTWOOD FUNERAL HOME                                Alderwoods Grouo {California).   lnc.    I39 FIRST STREET           }RENTWOOD           CA    leck    Redden
]HAPEL OF THE PINES                                   \lderwoods Group (California),   lnc.   1855 COLD SPRINGS ROAD      )LACERVI LLE              leck    Redden
,.IICOLETTI CUUIS   &   HERBERGER FUNERAL HO          \lderuoods Grouo (California).   lnc.   i4O1 FOLSOM BLVD            ;ACRAMENTO          CA    leck    Redden
A/HITEHURST-NORTON-DIAS FUNERAL SERVICE               \lderuoods Grouo (California).   lnc.    86 WEST MAIN               tU RLOCK            CA    leck    Redden
:UNERARIA DEL ANGEL HUMPHREY                          Universal Memorial Centers V, lnc.      753 BROADWAY                :HULA VISTA         :A    leck    Redden
'/ICLEOD
         MORTUARY                                     \lderwoods Group (Californial. lnc.     1919 EAST VALLEY PKWY        SCONDIDO                 leck    Redden
]ONRAD LEMON GROVE MORTUARY                           \lderwoods Grouo (Californial. lnc.     7387 BROADWAY               .EMON GROVE         :A    leck    Redden
MERKLEY-MITCH ELL MORTUARY                            \lderwoods Grouo ICalifornial. lnc.     ]655 sTH AVE                ;AN DIEGO           :A    leck    Redden
BEARDSLEY-MITCHELL FUNERAL HOME                       \lderwoods Group {California),   lnc    t818 SUNSET CLIFFS BLVD     ;AN DIEGO           :A    leck    Redden
KEATONS REDWOOD CHAPEL OF MARIN                       \lderwoods Grouo {California).   lnc.   t8O1 NOVATO BLVD            ,IOVATO             :A    leck Redden
WILLOW GLEN FUNERAL HOME                              \lderwoods Grouo {California).   lnc.   1039 LINCOLN AVE            ;AN JOSE            :A    leck Redden
KEATONS MORTUARY                                      \lderwoods Group (California),   lnc    ],022 E STREET              ;AN RAFAEL          :A    Beck Redden
ROSE HILLS MORTUARY                                   lH Mortuarv Corporation                 3888 WORKMAN MILL RD        ruHITTIER           ]A    Beck Redden
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                                                                                                                                                                              {ot
\lame/Address                                    \lame/Address                                {ame/Address                    City                 itate :irm {lf Provided)   Vlatched
SAN LEANDRO FUNERAT HOME                         \lderwoods     Group (California), lnc.      IO7 ESTUDILLO AVE               SAN LEANDRO          :A      Ieck Redden
DIMOND & SONS NEEDLES MORTUARY                   \lderwoods     Grouo {California), lnc        22 E STREET                    N EED LES                    Ieck Redden
IMPERIAL FUNERAL HOME                            \lderuoods     {Colorado). lnc.              ;450 HIGHWAY 78 WEST            PU EBLO              :o      )eck Redden
sEORGE MCCARTHY FUNERAL HOME                     \tderuoods     (Colorado). lnc.              101 BROADWAY                    PU EBLO              :o      leck Redden
;PADACCINO AND LEO P GALLAGHER & SON CO          \ldemoods    (Connecticut), Inc.             315 MONROE TURNPIKI             MONROE               :l      leck Redden
:ORAL RIDGE FUNERAL HOME & CEMETERY              ;Cl Funeral Services of Florida, LLC         1630 SW PINE ISLAND ROAD        :APE CORAL               L   Beck Redden
IODGES-KISER FUNERAL HOME                        icl Funeral Seruices of Florida- LLc         )231 CYPRESS LAKE DRIVE         FORT MYERS               t   Beck Redden
IODGES FUNERAL HOME AT LEE MEMORIAL PARK         iCl Funeral Services of Florida, LLC         12777 STATE ROAD 82             FORT MYERS               t   Beck Redden
TIVERSIDE GORDON MEMORIAL CHAPELs AT MOU         ;Cl Funeral Seruices of Florida, LLC         59OO SW 77TH AVE                MIAMI                :I      Beck Redden
iTAR OF DAVID MEMORIAL GARDENS CEMETERY          ;Cl Funeral Seruices of Florida. LLc         7701 BAILEY ROAD                NORTH LAUDERDALE     :I      Beck Redden
(RAEER FUNERAL HOME AND CREMATION CENTER         ;Cl Funeral Services of Florida, LLC         1655 UNIVERSITY DRIVE           :ORAL SPRINGS        :L      Beck Redden
(RAEER,BECKER  FUNERAL HOME AND CREMATION        ;Cl Funeral Seruices of Florida, LLC         217 E HILLSBORO BLVD            DEERFIELD BEACH      :L      Beck Redden
(RAEER.FAIRCHILD FUNERAL HOME AND CREMAT         ;Cl Funeral Seruices of Florida, LLC         1061 NORTH FEDERAL HIGHWAY      FORT LAUDERDALE      :t      Beck Redden
]ROWARD BURIAL AND CREMATION                     ;Cl Funeral Services of Florida, LLC         1801 EAST OAKLAND PARK BLVD     FORT LAUDERDALE      :L      Beck Redden
(RAEER FUNERAL HOME AND CREMATION CENTER         icl Funeral Seruices of Florida,       LLC   1 NORTH STATE ROAD 7            V]ARGATE             :L      Beck Redden
/VYLIE-BAXLEY FUNERAL HOME                       ;Cl Funeral Seruices of Florida, LLC         1360 N COURTENAY PKWY           V]ERRITT ISLAND              Beck Redden
(RAEER FUNERAL HOME AND CREMATION CENTER         icl   Funeral seruices of Florida. LLc       IOO NORTH FEDERAL HIGHWAY       )OMPANO BEACH        :L      Beck Redden
(RAEER FUNERAL HOME AND CREMATION CENTER         iCl Funeral Services of     Florida,     C   1199 NE 36TH STREET             )OMPANO BEACH        :L      Beck Redden        x
(RAEER FUNERAL HOME AND CREMATION CENTER         SCI Funeral Services of     Florida,     c   2OO   NORTH FEDERAL HIGHWAY     )OMPANO BEACH       FL       Beck Redden        x
IODGES FUNERAL HOME AT NAPLES MEMORIAL G         SCI Funeral Seruices of     Florida.    LC   ;25 - 111TH AVE   N             !APLES              FL       Beck Redden        x
IODGES-JOSBERGER    FUNERAL HOME                 SCI Funeral Seruices of     Florida.     C   i77 ELKCAM     CIRCLE           V]ARCO ISLAND       FL       leck Redden        X
JARDEN SANCTUARY FUNERAL HOME                    SCI Funeral Seryices of     Florida,     c   7950 ].31 STREET NORTH          ;EMINOLE            Ft       ieck Redden        x
;ANDY SPRINGS CHAPEI-                            Aldemoods (Georsia).        LLC              136 MT VERNON HIGHWAY           iANDY SPRINGS       GA       ieck Redden        X
rARA GARDEN CHAPEL                               Alderuoods {Georpia).       LLC                    NORTH AVE                 JONESBORO           GA       ]eck Redden        x
JEORGIA MEMORIAL PARK FUNERAL HOME AND C         Alderwoods (Georsia), LLc                    '81
                                                                                              2OOO   COBB PKWY 5E             V]ARIETTA           GA       leck   Redden
]ARMICHAEL - HEMPERLEY FUNERAL HOME AND          Alderwoods {Georsia). LLC                    135 SENOIA ROAD                 )EACHTREE CITY      GA       leck   Redden      x
IOSWELL FUNERAL HOME                             Alderwoods (GeorPia). LLc                    )50 MANSELL ROAD                TOSWELL             GA       leck   Redden
IORIS   A WARD. FAIRVIEW   CHAPEL                {lderwoods (Georgia), LLC                    376 FAIRVIEW ROAD               ;TOCKBRIDGE         GA       leck   Redden
IVOODSTOCK FI.]NERAL HOME                        \lderwoods (Georsia), LLC                    }855 MAIN STREET                iVOODSTOCK          GA       leck   Redden      x
)WEN FUNERAL HOME                                Alderwoods (Georeia). LLC                    ,o Box 711                      :ARTERSVILLE        GA       leck   Redden
A/INKENHOFER    PINE RIDGE FUNERAL HOME          \lderwoods     {Georsia).   LLC               950 NORTH COBB PKWY            (ENNESAW            GA       leck   Redden
 DO MILLER AND SONS FUNERAL HOME                 \ldemoods      {Georsia), LLC                }321. GLYNN AVE                 ]RUNSWICK           GA       leck   Redden
V]ACON MEMORIAL PARK FUNERAL HOME                \lderwoods     {Georpia). LLC                }969 MERCER UNIVERSITY DRIVE    VIACON              3A       leck   Redden
JODGES-MOORE FUNERAL HOME                        \ldeMoods      {Georsial. LLc                 2757 HWY 80 EA5T               ;TATESBORO          3A       leck   Redden
 HOMPSON.STRICKLAND-WATERS FUNERAL HOME          \ldemoods      (Georsial. LLC                IO7 SINGLETON AVE               ;YLVANIA            3A       ]eck Redden
REYNOLDS FUNERAL CHAPEL                          \lderwoods    (ldaho), lnc.                   466 ADDISON AVE EAST           IWIN FALLS          ID       leck Redden
WHITE MORTUARY AND CREMATORY - CHAPEL BY         \lderwoods    (ldaho). lnc                   136 4TH AVE EAST                i.WIN FALLS         ID       leck Redden
LAUTERBURG - OEHLER FUNERAL HOME                 \lderwoods    (ChicaPo North)- lnc.          IOOO EAST   NORTHWEST HIGHWAY   \RLINGTON HEIGHTS   IL       leck Redden
OEHLER FUNERAL    HOME DES PLAINES               \lderwoods    (Chicago North), lnc.          IO99 MINER STREET               )ES PLAINES         IL       leck Redden
MOUNT AUBURN FUNERAL HOME                        \lderwoods    {Chicaso Central), lnc         4101 SOUTH OAK PARK AVE         ;TICKN EY           IL       Beck Redden
WEINSTEIN & PISER FUNERAL HOME                   \lderwoods    {ChicaEo North). lnc.          111 SKOKIE BLVD                 fuILMETTE           IL       Beck Redden
:HAPEL LAWN FUNERAL HOME AND MEMORIAT GA         \lderwoods    {lndiana}. lnc.                8178 CLINE AVE                  ;CHERERVILLE        IN       Beck Redden
DAY & DEREMIAH-FRYE FUNERAL HOME                 \lderwoods    {lndiana), lnc                 4150 EA5T THIRD ST              }LOOMINGTON         N        Beck Redden
DEREMIAH FRYE MORTUARY GREENE & HARRELL          \lderwoods    {lndiana}. lnc                 7OO WEST GOURLEY PIKE           }LOOMINGTON         N        Beck Redden
BOND-MITCHELL FUNERAL HOME                       \lderwoods    llndiana). lnc.                1682 STATE ROAD 135 NORTH       'IASHVILLE          N        Beck Redden
ELZEY-PATTERSON-RODAK HOME FOR FUNERALS          \lderwoods    flndiana)- lnc.                6810 OLD TRAIL ROAD             :ORT WAYNE          N        Beck Redden
ELZEY.PATTERSON-RODAK FUNERAL HOME               \lderwoods    (lndiana), lnc                 PO BOX   367                    )sstAN              N        Beck Redden
]UIRING MONUMENT COMPANY                         \lderwoods    (Kansas), lnc                  925 NORTH HILLSIDE              ,1/lCHlTA           (s       Beck Redden
HILLSIDE FUNERAL HOME   WES]                     \lderwoods    {Kansas). lnc.                 2929 WEST THIRTEENTH STREET     ,,IJ   ICH ITA      (s       Beck Redden
]GLETHORPE CREMATORIUM                           \lderwoods    fGeorEial.    LLC              3321 GLYNN AVE                  BRUNSWICK           rA       Beck Redden
r'i/ESTSIDE/LEITZ-EAGAN FUNERAL HoME             icl Louisiana Funeral Seruices, lnc          5101 WESTBANK EXPRESSWAY        MARRERO             .A       Beck Redden
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!ame/Address                                   !ame/Address                           rlame/Address                  ciw                ;tate   :irm llf Providedl   vlatched
LEITZ-EAGAN FUNERAL HOME                       ;Cl Louisiana Funeral Seruices. lnc.    747 VETERANS BLVD             METAIRIE           .A      Ieck Redden
H   C ALEXANDER FUNERAL HOME                   ;Cl Louisiana Funeral Seruices, lnc     21 FOURTH STREET              NORCO                      ]eck Redden
EVANGELINE FUNERAL HOME                        ;Cl Louisiana Funeral Seruices, lnc     14 E 5T PETERS STREET         NEW IBERIA         .A      Ieck Redden
EVANGELINE FUNERAL HOME                        ;Cl Louisiana Funeral Seruices. lnc.    14 E SAINT PETER ST           NEW IBERIA                 Ieck Redden
]URSO FUNERAL HOME                             ;Cl Louisiana Funeral Seruices, lnc.   ,o Box 720                     DONALDSONVILLE             )eck Redden
H   C ALEXANDER FUNERAL HOME                   ;Cl Louisiana Funeral 5eruices, lnc    roB 843                        LUTCHER                    )eck Redden
HARGRAVE FUNERAL HOME                          ;Cl Louisiana Funeral Seruices. lnc,    031 VICTOR II BLVD            MORGAN CITY                leck Redden
EVANGELINE FUNERAL HOME                        icl Louisiana Funeral 5eruices, lnc.    14 E SAINT PETER ST           NEW IBERIA         .A      leck Redden
]URSO FUNERAL HOME                             ;Cl Louisiana Funeral Seruices, lnc,   )o    Box 720                  DONALDSONVILLE     n       3eck Redden
]URSO FUNERAL HOME                             ;Cl Louisiana Funeral Seruices, lnc    t3533 AIRLINE HIGHWAY          SONZALES                   Seck Redden
!ICKERSON FUNERAL HOME                         )oane Beal & Ames. lnc.                37 CROWELL ROAD                :HATHAM            VIA     leck Redden
)OANE BEAL & AMES                              )oane Beal & Ames, lnc.                160 WEST MAIN STREET           HYANNIS                    Beck Redden
:UFFE.MCGINN FUNERAL HOME                      :utte-McGinn Funeral Home, lnc.         57 MAPLE STREET               LYNN                       Beck Redden
!ICKERSON FUNERAL HOME                         )oane Beal & Ames. lnc.                77 ELDREDGE PARK WAY           ]RLEANS            VIA     leck Redden
)OANE EEAL & AMES                              )oane Beal & Ames, lnc.                260 MAIN STREET                /r'EST HARWICH             Beck Redden
iOEERT E EVANS FUNERAL HOME                    \ldeMoods { Marvland}, lnc             16000 ANNAPOLIS ROAD           BOWIE              vlD     Beck Redden
IUNTT FUNERAL HOME                             \lderuoods {Marvland). lnc.            3035 OLD WASHINGTON      RD    r'/ALDORF          VID     Beck Redden
IESURRECTION FUNERAL HOME                      \ldemoods (Michigan), LLC              1O8OO HAYES ROAD               :LINTON TOWNSHIP   vll     Beck Redden
SORSLINE RUNCIMAN FUNERAL HOMES                     woods Michisan),      LLC         205 E WASHINGTON               DEWITT             vll     Beck Redden
:ORSLINE RUNCIMAN FUNERAL HOMEs                \lderwoods   tMichisan).   LLC         1730 EAST GRAND RIVER AVE      EAST LANSING       vll     Beck Redden
SORSLINE RUNCIMAN FUNERAL HOMES                \lderwoods   (Michiean).   LLC         )OO EAST MICHIGAN AVE          LANSING            VII     Beck Redden
:DWARD SWANSON & SON FUNERAL HOME              \lderwoods   Michisan), LLc            30351 DEQUINDRE ROAD           MADISON HEIGHTS    vll     Beck Redden
JORSLINE RUNCIMAN FUNERAL HOMES                \lderwoods   Michisan). LLC            i21   SOUTH JEFFERSON          MASON              rIl     Beck Redden
]ORSLINE RUNCIMAN FUNERAL HOMES                \lderwoods   Michiean). LLC            IO5 EAST MIDDLE STREET         il/ILLIAMSTON      ilt     Beck Redden
:OVELL FUNERAL HOME                            \lderwoods   Michisan). LLC            232 EAST STATE STREET          TRAVERSE CITY      ill     Beck Redden
,IILL FUNERAL HOME                             \lderwoods Michisan),      LLC         11723 SOUTH SAGINAW sTREET     SRAND BLANC                Beck Redden
                                                                                                                                        vlt
:OVELL FUNERAL HOME                            qlderwoods Michisan).      LLC         232 EAST STATE STREET          TRAVERSE CITY      vlt     Beck Redden
:OVELL FUNERAL HOME                            Alderwoods Michiean).      LLC         232 EAST STATE STREET          TRAVERSE CITY      vI      Beck Redden          x
;EARHART ANOKA FUNERAL HOMF                    Alderwoods Minnesota),       LC        ;52 EAST RIVER ROAD            \NOKA              !4N     Beck Redden          X
SEARHART FUNERAL HOME                          Alderwoods Minnesota),           ,c    11275 FOLEY BLVD NW            :OON RAPIDS        MN      leck   Redden        x
]ELL BROTHERS FUNERAL HOME                     Alderwoods Minnesota).           ,c          NORTH 56 AVE WEST        )U LUTH            MN      leck   Redden        x
}ELL BROTHERS JARVI DOWD FUNERAL HOME          Alderuoods Minnesota),       LC
                                                                                      '01
                                                                                      )25   EAST 4TH STREET          )U LUTH            [/] N   leck   Redden        x
(APALA-GLODEK FUNERAL HOME                     Alderwoods Minnesota),       LC        230 13TH AVE NORTH EAST        \4INNEAPOLIS       MN      leck   Redden        x
;UN5ET FUNERAL CHAPEL                          Alderwoods Minnesota).      LLC        I25O ST ANTHONY BOULEVARD NE   MINNEAPOLIS        MN      leck   Redden        x
(APALA.GLODEK,MALONE FUNERAL HOME              Alderwoods Minnesota).      LLC        78OO BASS   IAKE ROAD          !EW      HOPE      MN      leck   Redden        X
ruULFF FUNERAL HOME                            Alderwoods Minnesota),      LLC        1485 WHITE BEAR AVE             T PAUL            MN      leck   Redden        x
ruULFF GODBOUT FUNERAL HOME                    AldeMoods Minnesota),       LLC        ;60 WEST 7 STREET                  PAUL           MN      leck   Redden        x
/VULFF WOODBURY FUNERAL HOME                   Alderwoods Minnesota),      LLC        1195 WOODLANE DRIVE            'T
                                                                                                                     iVOODBURY          MN      leck   Redden        X
]ALDWIN.LEE FUNERAL HOME                       Alderwoods {Mississiooi).   LLC        }780 HIGHWAY 80 EAST           )EARL              MS      leck   Redden        X
;TEPHENS FUNERAL HOME                          AldeMoods Mississippi),     LLC        IIGHWAY 16 WEST                )E KALB            MS      leck   Redden
IEPHENS FUNERAL HOME                           Aldemoods (Mississippi),    LLC        28OO OLD NORTH HILLS STREET    V] ERI   DIAN      MS      leck   Redden
]ARHAM FUNERAL HOME                            Alderwoods (Mississipoi).   LLC        77748 HIGHWAY 39 NORTH         V] ERI   DIAN      MS      ieck   Redden
)ARKWAY FUNERAL HOME                           \lderwoods (Mississiooi)-   LLC        1161 HIGHLAND COLONY PKWY      iIDGELAND          MS      ]eck Redden          X
;TEPHENS FLINERAL HOME                         {lderwoods (Mississippi), LLC          205 NORTH STREET               JNION              MS      ]eck Redden          x
V]CPETERS FUNERAL DIRECTORS                    \lderwoods {MississiDoi). LLC          1951 EASTTHIRD STREET          :ORINTH            MS      leck   Redden
V]EMORIAL FUNERAL HOME                         \lderwoods (MississiDoi). LLC           13 BUNCH STREET               :ORINTH            MS      leck   Redden        x
}ROWNING FUNERAL HOME                          \lderwoods (Mississippi), LLC          41 WEST OXFORD STREET          ,ONTOTOC           MS      leck   Redden
:AROTHERS FUNERAL HOME                         :arothers Holdinp Company, LLC         212 WEST TRADE STREET          )ALLAS             NC      leck   Redden
:AROTHERS FI.JNERAL HOME                       :arothers Holdins Comoanv. LLc         t12 SOUTH MAIN STREET          ;TANLEY            NC      leck   Redden        x
UILSON FUNERAL & CREMATION SERVICE             :arothers Holding Company, LLC         ;30], ALBEMARLE ROAD           :HARLOTTE          NC      leck   Redden
REEVES FUNERAL HOME                            \lderwoods (North Carolina), LLC        308 NORTH MAIN STREET         iOPE MILLS         NC      leck   Redden
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{ame/Address                                          vame/Address                                     {ame/Address                     lity                 itate rirm {lf Provided)   Vlatched
}IGGS FUNERAL HOME                                    :arothers   Holdins ComDanv.        LLC          rO1 SOUTH      MAIN STREET       TOBERSONVILLE        NC     )eck Redden
}IGGS FUNERAL HOME                                    :arothers   Holdins Comoanv.        LLC          }02 WEST MAIN STREET            WILLIAMSTON           NC     leck Redden
IEAVIS FUNERAL HOME                                   :arothers   Holdine comoanv.        LLC              365 HARMONY HIGHWAY         HARMONY               NC     ]eck   Redden
r']CEWEN FUNERAL HOME OF MONROE                       :arothers   Holdins ComDanv,        LLC          IO4 SOUTH MAIN STREET           MONROE                NC     ]eck   Redden
}UNCH.JOHNSON FUNERAL HOME                            :arothers   Holdins ComDanv.        LLC          IO5 DAVIE AVE                   STATESVILLE           \lC    leck   Redden
IANES LINEBERRY FUNERAL HOME                          -ineberru GrouD.   LLC                               ].5 NORTH ELM 5TREET        GREENSBORO            \lC    leck   Redden
lANES LINEBERRY FUNERAL HOME                          -ineberry Group,     LLC                         I9OO VANSTORY STREET            GREENSBORO            \lc    leck   Redden
lANES LINEBERRY FUNERAL HOME                          -ineberrv GrouD. LLC                             iOOO    W   GATE CITY BLVD      GREENSBORO            !c     leck Redden
IATIONAL CREMATION SERVICE                            ,Vestminster Gardens, lnc.                       I601 WHITEHURST ROAD            G    REENSBORO        \iC    ]eck Redden
LOFLIN FUNERAL HOME                                   -ineberry Group, LLC                             ,   o Box40                     LI   BERTY            !c     ]eck Redden
MITCHELL FUNERAL HOME AT RALEIGH MEMORIA              -arothers Holdane ComDanv,          LLC              209 GLENWOOD AVE            RALE IG H             !c    Seck Redden
MCHUGH FUNERAL HOME & CREMATION SERVICE               VlcHush Funeral Home. lnc.                       283 HANOVER STREEl              MANCHESTER            !H    3eck Redden
ZIS-SWEENEY FUNERAL HOME                              lS Acouisition. lnc.                             U 6 KINSLEY STREET              NASHUA                \IH   Beck Redden
iT    LAURENT FUNERAL HOME                             t. Laurent Funeral Home, lnc                    ],16 ELM STREET                 NASHUA                !H    Beck Redden
THOMAS AND JONES AFFORDABLE FUNERAL HOME              \lderwoods   { Nevada}. lnc,                     2457 NORTH DECATI.]R BLVD       LAS VEGAS                   Eeck Redden
,OUIS HIRSCH        & SONS FUNERAL DIRECTORS          \lderwoods   {New Yorkl. LLC                     21 WEST BROAD STREET            MOUNT VERNON          {Y    Beck Redden
OHN DORMI & SONS                                      \lderwoods    {New   York),   LLC                1121 MORRIS PARK AVE            BRONX                 {Y    Beck Redden
JOSEPH      G    DUFFY                                \lderwoods     New   Yorkl.   LLC                255 NINTH STREET                ]ROOKLYN              {Y    Beck Redden
VI   J SMITH     SONS                                 \l d e rwoods New    York).   LLC                255 NINTH STREET                ]ROOKLYN              {Y    Beck Redden
TABLOKOFF KINGSWAY IMEMORIAL CHAPEL                   \lderwoods New       York),   LLC                17OO CONEY ISLAND AVE           ]ROOKLYN              {Y    Beck Redden          x
:USIMANO & RUSSO FUNERAL HOME                         Alderwoods New     York), LLC                    IOO5 WEST 5TH ST                ]ROOKLYN              iY    Beck Redden          X
  STUTZMANN & SON                                     Alderwoods New     York). LLc                    2OOO HILLSIDE    AVE            {EW HYDE PARK         NY    leck    Redden       X
I    STUTZMANN & SON                                  Alderwoods New     York), LLC                    224 - 39 JAMAICA AVE            ]UEENS VILLAGE        NY    ieck    Redden       x
    EVINE CHAPELS                                     qFFS Brookline, lnc                              I7O HARVARD STREET              ]ROOKLINE             MA    leck    Redden
(ENNEDY.ROTH FUNERAL HOME                             Alderwoods {New York). LLC                           1- 45 58TH STREET           IVOODSIDE             NY    leck    Redden
OHN     J   HEALEY FUNERAL HOME                       Alderwoods lNew York)- LLc                       2OO5 WEsT 6TH STREET            ]ROOKLYN              NY    leck    Redden
;ENSIBLE ALTERNATIVES                                 \lderwoods (New York), LLC                       ,9 OAK STREET                   :OPIAGUE              NY    leck    Redden
/ERNON C WAGNER FLINERAL HOMES                        \lderwoods (New York). LLC                       125 OLD COUNTRY ROAD            ] ICKSVILLE           NY    leck    Redden
AMES FUNERAL HOME                                     \lderwoods   {New York}.      LLC                ;40 BROADWAY                    V]ASSAPEQUA           NY    leck    Redden
i   ERNON C WAGNER FUNERAL HOI\IES                    \lderwoods   (New York),      LLC                i55 OLD COUNTRY ROAD            ,LAINVIEW             NY    leck    Redden
ANG-TOBIA.DI PALMA FUNERAL HOME                       \lderwoods   {New Yorkl,      LLC                 55 HIGBIE LN                   A/EST ISLIP           NY    leck    Redden
MICHAEL      J   HIGGINS FUNERAL SERVICE              \lderwoods   {New York)-      LLC                113 LAKE ROAD EAST              :ONGERS               NY    leck Redden
EDWARD F CARTER FUNERAL HOME                          \lderwoods   (New York),      LLC                 t1 GRAND STREET                :ROTON-ON-HU DSON     NY    ]eck Redden
WANAMAKER & CARLOUGH FUNERAL HOME                     \lderwoods   (New York),      LLC                177 ROUTE 59                    ;UFFERN               NY    Beck Redden
DAVID    T   FERGUSON FUNERAL HOME                    \lderuoods   (New York).      LLC                20 NORTH STREET                 iVASH   INGTONVILLE         Beck Redden
EDWARD F CARTER                                       \lderwoods   {New York). LLC                     170 KINGS FERRY ROAD            r'IONTROSE            !Y    Beck Redden
:ORRIGAN CRACIUN FUNERAL HOME                         \lderuoods   (Ohio) Funeral Home, lnc            14768 LORAIN AVE                 LEVELAND             )H    Beck Redden
:RACIUN EERRY FUNERAL HOME                            \ldemoods    (Ohio) Funeral Home, lnc            72OO DETROIT AVE                 :LEVELAND            )H    Beck Redden
:ORRIGAN CRACIUN FUNERAL HOME                         \lderwoods   (Ohio) Funeral Home. lnc,           20820 LORAIN ROAD               :AIRVIEW PARK         )H    Beck Redden
DICICCO      & 50N5 FUNERAL HOMES                     \lderwoods (Ohio) Funeral Home,           lnc.   5975 MAYFIELD ROAD              MAYFIELD HEIGHTS      ]H    Beck Redden
:RACIUN FUNERAL HOME                                  \lderwoods (ohio) Funeral Home,           lnc.   14925 EAST BAGLEY ROAD          MIDDLEBURG HEIGHTS    )H    Beck Redden
:ATAVOLOS BERRY FUNERAL HOME                          \lderwoods (Ohio) Funeral Home.           lnc.   23040 CENTER RIDGE ROAD         //ESTLAKE             )H    Beck Redden          x
]URCHAM JENNINGS FUNERAL HOME                         \lderwoods {Ohio) Funeral Home.           lnc.   119 EAST MAIN STREET            FAI RBORN             ]H    Beck Redden          x
iCHMIDT DHONAU KUCNER FUNERAL HOME                    \ldemoods  (Ohio) Funeral Home,           lnc.   3633 READING ROAD               READING               )H    Beck Redden          x
iCHMIDT DHONAU KUCNER FUNERAL HOME                    \lderwoods {Ohio} Funeral Home,           lnc.   3629 READING ROAD               READING               )H    Beck Redden          x
;CHMIDT DHONAU KUCNER FUNERAL HOME                    \lderwoods (Ohio) Funeral Home.           lnc,   10980 READING ROAD              ;HARONVILLE           )H    Beck Redden          x
;IFERD-ORIANS FUNERAL HOME                            Uderwoods {Ohio} Funeral Home.            Inc.         NORTH CABLE ROAD          -IMA                  )H    Beck Redden          x
}ILL EISENHOUR FUNERAL HOME                           \lderwoods (Oklahoma), Inc.                      '06
                                                                                                       ;OO5   SE   29TH STREET         )EL CITY              )K    leck    Redden       X
]AGGERLEY FUNERAL HOME                                \lderwoods Oklahoma), lnc                        )30 SOUTH BROADWAY               DMOND                )K    leck    Redden       x
JUARDIAN FUNERAL HOMES WEST CHAPEL                    \lderwoods Oklahomal. lnc.                              NORTH WEST 41ST STREET   /VARR ACRES           ]K    ieck    Redden       x
]ILL EISENHOUR FUNERAL HOME                           \lderwoods (Oklahomal. lnc.                      '820
                                                                                                       ]8O5NE23RDSTREET                )KLAHOMA CITY         )K    leck    Redden       x
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\,lame/Address                                  {ame/Address                                tlame/Address                       :itv                itate    rirm (lf Providedl   Vlatched
]ILL EI5ENHOUR FUNERAL HOME & CREMATION         \ldeMoods (Oklahoma lnc                     3805 NORTH EAST 23RD STREET         ]KtAHOMA     CITY   ]K       leck Redden          x
V]EMORIAL PARK FUNERAL HOME                     \lderwoods I uklahomal. lnc.                13313 NORTH KELLEY                  )KLAHOMA CITY       )K       Seck Redden          x
TESTHAVEN FUNERAL HOME                          \lderwoods (oklahorna lnc                   T4909 HIGHWAY 3                     ;HAWNEE             )K       leck   Redden
IEED-CULVER FUNERAL HOME                        \lderwoods {Oklahoma lnc                    117 WEST DELAWARE STREET            TAHLEOUAH           )K       leck   Redden        x
,EGG PAXSON & SPRINGER FUNERAL CHAPEL           \lderwoods {Oreeon). lnc.                   1675 SW WATSON                      ]EAVERTON           )R       leck   Redden        x
]ATEMAN CARROLL FUNERAL HOME                    \ldeNoods {Oreeon), Inc.                       WEST POWELL BLVD                 JRESHAM                  R   leck   Redden        x
TOUNGS FUNERAL HOME                             \lderwoods (Oreson), lnc.                   '20 SOUTH WEST PACIFIC HIGHW
                                                                                            11831                               TIGARD              )R       leck   Redden
jOWELL EDWARDS DOERKSEN WITH RIGDON-RA          \lderwoods (Oreson). lnc.                   1350 COMMERCIAL STREET         SE   ;ALEM               )R       leck   Redden        x
{EILL FUNERAL HOME INC                          ,leill Funeral Home, Inc.                   3401 MARKET STREET                  :AMP HILL           )A       leck   Redden
{EILL FUNERAL HOME INC                          leill Funeral Home,   lnc.                  }501 DERRY STREET                   ]ARRISBURG          ,A       leck   Redden
IP   BRANDT FUNERAL HOME tNc                   l.P. Brandt Funeral Home. lnc.               1032 PERRY HIGHWAY                  )ITTSBIiRGH         PA       leck   Redden
\LLEVA FUNERAL HOME INC                        \lleva Funeral Home, lnc.                     724 EAST LANCASTER AVE             ,AOLI               PA       ]eck Redden
,ONTARELLI-MARINO FUNERAL HOME                 SCI Rhode lsland Funeral Services,     LLC   )71 BRANCH AVE                      ,ROVID ENCE         RI       leck Redden
ruILBUR.ROMANO FUNERAL HOME                    SCI Rhode lsland Funeral Services,     LLC   i15 MAIN     STREET                 /VARREN             RI       leck Redden
;TUBBLEFIELD FUNERAL HOME                      \lderwoods {Tennessee). LLC                  ;421   E   ANDREW JOHNSON HIGHWAY   VIORRISTOWN         TN       ]eck Redden
 EVINE CHAPELS (LEASE)                         \ffiliated Family Funeral 5eruice, lnc       t7O HARVARD STREET                  }ROOKLI NE          MA       ]eck Redden
ruEAVER FUNERAL HOME                           \lderwoods {Tennessee). LLC                         WESTERN AVE                  (NOXVILLE           TN       leck Redden
!4ccARTY - EVERGREEN FUNERAL HOME              \lderwoods {Tennessee). LLc                   '425 ASHEVILLE HIGHWAY
                                                                                            '815                                (NOXVILtE           TN       ]eck Redden
]ARR & ERWIN FUNERAL HOME                      \lderwoods (Tennessee), LLC                  )o Box 244                          )ULASKI             TN       leck   Redden
:ARTHMAN BAYTOWN FUNERAL HOME                  ;Cl Texas Funeral Services, LLC              }919 GARTH ROAD                     BAYTOWN             TX       leck   Redden
:ARTHVIAN BELLAIRE FUNERAL HOME                ;Cl Texas Funeral Seruices. LLC              1525 BISSONNET ST                   BELLAIRE            TX       leck   Redden
ARTHIVIAN FUNERAL DIRECTORS                    ;Cl Texas Funeral Services. LLC              }303 KATY FWY                       HOUSTON             rx       leck   Redden
:ARTHMAN SOUTHWEST FUNERAL HOME                iCl Texas Funeral Seruices, LLC              12555 SOUTH KIRKWOOD                STAFFORD            rx       leck Redden
:ARTHMAN RESTHAVEN FUNERAL HOME                SCI   Texas Funeral Services, LLC            13102 NORTH FWY                     HOUSTON             TX       ]eck Redden
 OLONIAL FUNERAL HOME                          ;Cl Texas Funeral Seruices- LLC              i25 KITry HAWK ROAD                 UNIVERSAL CITY      TX       leck Redden
:UNERARIA DEL ANGEL                            iCl Texas Funeral Services, LLC               1OO   NORTH FWY                    HOUSTON             TX       ]eck Redden
:UNERARIA DEL ANGEL                            ;Cl Texas Funeral Services, LLC              ;1OO NORTH FWY                      HOUSTON             TX       ieck Redden
:UNERARIA DEL ANGEL TREVINO FUNERAL HOME       ;Cl Texas Funeral Seruices. LLC               26 CUPPLES ROAD                    SAN ANTONIO         TX       leck Redden
:UNERARIA DEL ANGEL TREVINO FUNERAL HOME       ;Cl Texas Funeral Seruices, LLC               525 PALO ALTO       RD             SAN ANTONIO         TX       leck Redden
]ASHNER FUNERAL HOME                           iCl Texas Funeral Seruices, LLC              }01 TEAS ROAD                       CONROE              TX       ieck Redden
iEORGE PRICE FUNERAL HOME                      icl   Texas Funeral seruices. LLC            14OO   AVE   J                      LEVELLAND           rx       leck Redden
.LOYD JAMES FUNERAL HOME                       icl Texas Funeral 5eruices,     LLC          .011 EAST FIRST STREET              TYLER               I'X      ieck Redden
.YLER
        MEMORIAL FUNERAL HOME. CEMETERY A      ;Cl Texas Funeral Seruices, LLC               2053 STATE HIGHWAY 54 WEST         ryLER               rx       leck Redden
:LLIOTT-HAMIL FUNERAL HOME                     ;Cl Texas Funeral Seruices. LLC              i42 HICKORY STREET                  ABILENE             l'x      ]eck Redden
ELLIOTT-HAMIL FUNERAL HOME                     ;Cl Texas Funeral Services. LLC               701 HIGHWAY 277 SOUTH              ABILEN   E          tx       leck Redden
DAVIS-MORRIS FUNERAL HOME                      ;Cl Texas Funeral Seruices. LLC              3OO CENTER AVE                      BROWNWOOD           tx       leck Redden
KIKER.SEALE FUNERAL HOME                       ;Cl Texas Funeral   Seruices, LLC            }38 LOCUST STREET                   :OLORADO CITY       tx       Beck Redden
FRANK   W   WILSON FUNERAL DIRECTORS           ;Cl Texas Funeral   Seruices, LLC            1635 OAKWOOD DRIVE                  )DESSA                       Beck Redden
HUBBARD-KELLY FUNERAL HOME                     iCl Texas Funeral   Seruices. LLc               NORTH ALLEGHANEY                 )DESSA              tx       Beck Redden
)DESSA FUNERAL HOME                            ;Cl Texas Funeral   5eruices,   LLC          '01 NORTH JACKSON
                                                                                            17OO                                )DESSA              tX       Beck Redden
OHNSONS FUNERAL HOME                           iCl Texas Funeral Seruices, LLC              435 WEST BEAUREGARD                 ;AN ANGELO          l'x      Eeck Redden
\RLINGTON FUNERAL HOIV]E                       ;Cl VirEinia Funeral Services. lnc.          1510 WILSON BOULEVARD               \RLINGTON                    Beck Redden
:OLLINS-MCKEE-STONE FUNERAL HOME               ;Cl Virginia Funeral Seruices, lnc.          PO BOX 1337                         BASSETT                      Beck Redden
]OLLINS-MCKEE.STONE FUNERAL HOME               ;Cl Virginia Funeral Seruices, lnc.          PO BOX 1162                         MARTINSVILLE                 Beck Redden
:OMMUNITY FIJNERAL SERVICES                    ;Cl  Virsinia Funeral 5eruices. lnc.         109 FONTAINE DRIVE                  RIDGEWAY                     Beck Redden
VIULLINS   & THOMPSON FUNERAL SERVICE           ;Cl Virsinia Funeral Seruices. lnc.         1621 JEFFERSON DAVIS HIGHWAY         REDERICKSBURG               Beck Redden
.INDSEY FUNERAL HOMES                          SCI Virginia Funeral Services, lnc.          X73 SOUTH        MAIN STREET        ]ARRISONBURG                 Beck Redden
INDSEY-KYGER FUNERAL HOME                      iCl Virsinia Funeral Seruices, lnc.          703 MARYLAND AVE                    ;HENANDOAH                   Beck Redden
V]ULLINS   & THOMPsON FUNERAL SERVICE          SCI Virsinia Funeral seruices. lnc.          186 SHELTON SHOP ROAD               iTAFFORD                     leck Redden          x
.INDSEY FUNERAL HOMES                          SCI Virsinia Funeral Services. lnc.          )82 KEEZLETOWN ROAD                 iVEYERS CAVE                 leck Redden
/ANCOUVER FUNERAL CHAPEL                       Vancouver Funeral Chapel, Inc                110 EAST 12TH STREET                /ANCOUVER                    leck Redden          x
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                                                                                                                                                                          {ot
\lame/Address                                 tlame/Address                                Name/Address                     :iw                ;tate Firm (lf Providedl   Vlatched
)AVIE5 CREMATION & BURIAL SERVICES            \lderwoods (Washineton),      LC             PO BOX6L747                      r'ANCOUVER               leck Redden
,RICE-HELTON FUNERAL HOME                     \lderwoods {WashinEton). LC                  /02 AUBURN WAY NORTH             \U BU RN                 3eck Redden
;CHAEFER-SHIPMAN FUNERAL HOME                 \lderwoods IwashinEtonl LC                   IO4 STATE AVE                    MARYSVILLE               3eck Redden
\CACIA MEMORIAL PARK & FUNERAL HOME           \lderwoods {Washineton), LC                  14951 BOTHELL WAY NE             SEATTLE                   leck Redden
BAUER FUNERAL CHAPEL                          \lderwoods {Washinston). LLC                 701 FIRST STREET                 ;NOHOMISH                leck Redden
V]ERRITT FUNERAL HOME                         \lderwoods {Washinston}. LLC                  18 W 3RD STREET                 WAPATO                   leck Redden
;TICKLIN FUNERAL CHAPEI"                      \lderwoods (Washinston), LLC                 I.437 SOUTH GOLD                 :ENTRALIA                leck Redden
]ROWN MORTUARY SERVICE                        \lderwoods {Washinston), LLC                 )o   Box 1003                    :HEHALIS                 Beck Redden
]ROWN MORTUARY SERVICE                        \lderwoods {Washinston). LLc                 299 N MARKET BLVD                :HEHALIS                 Beck Redden
V]ILLS   & MILLS FUNERAL HOME                   & H Properties and Enterprises, lnc.       5725 TITTLEROCK ROAD SW          TUMWATER                 Beck Redden
)OWERS FUNERAL HOME                           \lderwoods {Washinston). LLC                 320 WEST PIONEER AVENUE          PUYALLU    P             Beck Redden
>OWERS FUNERAL HOME                           \lderwoods {Washinston}. LLc                 15124 I\IAIN STREET              ;UMNER                   Beck Redden
:VERGREEN FUNERAL HOME AND CEMETERY           :vergreen Funeral Home and Cemetery, lnc.    1504 BROADWAY                    EVERETT                  Beck Redden
:OFFEY FUNERAL HOME                           \lderwoods {Tennessee), LLC                  )37 BROAD STREET                 NEW TAZEWELL       TN    Beck Redden
\LDERWOODS CAPE COD HOLDINGS                  \lderwoods { Massachusetts).   LLC           1.929 ALLEN PKWY                 HOUSTON            x     Beck Redden
]ROWARD PERSONAL CARE CENTER                  ;Cl Funeral Services of Florida. LLC         1199 EAST SAMPLE ROAD            POMPANO BEACH      :t    Beck Redden
V]ICHIGAN CASKET PROGRAM                      \lderwoods (Michisan), LLC                   lO8OO HAYES RD                   :LINTON TOWNSHIP   vll   Beck Redden
iOUTHERN COLORADO CREMATION SOCIETY           \lderwoods (Colorado). lnc.                  5450 HIGHWAY 78 WEST             PUEBLO                   Beck Redden
:HAPEL HILL - STP                             ;Cl Funeral Seruices of Florida. LLC         7151-B WEST MCNAB ROAD           TAMARAC            :I    Beck Redden
!EPTUNE CORPORATE OFFICE - FLORIDA            ;Cl Direct, lnc.                             1250 S PINE ISLAND RD            PTANTATION         :L    Beck Redden
\IEPTUNE FUNERAL DIVISION                     iCl Direct, lnc                              1929 ALLEN PKWY                  HOUSTON             X    Beck Redden
:UMMINGS & DAVIS FUNERAL HOME                 ffFG-CumminPs and Davis. lnc.                13201 EUCLID AVENUE              :LEVELAND          )H    Beck Redden
:OREST LAWN WEST FUNERAL & CREMATION   SER    larothers Holdine company, LLC               1501 FREEDOM DRIVE               :HARLOTTE          \lC   Beck Redden
TVOODLAWN FUNERAL HOME                        iloodlawn Cemetery of Chicaso, lnc           7750   WEST CERMAK ROAD          FOREST PARK              Beck Redden
]URsO FUNERAL HOME                            ;Cl Louisiana Funeral Services, lnc,         PO BOX   720                     DONALDSONVILLE           Beck Redden
TICHARDSON.GAFFEY FUNERAL HOME                 rnest A. Richardson Funeral Home. lnc.      382 FIRST PARISH ROAD            iCITUATE                 Beck Redden
)OANE BEAL & AMES                             )oane Beal & Ames, lnc.                      729 ROUTE 134                    SOUTH DENNIS             Beck Redden
!ICKERSON FUNERAL HOME                        )oane Beal & Ames, lnc.                      340 MAIN STREET                  //ELLFLEET         VIA   Beck Redden
:URTIS AND SON FUNERAL HOME                   ;Cl Seruices tAlabama). LLC                  1315 TALLADEGA HWY               ;YLACAU6A          \L    Beck Redden
lCS NEPTUNE OVERHEA.D                            Marketins 5eruices, LLC                   1250 S PINE ISLAND RD            ,LANTATION         :t    Beck Redden
                                              'lCS
TVILLIAMS   & BLUITT FUNERAL HOME             MFG-W|lliams & Bluitt Funeral Home, lnc       252 EAST 38TH STREET            NDIANAPOLIS        N     Beck Redden
.OCKWOOD CENTRAL CARE CENTER                  &FG-Lockwood Funeral Home. lnc.              ]402 LOCKWOOD       DRIVE        IOUSTON            ix    Beck Redden
(ILGROE FUNERAL HOME                          ;Cl Services {Alabama), LLC                  1750 ASHVILLE RD                 EEDS               \L    Beck Redden
{ICKERSON FUNERAL HOME LEASE                  \lderwoods Massachusetts),     LLC            7 CROWELL ROAD                  :HATHAM                  Beck Redden
)OANE BEAL & AMES    LEASE                    Alderwoods Massachusetts), LLC               160 WEST MAIN STREET             ]YAN NIS                 Beck Redden
:UFFE-MCGINN FH LEASE                         qlderwoods Massachusetts). LLC               157 MAPLE STREET                 .YNN                     Beck Redden
!ICKERSON FUNERAL HOME LEASE                  Alderwoods Massachusetts), LLC               77 ELDREDGE PARK WAY             )RLEANS                  Beck Redden
)OANE BEAL & AMES    LEASE                    Alderwoods Massachusetts), LLC               260 MAIN STREET                  iVEST HARWICH            leck   Redden        X
V]CHUGH FUNERAL HOME LEASE                    Robert Douslas Goundrev Funeral Home, lnc,   )o Box 130548                    IOUSTON            rx    leck   Redden        X
{EILL FUNERAL HOME LEASE                      Funeral Seruice Pennsvlvania. LLc            3401 MARKET STREET               :AMP HILL          PA    ieck   Redden        x
IEILL FUNERAL HOME LEASE                      Funeral Service Pennsylvania, LLC            3501 DERRY STREET                JARRISBURG         PA    ieck   Redden        X
\LLEVA FUNERAL HOME LEASE                     Funeral Service Pennsvlvania, LLC            1724 EAST L,ANCASTER AVE         )AOLI              PA    leck   Redden        x
)OANE BEAL & AMES LEASE                       Alderwoods (Massachusetts). LLC              729 ROUTE 134                    ;OUTH DENNIS       MA    leck   Redden        x
\]ICKERSON FUNERAL HOME LEASE                 Alderuoods {Massachusetts).    LLC           340 MAIN STREET                  /VELLFLEET         MA    leck   Redden        X
,UEBLO CENTRAL CARE FACILITY                  Alderwoods Colorado), lnc                           WEST HIGHWAY 78           )UEBLO             co    leck   Redden        X
IARA CHAPEL CENTRAL CARE CENTER               Alderwoods Georsia). LLc                     '450
                                                                                           rARA   CHAPEL CCC                ONESBORO           GA    leck   Redden
OHNSONS LAWNHAVEN MEMORIAL GARDENS CRE        SCI Texas Funeral Seruices. LLC              AWNHAVEN MEMORIAL GARDENS   CR   ;AN ANGELO         TX    ]eck Redden          x
LLIOTT-HAMIL GARDEN OF MEMORIES CREMATO       SCI Texas Funeral seruices, LLC                     HIGHWAY 277 SOUTH         \BILENE            TX    ]eck Redden          x
)DESSA FLOWERS                                SCI Texas Funeral Services, LLC              '701 NORTH JACKSON
                                                                                           17OO                             )DESSA             TX    leck Redden
IILLSIDE EAST CREMATORY                       Alderwoods (Kansas). lnc.                    }O3O E 8TH STREET                /VICHITA           KS    leck Redden
iEATTLE SERVICE GROUP CREMATORY               Alderwoods (Washinstonl. LLC                 ],4951 BOTHELL WAY    NE         iEATTLE                  leck Redden          x
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!ame/Address                                     Itame/Address                                  !ame/Address                      :itv              ;tate Firm llf Providedl   y'latched
JREENSBORO CENTRAL CARE CENTER                  .ineberry Group, LLC                            PO BOX 630                        :REENSBORO        {c    Beck Redden
VIOHAVE CREMATION SERVICE                       iCl Arizona Funeral Seruices, LLC               1620 SILVER CREEK ROAD            ]ULLHEAD CITY     \Z    Beck Redden
.AKEWOOD MEMORIAL PARK                          Alderwoods Grouo {California). lnc.             )OO   SANTA FE AVE                IUGHSON           :A    Beck Redden          x
:OLD SPRINGS CREMATORIUM                        Alderwoods Grouo (California). lnc.             2855 COLD SPRINGS ROAD            )LACERVI LLE            leck   Redden        x
]UMBOLT CREMATORY COMPANY                       Alderwoods Group {California), lnc.             1O7O H STREET                     \RCATA           CA     leck   Redden        X
V]ILLS CREMATORY                                S & H ProDerties and Enterorises. lnc.                    LITTLEROCK RD SW        IUMWATER                leck   Redden
ilHITE CREMATORY                                Alderwoods {ldaho). lnc.                        '7254TH AVE EAST
                                                                                                136                               IWIN   FALLS     ID     leck   Redden        x
ANSING CARE CENTER                              Alderwoods (Michiean), LLC                      )OO EAST     MICHIGAN AVE         ANSING           MI     ieck   Redden        X
:LEVELAND CARE CENTER                           Alderwoods (Ohio) Funeral Home. lnc.            I3O4O CENTER RIDGE ROAD           /VESTLAKE        OH     leck   Redden
,ARADISE CEMETERY NORTH                         Paradise Cemeterv South                                                           .tousToN
                                                                                                10401 WEST MONTGOMERY                              TX     leck   Redden
,ARADISE CEMETERY SOUTH                         Paradise Cemetery South                         16001 CULLEN                      lOUSTON          TX     leck   Redden
:EMETERY BEAUTIFUL                              Paradise Cemetery South                         I4O1 WHEATLEY                     ]OUSTON          TX     leck   Redden
;OLDEN GATE CEMETERY                            Paradise Cemeterv South                         }4OO HIRSH                        ]OUSTON          TX     leck   Redden
]AMELLIA MEMORIAL LAWN                          :amellia Memorial Lawn, lnc.                    I"0221 JACKSON ROAD               iACRAMENTO       :A     leck   Redden
PARADISE FUNERAL HOME                           Paradise Funeral Home, lnc                      tO4O1.    WEST MONTGOMERY         {OUSTON          TX     leck   Redden
MJ      EDWARDS/WHITEHAVEN   F C                M. J. Edwards-Whitehaven Funeral Chaoel. lnc.   ;494 ELVIS PRESLEY BLVD           V]EMPHIS         TN     leck Redden
MAINLAND FUNERAL HOMT                           Mainland Funeral Home, lnc.                      711 TEXAS AVE                    AMAROUE          TX     leck Redden
CARL BARNES FUNERAL HOME                        :arl Barnes Funeral Home, lnc                   /46 W 22ND      STREET            lOUSTON          TX     ]eck Redden
MJ      EDWARDSFUNERALHOME                      M. J. Edwards & Sons Funeral Home, lnc.         1165 AIRWAYS BLVD                 !4EMPH lS        TN     Beck Redden
LOCKWOOD FUNERAL HOME                           /VFc-Lockwood Funeral Home. lnc.                9402 LOCKWOOD DRIVE               IOUSTON          TX     Beck Redden
r'YFG.FULLER FUNERALS                           rVFG-Fuller Funerals, lnc.                      4647 EAST 14TH STREET             ]AKLAND          :A     Beck Redden
/UFG.FULLER FUNERALS                            /VFG-Fuller Funerals, lnc.                      31OO CUTTING BLVD                 IICHMOND                Beck Redden
:RISTO REY FUNERAL HOME                         ffFc-Cristo Rev Funeral Home. lnc.              235 NORTH SAMPSON                 ,iOUSTON         rX     Beck Redden
    P BANNON MORTUARY                           /Vilson-Bannon Mortuaru. lnc.                   6800 INTERNATIONAL BLVD           ]AKLAND          ]A     Beck Redden
FULLER-SHEFFIELD   FUNERAL                      :ullerSheffield Funeral Seryices, lnc.          2808 E MARTIN LUTHER KING IR      AUSTIN           rx     Beck Redden
]AMILTON FUNERAL CHAPEL                         lamilton Funeral Chapel, lnc.                   726 5 TARBORO                     r'|/tL50N        !c     Beck Redden
IAMILTON FUNERAL CHAPEL                         lamilton Funeral ChaDel. Inc.                   I23   S   JAMES STREET            3OLDSBORO        {c     Beck Redden          x
,ARADISE DISCOUNT MONUMENTS                     )aradise Cemetery South                         3401 WHEATLEY                     HOUSTON          tx     Beck Redden          X
&FG-PRINTINGSHOP                                UFG-Lockwood Funeral Home, lnc,                 1O4O], WEST MONTGOMERY            HOUSTON          tx     Beck Redden          x
:OREST LAWN WEST CREMATORY                      :arothers Holdins Comoanv. LLC                  1501 FREEDOM DRIVE                :HARLOTTE        {c     Beck Redden          x
VI .J EDWARDSSTAGE ROAD CHAPEL                  vl, J. Edwards Hillside Chapel, lnc.            1445 STAGE ROAD                   V]EMPHIS          N     Beck Redden          x
:AMELLIA MEMORIAL LAWN CREMATORY                lamellia Memorial Lawn, lnc                     1,0221 JACKSON ROAD               iACRAMENTO              leck   Redden        x
:AST BAY CARE CENTER                            iCl California Funeral Seruices. [nc.           )850 KITry LANE                   )AKLAND                 leck   Redden        x
!EPTUNE SOCIETY TUCSON {L}
                                                'leptune Management Corp.                       i781 N THORNYDALE RD S253         IUCSON           \z     leck   Redden        x
\YCOCK AT TRADITION                             ;Cl Funeral Seruices of Florida, LLC            125705W       TRADITIONPKWY        )ORT ST LUCIE   :L     leck   Redden        x
)ESOPO FUNERAL CHAPEL                           ;Cl Connecticut Funeral Seruices, LLC           I77 FOLLY BROOK BOULEVARD         /VETH ERSFIELD   :T     leck   Redden
)ESOPO EAST HARTFORD MEMORIAL CHAPEL            ;Cl Connecticut Funeral Seruices.      LLC      30 CARTER STREET                   AST HARTFORD    :T     leck   Redden        X
}ALDWIN FAIRCHILD AT CHAPEL HILT                ;.E. Cemeteries of Florida, LLC                 24OO HARRELL RD                   ]RLANDO          :L     leck   Redden
{EPTUNE SOCIETY SALT LAKE CITY {L)              \JeDtune Manapement Corn                         120 SOUTH 7OO EAST SPACE C                         I
                                                                                                                                  ;ALT LAKE CITY          leck   Redden
{EPTUNE SOCIETY SPOKANE (L)                     \,leptune Management Corp.                      I22   E FRANCIS AVE               ;POKANE                 leck   Redden
{EPTUNE SOCIETY FORT MYERS (L)                  !eDtune Manasement Coro.                        ;360 PRESIDENTIAL CT SUITE    1   :ORT MYERS       FL     leck   Redden
IIVERVIEW CEMETERY                              ;Cl lndiana Funeral Services,   lnc.            I324 WEST MAIN STREET             :ORT WAYNE       IN     leck   Redden
:ORT WAYNE CREMATORY                            icl lndiana Funeral seruices,   lnc.            I3O7 W MAIN STREET                :ORT WAYNE       IN     leck   Redden
}   O   MCCOMB & SONS FUNERAL HOMES - COVIN     SCI lndiana Funeral 5eruices.   lnc.            I325 COVINGTON ROAD               FORT WAYNE       IN     leck   Redden
) O MCCOMB   & SONS FUNERAL HOMES - FOSTE       ;Cl lndiana Funeral Services,   lnc.            ;301 FAIRFIELD AVE                FORT WAYNE       IN     ]eck   Redden
) O MCCOMB   & SONS FUNERAL HOMES - MAPLE       ;Cl lndiana Funeral Services,   lnc.            IO17 MAPLECREST RD                FORT WAYNE       IN     leck   Redden
) O MCCOMB   & SONS FUNERAL HOMES - MUNGO       ;Cl lndiana Funeral Services, lnc.              114   5    CALHOUN STREET         FORT WAYNE       IN     leck   Redden
) O MCCOMB   & SONS FUNERAL HOMES - LAKES       ;Cl lndiana Funeral seruices. lnc.              ],40 LAKE AVENUE                  FORT WAYNE       N      leck   Redden
) O MCCOMB & SONS FUNERAL HOMES - PINE          ;Cl lndiana Funeral Services, lnc.              320 E DUPONT ROAD                 FORT WAYNE       N      leck   Redden
BIRKMEIER & SONS MONUMENT COMPANY               icl lndiana Funeral Seruices, lnc.              323 W MAIN STREET                 FORT WAYNE       N      ieck Redden
RIVERVIEW PET CEMETERY                          ;Cl lndiana Funeral Seruices. lnc.              1425 CARROLL ROAD                 CHURUBUSCO       N      ]eck Redden
                                           Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 70 of 80 PageID #:8309



                                                                                                                                                                                       Not
!ame/Address                                      {ame/Address                                   \lame/Address                            :iw               ;tate Firm llf ProYldedl   Matched
 iAN FRANCISCO COLUMBARIUM & FUNERAL HOME         ;.E.   Combined Services of California, lnc.   )NE LORAINE COURT                        ;AN FRANCISCO           Beck Redden          x
IBD CEMETERY                                      ;Cl Louisiana Funeral Seruices, lnc,           HOLY TRINITY DRIVE                       :OVINGTON         .A    Beck Redden          x
IBD FUNERAL HOME                                  ;Cl Louisiana Funeral Seruices. lnc.           IOLY TRINITY DRIVE                       :OVINGTON               Beck Redden          x
:LLERS MORTUARY CREMATORY                         ;Cl lndiana Funeral Services, lnc.             34OO S WEBSTER STREET                    KOKOMO            N     Beck Redden          x
:LLERS MORTUARY     & CREMATION   CENTER          ;Cl lndiana Funeral 5eruices, lnc              34OO S WEBSTER STREET                    (oKoMo            N     Beck Redden          X
 LLERS IV]ORTUARY                                 ;Cl lndiana Funeral Seruices. lnc.             725 S MAIN STREET                        (oKoMo            N     leck Redden          x
\RLINGTON PARK CEMETERY                           ;.E.   Cemeteries of Wisconsln. lnc.           T141 S 27TH STREET                       SREENFIELD              leck Redden          x
:ORE5T HILL CREMATORY                                  Cemeteries of Wisconsin, lnc
                                                  ;.E.                                           3301 E FOREST HILL AVE                   ]AK CREEK               leck Redden          x
:OREST HILL CEMETERY                                   Cemeteries of Wisconsin, lnc,             3301 E FOREST HlLL AVE
                                                    E.                                                                                    ]AK CREEK               Seck Redden          X
;UNSET RIDGE MEMORIAL PARK                        ;.E. Cemeteries of Wisconsin. lnc.             i211 38TH STREET                         (ENOSHA                 leck   Redden
A/OODLAWN CEMETERY                                ;.E. Cemeteries of Wisconsin, Inc              ;14 E HOWARD AVE                         V]ILWAUKEE              leck   Redden        x
]RAIG FLAGLER PALMS CREMATORY                       E. Combined Seruices of Florida, LLC             11 OLD KINGS ROAD SOUTH               LAGLER BEACH     :L    leck   Redden        X
:RAIG FLAGLER PALMS FUNERAL HOME                    E. Combined Services of Florida. LLC             11 OLD KINGS ROAD SOUTH               LAGLER BEACH     :L    leck   Redden        X
:RAIG FLAGLER PALMS CEMETERY                      ;.E. Combined Services of Florida, LLC             11 OLD KINGS ROAD SOUTH               LAGLER BEACH     :L    leck   Redden
]OLD FOR ACOUISITION - TF                         iCl Funeral Seruices of New York, lnc          1929 ALLEN PARKWAY                       .l0usToN          rx    leck   Redden        X
IOUSTON CREMATION CENTER                          SCI    Texas Funeral Services. LLC             )   o
                                                                                                     Box 130548                           ]OUSTON           tx    leck   Redden
A/EERTS FUNERAL HOME                               ;ervice Corporation lnternational             3625 JERSEY RIDGE RD                     )AVENPORT         IA    leck   Redden
IIVERBEND CREMATION                                teruice Corporation lnternational             }204 BEAR TOOTH CT                       ]ETTEN DORF       IA    leck   Redden
TI CEMETERY                                       lnvestors Trust lnc                            1929 ALLEN PARKWAY                       lOUSTON           rx    leck   Redden
TI FUNERAL                                        lnvestors Trust lnc.                            929 ALLEN PARKWAY                       lOUSTON           rx    ]eck Redden
]ENTRAL COAST PERSONAL CARE CENTER                 i.E. Combined Seruices of California, lnc     }450 EL CAMINO REAL                      ATASCADERO        :A    leck Redden
:VERGREEN CREMATORY                                  E. Funeral Homes of California, lnc.        }20 S PARALLEL AVENUE                    FRESNO            :A    leck Redden
,INECREST FUNERAL HOME ARKANSAS                   Forest Hills Cemeterv. LLC                     7401 HIGHWAY 5 N                         ALEXANDER         \R    ]eck Redden
:AITH MEMORIAL PARK                               i.E. Cemeteries of Alabama, LLC                I1OO HIGHWAY 20 WEST                     HU NTSVI    LLE   \t    ]eck   Redden
/ALHALLA MEMORY GARDENS                           i.E. Combined Seruices of Alabama, LLC         ;98 WINCHESTER RD NE                     HU NTSVILLE       \t    leck   Redden
/ALHALLA FUNERAL HOME                             ;.E. Combined Seruices of Alabama. LLC         i98 WINCHESTER RD NE                     HU   NTSVILLE     \r    leck   Redden
IAISTEN FUNERALS & CREMATIONS                     ''laisten Funeral Home of Henry County, lnc.       745ZACK HINTON PARKWAY               MCDONOUGH               leck   Redden
iRANDVIEW MEMORY GARDENS                          ;.E. Cemeteries of Virsinia, LLC               )   o Box     111                        BLUEFIELD               leck   Redden
iREENHILLS MEMORY GARDENS INC                     i.E. Cemeteries of Virsinia. LLC               )o      Box55                            POUNDING MILLS          ,eck Redden
IIGHLAND MEMORY GARDENS                           ;.E. Cemeteries of Virsinia- LLC               ;555    LEE   HIGHWAY                    DU   BLIN               Ieck Redden
(LINGEL.CARPENTER MORTUARY                        (lingel-Carpenter Mortuarv, lnc.               }28 6TH AVE                              HUNTINGTON              ]eck Redden
NEWARK MEMORIAL GARDENS                           ,,lewark Memorial Gardens, lnc.                1244 MARION RD                           NEWARK            )H    leck Redden
:EMENTERIO LOS CIPRESES                           :moresas     Stewart   - Cementerios           EMPRESAS STEWART        _ SCI PUERTO     SANTURCE          ,R    Beck Redden
:EMENTERIO PORTA COELI                            :mpresas     Stewart   - Cementerios           125 AVE CEMENTERIO NACIONAL              BAYAMON           ,R    Beck Redden
:EMETERIO LA RESURRECCION                          mpresas     Stewart   - Cementerios           EMPRESAS STEWART _ SCI PUERTO                              ,R    Beck Redden
:EMENTERIO LA PIEDAD                               mpresas     Stewart   - Cementerios           EMPRESAS STEWART _ SCI PUERTO            'ANTURCE
                                                                                                                                          SANTURCE          )R    Beck Redden
)AX CHRISTI CEMETERY                               mDresas Stewart - Cementerios                 EMPRESAS STEWART _ SCI PUERTO            SANTURCE          )R    Beck Redden
:EMENTERIO PRIVADO DE MAYAGUEZ                      mpresas Stewart      - Cementerios           EMPRESAS STEWART        -   sCI PUERTO   ;ANTURCE          )R    Beck Redden
:EMENTERIO PARQUE DE LUZ                           :mPresas Stewart      - Cementerios           EMPRESAS STEWART        _ sCI PUERTO     ;ANTURCE          )R    Beck Redden
:EMENTERIO DEL PILAR                              Empresas Stewart       - Cementerios           EMPRESAS STEWART        -   SCI PUERTO   ;ANTURCE          )R    Beck Redden
]UXEDA COLUMBARIUM                                EmDresas Stewart       - Cementerios           :MPRESAS STEWART        -   SCI PUERTO   iANTURCE          PR    Beck Redden
UNERARIA PUERTO RICO MEMORIAT                     :mpresas Stewart       - Funerarias            MPRESAS STEWART         -   SCI PUERTO   ;ANTURCE          PR    Beck Redden          x
UNERARIA BUXEDA                                   Empresas Stewart       - Funerarias            :MPRESAS STEWART _ SCI PUERTO            iANTURCE          PR    ieck Redden          X
 UNERARIA RODRIGUEZ OSORIO                        :mpresas Stewart       - Funerarias            :MPRESAS STEWART        -   SCI PUERTO   ;ANTURCE          PR    leck Redden
:UNERARIA LA CRUZ                                 :moresas Stewart       -   Funerarias                                  _ SCI PUERTO
                                                                                                 MPRESAS STEWART                          ;ANTURCE          PR    leck Redden          x
:UNERARIA LOs CIPRESES                            :mpresas Stewart       -   Funerarias          MPRESAS STEWART         -   sCI PUERTO   ;ANTURCE          PR    ]eck Redden          X
\LVAREZ FUNERARIA                                 Empresas Stewart       -   Funerarias          :MPRESAS STEWART        -   SCI PUERTO   iANTURCE          PR    leck   Redden        X
:UNERARIA PARQUE DE LUZ                           :mPresas Stewart       -   Funerarias          MPRESAS STEWART         -   SCI PUERTO   ;ANTURCE          PR    leck   Redden
:UNERARIA PONCE MEMORIAL                          :mPresas Stewart       - Funerarias            MPRE5AS STEWART _ SCI PUERTO             ;ANTI.JRCE        PR    leck   Redden        x
:UNERARIA MARTINEZ                                Empresas Stewart - Funerarias                                          _ SCI PUERTO
                                                                                                 MPRESAS STEWART                          ;ANTURCE          PR    leck   Redden
iUNERARIA DEL PITAR                               :mpresas Stewart - Funerarias                  MPRESAS STEWART         -   SCI PUERTO   ;ANTURCE          PR    leck   Redden
                                       Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 71 of 80 PageID #:8310



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\,lame/Address                                lame/Address                                         Name/Address                                 :itv               itate Firm fif Provided)   Vlatched
FUNERARIA BUXEDA - YAUCO                      :moresas Stewart - Funerarias                        EMPRESAS STEWART          _ SCI PUERTO       ;ANTURCE           )R    Beck Redden
:ABALLERO RIVERO WOODLAWN WEST                ;.E. Cemeteries of Florida, LLC                      14001 NORTHWEST 178TH               STREET   ,/llAMl             L    Beck Redden
                                              ;.E. Combined Services of Florida,                   27100 OLD DIXIE HWY                          ,]ARANJA           :L    Beck Redden
:ABALLERO RIVERO PALMS WOODLAWN                                                       LLC

:ABALLERO RIVERO WOODLAWN NORTH               ;.E. Combined Seruices of Florida, LLC               3260 SW 8TH ST                               r']IAMI             L    Beck Redden
:ABALLERO RIVERO WOODLAWN SOUTH               ;.E. Combined Services of Florida. LLC               r.16s5 5W 117TH AVE                          VIIAMJ              L    Beck Redden
CABALLERO RIVERO PALMS WOODLAWN               ;.E. Combined services of Florida, LLc               27100 OLD DIXIE HWY                          ,]ARANJA           FL    Beck Redden
CABALLERO RIVERO WOODLAWN SOUTH               i.E. Combined Seruices of Florida, LLC               11655 SW 117TH AVE                           vIAMt              FL     ]eck Redden
CABALLERO RIVERO LITTLE HAVANA                i.E. Combined Services of Florida, LLc               1344 sW 8TH ST                               vIAMt              FL     leck Redden
CABALLERO RIVERO HIALEAH                      i.E. Combined Services of Florida. LLC                73 W 9TH 5T 377                             IIALEAH            FL     ]eck Redden
CABALLERO RIVERO WESTCH ESTER                 i.E. Combined Seruices of Florida, LLC               t2OO BIRD RD                                 14lAMl             FL     ]eck Redden
WOODLAWN PARK CREMATORY                         E.   combined Seruices of Florida,    LLC           260 SW 8TH     ST                           V]IAMI             FL     leck Redden
EL CAMINO MEMORIAL PARK                       ;.E, Combined Seruices of California, lnc            ;600 CARROLL CANYON            RD            ;AN DIEGO          :A     leck Redden
CYPRESS VIEW MAUSOLEUM                        i.E. Combined Seruices of California. Inc.           }953 IMPERIAL AVE                            ;AN DIEGO                 ]eck Redden
EL CAMINO MEMORIAL - SORRENTO VALLEY            E.   Combined   Services of california, lnc.       ;5OO CARROLL CANYON RD                       ;AN DIEGO                 ]eck Redden
                                                                                                                                                                   .A
FUNERARIA DEL ANGEL BERGE - ROBERTS             E.   Combined   Services of california, lnc        iO7 NATIONAL CITY BOULEVARD                  'IATIONAL
                                                                                                                                                            CITY          leck Redden
CYPRESS   VIEW MORTUARY                       i.E.   Combined   services of california. lnc,       }953 IMPERIAL AVE                            ;AN DIEGO          :A     ]eck Redden
EL   CAMINO MEMORIAL - ENCINITAS              i.E.   Combined   Services of California, lnc.       }40 MELROSE AVE                              NCINITAS           :A     ]eck Redden
ERICKSON-ANDERSON    MORTUARY                 S.E.   Combined   Services of California, lnc        I39O ALLISON AVE                             .A MESA            :A     leck   Redden
PACIFIC BEACH CHAPET                          i.E.   Combined   Services of California, lnc.        7].0 CASS STREET                            iAN DIEGO                 leck   Redden
:ATAWBA MEMORIAL PARK                         :atawba Memorial Park.        LLC                    }O1O HIGHWAY 70      SE                      IICKORY            NC     leck   Redden
iARRETT-H I LLCREST CEM ETERY                 3arrett - Hillcrest,   LLC                           186 RUSS AVE                                 NAYN ESVILLE       NC     leck   Redden
                                              :atawba Memorial Park,                               3060 HIGHWAY 70 SE                           .IICKORY           NC     leck   Redden
:ATAWBA MEMORIAL PARK FUNERALS & CREMAT                                     LLC
;ARRETT FUNERAL HOME                          3arrett - Hillcrest.   LLC                            60 NORTH MAIN ST                            /VAYNESVILLE       NC     leck   Redden
:ROMARTIE - MILLER FUNERALS & CREMATIONS      i.E. Funeral Homes      of North Carolina, lnc.      TO1 W CUMBERLAND          ST                 )U NN              NC     leck   Redden       x
V]ONTE VISTA MEMORIAL PARK                    Monte Vista Burial     Park, LLC                     19OO E OAKLAND AVE                           OHNSON CITY        TN     leck   Redden
IOSETAWN MEMORY GARDENS                       Monte Vista Burial     Park, LLC                     1033 s RoAN ST                               OHNSON CITY        IN     leck   Redden
;ACRAMENTO COUNTY CREMATORY                     E. Funeral Homes      of California. lnc.          I9OO CLIFTON RD                              ;ACRAMENTO                leck   Redden       x
 INCOLN FUNERAL HOME                          s.E. Funeral Homes of california, lnc.               106 H STREET                                 INCOLN                    leck   Redden
 OMBARD FUNERAL HOME                          S.E.   Funeral Homes of California, lnc.             1550 FULTON AVENUE                           iACRAMENTO         CA     leck   Redden
{EPTUNE 5NC-SACRAMENTO                          E.   Combined Services of California.       lnc.   ;213 GARFIELD AVENUE                         ;ACRAMENTO         CA     leck   Redden
;AN FRANCI5CO COLUMBARIUM                     S.E.   Combined Seruices of California,       lnc.   )NE LORAINE COURT                            iAN FRANCISCO      CA     leck   Redden       x
\,IEPTUNE SNC-LIVERMORE                       S.E.   Combined Seruices of California,       lnc     1.77 LAs POSITAS COURT                      .IVERMORE          CA     leck   Redden
{EPTUNE SNC-BELMONT                           ;.E.   Combined Seruices of California,       lnc.   1645   EL   CAMINO REAL                      }ELMONT            CA     leck   Redden
{EPTUNE SNC-OAKLAND                           s.E.   combined Seruices of California.       lnc.   I9O GRAND AVENUE SUITE 2],5                  )AKLAN D           CA     leck   Redden       x
{EPTUNE SNC-WALNUT CREEK                      S.E. Combined Seruices of California, lnc.           1855 OLYMPIC BOULEVARD                       /VALNUT CREEK      CA     leck   Redden
;UNSET HILLS MEMORIAL PARK OR                 Sunset Hills Memorial Park                           ;801 SW SUNSET HWY                           )ORTLAND           OR     leck   Redden
:INLEY SUNSET HILLS MORTUARY                  J.P. Finlev and Son Mortuaru. lnc.                   ,801 5W SUNSET HWY                           ,ORTLAND           OR     leck   Redden
)ESERT    VIEW MEMORIAL PARK                  S.E. Combined Services of California, lnc.           11500 AMARGOSA RD                            /ICTORVILLE        CA     leck   Redden       X

VIEAD MORTUARY                                S.E, Funeral Homes of California, lnc                }6930 IRWIN ROAD                             ]ARSTOW            CA     leck   Redden
)ESERT    VIEW FUNERAL HOME                   S.E,   Combined Services of California, Inc          11478 AMARGOSA RD                            /ICTORVILLE        CA     leck   Redden
]ALLANAN & WOODS SCOVERN                      S.E.   Funeral Homes of Californla. lnc.             ;11. SOUTH CENTRAL AVENUE                    JLENDALE           CA     leck   Redden       x
OSHUA MORTUARY PALMDALE                       S.E. Funeral Homes of california, lnc.               }150 E PALMDALE BLVD                         )ALMDALE           CA     ieck   Redden       x
 IICKEL MORTUARY                              S.E. Funeral Homes of California, lnc                I2O1 INYO STREET                             VIOIAVE                   leck   Redden       x
 ONG BEACH CREMATORY                          s.E. combined Services of California. lnc.           1952 LONG BEACH BLVD                         ONG BEACH          CA     ieck   Redden
 IRICKLI N/SNIVELY                            s.E. Funeral Homes of california, lnc.               1952 IONG BEACH BLVD                         .ONG BEACH         CA     leck   Redden       x
JREENVILLE CARE CENTER                        5.E. Funeral Homes of South Carolina, lnc.            11 CENTURY DR                               J-REENVILLE        sc     leck   Redden       x
)CONEE MEMORIAL GARDENS                       5.E. Cemeteries of South Carolina, lnc.              1923 BLUE RIDGE BLVD                         ;ENECA                    leck   Redden
]ILLCREST MEMORIAL PARK                       S.E.   Cemeteries of South Carolina. lnc.            2410 GENTRY MEMORIAL HWY                     )ICKENS            sc     leck   Redden       x
V]ACKEY MORTUARY                              5.E. Funeral Homes of South Carolina, lnc.           311 CENTURY DR                               JREENVILLE         sc     leck   Redden       X

)ILLARD MEMORIAL FUNERAL HOME                 S.E. Funeral Homes of South Carolina, lnc.           I4O2 GENTRY MEMORIAL HWY                     )ICKENS            SC     leck   Redden       X
)ALMETTO CREMATION SERVICES                   5.E. Funeral Homes of South Carolina, lnc.           2402 GENTRY MEMORIAL HWY                     )ICKENS            sc     ieck   Redden       x
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\lame/Address                                        {ame/Address                                Name/Address                     _tw              itate Firm (lf Provlded)   Matched
:HEROKEE MEMORIAL PARK                               lheatham Hill Memorial Park, lnc.           120 MEMORIAL     DR              :ANTON           JA    Beck Redden          X
]ERRY HIGHLAND MEMORIAL                              i.E. Combined Services of Tennessee, LLC    5315 KINGSTON PIKE               KNOXVILLE        IN    Beck Redden          x
]ERRY HIGHLAND WEST                                  i.E. Combined Seruices of Tennessee, LLC    )913 SHERRILL BLVD               KNOXVILLE        tN    Beck Redden          x
]ERRY HIGHLAND SOUTH                                 i.E. Combined Services of Tennessee. LLC    )O1O SIMPSON RD                  KNOXVILLE        tN    Beck Redden          X
]ERRY HIGHLAND WEST                                  ;.E. combined Services of Tennessee, LLC    )913 SHERRILL BLVD               (NOXVILLE        TN    Beck Redden          x
]ERRY HIGHLAND SOUTH                                 ;.E. Combined Seruices of Tennessee, LLC    )010 stMPSoN RD                  KNOXVILLE        IN    Beck Redden          x
]ERRY HIGHLAND MEMORIAL                              ;.E. Combined Seruices of Tennessee. LLC    5315 KINGSTON PIKE               KNOXVILLE        IN    Beck Redden          x
\NDREW.' MCGANN & SON FUNERAL HOME                   ;.E. Funeral Homes of lllinois, lnc.        10727 5 PULASKI RD               :HICAGO                Beck Redden          X
ZIMMERMAN & SANDEMAN FUNERAL HOMES                   i.E. Funeral Homes of lllinois, lnc         5200 w 95TH ST                   ]AK LAWN               Beck Redden          X
]RLAND FUNERAL HOME                                  ;.E. Funeral Homes of lllinois. lnc.        )900 w 143RD ST                  ]RLAND PARK            Beck Redden          x
iERENITY FLORIST- LAUREL LAND    -   DALLAS          ;.E. Cemeteries of Texas, Inc.                                               DALLAS           l'x   Beck Redden          X
]LUEBONNET HILLS MEMORIAL PARK                       .E.  Cemeteries of Texas, lnc               'OOOSRLTHORNTONFWY
                                                                                                 5725 COLLEYVILLE BLVD            :O LLEYVILLE     tx    Beck Redden          x
-ITTLE BETHEL MEMORIAL PARK                          ;.E. Cemeteries of Texas, lnc               1803 CEDAR HILL RD               DUNCANVILTE      tx    Beck Redden          x
IOSELAWN MEMORIAL GARDENS                            ;.E. Cemeteries ofTexas. lnc.               1000 s H|GHWAY r.75                               tx    Beck Redden          x
IILLTOP MEMORIAL PARK                                .E.   Cemeteries of Texas, lnc,             1810 N PERRY RD                  'EAGOVILLE
                                                                                                                                  :ARROLLTON       TX    Beck Redden          X
]LUEBONNET HILLS FUNERAL HOME                        ;.E. Funeral Homes of Texas, lnc.           5725 COLLEYVILLE BLVD            :OLLEWILLE       tx    Beck Redden          X
iINGING HILLS FUNERAL HOME                           ;.E. Funeral Homes of Texas. lnc.                  UNIVERSITY HILLS BLVD     DALLAS           IX    Beck Redden          x
\NDERSON-CLAYTON-GONZALEZ FUNERAL HOME               ;.E. Funeral Homes of Texas, lnc.           '221 MILITARY PKWY
                                                                                                 1111                             VIESOUITE        rx    Beck Redden
DAVID CLAYTON & SONS                                 ;.E. Funeral Homes of Texas, lnc.           2OO   W CENTER ST                DUNCANVILLE      l'x   Beck Redden
 E   FOUST   & SON FUNERAL DIRECTORS                 ;.E. Funeral Homes of Texas, lnc.           523 5 MAIN ST                    SRAPEVINE        tx    Beck Redden
METROCREST      FUNERAL HOME                         ;.E. Funeral Homes of Texas. lnc.           1810 N PERRY RD                  :ARROLLTON       TX    Beck Redden
ROSELAWN FUNERAL HOME                                i.E. Funeral Homes of Texas, lnc.           1OOO S   HIGHWAY 175             SEAGOVILLE       tx    Beck Redden          x
SUARDIAN FUNERAL HOME                                ;.E. Funeral Homes of Texas, lnc.           5704 JAMES AVE                   FORT WORTH       tx    Beck Redden          x
3ONZAIEZ FUNERAL HOME AND CREMATORY                  ;.E. Funeral Homes of Texas. lnc.           3O5O N STEMMONS FWY              DALLAS           tx    Beck Redden          x
TOLLING OAKS FUNERAL HOME                            i.E. Funeral Home of Coppell, Texas, lnc.   lOO FREEPORT PKWY                :OPPELt          tx    Beck Redden          x
(NOLLWOOD MEMORIAL PARK                              Vlclaurin's Funeral Home,    LLC            12830 US 70 BUSINESS HWY W       :LAYTON          {c    Beck Redden          x
)INECREST MEMORIAL PARK                              vlclaurin's Funeral Home.    LLC            12830 US 70 BUSTNESS HWY W       :LAYTON          \lC   Beck Redden          X
PARKLAWN MEMORIAL GARDENs                            i.E. Cemeteries of North Carolina, LLC      2730 PETERS CREEK PKWY           //INSTON SALEM   {c    Beck Redden          x
V]CLAURIN FUNERAL HOME                               vlcLaurin's Funeral Home, LLc               12830 US 70 BUSTNESS HWY W       :LAYTON          !c    Beck Redden          x
:ARDINAL CREMATIONS                                  vlclaurin's Funeral Home. LLC               12830 U S HIGHWAY 70 WEST        :LAYTON          \lC   Beck Redden          x
PASADENA FUNERAL HOME                                )asadena Funeral Home, lnc,                 2203 PASADENA BLVD               PASADENA         tx    Beck Redden          x
:RESPO FUNERAL HOME - BROADWAY                       .E.   Funeral Homes of Texas, lnc.           136 BROADWAY ST                 HOUSTON          TX    Beck Redden          x
SARDEN OAKS FUNERAL HOME                             ;.E. Funeral Homes of Texas. lnc.           13430 BELLAIRE BLVD              HOUSTON          tx    Beck Redden          x
]UEEN ANNE COLUMBARIUM                               :.R. Butterworth & Sons                     520 W RAYE ST                    ;EATTLE                Beck Redden          x
]UTTERWORTH FH (CAPITOL HILt                         .R. Butterworth & Sons                      520 W RAYE ST                    SEATTLE                Beck Redden          x
:REMATION SOCIETY NORTHWEST                          :remation Societv Northwest, lnc            520 W RAYE ST                    SEATTLE                Beck Redden          x
)W    NEWCOMERSSONS CREMATORY                        ),W. Newcomer's Sons, lnc.                  TOOO BLUE RIDGE BLVD             KANSAS CITY      vlo   Beck Redden          x
)W    NEWCOMERS SONS CREMATORY                       ).W. Newcomer's Sons. lnc.                  TOOO BLUE RIDGE BLVD             KANSAS CITY      vlO   Beck Redden          x
(C LIVERY                                            ;.E. South-Central, LLC                     1326 EMMANUEL CLEAVER II BOULE   KANSAS CITY      vto   Beck Redden          x
)AK LAWN MEMORIAL GARDENS                            ),W.   Newcomer's 5ons, lnc.                23215 W 75TH ST                  SHAWNEE          (S    Beck Redden          x
]AK LAWN MEMORIAL      GARDENS                       ).W.   Newcomer's Sons. lnc.                2321s W 75TH ST                  ;HAWNEE          (s    Beck Redden          x
;HAWNEE MISSION MEM GARDENS                          ).W.   Newcomer's Sons, lnc.                23215 W 75TH ST                  ;HAWNEE          (s    Beck Redden          x
;HAWNEE MISSION MEM GARDENS                          ).W.   Newcomer's Sons, lnc.                23215 W 75TH ST                  SHAWNEE          (5    Beck Redden          x
:LORAL HILLS EAST MEM GARDENS                        ).W.   Newcomer's Sons, lnc.                25203 E US HIGHWAY 50            LEES   SUMMIT    vlo   Beck Redden          x
:LORAL HILLS EAST MEM GARDENS                        ).W.   Newcomer's Sons. lnc.                25203 E US HIGHWAY 50            LEES   SUMMIT    v10   Beck Redden          X
LORAL HILLS CEMETERY                                 ).W.   Newcomer's   Sons, lnc.              TOOO BLUE   RIDGE BLVD           KANSAS    CIW    vto   Beck Redden          x
LORAL HILLS CEMETERY                                 ),W.   Newcomer's   Sons, lnc.              TOOO BLUE   RIDGE BLVD           KANSAS CITY      vto   Beck Redden          x
/VHITE CHAPEL CEMETERY                               ),W.   Newcomer's   Sons, lnc.                     NE ANTIOCH RD             SLADSTONE        vto   Beck Redden          X
,VHITE CHAPEL CEMETERY                               ).W.   Newcomer's   Sons. lnc.              '600 NE ANTIOCH RD               3LADSTONE        vlo   Beck Redden          x
]ARRY CEMETERY                                       ).W. Newcomer's Sons, lnc.                  '600 NORTHWEST EARRY
                                                                                                 1327                     ROAD    KANSAS CITY      vlo   Beck Redden          x
]ARRY CEMETERY                                       ).W. Newcomer's Sons, lnc,                  1327 NORTHWEST BARRY ROAD        KANSAS CITY      vlo   Beck Redden          x
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r,lame/Address                                    !ame/Address                                  tlame/Address                                  :ity              itate :irm (lf Provided)   Vlatched
:LORAt HILLS FUNERAL HOME                         D.W. Newcomer's Sons, lnc                     TOOO BLUE RIDGE BLVD                            :ANSAS CITY      MO     ]eck Redden
:LORAL HILLS FUNERAL HOME                         D.W. Newcomer's Sons, lnc.                    IOOO BLUE RIDGE BLVD                           (ANSAS CITY       MO     ]eck Redden
fuHITE CHAPEL FUNERAL HOME                        D.W. Newcomer's Sons. lnc-                    i6OO NE ANTIOCH RD                             JLADSTONE         MO     leck Redden
ruHITE CHAPEL FUNERAL HOME                        D.W.    Newcomer's   Sons, lnc.               i6OO NE ANTIOCH RD                             ;LADSTONE         MO     ]eck Redden
]HURCH.ARCHER-PASLEY FH                           D.W.    Newcomer's   5ons, lnc                 19 E FRANKLIN           ST                     I   BERTY        MO     ]eck Redden
]HURCH-ARCHER-PASLEY FH                           D.W.    Newcomer's   5ons. lnc.               119 E FRANKLIN ST                              .I   BERTY        MO     leck   Redden
                                                  D.W.    Newcomer's                            ;09 S NOLAND RD                                                         leck
'loLAND RoAD CHAPEL                                                    Sons, lnc.                                                              NDEPENDENCE       MO            Redden
{OLAND ROAD CHAPEL                                D.W.    Newcomer's 5ons, Inc                  ;09 S NOLAND         RD                        NDEPENDENCE       MO     leck   Redden
A/ISCONSIN MEMORIAL PARK INC                        E. Cemeteries of Wisconsin, lnc.            13235 W CAPITOL DR                             BROOKFIELD               leck   Redden
A/EST LAWN MEMORIAL PARK                          i.E. Cemeteries of Wisconsin. lnc.            }OOO      WASHINGTON AVE                       RACINE                   ]eck Redden
lOLLY MEMORIAL GARDENS (OH)                       lolly Memorial Gardens,     lnc.              73360 PLEASANT GROVE                           :OLERAIN          ]H     leck Redden
AKEVIEW CEMETERY                                  D.W. Newcomer's Sons, lnc                      21OO E 13TH ST N                              WICHITA           KS     ]eck Redden
AKEVIEW CEMETERY                                  D.W. Newcomer's Sons, lnc.                    12100      E   13TH ST N                       WICHITA           K5     leck Redden
AKEVIEW FUNERAL HOME                              D.W. Newcomer's sons, lnc.                    t2100      E   13TH ST N                       WICHITA           KS     leck Redden
AKEVIEW FUNERAL HOME                              D.W, Newcomer's Sons, Inc                      21OO E 13TH ST N                              WICHITA           KS     leck Redden
:EDAR HILL CEMETERY                               :edar Hill Cemeterv Comoanv. lnc              ;829 RITCHIE HWY                               BALTIMORE         MD     leck Redden
 RESTLAWN CEMETERY                                :rest Lawn Memorial Gardens. LLC              I15O MOUNT VIEW RD                             MARRIOTTSVILLE    MD     ieck Redden
)RUID RIDGE CEMETERY                              i.E. Cemeteries of Maryland, lnc.             79OO PARK HEIGHTS              AVE             BALTIMORE         MD     ]eck Redden
}OUNDS FUNERAL HOME                               Bounds Funeral Home, lnc                      /05   E   MAIN ST                              SALISBURY         MD     leck Redden
OHN    M   TAYLOR FUNERAL HOME                     ohn M. Tavlor Funeral Home. lnc.             t47 DUKE OF GLOUCESTER               ST        ANNAPOLIS         MD     leck Redden
}LLIE RIDGE MEMORIAL GARDENS (VAI                 ;.E. Cemeteries of Vireinia. LLc              ;737 AIRPORT RD NW                             ROANOKE                  leck Redden
r']ONTICELLO MEMORY GARDENS                       i.E. Cemeteries of Virsinia, LLC              ;70 THOMAS JEFFERSON PKWY                      CHARLOTTESVILLE          ]eck Redden
}ERMUDA MEMORIAL PARK                              E.  Cemeteries of Virsinia.    LLC           1901 BERMUDA HUNDRED                 RD        CH ESTER                 ]eck Redden
)ALE MEMORIAL PARK                                ;.E. Cemeteries of Virpinia.    LLC           LO2O1 NEWBYS BRIDGE RD                         CH ESTERFJELD            ]eck Redden
;IGNAL HILL MEMORIAL PARK                         i.E. Cemeteries of VirEinia.    LLC           12350 HANOVER COURTHOUSE                  RD   HANOVER                  leck   Redden
lOLLY MEMORIAL GARDENS                            ;.E. Cemeteries of Virsinia, LLC               251 SEMINOLE TRAIL                            CHARLOTTESVILLE          leck   Redden
               MEMORIAL PARK                      i.E. Cemeteries of Virsinia- LLC              ;217 MEMORIAL DR                               SANDSTON                 ]eck   Redden
^/ASHINGTON
 EAGUE FUNERAT HOME                               i.E. Funeral Homes of Virsinia. LLC           I25O IVY RD                                    CHARLOTTESVILLE          leck   Redden
:ORT LINCOLN MONUMENT SHOP                        :ort Lincoln Cemetery,    LLC                 I4O1 BLADENsBURG RD                            BRENTWOOD         VID    leck Redden
:ORT LINCOLN CEMETERY                              ort Lincoln Cemeterv.    LLC                 I4O1 ELADENSBURG RD                            BRENTWOOD         MD     leck Redden
          HARMONY MEMORIAL PARK                   ;.8. Cemeteries of Marvland. lnc.             I1O1 SHERIFF RD                                HYATTSVILLE       MD     leck Redden
'IATIONAL
,ARKLAWN MEMORIAL GARDENS                         )arklawn, lnc,                                 28OO VEIRS MILL RD                            ROCKVILLE         ViD    ]eck   Redden
:ORT LINCOLN FUNERAL HOME                         :ort Lincoln Funeral Home, lnc.               I4O1 BLADENSBURG RD                            BRENTWOOD         MD     )eck   Redden
;IMPLE TRIBUTE FUNERAL AND CREMATION CEN          ;imDle Tribute of Marvland. lnc.              IO40 ROCKVILLE PIKE                            ROCKVILLE         MD     ]eck   Redden
)EMAINE FLINERAL HOME _ FAIRFAX                   ;.E. Funeral Homes of Virsinia. LLC           10555 MAIN ST                                  FAI RFAX                 leck   Redden
\YCOCK FUNERAL HOME YOUNG & PRILT CHAPEL          ;.E. Combined Seruices of Florida, LLC        ;801 SE FEDERAL HWY                            STUART             L     )eck Redden
\YCOCK FUNERAL HOME BYRD YOUNG & PRILL            i.E. Combined Services of Florida, LLc         170 SOUTHWEST BAYSHORE BOULEV                 PORTST LUCIE      :L     leck Redden
rAMPA CARE CENTER                                 :emeterv Manasement, lnc.                     ;101 N NEBRASKAAVE                             TAMPA             :L     leck Redden
3ARDEN OF MEMORIES                                ;.E. Combined Services of Florida. LLC        I2O7 E LAKE AVE                                TAMPA              L     ]eck   Redden
MYRTLE HILL CEMETERY                              ;.E. combined Seruices of Florida, LLC         202 E LAKE AVE                                TAMPA              L     teck   Redden
BLOUNT AND CURRY FUNERAL HOME OLDSMAR WE          i.E. Funeral Homes of Florida, LLC            ;802 SILVERMILL           DR                   TAMPA              L     ]eck   Redden
BLOUNT & CURRY TERRACE OAKS FUNERAL HOM           i.E. Combined services of Florida. LLc        12690 N 56TH ST                                TEMPLE TERRACE    :L     Ieck   Redden
BLOUNT & CURRY FH.MACDILL CHAP                    ;.E. Funeral Homes of Florida, LLc            ;05 S MACDILL AVE                              TAMPA              L     Ieck   Redden
SARDEN OF MEMORIES FUNERAL HOME                    .E. Combined Services of Florida,      LLC    207      E LAKE   AVE                         TAMPA              L     Ieck   Redden
BLOUNT & CURRY FH-CARROLLWOOD                     ;.E. Combined Services of Florida,      LLC    207 W BEARSS AVE                              TAMPA              L     ieck   Redden
KICLITER FUNERAL HOME                             ;.E. Funeral Homes of Florida. LLC             17 8TH AVE W                                  PALMETTO           L     Ieck   Redden
BEACH MEMORIAL CHAPEL                              .E. Combined Services of Florida, LLC        IO]- COREY AVE                                 ST PETE BEACH      L     Ieck Redden
TERRACE OAKS CREMATORY                            i.E. Combined Services of Florida, LLc         2690 N 56TH        ST                         TAMPA              L     ]eck Redden
,ALM   LA PAZ FUNERALS   & CREMATIONS             i.E. Funeral Homes of California. lnc.        2983 TULARE STREET                             FRESNO            :A     ]eck Redden
:VERGREEN CREMATION SERVICE OF CALIFORNI           .E. Funeral Homes of California, lnc.        )2OS PARALLELAVENUE                            FRESNO                  3eck Redden
(ILGORE GREEN FUNERAL HOME                         .E.   Funeral Homes of Alabama,      LLC     12OO BIRMINGHAM                AVE             ,,ASPER           \t-   leck Redden
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tlame/Address                                 Name/Address                                      tlame/Address                    :itv                itate :irm (lf Provided)   Vlatched
iOCKCO FUNERAL HOME (MONTEVALLO)              5.E. Funeral Homes of Alabama, LLC                , o Box 547                      V]ONTEVALLO         AL     leck Redden
IOCKCO FUNERAL HOME                           ;.E. Funeral Homes of Alabama,        LLC         }05 BIRMINGHAM       RD          :ENTREVILLE         \L     ]eck Redden
AKEWOOD MEMORIAL PARK                         Lakewood Memorial Park. LLC                       iOOO   CLINTON BLVD              ACKSON              MS     leck   Redden
AKEWOOD MEMORIAL PARK SOUTH                   Lakewood Memorial Park, LLC                       t3O MCCLUER RD                   ACKSON              M5     leck   Redden
AKEWOOD FUNERAL HOME                          Lakewood Memorial Park, LLC                       ;011 CLINTON BLVD                ACKSON              MS     leck   Redden
AKEWOOD SOUTH FUNERAL HOME                    Lakewood Memorial Park. LLC                       I3O MCCLUER RD                   ACKSON              MS     leck   Redden
;UNSET MEMORY GARDENS                         S.E. Combined Services of South Carolina. lnc.    1648 JEFFERSON DAVIS HWY         JRAN ITEVILLE       5C     leck   Redden
,INEVIEW MEMORIAL GARDENS                     s.E, cemeteries of south carolina, lnc.           150   W FIVE NOTCH    RD         {ORTH AUGTJSTA      sc     leck   Redden
JEAVENS PETS CREMATION CENTER                 Heaven's Pets At Lakelawn Metairie. LLC IJV)           PONTCHARTRAIN BLVD          {EW ORLEANS         LA     leck   Redden
I   BERNARD MEMORIAL GARDEN                      Cemeteries of Louisiana. LLC
                                              S.E.                                              '1OOW VIRTUE ST
                                                                                                701                              :HALMETTE           LA     leck   Redden
VIETAI RIE CEMETERY ASSOC                     5.E. Cemeteries of Louisiana,   LLC               ;1OO PONTCHARTRAIN BLVD          {EW ORLEANS         LA     leck   Redden       x
;T VINCENT DE PAUL CEMETERY                   S.E. Cemeteries of Louisiana,   LLC               1401 LOUISA 5T                   \lEW ORLEANS        LA     leck   Redden       X

VIOUNT OLIVET CEMETERY                        S.E. Cemeteries of Louisiana.   LLC               IOOO   NORMAN MAYER AVE          !EW ORLEANS         LA     leck   Redden
AKE LAWN PARK                                 Lake Lawn Park, LLC                               ;454 PONTCHARTRAIN BLVD          {EW ORLEANS         LA     leck   Redden       x
;T BERNARD MEM FUNERAL HOME                   5.E. Funeral Homes of Louisiana, LLC              701 W VIRTUE 5T                  :HALMETTE           LA     leck   Redden
AKE LAWN METAIRIE FUNERAL HOME                Lake Lawn Metairie Funeral Home {JV)              ;1OO PONTCHARTRAIN BLVD          !EW ORLEANS         LA     ]eck Redden         x
IIGHLAND I\4EMORIAL GARDENs                   S.E. Cemeteries of Texas, lnc.                    }01 W NA5H ST                    TERRELL             TX     3eck Redden         X

UBANK CEDAR CREEK MEMORIAL PARK               S.E. Combined Seruices of Texas, lnc.             ;01 STATE HIGHWAY                VIABANK             TX     leck   Redden
\NDERSON - CLAYTON BROS FUNERAL HOME          5,E. Funeral Homes of Texas, lnc.                 301 W NASH ST                    IERRELL             TX     leck   Redden
]RIGHT-HOILAND FUNERAT HOME                   s.E. Funeral Homes of Texas. lnc.                 I601 LAMAR AVE                   )ARIS               TX     ieck   Redden       x
\NDERSON - CLAYTON BROS FUNERAL HOME          S.E. Funeral Homes of Texas, lnc.                 305 N JACKSON ST                  IAUFMAN            TX     leck   Redden       x
\NDERSON CLAYTON FH - KEMP                    S.E. Funeral Homes of Texas, lnc.                 r.226 S ELM 5T                   (EMP                TX     leck   Redden       X

UBANK CEDAR CREEK CREMATORY                   s.E. combined services of Texas- lnc.             ;01 STATE HIGHWAY 198 AT WALNU   VIABANK             TX     leck   Redden       x
!EPTUNE SNC-CHICO                             5.E. combined Services of california, lnc.        1353 EAST 8TH STREET             :Htco               CA     leck   Redden       x
ATHAN FUNERAL HOME - GROVE HILL               S.E. Combined services ofAlabama, LLc             20334 HTGHWAY 43                 iROVE HILL          AL     leck   Redden
)INE CREST CEMETERY WEST                      S.E.   Cemeteries of Alabama, LLC                 1599 SNOW RD S                   MOBILE              AL     ieck   Redden       x
V]AGNOLIA LAWN CEM - GROVE HILI.              S.E.   Combined Services ofAlabama.         LLC   I0334 HIGHWAY 43                 :ROVE HILL          AL     Seck Redden         x
ATHAN FUNERAL HOME . JACKSON                  S.E.   combined Services ofAlabama,         LLC   1867 HIGHWAY 43                  ACKSON              AL     leck   Redden       X
)INE CREST FUNERAL HOME                       S.E.   Funeral Homes ofAlabama, LLC               1939 DAUPHIN ISLAND PKWY         MOBILE              qL     leck   Redden       X

JALDWIN FAIRCHILD FUNERAL HOME                S.E.   Funeral Homes of Florida. LLC              ,01 N PARK AVE                   \POPKA              FL     leck   Redden       x
,ALM MEMORIAL. KERMAN CHAPET                  S.E.  Funeral Homes of California, lnc.           ;38 SOUTH MADERA AVENUE          (ERMAN                     leck   Redden       X
,ALM MEMORIAL - COALINGA CHAPEL               5.E. Funeral Homes of California, lnc             186 NORTH 5TH STREET             :OALINGA            ]A     leck   Redden       x
]HAPEL OF THE CHIMES CEM/CREMA                i.E. Combined Services of California. lnc.        2501 SANTA ROSA AVE              SANTA ROSA                 leck   Redden       x
)E YOUNG MEMORIAL CHAPEL                      ;.E. Funeral Homes of California, lnc.            ;01 N CALIFORNIA ST              iTOCKTON            :A     leck   Redden       x
)E YOUNG SHORELINE CHAPEL                        E. Funeral Homes of California, lnc            7676 SHORELINE DR                ;TOCKTON            :A    Beck Redden
!EPTUNE sNC MARIN                             S.E. Combined Seruices of California, lnc.        1780 GRANT AVENUE                !OVATO              :A    Beck Redden
!EPTUNE SNC SANTA ROSA                         ;.E. Combined Seruices of california. Inc.       1455 SANTA ROSA AVE STE 82       iANTA ROSA          ]A    Beck Redden
!EPTUNE SNC STOCKTON                           ;.E. Combined Seruices of California. lnc.       1111 WEST ROBINHOOD DR           iTOCKTON            :A    Beck Redden
!EPTUNE SOCIETY OF FAIRFIELD                     Combined Services of California, lnc.
                                                E.                                              1251 TRAVIS BOULEVARD S 150      AI RFIELD           :A    Beck Redden
)UNBAR FUNERAT HOME (DEVINE)                  )unbar Funeral Home                               3926 DEVINE 5T                   :OLUMBIA            ic    Beck Redden
)UNBAR FUNERAL HOME DUTCH FORK CHAPEL         )unbar Funeral Home                               7600 wooDRow sT                  RMO                 ;c    Beck Redden
)UNBAR FUNERAL HOME - NORTHEAST               )unbar Funeral Home                               1219 HARD SCRABBLE RD            :OLUMBIA            ;c    Beck Redden
VIOUNTAIN VIEW MEMORY KY                       .E, Cemeteries of West Virsinia, lnc.            119 NORTH MT VIEW DRIVE          HUDDY               (Y    Beck Redden
\LL FAITHS MEMORIAL PARK                       .E. Cemeteries of Florida. LLC                   1390 PARK DR                     :ASSELBERRY         :t    Beck Redden
:HAPEL HILL CEMETERY                          ;-E. Cemeteries of Florida. LLC                   24OO HARRELL RD                  )RLANDO             :t    Beck Redden
JLEN HAVEN MEMORIAL PARK                       .E. cemeteries of Florida, LLC                   23OO TEMPLE DR                   ilINTER PARK        :I    Beck Redden
]AKLAWN CEMETERY                               .E. Combined Services of Florida,      LLC       ;OOO COUNW ROAD 464              ;ANFORD             ;I    Beck Redden
\LL FAITHS ORT,ANDO                            .E. Funeral Homes of Florida. LLC                4901 S ORANGE AVE                ]RLANDO             ;t    Beck Redden
]ALDWIN FAIRCHILD FUNERAL HOME                ;.E. Funeral Homes of Florida, LLC                7520 ALOMA AVE                   /i/INTER PARX       :L    Beck Redden
                                                   Funeral Homes of Florida,                    )94 E ALTAMONTE DR               \LTAMONTE SPRINGS   :L    Beck Redden
]ALDWIN FAIRCHILD FUNERAL HOME                 .E.                             LLC
]ALDWIN FAIRCHILD FUNERAL HOME                 .E. Funeral Homes of Florida,   LLC              301 NE IVANHOE BLVD              ]RLANDO             :t    Beck Redden
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                                                                                                                                                                                                    Not
r,lame/Address                                       {ame/Address                                       !ame/Address                                 :itv                ;tate Firm (lf Providedl   Matched
]ALDWIN FAIRCHILD FUNERAL HOME                       i.E. Funeral Homes of Florida, LLC                 128 E PLANT ST                               /UINTER GARDEN             Beck Redden         x
]ALDWIN-FAIRCHILD     OAKLAWN CHAPEL                  .E.   Funeral Homes of Florida, LLC               5OOO   COUNTY ROAD 464                       SANFORD                    Beck Redden         X
]ALDWIN FAIRCHILD FUNERAL HOME                       ;.E.   Funeral Homes of Florida. LLC               501 E MITCHELL HAMMOCK                  RD   ]VIEDO              :L     Beck Redden         X
]ALDWIN FAIRCHITD FUNERAL HOME                       ;.E.   Funeral Homes of Florida, LLC               1413 S SEMORAN BLVD                          ]RLANDO             :t-    Beck Redden         x
]ALDWIN FAIRCHILD FUNERAL HOME                        .E.   Funeral Homes of Florida, LLC               58OO HANSEL AVE                              ]RLANDO             :t     Beck Redden         x
]ALDWIN FAIRCHILD FUNERAL HOME                       ;.E.   Funeral Homes of Florida, LLC               )O WEATHERSFIELD             AVE             \LTAMONTE SPRINGS   :I     Beck Redden         X
]ALDWIN-FAIRCHILD     CREMATORY                      ;.E.   Funeral Homes of Florida. LLC               301 NORTHEAST IVANHOE BOULEVAR               ]RLANDO             :I     Beck Redden         x
-AKE VIEW MEMORIAL PARK                              ;.E.   Cemeteries of Wisconsin, lnc.               2786   ALGOMA BLVD                           )SHKOSH                    Beck Redden         x
\PPLETON HIGHLAND PARK MGMT CO                        .E.Cemeteries of Wisconsin, lnc                   3131   NORTH RICHMOND ST                     \PPLETON                   Beck Redden         x
\iICOLET MEMORIAL PARK MGMT CO                       ;.E.Cemeteries of Wisconsin. lnc.                  2770   BAY SETTLEMENT RD                     3REEN BAY                  Beck Redden         x
                                                     -he
INCOLN MEMORIAL CEMETERY                                 Lincoln Memorial Park Cemetery Association     ;700   s 14TH   ST                           LINCOLN             !E     Beck Redden         x
/VEST LAWN/HILCREST MEMORIAL PK                      Mest Lawn Cemetery                                 i701 CENTER ST                               ]MAHA               {E     Beck Redden         x
                                                     -he
INCOLN MEMORIAL FUNERAL HOME                             Lincoln lvlemorial Park Cemeterv Association   i800 s 14TH ST                               -INCOLN             {E     Beck Redden         x
,VESTLAWN-HILLCREST    FUNERAL HOME                  Mest Lawn Cemetery                                 ;701 CENTER ST                               ]MAHA               {E     Beck Redden         x
ASTLAWN MEMORIAL GARDENS                              E. Cemeteries of Virsinia, LLC                    3289 SPOTSWOOD TRL                           IARRISON BU RG             Beck Redden         X
;YLVAN ABBEY - CEMETERY                                E. Combined Services of Florida.     LLC         2860 SUNSET POINT RD                         :LEARWATER          :L     Beck Redden         x
\LL FAITHS THE VILLAGES                              i.E. Funeral Homes of Florida, LLC                 2 LAGRANDE BLVD                              IHE VILLAGES               Beck Redden         x
;YLVAN ABBEY - FUNERAL HOME                          i.E. Combined Seruices of Florida, LLC             2853 SUNSET POINT RD                         :LEARWATER          :L     Beck Redden         X
TURNER FUNERAL HOMES SPRING HILL CHAPEL               E. Funeral Homes of Florida, LLC                  14360 SPRING HILL DRIVE                      ;PRING HILL         :L     Beck Redden         x
UNERAL ALTERNATIVES CREMATORY                        :haoel of The Vallev Funeral Home. lnc.            ;50 BUSINESS PARK DR                         MEDFORD             ]R     leck   Redden       x
IEST HILLS MEMORIAL PARK                             lest Hills Memorial Park, lnc.                     7724 LANDERS ROAD                            !ORTH LITTLE ROCK   \R     leck   Redden       X
:OREST HILLS CEMETERY                                :orest Hills Cemeterv, LLC                         1O2OO HIGHWAY            5   N               \LEXAN DER          \R     leck   Redden
)INECREST MEMORIAL PARK                              :orest Hills Cemeterv, LLC                         Z4O1 HIGHWAY         5   N                   \LEXAN DER          \R     leck   Redden       x
:OREST HILLS FUNERAL HOME                            :orest Hills Cemeterv. LLC                         1.O2OO   HIGHWAY 5 N                         \LEXAN DER          \R     3eck Redden         X
IEST HILLS FUNERAL HOME                              lest Hills Memorial Park, lnc                      7724 LANDERS ROAD                            IORTH LITTLE ROCK   \R     leck   Redden       x
]HAPEL OF THE ROSES CEMETERY                          E.  Combined Services of California, lnc          3450 EL CAMINO REAL                          \TASCAD ERO         :A     leck   Redden
OS OSOS VALLEY MEMORIAT PARK                         ;.E. Combined Services of California. lnc.         I260 LOS OSOS VALLEY ROAD                     os osos            :A     leck   Redden       x
,ALM MEMORIAL - WORDEN CHAPEL                        i.E. Funeral Homes of California, lnc              140 SOUTH 6TH STREET                         :HOWCHILLA                 leck   Redden
,ALM MEMORIAL - SIERRA CHAPEL                         E.    Funeral Homes of California, lnc            , o Box 232                                  )AKH   U RST               leck   Redden
:HAPEL OF THE ROSES MORTUARY                          .E.   Combined Services of California. lnc.       3450 EL CAMINO REAL                          \TASCADERO          :A     ]eck Redden         x
OS OSOS VALLEY MORTUARY                                 Combined Services of California, lnc.
                                                     i.E.                                               2250 LOs OSOS VALLEY ROAD                    .os osos            :A     leck   Redden
V]EMORIAL PARK CEMETERY                              ).W, Newcomer's Sons, lnc.                         1217 BUSTNESS LOOP 70 W                      ]OLUMBIA            r'lo   leck   Redden
VIEMORIAL PARK CEMETERY                              ).W. Newcomer's Sons, lnc.                         1217 BUSTNESS LOOP 70 W                      :OtUMBIA            r'lo   leck   Redden
V]EMORIAL FUNERAL HOME/COLUMBIA                      ).W, Newcomer's Sons, lnc.                         1217 BUS|NESS        LOOP 70        W        :OLUMBIA            r'lo   leck   Redden       X
./]EMORIAL FUNERAL HOME/COLUMBIA                     D,W. Newcomer's Sons, lnc                          1217 BU5|NE55        LOOP        70 W        :OLUMBIA            ilo    leck   Redden
HACHER FUNERAL HOME                                  D.W. Newcomer's Sons, lnc                          ;29 E MORGAN         ST                      ]OONVILLE           ilo    leck   Redden
HACHER FUNERAL HOME                                  D.W. Newcomer's 50ns, lnc.                         ;29 E MORGAN         ST                      ]OONVILLE           !40    leck   Redden
NILLIAM WOOD FUNERAL HOME                            D.W. Newcomer's Sons. lnc.                          17 4TH ST                                   ]OONVILLE           t4o    leck   Redden       x
ruILLIAM WOOD FUNERAL HOME                           D.W. Newcomer's Sons, lnc                           L7 4TH ST                                   ]OONVILLE           vlo    leck   Redden
VERGREEN MEMORIAL GARDENs                            S.E. Cemeteries of North Carolina, LLC             28OO NASH ST N                               A/lL50N             NC     leck   Redden
HOMAS-YELVERTON FUNERAL SVC                          S.E. Funeral Homes of North Carolina. lnc.         I7O4 NASH ST N                               i1,/ILSO N          NC     leck   Redden
]HAPEL OFTHE VALLEY-L    B   HALL FUNERAL H          Jhapel of The Valley Funeral Home, lnc.            1065 UPPER RIVER RD                          JRANTS PASS         ]R     leck   Redden
IOGUE VALLEY FUNERAL ALTERNATIVES                    lhapel of The Valley Funeral Home, Inc.            ;58    BUSINESS PARK DRIVE                   VIEDFORD            ]R     ]eck Redden
JRANTS PASS FUNERAL ALTERNATIVES                     lhapel of The Vallev Funeral Home, lnc.            tO6 NW EVELYN AVE                            ]RANTS PASS         ]R     leck Redden
\BBEY FUNERAL INC                                    :haoel of The Vallev Funeral Home. lnc.            ;50 BI.]SINESS PARK DR                       vIEDFORD            ]R     leck Redden
]AROLINA MEMORIAL GARDENS                            i.E, Combined Services of South Carolina, lnc.     7113 RIVERS AVE                              NORTH CHARLESTON    sc     leck Redden
:AROLINA FUNERAL HOME                                  E. Combined Services of South Carolina, lnc.     7113 RIVERS AVE                              NORTH CHARLESTON    tc     ]eck Redden
:UNNINGHAM MEMORIAL PARK                              E.  Cemeteries of West Vireinia. lnc.             }15 CUNNINGHAM LN                            SAINT ALBANS               ]eck   Redden
}LUE RIDGE MEMORIAT GARDENS (WV)                     i.E. Cemeteries of West Vireinia. lnc.             ;250 ROBERT C BYRD DRIVE                     BECKLEY                    ]eck   Redden
.YLER
        MOUNTAIN MEMORY GARDENS                      i.E. Cemeteries of West Virsinia, lnc.             ,o BOX75L7                                   CROSS TANES                leck   Redden
r']OUNTAIN VIEW MEMORY WV                            ;.E. Cemeteries of West Virsinia. lnc-              44 E 2ND AVE                                WILLIAMSON                 leck   Redden
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r,lame/Address                                    Iame/Address                                      Name/Address                                  :iw                ;tate Firm (lf Provided)   Matched
BLUE RIDGE FUNERAL HOME                           i.E. Funeral Homes of West Virpinia. lnc.         P O BOX 1536                                  BECKLEY                   Beck Redden         x
DODD PAYNE HESS FUNERAL HOME                      ;.E. Funeral Homes of West Virginia, Inc.         350 W MAPLE AVE                               FAYETTEVILLE              Beck Redden
:ASDORPH & CURRY FUNERAL HOME                     lasdorph & Curry Funeral Home, lnc                1.1.0 B   S'T                                 SAINT ALBANS              Beck Redden
TYLERMOUNTAIN FUNERAL HOME                         Ol Charleston, lnc,                              P   O   BOX     75L7                          CROSS LANES               Beck Redden
TEVENS & GRASS FUNERAL HOME                       ;.E. Acouisition of Malden. west Virsinia. lnc.   1203 SALINES DR                               MALDEN                    Beck Redden         X
]RLANDO CARE CENTER                               i.E. Funeral Homes of Florida, LLC                301 NORTHEAST IVANHOE BOULEVAR                ]RLANDO                   Beck Redden         x
NEW ORLEANS CARE CENTER                           itewart Resource Center,    LLC                   51OO PONTCHARTRAIN BLVD                       NEW ORLEANS               Beck Redden         x
                                                                                                                                                                     )R
PORTA COELI CREMATION PLUS                        :mDresas Stewart - Cementerios                    EMPRESAS STEWART             -   SCI PUERTO   SANTURCE                  Beck Redden         x
:ENTRAL PNFS SALES OFFICE                         ;.E. Cemeteries of South Carolina, lnc.           2410 GENTRY MEMORIAL HWY                      PICKENS            ;C     Beck Redden         x
:ENTRAL.NORTH SALES OFFICE                        Vlontlawn Memorial Park, lnc                      2911 S WILMINGTON ST                          RALEIGH            !C     Beck Redden         x
:ENTRAL.SOUTH SALES OFFICE                        ;.E. Cemeteries of South Carolina. lnc.           2410 GENTRY MEMORIAL HWY                      PICKENS            ic     Beck Redden         X
;OUTHEASTERN SALES OFFICE                         ;.E. Funeral Homes of Florida, LLC                301 NORTHEAST IVANHOE BOULEVAR                ]RLANDO            L      Beck Redden         X
,INE CREST CREMATORY                               .E. Cemeteries of Alabama, LLC                   1939 DAUPHIN ISLAND PKWY                      MOBILE             \r     Beck Redden         x
.ATHAN FUNERAL HOME. CHATOM                       i.E. Combined Seruices of Alabama, LLC            17484 JORDAN STREET                           :HATOM             \L     Beck Redden         X
:YPRESS VIEW CREMATORY                            ;.E. Combined Services of California. lnc.        3953 IMPERIAL AVE                             ;AN DIEGO          :A     Beck Redden         X
:HAPEL OF THE CHIMES CREMATORY                    ;.E. Combined Seruices of California, lnc.        2601 SANTA ROSA AVE                           ;ANTA ROSA         ]A     Beck Redden         X
JOSHUA CREMATORY                                  ;.E. Funeral Homes of California, lnc.            3150 E PALMDALE BLVD                          PALMDALE                  Eeck Redden         x
)ESERT VIEW CREMATORY                             ;.E. Combined Seruices of California. lnc,        11478 AMARGOSA RD                             r'ICTORVILLE       :A     Beck Redden         X
\IAIAD YACHT                                      i.E. Combined Services of California, lnc.        1855 OLYMPIC BOULEVARD                        //ALNUT CREEK      ]A     Beck Redden         x
:HAPEL OF THE ROSES CREMATORY                     .E.   combined Services of California, lnc.       3450 EL CAMINO REAI                           ATASCADERO         :A     Beck Redden         x
OS OSOS VALLEY CREIV]ATORY                        i.E. Combined Services of California, lnc.        2260 LOS OSOS VALLEY ROAD                     LOS OSOS           :A     Eeck Redden         X
-AKEVIEW CREMATORY                                ).W. Newcomer's Sons. lnc.                        12100 E 13TH ST N                             WICHITA            (s     Beck Redden         x
-AKEVIEW CREMATORY                                ),W. Newcomer's Sons, lnc.                        12100      E    13TH ST N                     "^,/ICHITA
                                                                                                                                                                     (s     Beck Redden         x
\4ETAIRIE CREMATORY                               .E.   Cemeteries of Louisiana,    LLC             51OO PONTCHARTRAIN BLVD                       NEW ORLEANS               Beck Redden         X
:ORT LINCOLN CREMATORY                            :ort Lincoln Funeral Home. lnc.                   3401 BLADENSBURG             RD               BRENTWOOD          VID    Beck Redden         X
MEMORIAL CREMATORY                                ).W. Newcomer's Sons, lnc.                        1217 BUS|NESS LOOP 70 W                       :OLUMBIA           vlo    Beck Redden         x
MEMORIAL CREMATORY                                ).W. Newcomer's Sons, lnc.                        1217 BUSINESS LOOP 70 W                       :OLUIV]BIA         vlo    Beck Redden         x
.INCOLN MEMORIAL CREMATORY                        ihe Lincoln Memorial Park Cemeteru Association    ,800 s 14TH ST                                LINCOLN            \lE    Beck Redden         x
TVESTLAWN-H I LLCREST CREMATORY                   Mest Lawn Cemetery                                5701 CENTER ST                                ]MAHA              {E     Beck Redden         x
MCLAURIN AT PINCREST CREIV]ATORY                  Vlclaurin's Funeral Home, LLC                     12830 US 70 BUSINESS HWY W                    :LAYTON            \jC    Beck Redden         x
OHNSON CREMATORY                                  i.E. Funeral Homes of North Carolina. lnc.        J61 ENGLISH RD                                ROCKY MOUNT               Beck Redden         x
iUNSET HILLS CREMATORY                            ;unset Hills Memorial Park                        ;801 SW SUNSET HWY                            PORTLAND           )R     Beck Redden         x
:HAPEL OF THE VALLEY CREMATORY                    :hapel of The Valley Funeral Home, lnc            2065 UPPER RIVER            RD                SRANTS PASS        )R     Beck Redden         x
:AROLINA MEMORIAL CREMATORY                         E. Combined 5ervices of South Carolina, lnc.    7113 RIVERS AVE                               NORTH CHARLESTON   ;c     Beck Redden         x
)UNBAR CREMATORY                                   )unbar Funeral Home                              1219 HARD SCRABBLE RD                         :OLUMBIA           ;C     Beck Redden         x
VIACKEY CREMATORY                                 ;.E. Funeral Homes of South Carolina. Inc.        311 CENTURY DR                                3REENVILLE         ;C     Beck Redden         x
]ILLARD CREMATORY                                 ;.E. Funeral Homes of South Carolina, lnc         2402 GENTRY MEMORIAL HWY                      PICKENS            ;c     Beck Redden         x
JONZALEZ CREMATORY                                 E.  Funeral Homes of Texas, lnc.                 3O5O N STEMMONS FWY                           DALLAS             ix     Beck Redden         x
UBANK CEDAR CREEK                                 ;.E. Combined Seruices of Texas. lnc.             ;01 STATE HIGHWAY 198 AT WALNU                V]ABANK             x     Beck Redden         X
JARDEN OAKS CREMATORY                             ;.E. Funeral Homes of Texas, lnc.                 13430 BELLAIRE BLVD                           ]OUSTON            x      Beck Redden         x
IOLLING OAKS CREMATORY                            i.E. Funeral Home of Coppell, Texas, lnc.         lOO FREEPORT PKWY                             :OPPELL            x      Beck Redden         x
;UNRISE BURIAL PARK                                 E. Cemeteries of Virsinia. LLc                  i555      LEE HIGHWAY                         )U BtIN                   Beck Redden         X
\LBEMARLE CREMATION SERVICE                       i.E. Funeral Homes of Virsinia. LLC               1260 IVY RD                                   :HARLOTTESVILLE           Beck Redden         X
3LUE RIDGE MEMORIAT GARDENS   (WV) VAULT   P      ;.E. Cemeteries of West Virginia, lnc.                      ROBERT    C   BYRD DRIVT            ]ECKLEY                   ]eck Redden         x
]LUE RIDGE CREMATORY                               E.  Funeral Homes of West Virsinia, lnc          '250
                                                                                                    i25],     ROBERT    C   BYRD DRIVE            ]ECKLEY                   leck   Redden       X
TVISCONSIN MEMORIAL CREMATORY                       E. Cemeteries of Wisconsin, lnc,                13235 W CAPITOL DR                            ]ROOKFIELD                leck   Redden
;TEWART FUNERAL NON REGION                        ;tewart Enterorises. lnc.                         1333 S CLEARVIEW PKWY                         ,EFFERSON                 leck   Redden       x
iTEWART CEMETERY NON REGION                       ;tewart Enterprises, lnc,                         1333 S CLEARVIEW PKWY                         ,EFFERSON                 leck   Redden       x
:ORT LINCOLN VAULT PLAN]                          :ort Lincoln CemeterV, LLC                        3401 BLADENSBURG RD                           ]RENTWOOD                 leck   Redden
                                                  -he                                                                                                                '/lD
INCOLN MEMORIAL FLOWER SHOP                           Lincoln Memorial Park cemeteru Association    ;800 s 14TH ST                                INCOLN              E     leck   Redden       x
\PPLETON HIGHLAND MEMORIAL PARK                   \ppleton Hiehland Memorial Park, lnc.             3131 NORTH RICHMOND 5T                        \PPLETON                  Seck Redden         X
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                                                                                                                                                          Not
\lame/Address                           !ame/Address                          Name/Address                     ciw             ;tate Firm {lf Provided}   Matched
NICOLET MEMORIAL PARK                   {icolet Memorial Gardens              2770 BAY SETTLEMENT         RD   SREEN BAY             Beck Redden
;IMPLICITY PLAN OF PUERTO RICO          itewart Enterprises, lnc              607 CALLE SAN JOSE               ;ANTURCE        )R    Beck Redden
                                        (evstone   America,   lnc.            PO BOX 503                       PORT ANGETES          Beck Redden          x
                                        (evstone   America.   lnc.            1919 ALLEN PKWY                  HOUSTON         tx    Beck Redden          X
                                        (eystone   America,   lnc.            P   O   BOX   307                HAYWARD               Beck Redden          x
                                        (eystone   America,   lnc.            1201 N 8TH 5T                    ;HEBOYGAN             Beck Redden          x
                                        (evstone America. lnc.                501 ELMWOOD AVE                  :OLUMBIA        ;c    Beck Redden          x
                                        (eystone America, lnc.                ;05     BELLEVUE AVE             DUBLIN          JA    Beck Redden          X
                                        (eystone America, lnc.                17 WEST FIRST STREET             r'i/INNEMUCCA         Beck Redden          x
                                        (evstone America, Inc.                P   O   BOX   307                HAYWARD               Beck Redden          x
                                         eystone America, lnc.                1201 N 8TH STREET                ;HEBOYGAN             Beck Redden          x
                                        (eystone America, lnc                     15 YAQUINA HEIGHTS DR        NEWPORT         )R    Beck Redden          x
                                         evstone America, lnc.                )15 YAOUINA HEIGHTS DR           !EWPORT         )R    Beck Redden          x
                                         evstone America. lnc.                226 PEARL STREET                 MEDINA          {Y    Beck Redden          x
                                        (eystone America, lnc.                226 PEARL STREET                 V]EDINA         {Y    Beck Redden          x
                                        (eystone America, lnc.                , o Box 12210                    IOLEDO          )H    leck   Redden        x
                                        (evstone America. lnc.                34 RIVER STREET                  )TEGO           \lY   leck   Redden        X
                                        (evstone America. lnc.                21,56 AIRLINE DRIVE              rosslER crrY    A     leck   Redden        x
                                        (eystone   America,   Inc.            ,o      Box 264                  ;OLON SPRINGS         leck   Redden        X
                                        (evstone   America,   lnc.            )o      Box 254                  ;OLON SPRINGS         leck   Redden
                                        (evstone   America.   lnc.            ;4OO BUSH RIVER RD               :OLUMBIA        ;c    leck   Redden
                                        (eystone   America,   lnc.            ;4OO BUSH RIVER RD               ]OLUMBIA        iC    ]eck Redden          x
                                        levstone                                                                               .N
                                                   America, lnc               ],106 HIGHWAY 33 SOUTH           \]EW TAZEWELL         leck   Redden
                                        (evstone   America, lnc.              I21 EtM STREET                   ;POONER         UI    leck   Redden
                                        (eystone   America, lnc.              }11 WIGGINGTON RD                 YNCHBURG             leck   Redden
                                        (evstone America, lnc                 I1914 TIMBERLAKE       RD         YNCHBURG             leck   Redden
                                        (evstone America. lnc.                         NORTH MAIN STREET       iOMER           NY    leck   Redden
                                        (eystone America, lnc.                )o
                                                                              '016
                                                                                 Box       503                 ,ORT ANGELES          leck   Redden
                                        Keystone America, lnc                 1244 E PYTHIAN                   iPRINGFIELD     MO    leck   Redden
                                        (evstone America. lnc.                1244 E PYTHIAN                   iPRINGFI ELD    MO    leck   Redden
                                        :evstone America. lnc.                    794 HIGHWAY 80 W             ;ARDEN CITY           )eck   Redden
                                        Keystone America, Inc                 163 EAST AVE                     LOCKPORT        NY    ]eck   Redden
                                        (evstone Michisan. lnc.                20 N CHICAGO ST                 LITCH FIELD     MI    leck   Redden
                                        (evstone Michisan. lnc.               tO3 S MAIN ST                    READING         MI    leck   Redden
                                        :eystone America, lnc.                 19 E MAIN STREET                W   LAFAYETTE   ]H    leck   Redden
                                        leystone America, lnc,                IOTO HOUSTON RD                  MACON           JA    leck   Redden
                                        (evstone America, lnc,                IO3 OAK STREET                   BRAIN ERD       VIN   leck   Redden
                                        (evstone America. lnc.                    111 E BLVD                   CHARLOTTE       \lC   leck   Redden
                                        .evstone Amenca. lnc.                     10 5TH                       RUPERT          D     ]eck Redden
                                        (evstone America, lnc.                121 E       MAIN ST              BURLEY          D     ,eck Redden
                                        (evstone America, lnc.                .05     w   4TH 5T PO BOX 340    PORT ANGELES          ]eck Redden
                                        (eystone America, lnc.                ,o Box 297                       RH IN ELANDER         leck Redden
                                        (eystone America, lnc.                ]5OO NAVARRE AVE                 ]REGON          )H    jeck Redden
                                         .evstone America, lnc.                       EAST 3RD STREET          ,EROME          D     leck Redden
                                        (evstone Michisan. Inc.               '29 W ERIE 5T
                                                                              208                              ALBION          vil   Beck Redden
                                        (eystone America, lnc.                211 W LIBERTY AVE                LYONS           rA    Beck Redden
                                          eystone America, Inc.               1635 NORTH BENTON                iPRINGFI ELD    vlo   Beck Redden
                                          evstone America, lnc.               15OO    5 LONE PINE RD           SPRINGFI ELD    uo    Beck Redden
                                        (evstone America. lnc.                ;234 W STATE HWY EE              iPRINGFI ELD    vlo   Beck Redden
                                        (eystone America, lnc.                3OO W WENDOVER AVE               JREENSBORO      {c    Beck Redden
                                        Keystone America, lnc.                3903 MERIWETHER ROAD             ;HREVEPORT            Beck Redden          x
                Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 78 of 80 PageID #:8317



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\lame/Address          Name/Address                          vame/Address                   :ity               ;tate   :irm (lf Provided)   Matched
                       Kevstone America, lnc.                312 MILWAIJKEE STREET          V]ENASHA                   Beck Redden          X
                       Kevstone lndiana. lnc.                J35O S CANAL STREET            III   FY           N       Beck Redden          x
                       Keystone Indiana, lnc                 205 WASHINGTON STREET          ;HELBU RN          N       Beck Redden          X
                       (evstone America, lnc.                104 W IACKSON ST               IYMERA             N       leck   Redden        X
                       (evstone lndiana. lnc.                t02 s 7TH ST POB r.s43         TERRE HAUTE        IN      leck   Redden        x
                       Keystone lndiana, lnc                     EAST MAIN STREET           ASONVILLE          IN      leck   Redden        x
                       (eystone America, lnc.                '31 Box723
                                                             )o                              T    HELENA       CA      ieck   Redden        x
                       (evstone America. lnc.                15 S MONROE                    ,ORT ANGELES               leck   Redden        X
                       Keystone America, lnc.                I81 CALAWAH WAY                :ORKS                      leck   Redden
                       ieystone America, lnc.                ;052 DORR STREET               TOLEDO             OH      ]eck Redden          x
                       (evstone America. lnc.                7438 AIRPORT HIGHWAY           1O LLAND           OH      leck   Redden        x
                       (eystone America, lnc.                T5 S   MONROE                  ,ORT ANGELES               leck   Redden
                       (eystone America, lnc                 ;60 5W FLEET AVE               .INCOLN CITY       OR      leck   Redden
                       ievstone America, lnc.                 134 E DEVIL LAKE RD           )Tts               OR      leck   Redden        X
                       (evstone America. lnc.                 99 NE 1OIH     ST             )RI NEVI LLE       OR      leck   Redden
                       Kevstone Michigan, lnc                       N BROADWAY STREET       JNION CITY         MI      leck   Redden
                       levstone Michisan. lnc                '01 N MAIN
                                                             i16             STREET         IEKONSHA           MI      leck   Redden
                       (evstone America, lnc.                 5OO S   LONE PINE RD          ;PRINGFIELD        MO      leck   Redden
                       (evstone America. lnc.                340 S MONROE AVE                REEN BAY                  leck   Redden
                       Keystone America, lnc                 IOO9 STEUBENVILLE        AVE   ]AMBRIDGE          OH      leck   Redden
                       (evstone America, lnc                 108 W ALDER ST                 ;EQUIM                     leck   Redden
                       (evstone America. lnc.                ,o Box    503                  ,ORT ANGELES               leck   Redden
                       (eystone America, lnc,                IO1 N 2ND ST                   /AKIMA                     ]eck Redden
                       Kevstone America, lnc                  202 COLONIAL DRIVE            :OLUMBIA           ;c      leck Redden
                       (evstone America,   lnc.              IO9 N WILHELM SI               '{OLGATE           )H      leck Redden
                       :eystone America,   lnc.               t30 N scoTT 5T                ,IAPOLEON          ]H      Beck Redden
                       (evstone America,   lnc               511 SOUTH 7TH AVE PO BOX 315   )THELLO                    Beck Redden
                       (evstone America.   lnc.              1722 MT VERNON RD              /IDALIA            3A      Beck Redden
                       :evstone America. lnc.                200 s sEcoND sT                JLENWOOD           3A      Beck Redden
                       (eystone America, lnc                 11357 EAST 4OTH STREET         /UMA                       Beck Redden
                       (evstone America, lnc                 11357 EAST 4OTH STREET         ,UMA               \z      Beck Redden
                       :evstone Michiean. lnc.               3232 W SAGINAW                 ANSING             vI      Beck Redden
                       (eystone America, lnc.                133 BROADWAY                   IAVERSTRAW         {Y      Beck Redden
                       (evstone America, lnc.                71 N CENTRAL HWY               GARN ERVILLE               Beck Redden
                       (evstone   America, lnc.              3OO   5 LOGAN STREET           DENVER             :o      Beck Redden
                       (evstone   America, lnc.              333 WEST MAIN ST               NAPOLEON           )H      Beck Redden          x
                       (eystone   America, lnc.              5234 W STATE HWY               ;P RINGFIELD       vto     Beck Redden          x
                       (eystone America, lnc.                222 E SOUTH BOUNDARY ST        PERRYSBU RG        )H      Beck Redden          x
                        eystone America, lnc,                701 N MAIN STREET              r'i/ALBRIDG    E   )H      Beck Redden          x
                       (eystone America, lnc.                2794 HIGHWAY 80 WEST           SARDEN CIry                Beck Redden          x
                       (eystone America, lnc.                ;202 COLONIAL DRIVE            :OLUMBIA           ic      Beck Redden          x
                        evstone America, lnc.                209 N WILHELM ST               TOLGATE            )H      Beck Redden          X
                       (evstone America. lnc.                199 NE 10TH S1                 )RINEVI LLE        )R      Beck Redden          x
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                                              Case: 1:13-cv-05795 Document #: 422 Filed: 05/08/18 Page 80 of 80 PageID #:8319



                                                                                                       EXCLUSION LIST


                                                    Requests for Exclusion By Class Members - Deficient Because Signed By Attorney and/or No Authorization by Associated Entity


                                                                                                                                                                                                                           rtty
iCG No.        Name/Address                                     {ame/Address                                     \ame/Address                               :itv                  State   Firm (lf Provided)   Secondary   iigned
 1.000316 THARP FUNERAL HOME                                     20 BREEZEWOOD DR                                                                            YNCHBURG                     Beck Redden
 1007860 MILLS, REDDING AND DENNIS, D.D                         I8O1 OLD CANTON ROAD                                                                         ACKSON               MS      Beck Redden
 1008330 MEREDITH NOWELL FUNERAL HOME                           )o Box   885                                                                                 OU ISVILLE           MS      Beck Redden
 1013593 FAMILY MEMORIAL FUNERAL SERV                           ) o Box 1579                                                                                :ANTON                MS      Beck Redden
 1041183 S M FINNEY FUNERAL HOME INC                            T32 N 6TH ST                                                                                :LAIRTON              PA      Beck Redden
 1,O4L567 ALBUQUERQUE CENTRAL CARE CTR                          Z601 WYOMING                                                                                \LBUOUEROUE           NM      Beck Redden          X
 7041799 CRUCIBLE PHYSICAL MEDICINE                                    LEBANON RD                                ;TE 101                                     Rlsco                TX      Beck Redden
 to90773 FOURRIER FAMILY         DENTISTS                       '988 WASHINGTON AVE
                                                                2619                                                                                        /VALLER               rx      Beck Redden
 1100853 OTT & LEE FUNERAL HOME                                 PO BOX 1597                                                                                 ]RANDON               MS      Beck Redden          X
 1103955 TEXAS FAMILY MEDICAL CENTER                            506 GRAHAM DR                                    TE 2OO                                     IOMBALI"              TX      Beck Redden
 1106023 ABDELSAYED, DALLAL MD                                  HIGHLANDS MEDICAL ASSOCIATES                     iO7   E   WALLISVILLE RDD.                 {IGH LAN DS           TX      Beck Redden
 1107315 BRAZOS VALLEY INTERNAL MED.                            3201 UNIVERSITY DR                               +345                                       ]RYAN                 ry      Beck Redden
 1109801 ]TT & LEE FUNERAL HOME                                 PO BOX L597                                                                                 ]RANDON               MS      leck   Redden        x
 1,1,26163 NORTHWEST WOMEN'S CENTER                             13215 DOTSON RD.                                 ;UITE 2OO                                  ]OUSTON               TX      leck   Redden
 1128771 VISTA       VERDE                                      +310 SARA RD SE                                                                             tIO RANCHO            NM      leck   Redden                    X
 1149850 JTRONG-THORNE MORTUARY                                 11OO COAL AVE SE                                                                            \LBUQUERQUE           NM      leck   Redden        x           X
 7749928       5RC                                              17OO CURIE DR                                    ;utTE 3800                                  L PASO               TX      leck   Redden                    x
 1,1,62177 FINNEY FUNERAL HOME                                   32 N 5TH ST                                                                                :LAIRTON              PA      leck   Redden                    X
 tt67078       METRO AMBULANCE                                  502 1.7TH AVE                                                                               VIERIDIAN             MS      leck   Redden                    X
 L168742 NASSOUR, HERBERT MD                                    13OO MURCHISON                                   +300                                        L PASO               il      leck   Redden                    x
 118019( ;CHLOTTER, DR IAMES                                    1347 THORPE LANE                                                                            ;AN MARCOS            TX      leck   Redden                    x
 11.8861       HEARTHSTONE ANIMAL CLINIC                        14606 FM 529                                                                                lOUSTON               TX      leck   Redden                    x
 119750( SOUTHWEST RETINA CONSULTANTS                           17OO CURIE DR                                    ;u tTE 3800                                 L PASO               TX      leck   Redden                    x
 t202791 /VEBB FUNERAL HOME                                     7 SAINT CATHERINE ST                                                                                              vls     ]eck   Redden                    x
                                                                                                                                                            'lATCHEZ
 1,2064L1      3ABALDON MORTUARY INC                            1OOO   OLD COORS RD SW                                                                      \LBUQUERQUE           \]M     ]eck   Redden                    x
 7207t7( :UTBIRTH &          SANDERSON                          ,o Box   199                                                                                                      TX      ieck   Redden                    x
                                                                                                                                                            '/IAGNOLIA
 121245        FESMIRE, ROBERT DDS                              124 CHURCH ST STE 1401                                                                      {A5HVI LLE            TN      leck   Redden                    x
 721700! VIORTIMER FUNERAL HOME                                 711 HWY 82     E                                                                             REENVI LLE           vls     ieck   Redden                    x
 L221,551, ;COTT MEMORIAL FUNERAL HOME                          1401 E BROADWAY     ST                                                                      /AZOO CITY            MS      leck   Redden                    x
 1230359       SERMANY DENTAL                                   IOO4 COURTSIDE DR                                                                           }RANDON               MS      leck   Redden                    x
 r2s070l       ,IMERSON-LIPSEY FUNERAL HOME                     1131 HWY 149                                                                                :ARTHAGE              TX      leck   Redden                    x
 105189t       \NGEL FUNERAL HOME                               2207 S. ARTHUR                                                                              CMARILLO              il      Vlevers & Flowers
 109417! :ARROLL LEWELLEN FUNERAL HOME                              TERRY ST                                                                                LONGMONT                         /ers & Flowers
 110905(       JUBBARD FUNERAL HOME, INC                        '03
                                                                I1.07 WILKENS AVE                                                                           BALTIMORE             VID     Vlevers & Flowers
 1t2462t       \]EAL-TARPLEY FUNERAL HOME                       1510 MADISoN 5T                                                                             :LARKSVI LLE          rN      Vlevers & Flowers
 116893t       VIALONE FUNERAL HOME                             325 MALONE LN                                                                               3RAYSON               (Y      Vleyers & Flowers
 12 1033!      (EENAN FUNERAL HOME INC                          238 ELM ST                                                                                  r'i/EST HAVEN         :T      Vlevers & Flowers
 1,2L4544      .OMBARDO FUNERAL HOME                            }060 ABBOTT RD                                                                              ]RCHARD PARK                  Vlevers & Flowers
 1,23582( {EAL-TARPLEY FUNERAL DIRECTORS                        1510 MADISON STREET                                                                         :LARKSVILLE           TN      Vleyers & Flowers
 1.27569   )   ;CHOOLER-HASS FUNERAL DIR                        }24 MAIN ST                                                                                 :LAYTON                       Vlevers & Flowers
